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  percent of Unit 1). All 4 landowners completed lynx plans using guidelines in the Service’s
  Canada lynx management guidelines for Maine (McCollough 2007, entire). NRCS contracts with
  the landowners last for 10 years and these contracts expired in 2016 and 2017. The HFRP
  described an opportunity for enrollees to apply for Safe Harbor Agreements when their contracts
  expired, although none have yet indicated an interest in doing so. Management plans were
  written for a 70-year period; therefore, some landowners may continue voluntary lynx
  management activities. Many private landowners in Maine are enrolled in forest certification
  programs; the Sustainable Forestry Initiative (SFI) and Forest Stewardship Council (FSC). Both
  programs require landowners to protect endangered species and their habitats. Maine has more
  than 40,500 km2 (15,625 mi2) of certified forestland; more than any other state9. It is uncertain
  how certified landowners address lynx management. About 10,117 km2 (3,906 mi2; 35 percent
  of Unit 1) of private lands in northern Maine are under “working woodland” conservation
  easements10; although these covenants do not require specific management practices or
  outcomes beyond sustainable forestry, they do ensure that conversions to other land uses will
  never occur (MDIFW 2017, p. 2). In the past Maine private forest landowners have expressed
  interest in long-term commitments to lynx management plans, but to our knowledge, there are
  no private landowners in Maine who have committed to long-term or permanent protection and
  creation of lynx habitat according to the Service’s lynx management guidelines or the LCAS.

  State lands include Baxter State Park (809 km2 [312 mi2; about 3 percent of Unit 1]) and the
  various lots owned and managed by the Maine Bureau of Parks and Lands (MBPL). Most of
  Baxter State Park is managed as wilderness area, and lynx sightings in the Park are rare,
  probably because most of the park is mature forest that does not support high hare densities.
  MBPL integrated resource policy requires that it promote the conservation of Federally-listed
  species. To our knowledge, with one exception, MBPL has not developed any lynx-specific
  management plans. However, the mitigation for the MDIFW’s incidental take permit for trapping
  requires the maintenance, enhancement and creation of lynx habitat on about 28 percent of the
  MBPL’s 89-km2 (34-mi2) Seboomook habitat management unit during a 15-year period, with
  those habitats likely available to lynx beyond that time.

  Unit 2: Northeastern Minnesota - State and private lands constitute about 36 percent and 16
  percent, respectively, of this SSA unit. The MNDNR Division of Forestry regulates timber
  harvest and management on State and private lands. Under the Sustainable Forest Resources
  Act of 1995 (revised most recently in 2014 [MNFRC 2014, p. 1]), the Minnesota Forest
  Resources Council (MNFRC) has developed voluntary guidelines for site-level timber harvesting
  and forest management (MNFRC 2012, p. 1) that are intended for private and State landowners
  and include some general recommendations for wildlife including lynx. However, because they
  are voluntary, the extent to which these guidelines benefit lynx is uncertain (see sections 4.2.2
  and 5.2.2 below).




  9 http://nsrcforest.orq/sites/default/files/uploads/seymoursherwood13full.pdf, accessed 7.27.2017
  10 http://web.colby.edu/stateofmaine2012/state-of-larqe-landscape-conservation-in-maine/, accessed
  8.18.2016.

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  Unit 3: Northwestern Montana/Northeastern Idaho - State and private lands constitute about 4
  percent and 8 percent, respectively, of this SSA unit and almost all are in the Montana portion of
  the unit. The Montana Department of Natural Resources and Conservation (MTDNRC)
  administers several laws pertaining to forest practices on State and private lands. These laws
  are intended to protect streamside management zones, reduce fire hazards, and provide BMPs
  to minimize non-point source water pollution11. Although these laws may provide indirect
  benefits to lynx and other wildlife, they do not include specific measures to conserve or avoid
  impacts to lynx habitats. However, the MTDNRC and the Service collaborated on a multi­
  species habitat conservation plan (HCP) for forested State Trust lands that includes a Lynx
  Conservation Strategy to minimize impacts of forest management activities on lynx and
  describes conservation commitments that are based on recent information from lynx research in
  Montana (USFWS 2104, pp. 22-23; 79 FR 54835-54837). This HCP covers about 64 percent of
  the State lands in this SSA unit, regulates activities primarily associated with commercial forest
  management to conserve lynx foraging, denning, and connectivity habitats, and includes a 50-
  year commitment (79 FR 54835-54836). Additional details on this HCP and other programs for
  conserving lynx habitats on State and private lands in this unit are provided in section 4.2.3
  below.

  Unit 4: North-central Washington - State and private lands constitute about 8 percent and 0.3
  percent, respectively, of this SSA unit and most are State Trust lands in the Loomis State
  Forest, which accounts for all 426 km2 (164 mi2) of State lands in this unit. The Washington
  Department of Natural Resources (WADNR) administers rules guiding forest practices, such as
  timber harvests and road building, on State, private, and tribal forests in Washington. The
  Forest Practices Board, an independent State agency, adopts forest practices rules to protect
  water quality, fish habitat, other public resources and guide DNR’s permitting process for timber
  harvests and other forest practices statewide. The WADNR developed a Lynx Habitat
  Management Plan (LHMP) for WDNR-managed lands distributed throughout north-central and
  northeastern Washington in areas delineated as Lynx Management Zones in the Washington
  State Lynx Recovery Plan (Stinson 2001, entire; Washington DNR 2006, entire). The WADNR
  LHMP guides timber harvest and other vegetation management on these lands, including the
  part of the Loomis State Forest that occurs in this unit, with the goal of creating and preserving
  quality lynx habitat through its forest management activities. Additional information on the LHMP
  is provided in sections 4.2.4 and 5.2.4 below.

  Unit 5: GYA - State and private lands constitute about 0.3 percent and just over 2 percent,
  respectively, of this SSA unit and, combined, likely have little influence on lynx population
  persistence. Forestry regulations for the Montana portion of this unit are described above. In the
  Wyoming portion, the Wyoming State Forestry Division is responsible for the management of
  forested trust land across the state, including timber management and harvest, for long term
  forest health and productivity. Although the Division’s programs may provide some indirect
  benefits to lynx, they do not include species- or habitat-specific regulations or conservation
  measures.


  11 http://dnrc.mt.qov/divisions/forestry/forestry-assistance/forest-practices , accessed 7.18.2016.

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  Unit 6: Western Colorado - State and private lands constitute about 0.6 percent and over 9
  percent, respectively, of this SSA unit. The Colorado Department of Natural Resources and the
  State Division of Forestry oversee forest management activities on State and private lands in
  Colorado.

  Tribal Management: Tribal lands contribute 1,408 km2 (544 mi2; just over 1 percent) of lynx
  habitat to the geographic units evaluated in this SSA. This includes lands of the
  Passamaquoddy Tribe and the Penobscot Indian Nation in Maine (248 km2 [96 mi2] in Unit 1),
  Grand Portage Band of Lake Superior Chippewa in Minnesota (202 km2 [78 mi2] in Unit 2), and
  the Confederated Salish and Kootenai Tribes of the Flathead Nation - Flathead Reservation in
  Montana (958 km2 [370 mi2] in Unit 3). Tribal management of these lands is expected to benefit
  lynx and lynx habitats. No tribal lands occur within SSA units 4, 5, or 6.

  Unit 1: Northern Maine - Tribal lands represent less than 1 percent of this unit. The
  Passamaquoddy Tribe has lands enrolled in the Healthy Forest Reserve Program, described
  above. The Passamaquoddy Tribe’s stated environmental mission is “...to protect the
  environment and conserve natural resources within all Passamaquoddy lands, waters, and the
  air we share” (Passamaquoddy Tribe 2014, entire). That of the Penobscot Indian Nation
  Department of Natural Resources is “...to manage, develop and protect the Penobscot Nation’s
  natural resources in a sustainable manner that protects and enhances the cultural integrity of
  the Tribe” (Penobscot Indian Nation 2014, entire). Hunting, trapping or possessing lynx are
  prohibited in accordance with the Penobscot Indian Nation Chapter VII Inland Fish and Game
  Regulations - Section 204 (Penobscot Indian Nation 2012, p. 15). Tribal lands of the Aroostook
  Band of Micmac Indians and Houlton Band of Maliseet Indians occur immediately adjacent to
  this unit and lynx are thought to occupy both areas occasionally.

  Unit 2: Northeastern Minnesota - Tribal lands of the Grand Portage Indian Reservation and the
  Bois Forte Indian Reservation—Vermillion Lake District represent 1 percent of this SSA unit.
  The Grand Portage Band of Chippewa has been actively working on lynx conservation since
  2004. In October 2007, the Band hosted an international conference on lynx research and
  conservation where more than 50 researchers from the United States and Canada presented
  results of research on lynx diet, habitat, and management. Additionally, on-reservation timber
  sales and harvest practices follow an integrated management plan for priority wildlife
  management, sustainable economic development, and recreational uses. The Band’s timber
  management practices benefit populations of snowshoe hares, the lynx’s primary prey
  (Deschampe 2008, entire).

  Unit 3: Northwestern Montana/Northeastern Idaho - Tribal lands of the Confederated Salish and
  Kootenai Tribes of the Flathead Nation, Flathead Reservation represent nearly 4 percent of this
  SSA unit. The mission statement of the Tribes’ Fish, Wildlife, Recreation and Conservation
  Division is “...to protect and enhance the fish, wildlife, and wildland resources of the T ribes for
  continued use by the generations of today and tomorrow” (Confederated Salish and Kootenai
  Tribes 2014a, entire). An objective of the Tribes’ Tribal Wildlife Management Program Plan is to
  ‘‘. . . develop and implement habitat management guidelines for Canadian lynx in coordination


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  with the Forestry Department as specified in the Forest Management Plan’’ (Confederated
  Salish and Kootenai Tribes. 2014b, p. 5). The Forest Management Plan states that ‘‘Standards
  for lynx management and habitat protection are set forth in the Canada Lynx Conservation
  Assessment and Strategy. This strategy guides land management activity in lynx foraging and
  denning habitat. Lynx occurrence and populations will continue to be monitored on the
  Reservation’’ (Confederated Salish and Kootenai Tribes 2000, p. 285).

  In summary, a variety of State wildlife and forestry regulations and conservation efforts, along
  with Tribal resource management objectives, influence activities in lynx habitats across the
  range of the DPS. While many of these clearly benefit lynx habitats and likely contribute to the
  persistence of resident populations, uncertainty remains regarding the effectiveness of some
  regulations and voluntary programs or measures in maintaining or restoring lynx habitats. This
  may be especially important with regard to timber management regulations and programs on
  private lands, which constitute the majority of lands in the Northern Maine geographic unit and a
  substantial amount of the Northeastern Minnesota unit.


  3.2 Climate Change
  ‘‘Climate’’ refers to the mean and variability of different types of weather conditions over time,
  with 30 years being a typical period for such measurements (IPCC 2007, p. 78; IPCC 2014b,
  pp. 119-120). The term ‘‘climate change’’ thus refers to a change in climate that can be
  identified statistically by changes in the mean and/or variability of 1 or more measures of climate
  (e.g., temperature or precipitation) that persists for decades or longer, whether the change is a
  result of natural variability, human activity, or both (IPCC 2014a, p. 5). Various types of changes
  in climate can have direct or indirect effects on species. These effects may be positive, neutral,
  or negative, and they may change over time, depending on the species and other relevant
  considerations, such as the effects of interactions of climate with other variables (e.g., habitat
  fragmentation; IPCC 2007, pp. 8-14, 18-19; Melillo et al. 2014, p. 12).

  In 2014, the International Panel on Climate Change (IPCC) released its Fifth Assessment
  Report (AR5), which represents the current scientific consensus on global and regional climate
  change and the best synthesis of scientific data available in this rapidly changing field. The AR5
  largely reaffirms the conclusions of previous reports that the global climate is warming at an
  accelerating rate and that this warming is largely the result of human activities and the
  associated release of carbon dioxide and other greenhouse gases into the atmosphere (IPCC
  2014a, entire). The report concludes that the strongest and most comprehensive evidence of
  the impacts of climate change is in natural systems, where many species have responded by
  shifting their geographic ranges, seasonal activities, migration patterns, abundances, and
  species interactions (IPCC 2014a, p. 4). It also concludes that projected climate change during
  and beyond the 21st Century will likely increase extinction risk for many terrestrial and
  freshwater species (IPCC 2014a, pp. 14-15).

  Globally, annual average temperature increased by 0.61°C (1.1°F; range = -0.53° to +2.50°C [­
  0.95° to +4.5°F]) from 1850-1900 to 1986-2005 (IPCC 2014a, pp. 10-11). Greenhouse gas

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  emissions are increasing and tracking levels predicted by models for high emissions scenarios
  (e.g., RCP 8.5; Hartmann et al. 2013, p. 180, 187-189; Peters et al. 2013, entire; Friedlingstein
  et al. 2014, p. 709, 712; Fuss et al. 2014, p. 851). Analysis of paleoclimate data indicates 20th
  century warming is likely to have been the largest of any century within the last 1,000 years
  (Folland et al. 2001, pp. 99-101). These changes are predicted to continue and accelerate
  under future climate scenarios (Hall and Fagre 2003, fig. 7; Peters et al. 2013, entire, fig. 1).
  The IPCC projects that mean surface temperature will likely increase globally by 0.4° - 2.6°C
  (0.7° - 4.7°F) by mid-century and 0.3° - 4.8°C (0.5° - 8.6°F) by the end of this century relative to
  the 1986-2005 period (IPCC 2104b, p. 60). Rogelj et al. (2012, entire, table 1) concluded that
  the change in global mean surface temperature at equilibrium by 2100 has a greater than 95
  percent probability of increasing more than 1.5°C (2.7°F), a 76 percent probability of increasing
  2° - 4.5°C (3.6° - 8°F), and a 14 percent probability of exceeding 4.5°C (8°F).

  In North America, climate history and projections from regional climate models corroborate
  global models, and indicate that both eastern and western North America, including all portions
  of the lynx DPS, have warmed in the last century and are likely to warm by 1° to 3°C (1.8° to
  5.4°F) by the year 2050 (Christensen et al. 2007, p. 889; IPCC 2014a, pp. 23, 31; Romero-
  Lankao et al. 2014, pp. 1452-1454) and by 1.7° to 5.6°C (3° to 10°F) by the end of this century
  (Melillo et al. 2014, p. 8). The greatest increases in winter surface air temperatures in North
  American are projected in the interior of Canada, but large increases (in the range of 3.9oC
  [7oF]) are also expected in the northern contiguous United States by 2051 to 2060 (NOAA
  200712, entire). To date, the observed and predicted increases in surface temperatures have
  been greater in the Northern Rocky Mountains and the Northeast (much of the lynx DPS) than
  elsewhere in the contiguous United States (Romero-Lankao et al. 2014, pp. 1453-1454; Lynx
  SSA Team 2016a, pp. 14-15). For example, in the Northern Rockies at Glacier National Park,
  mean summer temperatures increased 1.7°C (3.0°F) between 1910 and 1980, resulting in lower
  snowpack, earlier spring melt, and distributional shifts in vegetation (Hall and Fagre 2003, pp.
  134-139; Fagre 2005, pp. 4-9). Observed impacts attributable to climate change that may
  affect lynx habitats and populations include upslope and northward shifts in species distributions
  across multiple taxa, decreases in snow cover and duration, and increased wildfire and insect
  activity in boreal and subarctic conifer forests of Canada and the western United States
  (Vaughan et al. 2013, pp. 358-360; Georgakakos et al. 2014, p. 72; Groffman et al. 2014, pp.
  200-205; IPCC 2014a, p. 31; Joyce et al. 2014, pp. 176-179; Melillo et al. 2014, p. 17; Romero-
  Lankao et al. 2014, pp. 1456, 1458-1461).

  When we listed the DPS in 2000, the Service determined there was no evidence that global
  warming was a threat to lynx (65 FR 16068-16069). In 2003, we concluded that the information
  available regarding the potential impact of climate change on lynx was speculative and did not
  demonstrate a threat to lynx (68 FR 40083, 40098). In the 2005 recovery outline, we
  acknowledged that continued climate warming was likely to negatively affect the boreal forest
  ecosystem for which lynx are highly adapted, eventually causing it to recede north and/or to
  higher, colder elevations, potentially resulting in a substantial future reduction or even

  12iii
    https://www.qfdl.noaa.qov/wp-content/uploads/files/research/climate-chanqe/qfdlhiqhliqht vol1n6.pdf
  last accessed 7.27.2017.

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  elimination of lynx habitats from the contiguous United States (USFWS 2005, pp. 11, 14). In the
  2009 and 2014 revised critical habitat designations, the Service acknowledged that new science
  suggested that climate change may pose a significant risk to the future conservation of the lynx
  DPS (74 FR 8617, 8621; 79 FR 54811).

  There is growing scientific evidence of accelerated athropogenically-influneced global climate
  warming during the 20th and early 21st centuries and little doubt among climatologists that this
  warming will continue and may increase in the future (Hansen et al. 2006, entire; IPCC 2014a,
  entire). Because the lynx is a cold-climate and snow-adapted habitat and prey specialist, there
  is general agreement that the species is vulnerable (highly sensitive, broadly exposed, and with
  limited adaptive capacity to respond favorably; therefore, predisposed to be adversely affected
  [IPCC 2014a, p. 5]) to climate warming and that the anticipated effects of continued warming will
  be adverse (not beneficial) for lynx, especially at the southern periphery of its range. Therefore,
  lynx biologists now identify climate change as the factor most likely to influence long-term
  resiliency of the DPS (Lynx SSA Team 2016a, pp. 14, 17, 19, 21-22, 35-47, 50, 53-57; ILBT
  2013, pp. 43, 48, 53, 55, 63, 66, 69-71, 98).

  Continued climate warming is expected to diminish boreal forest habitats and snow conditions at
  the southern edge of the range (all of the DPS range) that are, in some places, already patchily-
  distributed and perhaps only marginally capable of supporting resident lynx. Climate models
  project reductions in the extent of boreal forest habitats and snow conditions thought necessary
  to support lynx throughout the DPS, with both features predicted to migrate northward in latitude
  and to higher elevations (where possible; Sturm et al. 2001, pp. 342-342; Carroll 2007, pp.
  1099-1102; Danby and Hik 2007, pp. 360-362; Gonzalez et al. 2007, entire; Gonzalez et al.
  2010, pp. 761-766; McKelvey et al. 2011, entire; Johnston et al. 2012, pp. 8-11; ILBT 2013, p.
  69; Koen et al. 2015. p. 528;). This would result in fewer, smaller, and more fragmented and
  isolated areas capable of supporting resident lynx and therefore smaller and more isolated lynx
  populations that would be more vulnerable to stochastic environmental and demographic events
  and genetic drift (Carroll 2007, pp. 1099-1100; Johnston et al. 2012, p. 11; 79 FR 54811;
  Schwartz 2017, pp. 4-5). Climate change has also been linked to increases in wildfire and forest
  insect activities in North America (Joyce et al. 2014, pp. 177-179; Romero-Lankao et al. 2014,
  pp. 1459-1461); two important components of boreal forest disturbance and, therefore, lynx
  habitat quality, quantity, and distribution. It also may affect other factors that could influence the
  future health of lynx populations in the DPS, such as hare/lynx cycles in Canada, disease
  transmission, and parasites.

  Although projected climate warming is expected to reduce the future distribution and number of
  lynx in the DPS, there remains substantial uncertainty about the timing, rate, magnitude, and
  extent of potential impacts that may affect lynx populations in the DPS and how (and when)
  those populations may respond to increasing tempreatures and altered precipation patterns and
  disturbance regimes. Despite these uncertainties, specific effects of climate warming on lynx,
  hares, and their habitats in the DPS range that are occurring or can be reasonably anticipated
  include: 1) northward and upslope contraction of boreal spruce-fir forest types, 2) northward and
  upslope contraction of snow conditions believed to favor lynx over other terrestrial hare


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  predators, 3) reduced hare populations and densities, and 4) changes in the frequency, pattern,
  and intensity of forest disturbance events. Other potential effects of projected warming include:
  5) reduced gene flow between Canadian and DPS lynx populations, 6) changes in the
  periodicity and amplitude of northern hare cycles, which could result in reduced lynx immigration
  to the DPS from Canada, and 7) increased or novel diseases and parasites. Each of these
  factors is discussed in more detail below.

  Northward and Upslope Contraction of Boreal Spruce-fir Forest Types - Historically, boreal
  forest (lynx habitat) distribution in the contiguous United States has changed dramatically in
  response to changes in climatic conditions. It nearly disappeared from the Northeast 1,000
  years ago during the interglacial warming period, then returned south into New England only in
  the past few centuries during the “Little Ice Age” (DeHayes et al. 2000, entire; Schauffler and
  Jacobson 2002, entire; also see 5.2.1). In the West during prehistorical periods of warmer
  climate, the alpine treeline ecotone (upper elevation of lynx boreal habitat) and deciduous-
  boreal forest ecotone (lower elevation of lynx boreal habitat) readily moved upslope in both the
  Northern and Southern Rockies (Legg and Baker 1980, pp. 331-332; Kearney and Luckman
  1983, pp. 783-784). Boreal forest was likely continuous from the Canadian border south through
  the Southern Rockies of Colorado and northern New Mexico until the climate began warming
  and drying beginning about 15,000 years ago. That warming caused a northward and upslope
  retreat of the boreal zone to its current distribution, which has resulted in a naturally patchy
  distribution of boreal forest in the western United States that has remained relatively stable for
  the past 3,000 years (ILBT 2013, p. 50), with some patches largely isolated from more
  contiguous areas of boreal forest to the north.

  Now, projected temperature increases and changes in precipitation patterns are expected to
  again shift the distribution of northern hemisphere ecosystems northward and up mountain
  slopes (McDonald and Brown 1992, pp. 411-412; Danby and Hik 2007, pp. 358-359; IPCC
  2014a, pp. 3, 24-29; Groffman et al. 2014, p. 200). On a global or continental scale, there is
  general agreement that temperature is a primary determinant of treeline (Decker and Fink 2014,
  p. 122). Based on historical evidence, treeline is generally expected to migrate to higher
  elevations as temperatures warm, as permitted by local microsite conditions, although there
  may be a lag time in some mountain ranges (Smith et al. 2003, entire; Richardson and
  Friedland 2009, pp. 7-8, 15-16; Grafius et al. 2012, entire; Decker and Fink 2014, p. 67).
  McKenney et al. (2007, entire) predicted that the ranges of North American tree species will
  likely decrease, on average, by 12 percent and will shift northward by 700 km (435 mi) during
  this century. Several authors have also suggested that grasslands, aspen (Populus spp.)
  parklands, and temperate forest will expand northward, resulting in decreases in some areas
  that are currently boreal forest (Rizzo and Wiken 1992, p. 50; Starfield and Chapin 1996, entire;
  Rupp et al. 2000, entire; Galatowitsch et al. 2009, pp. 2015-2018), which could further fragment
  spruce-fir habitat (Iverson et al. 2008, p. 404; Tang and Beckage 2010, pp. 152-156; Rustad et
  al. 2012, p. 15; Simons-Legaard et al. 2016, p. 5). Thus, projected future warming is expected to
  cause another northward and upslope contraction of boreal forest in some parts of the
  contiguous United States (and in Canada; Groffman et al. 2014, p. 200), likely with negative



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  consequences for both lynx and snowshoe hare populations in the DPS and in southern
  Canada (Gonzalez et al. 2007, entire).

  Some predicted changes to the boreal forest are already occurring, and much of the climate-
  induced change is occurring faster than originally predicted, suggesting rapid change as
  opposed to slow linear change (Soja et al. 2007, pp. 5-6; Settele et al. 2014, pp. 303-305).
  Globally, temperatures are increasing and snowfall is declining at the fastest rates in the high-
  latitude boreal forests of Canada and Eurasia (IPCC 2007, pp. 9, 52, 72), and climate models
  agree that winter warming across the circumboreal region will likely exceed 40 percent above
  the global mean winter warming (Soja et al. 2007, p. 4). Higher summer temperatures are
  thought to limit the distribution of boreal spruce-fir forests, which also are believed to be more
  sensitive to drought than other forests (Iverson and Prasad 2001, pp.192-196; Lenton et al.
  2008, pp. 1788, 1791). In fact, over the past century, northward and upward (in elevation) biome
  shifts (the replacement at a location of one suite of species by another) in boreal ecosystems
  have been detected in numerous locations (Settele et al. 2014, pp. 278-279). Several studies
  (Joos et al. 2001, entire; Lucht et al. 2006, entire) suggest a temperature-increase threshold for
  boreal forest dieback of about 3°C (5.4°F), and some boreal forests are experiencing increases
  in tree mortality (Peng et al. 2011, entire). For example, widespread mortality and reduced
  growth in red spruce (Picea rubens; a component of lynx habitat in Unit 1) in the Northeastern
  United States in the 1960s to 1980s were believed to be linked to climate stress (McLaughlin et
  al. 1987, p. 501; Johnson et al. 1988, p. 5373).

  Although increased precipitation is expected in the boreal region of Canada, particularly during
  the winter, it may be offset by increases in summer drought, heat stress, and evapotranspiration
  (Stocks et al. 1998, entire). Lienard et al. (2016, p. 7) conclude that spruce-fir forest types in
  New England, the Northern Great Plains, and higher elevations in the Rockies are vulnerable to
  drought-related stress from climate change during the next century. Nonetheless, Decker and
  Fink (2014, pp. 66-69) concluded that spruce-fir habitats in Colorado are only moderately
  vulnerable to the effects of climate change by mid-century under a moderate emissions
  scenario. Similarly, Keane et al. (in press, p. 209) concluded that while subalpine fir (Abies
  lasiocarpa; a major component of lynx habitats in western geographic units [3, 4, 5, and 6]) is
  likely to shift in distribution in the Northern Rockies, gains (expansion) will likely balance losses
  (contraction). They also concluded that Engelmann spruce (Picea engelmanii; also a major
  component of the 4 western geographic units), though highly sensitive to climate warming, will
  likely persist on the Northern Rockies landscape (Keane et al. in press, p. 213).

  Upslope migration of boreal forest could occur either gradually or as a series of scattered, rapid
  advances as climate thresholds are crossed (Kupfer and Cairns 1996, p. 259-261) and may be
  limited by high winds, desiccation, and soil depths not conducive to conifer colonization. At
  lower elevations, the upslope movement of the deciduous-boreal ecotone is limited by
  excessively cold winter temperatures (generally -40°C [-40°F]), moisture (cloud, fog line), and
  acidic soils (Kupfer and Cairns 1996, p. 263-264). Boreal treelines in Scandinavia moved
  upslope an average of 40 meters (m; 131 feet [ft]), but in some locations up to 100 m (328 ft),
  during a recent 50-year period of warming (Kullman 1990, entire). In the Yukon, upslope


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  migration of spruce-fir seemed to be triggered by climate thresholds and was characterized by
  slow, gradual change followed by rapid advances (Danby and Hik 2007, p. 361). In Vermont, the
  northern hardwood-boreal ecotone moved upslope 91-119 m (299-390 ft) between 1962 and
  2005 consistent with rapidly increasing cloud ceilings in the Northeast, which is believed to be
  closely associated with this ecotone transition (Beckage et al. 2008, pp. 4200-4201). Overall,
  the rate at which boreal forest could retreat upslope is highly speculative depending on how
  climate change may affect complex moisture and temperature regimes, and there could be a lag
  time before these community types shift (Kupfer and Cairns 1996, p. 268).

  In summary, climate change is expected to further fragment boreal forest in southern Canada
  (Hogg 1994, entire) and in the contiguous United States, potentially reducing connectivity
  between lynx populations at the southern periphery of the species’ range. As temperatures
  increase, lynx and hare habitats and, therefore, lynx distribution, are likely to recede northward
  and shift upward in elevation within its currently occupied range (Gonzalez et al. 2007, pp. 7,
  13-14, 19; Beckage et al. 2008, entire; Jacobson et al. 2009, pp. 26-27, 30-31; Vashon et al.
  2012, pp. 60, 64; ILBT 2013, p. 69). In the contiguous United States, researchers expect that
  lynx in mountainous habitat will, to some extent, track climate changes by using higher
  elevations on mountain slopes, assuming that vegetation communities supportive of lynx and
  hare habitats also move upslope with temperature and precipitation shifts (Gonzalez et al. 2007,
  p. 7). However, some areas of the DPS (e.g., Maine, Minnesota) lack such potential elevational
  refugia (Carroll 2007, pp. 1098-1102). Under a suite of emissions and climate change
  scenarios, boreal spruce-fir forests (lynx habitats) are projected to diminish dramatically and,
  under higher emissions scenarios, could largely or completely disappear from much of the DPS
  range by the end of this century (e.g., in Maine and Minnesota [Iverson and Prasad 2001, pp.
  186, 195-196; Iverson et al. 2008, pp. 400, 403; Galatowitsch et al. 2009, pp. 2015-2016] and in
  the Rocky and Cascade Mountains in the west [Gonzalez et al. 2007, pp. 15-18; Johnston et al.
  2012, pp. 6-13]). Under these scenarios and combined with projected impacts to snow
  conditions (see below), lynx populations would be anticipated to decline accordingly, with the
  potential loss of some DPS populations by the end of the century (Carroll 2007, pp. 1098-1102;
  Johnston et al. 2012, pp. 7-13). Although there remains much uncertainty regarding the timing,
  rate, and extent of modeled changes, ultimately, future northward and upslope contraction of
  lynx habitat in the DPS would likely result in fewer, smaller, and more isolated lynx populations
  that would be at increasing risk of extirpation resulting from demographic or environmental
  stochasiticty or genetic drift.

  Northward and Upslope Contraction of Snow - As described above (section 2.2), the lynx’s long
  limbs, large feet, and low foot-loading are believed to give it an advantage in snowy conditions
  over terrestrial competitors and predators. Although specific snow requirements for lynx
  (amount/depth, quality, persistence) have not been quantified throughout the DPS range,
  climate warming is diminishing snow conditions in the contiguous United States. Warmer winter
  temperatures are reducing snow cover extent and duration and altering snow structure via a
  combination of a higher proportion of precipitation falling as rain, more winter thaw-freeze
  events, higher rates of snowmelt during winter, and earlier spring melt and runoff (Hamlet and
  Lettenmaier 1999, p. 1609; Brown 2000, p. 2347; Hoving 2001, pp. 73-75; Mote 2003a, p. 3-1;


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   Christensen et al. 2004, p.347; Knowles et al. 2006, pp. 4548-4549; Mote et al. 2008, entire;
   Pierce et al. 2008, entire; Abatzoglou 2011, entire; Vaughn et al. 2013, pp. 358-359;
   Georgakakos et al. 2014, pp. 71-85). These trends are expected to continue with projected
   future climate warming (Hamlet and Lettenmaier 1999, p. 1611; Christensen et al. 2004, p. 347;
   Mote et al. 2005, p. 48; Christensen et al. 2007, p. 850; McKelvey et al. 2011, pp. 2887-2896;
   IPCC 2014b, p. 62). The IPCC projects that spring snow cover in the Northern Hemisphere is
   likely to decrease by 7-25 percent by the end of this century (IPCC 2014b, p. 62) and that ‘‘snow
   season length and snow depth are very likely to decrease in most of North America except in
   the northernmost part of Canada where maximum snow depth is likely to increase’’ (Christensen
   et al. 2007, p. 850). Because lynx occurrence is correlated with prolonged periods of deep, fluffy
   snow, current lynx habitats would be expected to decline in value for lynx with decreases in
   snow condition and duration (Hoving 2001, p. 73; Carroll 2007, pp. 1100-1103; Gonzalez et al.
   2007, entire).

   Warming in recent decades corresponded to a substantial decline in snow cover duration in
   North America, particularly in the mountains of the western United States (Mote et al. 2005, pp.
   47-48; Kapnick and Hall 2012, entire). These areas have historically been snow-covered from
   November through March, but the length of snowfall-conducive temperatures over many
   western mountain ranges could be reduced from about 5 months to about 3 months (December-
   February) by mid-century (Klos et al. 2014, p. 4566). Spring snowpack has already declined in
   many parts of the Rockies, especially since the mid-20th century, despite overall increases in
   winter precipitation in many places (Mote et al. 2005, entire; Scalzitti et al. 2016, pp. 5367­
   5368). The recent rate of decline in the snowpack of the Northern Rockies is unprecedented in
   the last 1,000 years (Pederson et al. 2011, entire), and some mountainous regions appear to be
   warming faster than global land averages (Rangwalla and Miller 2012, entire). However, Oyler
   et al. (2015, entire) showed that systematic errors in temperature measurements at some Snow
   Telemetry (SNOTEL) sites resulted in the artificial amplification of mountain climate trends. In
   particular, during late spring the commonly used climate datasets (PRISM and Daymet) show
   elevation increases of 274 m (899 ft) and 487 m (1,598 ft), respectively, in minimum (snow­
   inducing) temperatures, while data with the systematic errors corrected show a statistically
   nonsignificant change of 66 m (217 ft; IDFG 2017a, p. 6). Nonetheless, the western United
   States has clearly warmed over the latter half of the 20th century, and this trend is very likely to
   continue into the future.

   Estimating trends in snowpack is challenging because the high variability in snowpack dynamics
   and microsite variations due to canopy cover, aspect, and elevation are not well-reflected in
   observation records (Hubbart et al. 2015, pp. 885-892; Rasouli et al. 2015, pp. 3937-3938;
   Painter et al. 2016, p. 149; IDFG 2017a, p. 7). Nonetheless, snowpack losses have been
   documented and will likely continue and could even accelerate in the future (Hamlet and
   Lettenmaier 1999, entire; Payne et al. 2004, entire; McKelvey et al. 2011, entire; Kapnick and
   Hall 2012, pp. 14-16; Ashfaq et al. 2013, entire; Lute et al. 2015, 969-971), with faster losses
   likely in milder climates like the Cascades and the slowest losses in the high peaks of the
   Northern Rockies and Southern Sierras. For every 1°C (1.8°F) increase in temperature,
   snowline is projected to retreat upslope about 150 m (492 ft) in elevation (Beniston 2016, p.


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   106) . In the West, areas of contiguous spring snow cover are projected to become smaller and
   more isolated throughout the Columbia, Upper Missouri, and Upper Colorado Basins, with
   greatest losses at the southern periphery (McKelvey et al. 2011, pp. 2892-2896). Snow
   accumulation and duration are also expected to continue to decline generally in the central and
   eastern portion of the lynx DPS range (Christensen et al. 2007, p. 891; Burns et al. 2009, p. 31;
   Moen in Lynx SSA Team 2016, p. 19). Similarly, because of diminishing snow resources,
   potential lynx habitat is diminishing in the northern Appalachians and small areas in the
   Canadian Maritime Provinces (Carroll 2007, p. 1093). An analysis of recent and potential future
   snow cover under a range of IPCC climate scenarios suggests that snow conditions correlated
   with historical lynx occurrence records could decline by 10-20 percent across the continental
   United States and Canada and by 46-84 percent in the contiguous United States by the end of
   the century (Gonzalez et al. 2007, pp. 4, 7, 12-14).

   Across North America, a significant increase in the proportion of winter precipitation falling as
   rain rather than snow has also contributed to reduced depth and persistence of winter snowpack
   (Brown 2000, pp. 2347-2354; Dyer and Mote 2006, entire; Georgakakos et al. 2014, pp. 71-72)
   and increased snow density (Hodgkins and Dudley 2006, entire). Because winter temperatures
   have increased disproportionately, especially in the coldest northern tier states (Tebaldi et al.
   2013, entire), the amount of winter precipitation falling as rain instead of snow has also
   increased throughout the DPS (Huntington et al. 2004, entire; Knowles et al. 2006, entire; Feng
   and Hu 2007, entire). If greenhouse gas emissions continue at the current rate, by 2100, the
   elevation above which it snows and below which it rains could climb as much as 244 m (800 ft)
   in the Colorado Rockies and by 423 m (1,400 ft) in the Rockies of Idaho and Wyoming, with the
   snow line projected to rise by an average of 290 m (950 ft) across 6 Western mountain regions
   (Scalzitti et al. 2016, p. 1564).

   Shifts in the timing of the initiation of spring runoff toward earlier dates in western North America
   are also well documented (Hamlet and Lettenmaier 1999, p. 1609; Brown 2000, p. 2347; Cayan
   et al. 2001, pp. 409-410; Christensen et al. 2004, p. 347; Mote et al. 2005, p. 41; Knowles et al.
   2006, p. 4554). In addition, a feedback (albedo) effect is likely to amplify regional warming and
   accelerate the rate of loss of snow cover because of the reflective nature of snow and the
   relative heat-absorbing properties of non-snow-covered ground (Vaughan et al. 2013, pp. 321,
   358-361). This feedback effect causes the greatest warming to occur at the interface of snow-
   covered and exposed areas, increasing the rate at which melting occurs in spring (Groisman et
   al. 1994a, pp. 1637-1648; Groisman et al. 1994b, pp. 198-200). This effect has shifted the
   average date of peak snowmelt 3 weeks earlier in spring in the Intermountain West (Fagre
   2005, p. 4). This albedo effect is further exacerbated by atmospheric soot and desert dust on
   the snow surface (Painter et al. 2007, entire; Qian et al. 2009, entire) and fire-darkened
   landscapes (Amiro et al. 2006, pp. 47-49).

   Warming and more frequent winter rains and thaws are also contributing to changes in
   snowpack structure; namely replacing deep, unconsolidated snow with harder, crustier snow.
   These snow conditions are expected to occur at higher latitudes (Callaghan et al. 2011, entire)
   and higher elevations in the Rockies (Abatzoglou 2011, pp. 1138-1141). As winter temperatures


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   rise above freezing more often, rain on snow events and winter thaws become more common,
   causing changes in snowpack structure, including larger grain size, basal ice layers, depth hoar
   (weak layers in the snowpack), and slip planes (crusts and ice layers within the snowpack;
   Callaghan et al. 2011, p. 23). The frequency of winter warm spells is correlated to the hardness
   of the snow surface and sinking depth, which may influence the hunting efficiency of terrestrial
   hare predators (Murray and Boutin 1991, entire; Murray et al. 1994, p. 1450; 1995, p. 1209;
   Stenseth et al. 2004, p. 10633), potentially reducing the competitive advantage lynx are
   believed to have over some potential competitors (Pozzanghera et al. 2016, pp. 698, 703).
   These various forms of snow compaction and structure within the snowpack could give a
   competitive advantage to other terrestrial predators/competitors with higher foot-loading that
   would normally have difficulty traveling and hunting efficiently in deep, unconsolidated snow
   (Murray and Boutin 1991, entire; Murray et al. 1994, p. 1450; Kolbe et al. 2007, p. 1409).

   The bobcat is the closest related species to lynx in North America, and bobcats occur within or
   immediately adjacent to all areas occupied by resident lynx populations in the DPS. Bobcats
   may outcompete or displaces lynx in some areas where the 2 species overlap, at both broad
   (Peers et al. 2013, entire) and local (Parker et al. 1983; Robinson 2006, pp. 120-129)
   geographic scales. In some areas of sympatry, lynx may be displaced to habitats of inferior
   quality, which could limit survival and productivity at the southern edge of their range (Robinson
   2006, pp. 120; Peers et al. 2013, entire). Snow depth, consistency, and persistence likely
   mediate competition between the 2 species (Peers et al. 2012, pp. 4-9). Because of their higher
   foot-loading, bobcats likely hunt less efficiently than lynx in deep, unconsolidated snows (Hoving
   et al. 2005, entire; Krohn et al. 2005, pp. 122-129), which appear to limit bobcat mobility and
   distribution (Litvaitis et al. 1986, p. 116). Considering recent and projected future changes in
   snow conditions described above, stable or increasing bobcat populations in the DPS range
   (Roberts and Crimmins 2010, p. 170), and the predicted northward expansion of bobcats into
   areas currently occupied by lynx (Anderson and Lovallo 2003, p. 758; Lavoie et al. 2009, pp.
   873-874; Roberts and Crimmins 2010, p. 172), lynx may experience increased competition and
   displacement by bobcats, which could influence lynx distribution and persistence at the southern
   edge of their range (in all DPS geographic units and in southern Canada).

   Loss of favorable snow conditions could also result in increased lynx-bobcat hybridization. Thus
   far, hybridization has been documented in places (Minnesota, Maine, and New Brunswick)
   where low topographic relief and variability in winter severity may allow more interaction
   between the 2 species during the breeding season (Schwartz et al. 2004, entire; Homyack et al.
   2008, entire; ILBT 2013, p. 34). The effects of hybridization on lynx populations in the DPS are
   uncertain, but it is not currently thought to be a substantial threat (Schwartz in Lynx SSA Team
   2016a, p. 13). The hybridization rate is currently low (0.24 percent) but it could increase as
   bobcat populations are expected to move north with continued climate warming and related loss
   of snow conditions favoring lynx (Murray et al. 2008, p. 1465; Koen et al. 2015, p. 528).
   However, because lynx also are expected to shift northward with receding habitat conditions, it
   is possible that the zone of overlap between lynx and bobcats will shift northward but not
   increase in size, in which case an increase in hybridization rate would not be expected.



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   Although high-elevation areas in the western part of the DPS range (geographic units 3-6) may
   provide future snow refugia for lynx (Lynx SSA Team 2016a, p. 45), these areas will likely also
   be affected by continued climate warming, with lynx habitat distribution decreasing and isolation
   increasing as it moves upslope. Because recent and current rates of climate warming are much
   faster than occurred historically, it is possible that in these areas snow conditions favorable for
   lynx may move upslope at a faster rate than boreal forest vegetation, creating a mismatch of
   these lynx habitat elements. Thus, although it is possible that boreal forest vegetation may
   persist for some time, snow conditions thought to favor lynx could retreat upslope, potentially
   precluding lynx use of those boreal habitats and instead favoring potential competitors such as
   bobcats and coyotes.

   Reduced Hare Populations and Densities - Climate change has also been linked to changes in
   the distribution of snowshoe hares in some parts of the southern edge of their range
   (Diefenbach et al. 2016, entire; Sultaire et al. 2016a, entire; 2016b, pp. 900-904). In Wisconsin,
   snowshoe hare range has contracted northward an average of 8.7 km (5.4 mi) per decade
   (1980-2014) and is projected to continue to recede northward with continued climate warming
   (Sultaire et al. 2016a, pp. 6-7). The authors concluded that loss of snow now contributes more
   than loss of habitat in determining the range of snowshoe hares in central Wisconsin (Sultaire et
   al. 2016a, entire). In Pennsylvania from 1983 to 2011, hare range contracted toward the coldest
   and snowiest areas in the northeastern and northwestern parts of the state, and continued
   warming may threaten the species’ viability there (Diefenbach et al. 2016, entire). These 2
   studies were of hare populations that do not now and apparently have not historically supported
   resident lynx populations, but similar contractions could occur in the future among hare
   populations within the range of resident lynx in the DPS.

   Climate change also may affect hare populations in other ways, especially at the southern
   extent of its range in the DPS and in parts of southern Canada. As described above, changing
   snow conditions may influence lynx hunting behavior and effectiveness. For example, hard-
   packed snow is reported to be associated with a higher kill rate of hares by lynx and coyotes
   compared to soft snow (Buskirk et al. 2000a, p. 94; Stenseth et al. 2004, p. 10633). Consistently
   higher kill rates could generate numeric responses (population increases) by lynx and other
   hare predators (Hone et al. 2011, p. 420) that could drive hare populations to lower levels
   (Stenseth et al. 2004, p. 10633). Terrestrial hare predators are generally more diverse at the
   southern edge of the lynx range than in its core (Murray et al. 2008, pp. 1464-1465), and snow
   conditions that are projected to decreasingly favor lynx and increasingly favor less specialized
   predators (i.e., those with lower foot-loading) would be expected to result in increased predation
   on hares in some parts of their southern range.

   Climate change is also projected to cause increases in annual precipitation and extreme
   precitpitation events as well as hotter summers and increasing drought across most of North
   America (Romero-Lankao 2014, pp. 1452-1456). Because the second litters of snowshoe hares
   have lower survival in wet summers (Meslow and Keith 1971, entire), increased precipitation
   may reduce hare numbers. However, because hares have 2 to 4 litters per summer, there is
   opportunity for compensatory survival of later litters if one is affected by weather (Krebs et al.


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   2014, p. 1043). Decreased hare survival may also be expected during prolonged hot, dry
   summer conditions. Conversely, in dry western forests, increased precipitation may result in
   more herbaceous forage and cover, which may promote hare survival and reproduction (Ivan et
   al. 2014, p. 590). Thus, climate change may have both positive and negative effects on hares.

   The shorter duration and diminished snow cover in the DPS range is also causing an
   increasingly pronounced mismatch in the timing of hare color change that may reduce hare
   survival and result in population declines by the end of the century (Mills et al. 2013, entire;
   Zimova et al. 2014, entire; 2016, entire). Under a high emissions scenario, projected decreases
   in snowpack duration by as much as 4 weeks at mid-century and 8 weeks by the end of the
   century (Mills et al. 2013, p. 7362; Zimova et al. 2016, p. 304) could have population-level
   effects on hares at the southern edge of their range (Zimova et al. 2016, pp. 304-305). Hares
   exhibit plasticity in the rate at which they can molt from white to brown in the spring, but not in
   the initiation date of color change or the fall transition from brown to white (Mills et al. 2013, pp.
   7362-7363). Hares do not seem to compensate for mismatched color by changing their behavior
   related to concealment, thus predisposing them to predation (Zimova et al. 2014, pp. 5-7).
   There is wide variability in the timing of pelage change by individual hares within populations,
   and “mismatched” hares experience increased mortality rates (Zimova et al. 2016, p. 302).
   Under high emission scenarios, hare survival could decline by 11 percent by mid-century and by
   23 percent by late century (Zimova et al. 2016, p. 304). Lower survival could result in moderate
   (under a medium-low emissions scenario) to steep (high emissions scenario) declines in hare
   populations by late century (Zimova et al. 2016, p. 304).

   This phenotypic color mismatch resulting in reduced hare survival, in conjunction with warming
   temperatures and decreased snow cover duration, is suspected of contributing to northward
   contractions of the snowshoe hare range in Wisconsin (Sultaire et al. 2016a, entire; 2016b, p.
   902) and Pennsylvania (Diefenbach et al. 2016, p. 245). It is also possible that this phenological
   mismatch may affect hare cycles (Zimova et al. 2016, p. 305). The northward contraction of
   hares in Wisconsin over the past 3 decades occurred concurrently with a dampening of hare
   population cycles (Sultaire et al. 2016a, p. 7).

   Although increased color mismatch and associated reduced survival have the potential to result
   in hare population declines as described above, natural selection acting on the wide individual
   variation in molt phenology might enable evolutionary adaptation/rescue (Zimova et al. 2016, p.
   305) and the color mismatch should be corrected over time by strong natural selection pressure
   (ILBT 2013, p. 71; Moen 2017, p. 5). Such selection pressure may explain why snowshoe hares
   in some parts of the southern periphery of the range do not undergo pelage change in areas
   with no or little snow cover (e.g., in the Pacific Northwest; Dalquest 1942, pp. 167, 174-175;
   Nagorsen 1983, entire) or undergo only partial change to white in winter (in Pennsylvania;
   Gigliotti 2016, pp. 72, 89). However, with projected accelerated climate warming, it is uncertain
   whether adaptation via natural selection will be able to keep pace with rapid declines in snow
   cover duration at the southern edge of the snowshoe hare range (Sultaire et al. 2016a, p. 6).




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   Changes in the Frequency, Pattern, and Intensity of Disturbance Events - The distribution,
   amount, and composition of lynx habitat could be rapidly and dramatically altered by an
   increasing occurrence and persistence of drought, along with associated outbreaks of insects
   and pathogens, wind and ice storms, and wildfires (ILBT 2013, p. 70). All of these factors are
   potentially interrelated with multiple feedback mechanisms, and some have a cascading effect
   (Dale et al. 2001, p. 729). For example, drought can weaken trees, increasing their vulnerability
   to insects and pathogens. Insects and pathogens can create dead trees or increase fuel loads,
   potentially increasing the risk and intensity of fire. The boreal forest is a complex and variable
   system, and these effects are expected to vary in time and space and may interact. These
   interactions may appear slowly and be difficult to detect because of the typically long life spans
   of trees, or they may be manifested quickly after a catastrophic perturbation to the forest.

   Drought and heat stress have already affected temperate and boreal forests (Allen et al. 2010,
   entire; Settele et al. 2014, p. 6), particularly in the West (geographic units 3-6), where tree
   mortality rates have increased rapidly in recent decades (van Mantgem et al. 2009, entire;
   Garfin et al. 2014, p. 464, 484; Joyce et al. 2014, p. 177-179; Mote et al. 2014, p. 495-496;
   Wade et al. 2017, p. 166). Increasing growing-season temperature is expected to increase
   episodic drought duration and/or intensity, which could increase evaporative demand, triggering
   moisture stress and increased forest vulnerability to periodic widespread regional mortality
   events (Joye et al. 2014, p. 179). Although much of the United States has experienced an
   increase in prolonged periods of excessively high temperatures and more severe droughts over
   the past 50 years (Melillo et al. 2014, p. 15), thus far it is not possible to attribute changes in
   North American drought frequency to anthropogenic climate change (Romero-Lankao et al.
   2014, p. 1456). Nonetheless, some regional trends are apparent. For example, the drought over
   the last decade in the western United States suggests the driest conditions in 800 years based
   on tree ring data (Walsh et al. 2014, p. 38). Drought is projected to increase in much of the West
   by the middle and end of this century, including lynx geographic units 5 (GYA) and 6 (Western
   Colorado; Walsh et al. 2014, p. 41, fig. 2.22). Drought conditions are also expected to increase
   in the Northeast (which includes Unit 1 in Maine; Horton et al. 2014, p. 374), Midwest (which
   includes Unit 2 in Minnesota; Pryor et al. 2014, p. 425-426), Great Plains (which includes Unit 3
   in western Montana; Shafer et al. 2014, p. 442); Northwest (which includes Unit 4 in
   Washington; Mote et al. 2014, p. 495), and Southwest (which includes Unit 6 in Colorado; Garfin
   et al. 2014, pp. 464-465, 468), with drought severity also expected in increase in Montana
   (Wade et al. 2017, pp. 155, 158-164). Increasing drought frequency and intensity are related to
   increased wildfire and forest insect activity in North America, including throughout much of the
   DPS range, with these trends expected to continue into the future (Groffman et al. 2014, pp.
   203, 218; Joyce et al. 2014, pp. 176-178, 182; Melillo et al. 2014, pp. 9, 17; Romero-Lankao et
   al. 2014, pp. 1448, 1460-1461, 1477).

   Wildfire frequency is increasing in boreal forests of North America, and extended fire seasons
   and increases in the total area burned are anticipated to continue in the western United States
   with continued climate warming (McKenzie et al. 2004, entire; Westerling et al. 2006, entire;
   Romero-Lankao et al. 2014, pp. 1447, 1461; Westerling 2016, entire). Evaluating wildfire
   patterns in the western United States from 1970-2012, Westerling (2016, pp. 5-10) found rapid


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   and dramatic increases in the frequency of large fires, wildfire durations, and the length of the
   wildfire season beginning in the mid-1980s. Mesic middle- and high-elevation forest types (such
   as lodgepole pine [Pinus contorta] and spruce-fir; i.e., lynx habitats) in the Northern Rockies
   experienced the greatest increases. Increased spring and summer temperatures and an earlier
   spring snowmelt strongly influenced large wildfires, suggesting that climate is the primary driver
   of these changes rather than fire exclusion (suppression), which appears to have had little
   impact on natural fire regimes of these higher-elevation forest types in this area (ILBT 2013, p.
   70). Montana and Wyoming may be acutely sensitive to climate change and, even for a very
   mild climate-warming scenario, the area burned in the West could roughly double by the end of
   the century (McKenzie et al. 2004, p. 897). Increases are most likely in dry forests with high-
   frequency and low-intensity fire regimes (which typically do not provide lynx habitat); in areas of
   moderate fire frequency and intensity and areas of low frequency and high intensity fires
   regimes, habitat conditions for lynx may improve (McKenzie et al. 2004, p. 899). In contrast,
   climate change is increasing precipitation in boreal forest regions of eastern North America,
   which has reduced wildfire frequency (Bergeron et al. 2001, p. 388).

   Under multiple climate scenarios, large increases in fire frequency are expected for boreal
   forests in central and western Canada, and reduced frequency in eastern Canada - a situation
   that reflects past Paleoclimates that were warmer than the present (Flannigan et al. 2001, pp.
   860-862). Increased fire frequency at the grassland - aspen parkland - boreal forest transition
   in western Canada may hasten the conversion of boreal forest to aspen parkland and aspen
   parkland to grassland (Flannigan et al. 2001, p. 860-861), which could affect connectivity and
   gene flow in lynx populations. In the DPS range, large wildifres in north-central Washington
   (Unit 4) have reduced lynx habitat by 35-40 percent over the past 25 years (see section 4.2.4
   below). Large wildfires have also occurred recently in lynx habitats in Units 2, 3, 5 and 6, though
   impacts to resident populations in those units have not been documented, estimated, or
   modeled.

   Warming and drought are also likely affecting the frequency and intensity of some eruptive
   boreal forest insect pests and pathogens that affect disturbance patterns in spruce-fir forests
   (Volney and Fleming 2000, entire; Gray 2008, entire; Groffman et al. 2014, p. 203; Joyce et al.
   2014, pp. 176-178; Melillo et al. 2014, p. 17). For example, native bark beetles, such as the
   spruce beetle (Dendroctonus rufipennis) and mountain pine beetle (Dendroctonus ponderosae),
   are key agents of change in coniferous forest ecosystems in western North America and have
   recently defoliated millions of hectares - among the largest and most severe outbreaks in
   recorded history (Bentz 2009, entire; USFS 2014, entire; Ivan in Lynx SSA Team 2016a, p. 23).
   Drought-stressed conifers have increased vulnerability to insect attack. Warmer springs also
   could increase the frequency and duration of wildfires, which in turn could increase vulnerability
   of surviving trees to bark beetle attack (Westerling et al. 2006; Bentz et al. 2010, p. 611; ILBT
   2013, p. 70). Increasing temperatures and forest homogeneity could create conditions favorable
   for bark beetle outbreaks that exceed natural disturbance thresholds, perhaps increasing the
   likelihood of additional outbreaks in the resulting large areas of even-aged forests (Raffa et al.
   2008, p. 512; ILBT 2013, p. 70). By the end of the century, changes in temperatures across the
   boreal forests of western North America may cause markedly high probability of outbreak of


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   these species (Bentz et al. 2010. pp. 607, 609). In contrast, the range of the spruce budworm, a
   major pest of spruce-fir ecosystems in eastern North America, is expected to shift northward,
   potentially reducing vulnerability of spruce-fir forests in Maine and Minnesota (Regniere et al.
   2012, entire).

   Climate change has also been implicated in increases in severe weather events. For example,
   in January, 1998 a severe ice storm extensively damaged the canopy of many northeastern
   United States and eastern Canadian forests, causing moderate to severe forest damage to over
   40,000 km2 (15,444 mi2) in the Northeast United States and southern Quebec (Jones and
   Mulhern 1998, p. 19; Irland 2000, entire; Millward and Kraft 2004, entire). Ice storm damage to
   stands can range from light and patchy to total breakage of all mature stems over extensive
   areas (Irland 2000, entire). Similarly, in 1999, a derecho (severe wind-and hail-producing
   thunderstorm; Frelich in Lynx SSA Team 2016, p. 14) uprooted and snapped off trees in a 48
   km- (30 mi-) long by 6-19 km- (4-12 mi-) wide swath of boreal forest in Unit 2 that impacted over
   1,930 km2 (745 mi2)13 of lynx habitat. It is uncertain how climate change may affect the
   frequency, intensity, location, and extent of ice storms and derechos; however, atmospheric
   warming will most likely shift the locations of prevailing ice storms northward.

   In summary, natural disturbances (wildfire, forest insect outbreaks, and storms) are essential
   components of lynx habitats that historically have maintained the mosaic of forest stand seral
   stages and distriubutions that benefit lynx. Although these events may diminish lynx and hare
   habitats by removing forest cover, these impacts are typically temporary, and affected areas
   typically regenerate into the dense, young conifer stands that are associated with high hare and
   lynx densities throughout both species’ ranges, including in the DPS. However, climate-
   mediated increases in the frequency, size, and intensity of these events may result in larger
   proportions of lynx habitats in a temporarily-unfavorable condition that occurs immediately post­
   disturbance and which may last for 10-40 years or more, depending on the nature of the
   disturbance and a suite of local climatic, topographical, and soil conditions. Such changes to
   historical disturbance regimes could affect a number of lynx demographic variables (e.g.,
   distribution, density, survival, productivity) that influence population resiliency and, therefore, the
   likelihood that populations will persist on the landscape. For example, increased wildfire
   frequency, size, and intensity has affected over a third of the lynx habitat in Unit 4 over the past
   25 years, resulting in increased lynx home ranges size and, therefore, lower density, likely
   reducing the population’s resiliency compared to historical conditions (see sections 4.2.4 and
   5.2.4, below).

   Reduced Gene Flow between Canadian and DPS Lynx Populations - Koen et al. (2014a, entire)
   found that relatively lower neutral genetic diversity, lower allelic richness, and higher genetic
   differentiation among lynx at the trailing (southern) range edge in Ontario were correlated with
   high winter temperatures, low snow depth, and a low proportion of suitable habitat since the
   1970s. The authors hypothesized that continued climate warming would increasingly create
   these unsuitable environmental conditions for lynx (e.g., milder winters with reduced snow
   quality, declining and fragmented boreal forest), at the trailing (southern) edge of the range. The

   13 https://en.wikipedia.org/wiki/Boundary_Waters%E2%80%93Canadian_derecho

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   authors surmised that genetic structuring in southern lynx populations could be caused by a
   northward shift in optimal conditions, potentially resulting in isolation and extirpation of lynx
   populations at the trailing edge of their range or climate-induced changes in the distributions of
   snowshoe hare or bobcats causing lynx to shift northward. Lynx with the greatest allelic richness
   were found in areas with the deepest snow in the core of their range in northern Ontario (Koen
   et al. 2014a, p. 758). The authors concluded that climate warming has reduced gene flow at the
   receding (southern) edge of the lynx’s range, and that southward gene flow from Canada into
   threatened United States (DPS) populations is unlikely (Koen et al. 2014a, p. 760). Stenseth et
   al. (2004, entire) documented population and genetic structuring in the lynx populations east
   and west of Hudson Bay based on differences in snow conditions on either side of this divide.
   This may be explained by the reluctance of lynx to disperse between areas having different
   snow regimes and snow quality. Snow conditions may be the key factor in the spatial,
   ecological, and genetic structuring of Canada lynx (Stenseth et al. 2004, pp. 10633-10644).

   Climate warming is expected to cause increased isolation of southern lynx populations, which
   could reduce gene flow by reducing connectivity between populations. For example, gene flow
   between lynx populations in Maine, New Brunswick, and eastern Quebec and more northern
   populations in Canada depends on an ice bridge for dispersal across the St. Lawrence River.
   Although some lynx currently cross the river, Koen et al. (2014a, entire) found genetic
   structuring on either side of the river. Thus, the river already restricts gene flow. Climate-
   induced deteriorating ice conditions on the St. Lawrence River could further restrict gene flow
   between lynx populations north and south of the river (Koen et al. 2015, p. 528). Between 1969
   and 2002 there was a 20 to 40 percent reduction in sea-ice cover during the spring thaw in the
   Gulf of the St. Lawrence (Johnston et al. 2005, pp. 214-215). Conversely, reduced ice on the St.
   Lawrence may prevent bobcats from dispersing northward into lynx areas in central Quebec
   (Koen et al. 2015, p. 528).

   The potential for genetic drift among DPS populations would be expected to increase at some
   point in the future if lynx and hare habitats shift northward and upslope, as projected with
   continued climate warming, resulting in reduced connectivity and gene flow among smaller and
   more isolated lynx populations at the periphery of the range. This would result in (1) smaller and
   more distant potential source populations in the southern Canadian provinces, reducing the
   likelihood and number of immigrant lynx reaching DPS populations, and (2) smaller effective
   population sizes (the size of an ideal population [i.e., one that meets all the Hardy-Weinberg
   assumptions] that would lose heterozygosity at a rate equal to that of the observed population)
   among DPS populations, making them more vulnerable to drift, the consequences of which
   could include lower survival and reproduction rates and loss of adaptive potential (Schwartz
   2017, pp. 4-5).

   Changes in the Periodicity and Amplitude of Northern Hare Cycles - Climate change is altering
   large-scale climate systems such as the North Atlantic Oscillation (NAO), Southern Oscillation,
   Pacific North American Index, and North Pacific Index which, in turn, affect patterns of
   temperature and snow in North America (Stenseth et al. 2003, entire). Climate change-induced
   disruptions are believed to have caused or contributed to the collapse of cycles in some voles


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   (Microtus and Myodes spp.) in northern Europe (Cornulier et al. 2013, entire) and lemmings in
   northern Finland (Ims et al. 2008, pp. 81,84). The collapse of cycles in some herbivores with
   high-amplitude population cycles also would imply collapses of important ecosystem functions
   such as pulsed flows of resources and disturbances throughout the ecosystem, including
   declines in predator communities (Schmitz et al. 2003, p. 1202; Ims et al. 2008, p. 85).

   A common denominator of cycles that exhibit spatial gradients, such as the more pronounced
   snowshoe hare cycles in the northern part of its North American range, is that the cycles seem
   to fade as winters become shorter (Ims et al. 2008, p. 81). Therefore, climate has also been
   hypothesized to influence snowshoe hare and lynx population cycles and synchrony (Hone et al.
   2011, entire; Krebs 2011, pp. 484-488; Yan et al. 2013, entire). Hone et al. (2011, pp. 423-424)
   concluded that the NAO influenced both hare and lynx numbers and could dampen cycle
   oscillations. Yan et al. (2013 ,p. 3269) concluded that climate forcing is not only essential in
   producing sustained cycles, but also in modifying cycle intervals, and that greatly reduced lynx
   fur harvests in Canada beginning in the mid-1980s may be linked to climate warming. However,
   climate data analyzed by Krebs et al. (2013, pp. 566-572; 2014, pp. 1042-1043, 1046-1047)
   failed to explain changes in hare cycle synchrony documented in Alaska and western Canada
   beginning in about 1995. The authors rejected the hypothesis that climatic variation was
   correlated with hare-cycle amplitude in their study areas (Krebs et al. 2014, p. 1047), and their
   analyses did not support concern about collapsing population cycles hypothesized by Ims et al.
   (2008, entire).

   Nonetheless, changes in large-scale climate systems have already influenced the climate and
   snow conditions throughout the geographic range of the lynx in North America (Stenseth et al.
   1999, entire; Brown 2000, pp. 2347-2354; Krebs et al. 2001, p. 34; Stenseth et al. 2004, entire).
   If climate warming produces more pronounced troughs in hare abundance cycles in the interior
   of Canada, lynx populations would be expected to decline, though local extinction seems
   unlikely (Hone et al. 2011, p. 424). The potential for diminished lynx populations in Canada is a
   concern because periodic emigration from Canada is believed to influence the demographic and
   genetic health of lynx populations in the DPS (McKelvey et al. 2000a, pp. 232-242; 2000b, pp.
   32-34; Schwartz et al. 2002, entire; USFWS 2005, p. 2; ILBT 2013, pp. 34, 42, 47, 54, 60, 65;
   Squires et al. 2013, p. 187; 79 FR 54789, 68 FR 40091,40097-40100). Recent lower-amplitude
   hare cycles in southern Canada likely resulted in lower-amplitude lynx cycles as well, possibly
   resulting in muted irruptions with fewer dispersing lynx emigrating from Canada into the DPS. If
   these reduced cycles persist, they could result in reduced demographic support and gene flow
   into the DPS, both of which could influence the health and persistence of resident lynx
   populations in the DPS.

   Increased or Novel Diseases and Parasites - Climate change can increase the distribution and
   transmission of parasites and pathogens and alter vectors, hosts, and host-susceptibility to
   disease. With continued warming, some species are predicted to experience more frequent or
   severe disease impacts with warming while others may be relieved of pathogens (Daszak et al.
   2000, p. 444; Harvell et al. 2002, entire; Brooks and Hoberg 2007, entire; Harvell et al. 2009,
   entire). Climate change is likely to cause changes to the geographic range and incidence of


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   insect and tick-borne diseases (Daszak et al. 2000, entire). No apparent climate-influenced
   parasites or diseases have been identified that would be expected to broadly affect lynx or
   snowshoe hare populations, but several lynx experts believed this is difficult to predict and
   remains a possibility (Lynx SSA Team 2016a, pp. 27, 37-39). A few pathogens have been
   documented in lynx in the DPS. For example, plague, a flea-borne disease caused by the
   bacterium Yersinia pestis, which is not native to North America, was reported for the first time in
   lynx in Colorado (Wild et al. 2006, entire). Pneumonic plague appeared to be the direct or
   indirect cause of death of 6 lynx released in Colorado between 2000 and 2003. When
   translocated from Canada and Alaska, none of the lynx had antibody titers to Y. pestis; it
   appears likely that lynx were exposed to plague by infected prey after their release in Colorado.
   Exposure of some lynx to feline parvovirus was detected in 6 areas in western North America
   (Montana-Alaska; Biek et al. 2002, entire). Troglostongylus wilsoni is a nematode that infects
   the lungs of lynx and bobcats (Sarmiento and Stough 1956, entire; Van Zyll de Jong 1966,
   entire; Kumar 1974, entire; and Reichard et al. 2004, entire) and was detected in Maine lynx
   (Vashon et al. 2012, p. 24). Lynx with heavy infestations have difficulty breathing and succumb
   to starvation, as occurred with several Maine lynx (Vashon et al. 2012, p. 24). Davidson et al.
   (2011, p. 242) hypothesized that toxoplasmosis could spread northward into lynx populations
   with changing climate and expanding ranges of humans and feral cats, cougars, and bobcats.

   Summary - Well-documented climate warming over the past half-century has probably already
   had some impacts on lynx habitats in the DPS range, and such impacts are likely to continue
   and perhaps increase in the future. However, there currently is no clear evidence that climate
   change has had population-level effects within the DPS range or reduced the ability of habitats
   within the DPS range to support persistent resident lynx populations. However, such impacts
   would be difficult to detect and document, and lynx habitats in much of the DPS range are
   naturally highly-fragmented and many appear to support hare densities only marginally capable
   of supporting persistent lynx populations. Therefore, even relatively minor climate-mediated
   impacts to boreal forest habitats and snow conditions, especially to winter hare and lynx
   foraging habitats, may strongly influence lynx persistence in some parts of the DPS range.

   Although the rates of change and magnitudes of effects of climate warming are difficult to
   predict, climate models agree that lynx habitat and populations are likely to decline in the future,
   particularly at the southern margin of the range (Carroll 2007, pp. 1098-1102; Gonzalez et al.
   2007, entire; Peers et al. 2014, pp. 1129-1134) and may disappear completely or nearly so from
   parts of the DPS range by the end of this century or sooner, depending on the intensity of
   greenhouse gas emissions (Galatowitsch et al. 2009, pp. 2015-2017; Johnston et al. 2012, pp.
   6-13). Remaining lynx populations in the DPS range will likely be smaller than at present and,
   because of small population size and increased isolation, they will likely be more vulnerable to
   stochastic environmental and demographic events (Carroll 2007, pp. 1100-1103) and to genetic
   drift (Schwartz 2017, pp. 4-5).

   In addition to the factors discussed above, synergistic effects between them and other stressors
   (e.g., forest management, trapping, development) may intensify their impacts (Carroll 2007,
   entire) and could further reduce and isolate lynx populations within the DPS and reduce


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   connectivity between Canadian and DPS lynx populations and habitats. Declining boreal forests
   and snow conditions, increasing drought and fire, and increasing scale of forest insect
   outbreaks are currently believed to be the most important stressors for lynx in the DPS, but it is
   possible that other pathways are, or may also become, important. Potential climate-mediated
   changes in habitat, prey base, and competitor guild, along with ongoing habitat loss and
   fragmentation, has led some authors to question whether lynx will be able to adapt to such
   changes and persist at the southern periphery of the species’ range (Murray et al. 2008, p.
   1469). Largely because of the likely consequences of projected continued climate warming, lynx
   experts expect a decreasing likelihood that resident lynx populations will continue to persist in
   the future in the 5 geographic units that currently support them (Lynx SSA Team 2016a, pp. 35­
   47; see ch. 5, below). However, despite concerns about the long-term persistence of DPS
   populations, experts projected that resident lynx populations are very likely to persist in all 5
   geographic units that currently support them in the near-term (year 2025) and mid-term (2050),
   and uncertainty was great regarding predicitons beyond that time frame.


   3.3 Vegetation Management
   Vegetation (i.e., timber) management is the most prevalent land use throughout the lynx DPS
   range and can have beneficial, neutral, or adverse effects on lynx and snowshoe hare habitats
   and populations (65 FR 16071; 68 FR 40083; ILBT 2013, p. 71). Vegetation management
   affects stand age, structure, composition, and arrangement on the landscape, which are
   important elements of lynx and hare habitat (ILBT 2013, p. 71). Timber harvest can create,
   restore, and maintain lynx and hare habitats, but it and related silvicultural activites (e.g.,
   precommercial and commercial thinning, fuels management, fire suppression) can also diminish
   (often temporarily) habitat quality, quantity, and distribution; alter natural disturbance regimes;
   and preclude attainment of the dense horizontal cover that provides high-quality hare and lynx
   habitat (see section 2.2). The Service listed the lynx DPS under the ESA because of the
   potential for such activities to adversely affect lynx habitats and populations and the absence of
   measures to guide them for lynx conservation on Federal lands (68 FR 40076-40101).

   At the home range scale, lynx throughout the DPS range consistently occupy landscapes
   having the greatest snowshoe hare densities. Although forest types and the effects of forest
   (vegetation) management vary geographically, hare abundance throughout the DPS range is
   strongly correlated with a single common denominator - dense horizontal cover at ground and
   snow level. Such cover provides hares with a source of browse, protects them from predation,
   and is the most important forest structural characteristics for hares throughout their range
   (Ferron and Ouellet 1992, pp. 2180-2182; Wolfe et al. 1982, pp. 665-670; Litvaitis et al. 1985,
   entire). Hare density is directly and positively correlated with stem density (Litvaitis et al. 1985,
   p. 870; Sullivan and Sullivan 1988, pp. 803-804; Koehler 1990b, entire; Thomas et al. 1997, pp.
   24-50; Homyack et al. 2006, pp. 76-79; Robinson 2006, pp. 5-37, 67-75; Scott 2009, pp. 58-93;
   Fuller and Harrison 2013, pp.4-6), and softwood (e.g., spruce-fir) has about 3 times more cover
   value than hardwoods (Litvaitis et al. 1985, p. 870). Young (10-40 years post-disturbance)
   regenerating spruce-fir forests provide optimal cover and high hare densities throughtout the
   DPS range, and seral lodgepole pine and mature multi-storied spruce-fir stands may also

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   provide such conditions in the western part of the DPS range (Koehler and Brittell 1990, p. 10;
   Hoving et al. 2004, p. 290; Maletzke et al. 2008 p. 1477; Squires et al. 2010, pp. 1648, 1653­
   1656; McCann and Moen 2011, pp. 513-515; Berg et al. 2012, pp. 1483-1487; Holbrook et al.
   2017, entire). Therefore, vegetation management practices that promote high stem density and
   dense horizontal cover can increase snowshoe hare densities (Conroy et al. 1979 pp. 684-689;
   Wolff 1980, pp. 115-128; Parker et al. 1983, pp. 783-785; Livaitis et al. 1985, p. 872; Monthey
   1986, entire; Koehler 1990a, pp. 848-850, 1990b, entire; Robinson 2006, pp. 31-36, 62-75, 119­
   129; Fuller et al. 2007, entire; Homyack et al. 2007, entire; Scott 2009, pp. 8--92; McCann and
   Moen 2011, pp. 513-515), while forest practices that reduce dense understory generally reduce
   habitat quality for hares and lynx.

   Historically, the dominant natural disturbance processes that created young, regenerating
   conifer forest conducive to hares and lynx were wildfire, insect and disease outbreaks, and wind
   events (Kilgore and Heinselman 1990, entire; Heinselman 1996, entire; Veblen et al. 1998,
   entire; Agee 2000, entire; Seymour et al. 2002, entire; Lorimer and White 2003, entire). After
   disturbances, forests generally develop through several stages described by Oliver (1980, pp.
   155-161) as “stand initiation,” “stem exclusion,” “understory reinitiation,” and “old growth.” Stand
   dynamics, particularly within-stand competition for light, nutrients, and space, determine how
   forests grow and respond to intentional manipulations and natural disturbances (Oliver and
   Larson 1996, entire). The frequency and severity of disturbances have a large role in
   determining which tree species will dominate in a stand after the disturbance event. Snowshoe
   hare and lynx habitat are created during the stand initiation stage, after the young trees have
   established and grown tall enough (1-3 m (3-10 ft) to protrude above the snow and provide
   adequate horizontal cover. During the stem exclusion stage (when trees reach about 10 m [33
   ft], depending on tree species) the tree crowns lift and lower branches self-prune, thus reducing
   the live horizontal branches providing food and cover for snowshoe hares. In the old growth
   stage, understory may re-develop (e.g., in forest gaps where mature trees die or fall down) and
   food and cover may again become available to support snowshoe hares.

   Traditionally, commercial timber management of conifer forests has used a variety of
   silvicultural techniques (plantations, herbicide application, precommercial and commercial
   thinning, group selection, fuels management, and salvage and regeneration harvest) to (1)
   reduce tree density, promote tree growth, and select for desired species in young regenerating
   forests; (2) improve growth and vigor of mature trees; (3) reduce vulnerability of commercially-
   valuable trees to insects, disease, and fire; and (4) harvest forest products (ILBT 2013, p. 71).
   Just as the timing and intensity of a natural disturbance event affects the composition of the
   succeeding forest, the season, climate, machinery, and type of final harvest (e.g., clearcut v.
   partial harvest) all have a role in determining the species composition and health of the next
   crop of trees following management activities. Although some timber management practices
   may mimic natural disturbance processes, others, such as herbicide use and plantations, do not
   have natural analogues. Timber harvest may differ from natural disturbances in ways that may
   affect lynx and hare habitats, including (ILBT 2013, pp. 71-72):




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       •   Removing most standing biomass, especially larger size classes of trees, and downed
           logs, which alters microsite conditions and nutrient cycling;
       •   Creating smaller, more dispersed patches and concentrating harvest at lower elevations
           in mountainous regions and on more nutrient rich soils, resulting in habitat
           fragmentation;
       •   Causing soil disturbance and compaction by heavy equipment, which may result in
           increased water runoff and slower tree growth at the site; or
       •   Giving a competitive advantage to commercially-valuable tree species and reducing the
           structural complexity of the forest through the application of harvest, planting, thinning,
           and herbicide treatments.

   Therefore, vegetation management may or may not be compatible with creating, maintaining, or
   restoring habitats capable of supporting hares and lynx, depending on the extent to which
   conservation awareness and measures guide management. Vegetation management can
   provide snowshoe hare habitat by creating additional early-successional forest conditions in
   areas that are capable of, but not currently providing, dense horizontal cover; designing the
   appropriate size, shape and temporal pattern of treatment units (mimicking patterns created and
   maintained by natural disturbance regimes); retaining coarse woody debris; maintaining high
   stem densities in regenerated forests; and maintaining connectivity and dispersal habitat
   (Koehler and Brittell 1990, pp. 11-12; Homyack et al. 2004, pp. 141-142; Bull et al. 2005, entire;
   Fuller and Harrison 2005, p. 719). However, forest management can also diminish lynx and
   hare habitats by removing cover, altering natural disturbance patterns and regimes, creating
   unnaturally large or continuous openings, fragmenting habitat, and eliminating
   connectivity/dispersal habitats. Roads associated with forest management also fragment habitat
   and can increase access by competing predators and humans, both potentially affecting lynx
   habitats and populations.

   Forest Products Markets - North America is the world’s leading producer and consumer of wood
   products. Therefore, worldwide trends in forest products markets greatly affect forest
   management decisions, which may influence the amount and quality of lynx habitat in the DPS.
   Globalization of manufacturing and expanded use of electronic media have reduced demand in
   pulp and paper since the late 1990s, and the collapse of housing construction, which deepened
   with the recession of 2007-2009, has contributed to declines in United States wood products
   output. In recent years, the nation’s forest products industry experienced a downturn in output
   levels not seen in decades, with considerable declines in timber harvest, mill numbers, and
   wood consumption since 2000, and employment losses in the hundreds of thousands (Woodall
   et al. 2011, p. 595).

   Forest management decisions (e.g., to focus on hardwood or softwood production) can change
   dramatically in response to unpredictable and changing forest products markets. Lynx occur in
   forests dominated by softwood conifers; therefore, management related to softwood production
   and harvest has the greatest potential to affect lynx populations in the DPS range. Because they
   depend on demand for paper and housing, markets for softwood products are affected by
   economic factors that are difficult to predict and are therefore particularly volatile. For example,


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   the western United States, a major softwood lumber producing region, was particularly hard hit
   by the recession and housing collapse - forest industry employment dropped by 30 percent
   (nearly 80,000 workers) and annual output value fell by more than 25 percent (Keegan et al.
   2011). Under depressed markets, landowners may reduce harvests, which may be to the
   detriment of lynx in some parts of the DPS (e.g., Maine and Minnesota), but to their benefit in
   others (the western part of the range). Likewise, rapidly expanding (recovering) softwood
   markets could lead to rapid and extensive harvest, with potential benefits or detriment to DPS
   populations, depending on local cicumstances and landscape habitat conditions.

   Despite depressed markets, one area of increasing interest is bioenergy production. Rising
   energy costs and growing concerns over global climate change have increased interest in
   bioenergy production, and the United States Energy Independence and Security Act (2007)
   mandates a 5-fold increase in biofuel production (Benjamin et al. 2009, p. 125). The wood pellet
   sector is expected to grow, although woody biomass is typically the lowest value wood
   commodity sold from the forest. Thus, it is questionable whether wood energy revenues would
   be enough to sustain forest investments and forest management into the future (Woodall et al.
   2011, p. 601) and, therefore, potential impacts or benefits to lynx habitats and populations are
   uncertain.

   Although management of State and Federal forest lands has been relatively stable in recent
   decades, management and ownership of private forest lands have been comparatively unstable.
   This has resulted in substantial shifts in forest management strategies, outcomes, and products.
   For example, in the last 2 decades in Maine, where nearly all the lynx critical habitat is on
   private land, about 96,315 km2 (37,187 mi2; 80 percent) of commercial timber lands in the
   “northern forest” (Adirondacks to northern Maine) were sold to many different kinds of financial
   groups (Hagan et al. 2005). These groups have short-term investment goals and their
   management objectives differ from traditional commercial timber operations, resulting in
   changes to traditional harvest practices. Whereas the previous large commercial timber
   landowners focused on the forest land base as a supply for their manufacturing facilities, the
   new Timber Investment Management Organizations (TIMOs) and Real Estate Investment Trusts
   (REITs) focus on maximizing return on their investment (Jin and Sader 2006, p. 178). Initially,
   the effects of ownership changes were uncertain (McWilliams et al. 2005), but an evaluation of
   harvesting in the last decade indicates these landowners increased harvest rates, shortened
   rotation times, and shifted to managing and harvesting hardwood tree species (Jin and Sader
   2006, p. 183-185). On one hand, these trends in private lands management in Maine may make
   lynx conservation more difficult to achieve because short-term landowners may be less
   interested in long-term commitments. On the other hand, some easement owners may have an
   incentive to manage for lynx to meet forest certification requirements.

   The extensive sale of private forestlands initiated the growth of conservation easements in this
   region (deGooyer and Capen 2004; Lilieholm et al. 2010). Conservation land as a percentage of
   Maine’s State area increased from less than 5 percent in 1987 to approximately 19 percent by
   2012 (Beck et al. 2012, p. 15). Conservation easements restrict development but usually do not
   affect forest management; neither do they typically require management for lynx and other rare


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   species. Some private forestlands were sold to State and Federal agencies and conservation
   interests. For example, in recent years The Nature Conservancy purchased over 125,000 ha
   (310,000 ac) of private forestland in Montana and nearly 75,000 ha (185,000 ac) of private
   forestland in northern Maine. Lands in conservation ownership are more likely to be managed to
   benefit hares and lynx.

   Finally, future trends in forest management will likely be affected by climate change (Irland et al.
   2001, entire). Many models have been developed to project how United States timber
   production and markets may adapt to climate change (e.g., Joyce et al. 1995; Burton et al.
   1998; Sohngen and Mendelsohn 1998; Perez-Garcia et al. 2002). Economic models predict that
   with continued climate warming, total United States timber inventories will increase, timber
   harvest will increase, and product prices will decrease relative to an assumed stable climate.
   Some models predict that consumers will gain from climate change while landowners in some
   regions will lose. The forest industry will likely adapt to climate change in many ways including
   using alternate tree species in manufacturing, shifts to geographic regions of the country with
   economic advantages in timber growth, and increasing forest plantations with new species that
   are favorably adapted to the new climate and markets. Many strategies have been evaluated to
   increase the quantity of carbon stored in North American forests (Irland et al. 2001) including
   discontinuing or greatly reducing harvest in some forests to build carbon reserves, increased
   recycling to reduce use of forest products, converting agricultural lands to forests, and
   substituting wood products for more energy-intensive products. Increased atmospheric carbon
   will increase forest growth slightly, except for softwood (Irland et al. 2001, p. 757-758).
   Sawtimber production, which sequesters more carbon, is expected to increase (Irland et al.
   2001, p. 758). Expanding landscapes with older growth conifer forest to sequester carbon could
   benefit lynx in the West and be to the detriment of lynx in the East.

   Reduced Quality of Hare Habitat - Throughout the lynx DPS, some vegetation management
   practices, especially thinning in young, dense regeneration; reducing overstory canopy in
   mature multi-story spruce-fir forests (in the West); and partial harvesting (in northern Maine)
   reduce the quality of boreal forest habitats for snowshoe hares and lynx. The probability of lynx
   occupancy of a potential home range is sensitive to small changes in average hare density
   (Simons 2009, pp. 89-110; Simons-Legaard et al. 2013, pp. 572-576). Below a threshold of
   about 0.5 hares/ha (0.2 hares/ac), declines in hare abundcance, whether from natural
   population fluctuations (hare cycles) or habitat loss or fragmentation from detrimental forest
   practices, development, or other anthropogenic incluences could be sufficient to diminish
   landscape carrying capacity for lynx (Scott 2009, p. 118). Such declines could result in reduced
   productivity (Slough and Mowat 1996, pp. 953-956), cause lynx to increase home range sizes
   (Scott 2009, p. 120; Ward and Krebs 1985, entire; Mowat et al. 2000, pp. 276-280) or, in
   extreme cases, to abandon their home range or cause mortality (Ward and Krebs 1985, p.
   2819; Slough and Mowat 1996, pp. 956-957).

   Thinning of young, dense sapling stage conifers (precommercial thinning) is a forest
   management practice used widely throughout the DPS to increase the growth and value of
   selected trees and to reduce the time to maturity of a stand of trees. Precommercial thinning


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   removes competing trees of the same species or shrubs and trees of other species (Daniel et al.
   1979; Homyack et al. 2005, 2007). The effects of precommercial thinning are summarized in the
   revised Lynx Conservation Assessment and Strategy (ILBT 2013, pp. 72-73):

          Reducing the density of sapling-sized conifers in young regenerating forests to increase
          the growth of certain selected trees promotes more homogeneous patches and reduces
          the amount and density of horizontal cover, which is needed to sustain snowshoe hares
          (Sullivan and Sullivan 1988, Hodges 2000b, Griffin and Mills 2004, Ausband and Baty
          2005, Griffin and Mills 2007, Homyack et al. 2007, Ellsworth 2009). Hares reach highest
          densities in stands with stem densities ranging from 4,600-33,210 stems/ha (1,862­
          13,445 stems/ac)(Wolff 1980, Parker 1984, Litvaitis et al. 1985, Monthey 1986, Parker
          1986, Koehler 1990a, Griffin 2004, Fuller and Harrison 2005, Robinson 2006, Scott
          2009), whereas thinned stands have densities of 2990 (6-foot spacing) to 1,682 (8-foot
          spacing) stems/ha (Pitt and Lanteigne 2008, p. 593). Precommercial thinning has been
          shown to reduce hare numbers by as much as 2- and 3-fold (Griffin and Mills 2004,
          2007; Homyack et al. 2007) because of reduced cover and decreased availability of
          browse. Griffin and Mills (2007) reported that, if their results were representative, the
          practice of precommercial thinning could significantly reduce snowshoe hare populations
          across the range of lynx.

          There are anecdotal examples of precommercially thinned stands that subsequently
          "filled in" with understory trees. Some have suggested this could be a technique to
          extend the time that understory trees and low limbs provide the dense horizontal cover
          that constitutes snowshoe hare habitat. The duration between time of thinning and
          regrowth to a height providing winter snowshoe hare habitat would likely vary by tree
          species, each having different regenerative capacities that could be influenced by a
          variety of local factors (e.g., topographic relief, moisture, and mineral and organic
          content of the soil; Baumgartner et al. 1984, Koch 1996). Bull et al. (2005) reported that
          the slash and coarse woody debris remaining after precommercial thinning provided
          both forage and cover for snowshoe hares up to a year following treatment. However,
          Homyack et al. (2007) found that snowshoe hare densities were reduced following
          precommercial thinning for 1-11 years post-thinning. They further suggested that after
          precommercial thinning, the stands did not regain the structural complexity in the
          understory that would be needed to support pre-treatment snowshoe hare densities. At
          this time, no other data are available to quantify the re-establishment of snowshoe hare
          habitat and over what time period, or the response by snowshoe hares, as compared
          with sites that were not precommercially thinned, so this remains an unproven
          management technique. As an alternative to standard precommercial thinning (i.e.,
          complete thinning resulting in a homogeneous patch), Griffin and Mills (2007) suggested
          retaining at least 20 percent of the patch in untreated clumps of about % ha (% ac),
          which would maintain hare habitat in the short term. However, Lewis et al. (2011) found
          that landscapes with patches of high-quality habitat surrounded by similar vegetation
          supported more hares than did more fragmented landscapes composed of high-quality



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          patches in a matrix of poorer-quality habitat. Further long-term studies of modified
          thinning methods are needed.

   Abele et al. (2013, entire) also found that precommercial thinning reduced hare abundance in
   western Oregon but did not affect individual hare survival or activity patterns. Because of
   documented adverse effects of precommercial thinning to snowshoe hares and lynx, in 2007
   and 2008 the USFS amended Forest Plans to incorporate management that would conserve
   lynx, including direction that prohibited precommercial thinning in most lynx foraging habitat
   (USFS 2007, pp. 8, 11-14, 36; USFS 2008a, pp. 6-9, 23-26). However, precommercial thinning
   is not regulated on private forest lands throughout the remainder of the DPS.

   Particularly in western forest systems, uneven-aged management (single tree, partial harvest,
   and small group selection) can be used in stands with poorly developed understories, but which
   have the potential to develop dense horizontal cover. In such stands, removing some large trees
   can create openings in the canopy that mimic natural gap dynamics and maintain or stimulate
   multi-story attributes (ILBT 2013, p. 73). However, creation of large openings may discourage
   use by lynx (Koehler 1990a; von Kienast 2003; Maletzke 2004; Squires et al. 2010; ILBT 2013,
   p. 73), at least temporarily. Removing larger trees from mature multi-story stands to reduce
   competition and increase tree growth or resistance to forest insects may degrade lynx winter
   habitat by reducing horizontal cover (Robinson 2006; Koehler et al. 2008, Squires et al. 2010).
   Similarly, removing understory trees from mature multi-story stands also reduces dense
   horizontal cover, reducing winter habitat quality for both hares and lynx (ILBT 2013, p. 73).

   In eastern forests, partial harvesting practices diminish (compared to regeneration following
   large-scale clear-cutting) the development of large patches of dense horizontal cover for
   snowshoe hares (Simons-Legaard et aI. 2016, pp. 7-8). Partial harvesting broadly describes
   many methods of removing a portion of the overstory trees from a forest stand. Partial
   harvesting includes selective cuts, shelterwood cuts, and uneven-aged management. Partial
   harvest may be “light” (e.g., < 10 percent of trees removed) to “heavy” (e.g., 90 percent of trees
   removed). Since passage of the Maine Forest Practices Act in 1989, various forms of partial
   harvesting have replaced clearcutting as the predominant form of forest management in
   northern Maine (Sader et al. 2003, entire). In recent years, almost 172,000 ha (425,000 ac) of
   Maine forest are harvested annually and 96 percent of this land is partially harvested (Maine
   Forest Service 2016). After 28 years of extensive partial harvests, much of the northern Maine
   landscape has been influenced by this form of forestry, and will continue to be into the future.
   The popularity of this form of harvesting extends beyond Maine. From the mid-1980s to mid-
   1990s, partial harvesting comprised 62 percent of the harvest in the United States, and
   clearcuts comprised the other 38 percent. Partially harvested stands result in a wide range of
   residual stand conditions, but many have lower conifer stem densities and higher hardwood
   density than regenerating clearcuts (Robinson 2006). On average, partially harvested stands in
   Maine supported about 50 percent of the hare densities observed in regenerating clearcuts
   (Robinson 2006; Harrison et al. 2016 p. 55; also see sections 4.2.1 and 5.2.1, below).




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   Shelterwood harvesting (sometimes referred to as overstory removal) is a form of even-aged
   management most frequently used in hardwood and mixedwood stands in Maine (Rolek 2016,
   unpubl. data, Maine Cooperative Fish and Wildlife Research Unit), but also in spruce and fir
   stands (Pothier and Prevost 2008, entire). Shelterwood harvests that occur in predominantly
   softwood stands contribute to landscape hare densities to support lynx; however, hare density in
   regenerating shelterwood stands was only about half that of regenerating clearcut and
   herbicide-treated stands (D. Harrison, Univ. Maine, pers. comm. and unpubl. data; Harrison et
   al. 2016, p. 55). Regenerating shelterwood harvests in softwood stands are less likely to support
   higher landscape hare densities because they are most often done in small patches to avoid
   problems with windthrow, especially in wet soils (D. Harrison, Univ. Maine, pers. comm.). As
   much as 30 to 40 percent of the advanced regeneration may be damaged from repeated entries
   by machinery to remove the overstory (R. Seymour, Univ.Maine, pers. comm.). Finally, because
   subsequent overstory removal occurs about 15 years after the initial entry, some of the dense
   understory is damaged just as the stand develops conditions to support higher hare densities.
   The damage to the understory not only reduces the quality of the habitat for hares, but also cuts
   short the duration that the stand produces high-quality hare habitat.

   Fuels treatment and biomass removal projects also may reduce hare and lynx habitat quality.
   Fuels treatment projects are typically designed to remove understory biomass and reduce stem
   density in forests that are outside their historical range of variability, and to clear fuels adjacent
   to human developments for safety or to protect investments (ILBT 2013, p. 74). Removing or
   reducing the understory and ladder fuels to meet those objectives reduces horizontal cover
   important to snowshoe hares and thus diminishes lynx habitat quality (ILBT 2013, p. 74). In the
   West, most of these projects occur in dry, lower-elevation forests where past fire suppression
   has resulted in unnatural fuel build-ups; however, these are not lynx habitat. In the Great Lakes
   Region, prescribed burning to reduce fuels and mimic a more natural fire regime in lynx habitat
   causes a short-term (10-30 years) impact on snowshoe hare habitat (ILBT 2013, p. 75).
   Biomass removal for energy production targets the removal of dead trees, logging slash, and
   small-diameter trees and shrubs. Biomass removal is similar to fuels treatments in reducing
   cover and habitat for snowshoe hares (ILBT 2013, p. 75).

   Loss, Degradation, and Fragmentation of Boreal Forest Habitat - Forest management rarely
   results in conversion of lands to non-forest. In fact, forested landscapes have increased in some
   parts of the DPS (especially in the Northeast) because of farm abandonment and recolonization
   by second-growth forest. However, some forms of forest management such as selective
   harvesting and fire suppression can (intentionally or unintentionally) alter tree species
   composition away from boreal forest types that support snowshoe hares and lynx. Similarly, lack
   of forest management can alter tree species composition (Trani et al. 2001, pp. 415-417). Other
   stressors, such as insect outbreaks and climate change, can work in synergy with forest
   management to reduce boreal forest. For example, in northern New England clearcutting
   sometimes leads to drying of the forest floor and consequent heavy mortality in spruce and fir
   regeneration and increased light levels that increase hardwood competition (White and Cogbill
   in Eagar and Adams 2012, p. 32).



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   Plantations can convert native forest communities into monocultures of a native or exotic tree
   species that may lack hardwood browse for snowshoe hare. Cutting rotations can be reduced
   by half through mechanical site preparation, planting, and suppression of hardwood competition.
   Conifer stem densities in plantations range from 800-5,000 stems/ha and may support relatively
   low populations of snowshoe hares because of the initial wide spacing of trees (Bellefeuille et al.
   2001, p. 44). Hare densities in plantations may increase after trees reach the sapling stage and
   branches intermingle at the ground level, creating horizontal cover if the lateral branches are not
   pruned (Parker 1984, p. 163; Parker 1986 p. 160; Roy et al. 2010, p. 285). However, the period
   of time that spruce plantations may support high hare densities in Maine and eastern Canada
   may be relatively short (10 to 17 years post-harvest) compared to regenerating softwood
   clearcuts (15-35 years post-harvest; Simons-Legaard et al. 2013, p. 569).

   Under certain forest stand conditions, herbicide treatment may have long-term effects on stand
   composition and structure (MacLean and Morgan 1983; Daggett 2003), thus potentially reducing
   food, cover, and habitat for hares (Borrecco 1976; Bellefeuille et al. 2001, p. 43; Thompson et
   al. 2003 p. 462). Understory deciduous stems were lacking in stands treated with herbicide
   (Homyack et al. 2004). Although herbicide treatments reportedly do not directly affect survival,
   fecundity, or other demographic parameters of snowshoe hares (Sullivan 1996), treatments
   have indirect effects on hares via changes in vegetative cover and browse (Homyack et al.
   2005, p. 10). In Norway, hare use of plantations was reduced up to 10 years after herbicide
   application (Hjeljord et al. 1988).

   Forest management can fragment and isolate patches of high-quality hare habitat (Simons-
   Legaard et al. 2016). Fragmentation of the already naturally patchy pattern of lynx habitat in
   much of the contiguous United States can affect lynx by reducing their prey base and increasing
   the energetic costs of using habitat within their home ranges. Buskirk et al. (2000a) identified
   direct effects of fragmentation on lynx to include creation of openings that potentially increase
   access by competing carnivores, increasing the edge between early-successional habitat and
   other habitats, and changes in the structural complexities and amounts of seral forests within
   the landscape. At some point, landscape-scale fragmentation from forest management can
   make patches of foraging habitat too small and too distant from each other to be effectively
   accessed by lynx as part of their home range. For example, in Maine the proliferation of partial
   harvesting will actually increase the patches of high-quality hare habitat by 57 percent, but the
   average size of patches will be diminished by 87 percent, and patches will become more
   isolated (Simons-Legaard et al. 2016, pp. 5-6).

   Changes in Frequency and Pattern of Disturbance Events - Prior to European settlement, the
   dominant natural disturbance processes that created early-successional stages within the range
   of the lynx were wildfire, insect and disease outbreaks, and wind events (Kilgore and
   Heinselman 1990; Veblen et al. 1994; Heinselman 1996; Agee 2000; Seymour et al. 2002;
   Lorimer and White 2003). In the DPS range, fire was more important in the West and Great
   Lakes areas and less a factor in the Northeast, where insects and wind events predominated.
   Today, natural disturbances, especially fire and insect outbreaks, remain the predominant forms
   of disturbance in boreal forests throughout much of the lynx’s range, including the western

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   contiguous United States, where they also influence and interact with forest management.
   However, forest management (i.e., timber harvest) is an important disturbance agent in some
   boreal forest types in the DPS range and, in some instances has greatly altered the natural
   disturbance regime. For example, prior to logging, the Acadian forest in Maine and eastern
   Canada likely exhibited forest gap dynamics similar to some parts of the West today, and true
   stand-replacing disturbances were quite uncommon with recurrence intervals of hundreds to
   thousands of years. After several centuries of forest management, stand age structures in the
   Acadian forest have become simplified, and commercial timber rotations (harvesting schedules)
   are a fraction (15 to 40 percent) of the lifespan of boreal tree species (Seymour 2002). Although
   the prevalence of these younger even-aged forest stands on the landscape may benefit hares
   and lynx in Maine, forestry has shifted the species composition of Maine’s forest to tree species
   favored by frequent harvest disturbance, such as red maple (Acer rubrum), paper birch (Betula
   papyrifera), aspen (big-toothed [Populus grandidentata] and quaking [P. tremuloides]), and
   balsam fir (Abies balsamea).


   3.4 Wildland Fire Management
   Wildfire is a natural and essential component of boreal and montane forests that plays an
   important role, along with forest insects and other disturbance factors, in creating and
   maintaining the shifting mosaic of stand ages and forest structure across large boreal
   landscapes that provide snowshoe hare and lynx habitats (Agee 2000, p. 47; Ruediger et al.
   2000, pp. 1-3, 2-5, 7-6; ILBT 2013, p. 75). Wildfire creates and maintains lynx habitats by
   providing periodic vegetation disturbances that result in the spatial and temporal distribution of
   early-successional forest stands or patches within older stands featuring dense horizontal cover
   at ground and snow level. These stands/patches provide high-quality hare foraging habitat and
   typically support high hare densities, which in turn provide high-quality lynx foraging habitat.
   They are generated by (1) high-intensity, stand-replacing fires that result initially in removal of all
   or most vegetation, followed by regeneration of dense horizontal cover, or (2) low- or moderate­
   intensity fires that stimulate understory development in older stands without killing all the
   overstory, resulting in patches of dense horizontal cover within multi-story stands (Agee 2000, p.
   53; Ruediger et al. 2000, p. 7-6). These habitats become most favorable for hares and lynx
   when regenerating conifers grow tall enough to protrude above the snow, providing cover and
   food for hares throughout the winter (ILBT 2013, pp. 10-12). They remain important as winter
   foraging habitat, which may be the most limiting habitat for lynx (Squires et al. 2010, p. 1656;
   ILBT 2013, pp. 17, 27), until they reach the stem-exclusion structural stage and self-pruning
   results in the loss of dense horizontal cover above the snow, or until another disturbance resets
   them to the stand-initiation structural stage (Agee 2000, pp. 62-71; Ruediger et al. 2000, p. 1-3;
   ILBT 2013, p. 27). The length of time to achieve favorable hare and lynx habitat after fire (or
   other vegetation disturbance) and the duration for which those conditions persist vary across the
   lynx range depending on soil and vegetation potential, temperature and precipitation patterns,
   topography, fire intensity, and perhaps other local conditions (Agee 2000, pp. 62-71; Ruediger
   et al. 2000, p. 2-5; ILBT 2013, pp. 27-29, 75). Generally, regenerating forests in the DPS range
   may begin providing winter hare habitat within 10-20 years after fire or other disturbance, with
   favorable conditions persisting for 20-30 years after that (Koehler and Aubry 1994, pp. 86-87;

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   Agee 2000, pp. 67-71; Fuller et al. 2007, p. 1985; McCann and Moen 2011, p. 515; Vashon et
   al. 2012, p. 15; ILBT 2013, pp. 28-29), although it may take longer, perhaps 35-40 years, for
   lynx habitat to recover in some parts of the range (e.g., Maletzke In Lynx SSA 2016a, p. 21).

   Fire frequencies, sizes, intensities, and return intervals also vary across the range of the lynx
   and depend on local vegetation communities, climatic conditions, and topography (Agee 2000,
   pp. 47-56; Ruediger et al. 2000, p. 4-8; ILBT 2013, pp. 75-76). In lynx habitats, fire intensity is
   typically high and fire return intervals long but variable, with large areas affected by infrequent
   stand-replacing fires and, in mixed fire regimes, moderate- or low-intensity fires in the intervals
   between stand-replacing events (Agee 2000, pp. 49-54; Ruediger et al. 2000, pp. 4-8, 7-6).
   Within the DPS range, fire return intervals in the Great Lakes Region appear similar to those in
   the core of the lynx’s range in the Canadian and Alaskan taiga (roughly 50-150 years), with
   longer return intervals in Western (150-300 years) and Northeastern (up to 500 years) forests
   (Agee 2000, pp. 52-53; ILBT 2013, pp. 75-76). Despite these long intervals, fire is the dominant
   natural disturbance mechanism in lynx habitats in the DPS range except in the Northeast, where
   insects and wind are more important (Agee 2000, p. 53).

   Current Federal wildland fire management policy recognizes fire as a natural ecological process
   essential to the health and resilience of some forest systems, and it attempts to balance the
   ecological, social, and legal aspects of wildfire (USDA and USDI 2009, p. 6). However, the prior
   history of fire response was largely one of active suppression for most of the last century
   (Zimmerman and Bunnell 2000, p. 288; USDI et al. 2001, p. 1-1; USDA and USDI 2003, p. 3; 68
   FR 40092; Calkin et al. 2015, pp. 1-3) which, combined with other land-use practices,
   dramatically altered fire regimes in some places and created conditions prone to larger and
   more severe fires (USDI et al. 2001, p. 1-2). Because of (1) fire’s important role in creating and
   maintaining high-quality early-successional hare habitat in most lynx habitats in the contiguous
   United States, (2) the potential for fire suppression to alter this dynamic to the detriment of
   hares and lynx, and (3) the limited ability of land managers (at that time) to use fire to benefit
   hares and lynx, wildland fire management was identified as a “Lynx Risk Factor Affecting Lynx
   Productivity” (Ruediger et al. 2000, pp. 2-5, 5-2). To address these concerns, the authors
   developed objectives, standards, and guidelines for Federal land managers to restore fire’s role
   in maintaining lynx habitats, attempt to mimic historical natural fire regimes, and integrate lynx
   habitat objectives into fire management plans (Ruediger et al. 2000, pp. 7-6 - 7-8). They also
   directed Federal land managers to evaluate whether fire suppression or other management
   practices had altered fire regimes and ecosystem function in potential lynx habitats and, where
   so, to use fire (naturally ignited fires or prescribed burns) as a tool to restore and maintain lynx
   habitat by creating or regenerating snowshoe hare habitat (Ruediger et al. 2000, p. 7-7).

   In its 2000 listing rule and 2003 remanded determination, the Service recognized the potential
   for fire suppression to adversely affect lynx and hare habitats at local and regional scales,
   particularly in the Great Lakes Region, where fire suppression policies across land ownerships
   likely prevented fire from assuming its natural role in creating a landscape mosaic of vegetation
   communities and age classes (65 FR 16076; 68 FR 40095). In the Northeast, the Service
   concluded that the very long fire return intervals and maritime influence in lynx forest types


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   indicated that fire did not historically play a significant role in creating or maintaining lynx and
   hare habitats and thus fire suppression was unlikely to have affected lynx habitat (68 FR
   40094). In the West, the Service concluded that the effects of fire suppression were likely lower
   in lynx forest types because of their typically long fire return intervals compared to lower and
   drier forest types (65 FR 16074; 68 FR 40093-94). Overall, the Service concluded that fire
   suppression did not represent a threat to lynx in the Northeast and was a low-magnitude threat
   in the Great Lakes, Southern Rockies, and Northern Rockies/Cascades (65 FR 16075-16076;
   68 FR 40093-40098).

   In response to the guidance provided in the LCAS, the USFS, when developing the NRLMD and
   the SRLA to amend forest plans to address lynx conservation (see 3.1.1), evaluated whether
   fire suppression had adversely affected potential lynx habitats on national forests in the
   Northern and Southern Rockies. The USFS concluded that many forests in potential lynx habitat
   are in Condition Class 1, which means they have not missed a fire cycle because large, stand­
   replacing fire only occurs every 100 to 200 years; the long fire return interval has not been
   affected to any large degree by more recent fire suppression as is the case in drier forests with
   short fire return intervals; and they are close to historical conditions (USFS 2007, pp. 18, 20;
   USFS 2008a, p. 11). In addition to the national forests covered by the NRLMD and SRLA (all
   national forests in the Northwestern Montana/Northeastern Idaho, GYA, and Western Colorado
   geographical units), the Superior National Forest, which accounts for 45 percent of the
   Northeastern Minnesota unit, revised its forest plan to adopt lynx conservation measures
   consistent with the LCAS (USFS 2004a, Appendix E). The Okanogan-Wenatchee National
   Forest in the North- central Washington unit is currently revising its management plan and
   continues to manage for lynx conservation in accordance with the LCAS, including direction to
   restore fire to its natural ecological role and to use it as a tool to restore and maintain hare and
   lynx habitats.

   As described above in section 3.1.1, current Federal management on most USFS and BLM
   lands, in accordance with formally revised or amended management plans, includes limits on
   the proportion of lynx habitat within LAUs that can be in an unsuitable condition at any given
   time, including such conditions, usually temporary, created by wildfire. Although some
   exemptions and exceptions to these limits are permitted for activities to reduce fire risks to
   communities and infrastructure in the wildland-urban interface (WUI) or to achieve other
   resource benefits, even these potential impacts are limited on the larger landscape scale
   (USFWS 2007, p. 7). These conservation measures and the direction to use fire management
   (as well as timber harvest/vegetation management) as a tool to restore hare and lynx habitats
   and return to natural temporal and spatial patterns of fire disturbance, which were not in place
   when the DPS was listed, likely further reduce what was even then considered the low potential
   threat to lynx of past fire suppression activities. Based on the information above, we conclude
   that fire suppression and other fire management activities have not substantially impacted lynx
   and hare habitats in the DPS range and are unlikely to do so in the future.

   However, warming temperatures attributed to climate change are reducing snowpack, causing
   earlier snowmelt and longer and more extensive droughts, resulting in longer wildfire seasons


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   and increased fire frequency, size, and intensity in boreal forests of the north and in boreal and
   montane forests in some parts of the DPS range (Weber and Flannigan 1997, entire; Stocks et
   al. 1998, entire; Gillett et al. 2004, entire; Kasischke and Turetsky 2006, entire; Soja et al. 2007,
   entire; Pierce et al. 2008, entire; Flannigan et al. 2009, entire; Krawchuk et al. 2009, entire; Le
   Goff et al. 2009, entire; Bergeron et al. 2010, entire; Salathe et al. 2010, entire; Abatzoglou
   2011, entire; McKelvey et al. 2011, entire; Abatzoglou and Kolden 2013, entire; Pederson et al.
   2013, p. 1815; Price et al. 2013, pp. 342-343, 352-354; Barbero et al. 2014, entire; Trenberth et
   al. 2014, entire; Barbero et al. 2015, entire; Jolly et al. 2015, entire; Lute et al. 2015, entire;
   USEPA 2015, entire; Lienard et al. 2016, entire; Littell et al. 2016, entire; Westerling 2016,
   entire; see also section 3.2 above). Increases in fire frequency and size have the potential to
   adversely affect lynx and hare habitats in the DPS range by rapidly converting large areas to the
   temporarily unsuitable stand-initiation successional stage, thus reducing the amount and
   altering the distribution of higher-quality habitats (ILBT 2013, p. 70). Although this would likely
   be a temporary impact, with burned areas subsequently regenerating into higher-quality habitat,
   it would likely reduce landscape-level hare densities and therefore lynx numbers, potentially
   compromising an area’s ability to support a resident lynx population until burned habitats
   recover.

   Because lynx habitats are naturally patchily-distributed and landscape-level hare densities
   already naturally marginal in many parts of the DPS range, it is possible that very large wildfires
   or many fires over a short time period could, perhaps in concert with other influencing factors,
   cause a shift in habitats in a given area from just barely capable of supporting a resident lynx
   population to no longer capable of doing so, resulting in extirpation. For example, as described
   in sections 2.3.2.2 and 4.2.4, large fires in Unit 4 during the past few decades have burned over
   a third of lynx habitat (Lewis 2016, pp. 4-6), increasing lynx home range size and reducing
   carrying capacity (Maletzke In Lynx SSA 2016, p. 21). If additional large fires occur in this unit
   before previously burned areas recover (10-40 years post-burn), carrying capacity and the lynx
   population would likely decline, further reducing the likelihood that resident lynx will persist
   (Lewis 2016, pp. 5-6; Lynx SSA Team 2016a, p. 44; also see sections 4.2.4 and 5.2.4). The loss
   of habitat resulting from these fires and its potential demographic impacts on the State’s only
   resident lynx population contributed substantially to the WADFW’s recent recommendation, and
   the State Fish and Wildlife Commission’s decision, to uplist lynx from threatened to endangered
   under its State Endangered Species Program (Lewis 2016, entire; WAFWC 2016, p.3).

   Wildfire frequency, size, and intensity have also increased in the Northwestern Montana/
   Northeastern Idaho geographic unit, where about 4,172 km2 (1,611 mi2; over 15 percent of the
   unit) have burned in western Montana from 2000-2013 (Squires In Lynx SSA Team 2016a, p.
   20). Large fires have also impacted lynx habitat in the Western Colorado geographic unit, where
   fire size, frequency, and intensity are expected to increase with climate change (Ivan In Lynx
   SSA Team 2016a, p. 23). As mentioned in section 2.3.2.2, large areas of the GYA unit were
   burned by the extensive wildfires of 1988. The extent to which those fires may have diminished
   lynx and hare habitats and contributed to the recent absence of resident lynx is uncertain, as is
   the potential for those burned areas to support high hare densities and resident lynx in the
   future. However, some burned areas may soon develop the dense horizontal conifer structure


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   favorable for hares and therefore for lynx foraging habitat, perhaps increasing the likelihood that
   they may support resident lynx in the near future.

   Fire suppression was in the past thought to be a potential risk factor for lynx in the DPS range.
   However, given the trends discussed above and the likely continued increase in future fire
   activity related to projected continued climate warming, it may be necessary to reconsider
   whether fire suppression in some lynx habitats could benefit lynx by reducing the potential for
   extirpation of lynx populations, especially in places already affected by increased fire activity
   and those that are naturally only marginally capable of supporting resident lynx.


   3.5 Habitat Loss and Fragmentation
   Habitat loss for lynx is, generally, the conversion of boreal forest to another land use or
   vegetative cover. Fragmentation, which may involve permanent or temporary habitat loss, has
   been variously defined to describe a reduction of total area, increased isolation of patches, and
   reduced connectedness among patches of natural vegetation (Rolstad 1991; ILBT 2013, p. 76).
   “Patchiness” is sometimes used to refer to natural processes (Buskirk et al. 2000a, p. 85),
   whereas “fragmentation” refers to anthropogenic disruption of natural patterns. Boreal forest
   habitats in most parts of the DPS range are naturally patchy (ILBT 2013, p. 76) and marginal for
   both snowshoe hares and lynx compared to the northern cores of both species’ ranges. In the
   northern contiguous United States, boreal forest transitions to various types of northern
   hardwood forest in the Northeast and Great Lakes Region and to drier, more temperate
   montane forests in the West. The transitional nature of the boreal forest at its southern extent is
   believed (along with competition from other hare predators) to limit the numbers of both hares
   and lynx, preventing either from achieving densities comparable to those regularly achieved
   (except during the low of the hare population cycle) in the classic boreal forests in the cores of
   both species’ ranges in Canada and Alaska (Wolff 1980, pp. 123-128; Buehler and Keith 1982,
   pp. 24, 28; Koehler 1990a, p. 849; Koehler and Aubry 1994, p. 84; 79 FR 54790).

   Forest loss and fragmentation are relatively low in the DPS range compared to other forested
   regions in the United States (Heilman et al. 2002, p. 416). Since 2000 in the western United
   States, land uses associated with residential development, roads, and highway traffic have
   resulted in a 4.5 percent (20,000 km2 [7,722 mi2]) loss in forest area, and continued expansion
   of residential development will likely reduce forested patches by another 1.2 percent percent by
   2030 (Theobold et al. 2011, entire). Human-caused fragmentation in the forested western
   landscape resulted in a decline of weighted mean patch size from roughly 35,000 km2 (13,514
   mi2) to 3,200 km2 (1,236 mi2) from natural to current conditions, but models predict relatively
   small declines in the size of forested patches over the next 30 years (Theobold et al. 2011, p.
   2451). In the eastern United States, nearly half or more of the natural forest was cleared in the
   past 3 centuries, but as agriculture and settlement relocated westward and some eastern
   farmlands were abandoned, eastern forest cover rebounded (Williams 1989; Smith et al. 2005).
   Similarly, a large portion of Minnesota’s forests was cleared in the last century and, although
   overall forest cover has rebounded, the forested area in northern Minnesota has decreased 4
   percent since 1977 (Miles et al. 2007, p. 22). Future trends portend increased human population

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   and declining forestland in the United States (Haynes 2003), but whether and to what extent
   forest conversion will affect boreal forest habitat in the DPS is uncertain.

   Effects of Fragmentation - Canada lynx seem to be flexible in their response to habitat
   fragmentation, whereas closely related species, such as bobcats and Iberian lynx, are sensitive
   to habitat fragmentation (Ferreras 2001; Crooks 2002). In southern Ontario, Hornseth et al.
   (2014, pp. 8-9) demonstrated that lynx exhibited a wide range of responses to habitat alteration.
   In general, lynx responded most positively to areas having greater than 50 percent suitable
   habitat and generally avoided areas having less than 30 percent suitable habitat. However, lynx
   showed no sensitivity to the degree of forest fragmentation in areas of high or low suitable
   habitat.

   In the DPS range, lynx achieve highest densities in landscapes having a high percentage of
   large, contiguous patches of high-quality hare habitat (Simons 2009; Simons-Legaard et al.
   2013). Throughout the DPS range, landscapes with more contiguous boreal forest habitat
   support more snowshoe hares than fragmented landscapes, and lynx select habitats that
   improve their foraging opportunities (Moen et al. 2008; Vashon et al. 2008a; Simons 2009;
   Fuller and Harrison 2010; Squires et al. 2010; Lewis et al. 2011, p. 565; ILBT 2013, p. 77).
   During winter, coarse-scale habitat selection by lynx in Maine maximized their access to
   snowshoe hares (Fuller and Harrison 2010; ILBT 2013, p. 77). In Montana, lynx similarly
   selected habitat patches that supported snowshoe hares and in winter avoided recent clearcuts
   or other open patches (Squires et al. 2010; ILBT 2013, p. 77). Several other studies
   documented lynx avoidance of large openings, especially during winter, probably because such
   habitats are rarely used by hares and would not, therefore, attract foraging lynx (Koehler 1990a;
   Mowat et al. 2000; von Kienast 2003; Maletzke 2004; Squires and Ruggiero 2007; ILBT 2013, p.
   77). Koehler (1990a) suggested that lynx movements and habitat use patterns could be altered
   temporarily by vegetation management that creates large distances (> 100 m [328 ft]) to
   forested cover (ILBT 2013, p. 77).

   Throughout the northern part of their range, snowshoe hares are found in vast areas of boreal
   forest interspersed with occasional bogs and fens and water that are less preferred. Conversely,
   southern hare populations (including most in the DPS range) occur primarily in insular patches
   of suitable habitat set amidst large areas of less-preferred habitats (Wolff 1980; Keith et al.
   1993). This disparity has led a number of biologists to speculate that habitat fragmentation
   ultimately may be responsible for the non-cycling nature of snowshoe hare populations in
   southern Canada and the northern contiguous United States (Dolbeer and Clark 1975; Buehler
   and Keith 1982; Keith et al. 1993; Strohm and Tyson 2009). Wolff (1980, 1981) described the
   mechanism by which a fragmented habitat might dampen or eliminate cyclic population
   fluctuations. The patchy distribution and generally lower densities of hares in many parts of the
   contiguous United States require lynx in most areas of the DPS range to maintain larger home
   ranges than lynx in the core of the species’ range (Mowat et al. 2000, pp. 265, 277-278). Larger
   home ranges likely require more energy output associated with greater foraging effort to acquire
   adequate food (Apps 2000, p. 364) and may expose lynx to increased risk of predation and



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   other mortality factors such as roads and trapping. At some point, landscape hare densities
   become too low, making some areas incapable of supporting lynx.

   Snow, also an important component of lynx habitat (79 FR 54809), can be patchily-distributed,
   variable and unpredictable from year to year, and affected by local topography, water bodies,
   and climate gradients. Snow depth (Hoving et al. 2005; Peers et al. 2013, entire) and
   persistence (Gonzalez et al. 2007) are believed to give lynx a competitive advantage over
   generalist predators in the contiguous United States. The snow environment in much of the DPS
   range is patchy and marginal in both space and time for snowshoe hares and lynx. Too little
   snow or crusting conditions may favor potential competitors and predators like bobcat, fisher,
   and coyotes. High elevations may provide snow conditions that favor lynx, whereas lower
   elevations may favor conditions for competitors. Snow conditions that provide lynx a competitive
   advantage over other terrestrial hare predators are most consistent in the high-elevation regions
   of the western United States, although snow alone does not constitute lynx habitat (i.e., many
   places receive sufficient snow but lack other features lynx need, typically adequate hare
   densities). Lynx likely have a competitive advantage at higher elevations in the DPS in the
   winter, but not in summer months when potential competitors have increased access to all
   habitats. Snow conditions are less consistent in the East. For example, lake-effect snow from
   Lake Superior can increase snow depth and duration in northeastern Minnesota in some years
   but not in others. The Gulf of Maine has the reverse effect, and its warming influence reduces
   snow depth and duration inland. Distribution models by Hoving (2001, p. 74) indicate that
   eastern Maine has extensive areas of boreal forest, but they do not achieve snowfall conditions
   associated with lynx presence in other parts of the state, and lynx are rarely found there.

   Naturally patchy forests and those fragmented by humans may exacerbate competition between
   lynx and other predators (Buskirk et al. 2000a, entire). Forest patchiness, fragmentation, and
   competition are strongly linked because vegetation mosaics in landscapes provide high-quality
   environments for generalist species such as the bobcat, red fox, and coyote (Goodrich and
   Buskirk 1995; Buskirk et al. 2000a, p. 84), and generalist predators tend to dominate the
   predator guild in patchy or fragmented landscapes (Oehler and Litvaitis 1996). Hares fluctuate
   less dramatically in the southern part of the lynx range, thus there is more competition for a
   limited resource and exploitation competition could be inflicted by generalists (e.g., coyotes) and
   other predators (Buskirk et al. 2000a, p. 95). Snowshoe hares in the south are concentrated in
   isolated patches of suitable habitat and subject to predation by a suite of generalist predators
   (e.g., Litvaitis et al. 1985; Sievert and Keith 1985; Keith et al. 1993; Cox et al. 1997). Keith et al.
   (1993) found that an extremely high predation rate on hares living in high-quality habitats
   seemed to be driving the changes in distribution and abundance in a snowshoe hare population
   in Wisconsin, rather than predation on naturally dispersing individuals. In that study, predation
   pressure on hare populations occupying small (< 7 ha [< 17 ac]) patches of preferred habitat
   was so severe that 3 of the 5 populations under investigation were extirpated in the course of
   the 3-year study. Fragmentation exacerbates the effect of predation by allowing carnivores to
   concentrate their hunting efforts on small patches of habitat used by their preferred prey instead
   of preying disproportionately on dispersing individuals (Wirsing et al. 2002, p. 170). In predator­



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   rich landscapes characteristic of the DPS, this can result in intense predation and competition
   for a limited prey resource.

   Landscape features further fragment hare and lynx habitat. In the western geographic units,
   potentially suitable boreal forests and appropriate snow conditions occur in relatively narrow
   elevational bands in the Cascade and Northern and Southern Rocky Mountains (McKelvey et al.
   2000a, pp. 243-246). Thus, lynx habitats are naturally fragmented by topography and vegetation
   gradients. These “islands” of habitat can be extensive (e.g., the Okanagan in Washington or
   most of northwestern Montana) or smaller and relatively isolated (e.g., the Garnet Range in
   western Montana) depending on topography and precipitation patterns. Some of these areas of
   boreal forest are separated by unsuitable habitats in the low valleys (e.g., sage flats, urban
   corridors, agricultural lands) or by snow regimes (e.g. snow shadows) that may discourage lynx
   dispersal between habitat patches (although verifed records of lynx in many parts of the
   contiguous United States and long-distance dispersal of lynx released in Colorado demonstrate
   that lynx at least occasionally navigate such habitats). In some western parts of the DPS range,
   lynx habitat is also fragmented by rugged, high elevation terrain (Carroll et al. 2001, p. 976). In
   most areas of the DPS, including Maine and Minnesota where there is little topography, lynx
   travel through a “matrix” of less suitable forested areas as they move between areas of higher-
   quality habitat. Large rivers are unlikely to fragment habitat as lynx readily swim across large
   bodies of water (Feierabend and Kielland 2014, entire) or cross them on ice in the winter (Koen
   et al. 2015).

   As described above, both lynx and hares are influenced by the spatial arrangement of preferred
   habitat. Lynx populations are clearly most viable in areas having extensive and relatively
   unfragmented boreal forest habitats with large patches of high-quality foraging (hare) habitat
   and persistent deep, unconsolidated snow. Similarly, individual lynx have the smallest home
   ranges and greatest survival and productivity in landscapes that have extensive, large patches
   of habitat in combination with deep, fluffy snow. The factors described above create a naturally
   patchy distribution of high-quality lynx habitat thoughout much of the DPS range, resulting in
   generally lower reproductive output and a more tenuous conservation status for lynx in many
   parts of the DPS relative to those in Canada and Alaska (Buskirk et al. 2000a, p. 95). Thus,
   human activities, described below, that increase boreal forest fragmentation may further reduce
   the quality of lynx habitat that is already naturally marginal thoughout much of the DPS range,
   perhaps reducing the likelihood that resident lynx populations will persist.

   Anthropogenic Sources of Fragmentation - Human activities can exacerbate the naturally-
   patchy habitat that is typical throughout much of the DPS range. Anthropogenic activities such
   as forest management, development, and highways alter natural landscape patterns. They
   cumulatively can reduce the total area of habitat, diminish the quality of habitat, increase the
   isolation of habitat patches, and impair the ability of lynx and other wildlife to effectively move
   between patches of habitat. Anthropogenic fragmentation may be permanent, for example by
   converting forest habitat to residential, industrial, or agricultural purposes, or temporary, for
   example by conducting forest management but allowing trees and shrubs to regrow. Habitat



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   fragmentation (both natural and anthropogenic) increases the risk of extirpation of small lynx
   populations.

   Human-caused fragmentation of the already naturally patchy pattern of lynx habitat in the
   contiguous United States can affect lynx by reducing their prey base and increasing the
   energetic costs of using habitat within their home ranges. Buskirk et al. (2000a) identified direct
   effects of fragmentation on lynx to include creation of openings that potentially increase access
   by competing carnivores, increasing the edge between early-successional habitat and other
   habitats, and changes in the structural complexities and amounts of seral forests within the
   landscape. At some point, landscape-scale fragmentation can make patches of foraging habitat
   too small and too distant from each other to be effectively accessed by lynx as part of their
   home range. Maintaining a mosaic of large (> 40 ha [100 ac]) patches of young to old stands in
   patterns that are representative of natural ecological processes and disturbance regimes would
   be conducive to long-term conservation of lynx (ILBT 2013, p. 77).

   Roads, development, climate change, and forest management fragment snowshoe hare and
   lynx habitat in the DPS. We know little about how hare and lynx respond to these
   anthropomorphic changes to their habitat, which requires additional research (Murray et al.
   2008, p. 1464; Squires et al. 2013, p. 194). In the next decades, southern lynx populations will
   likely incur further habitat loss and fragmentation from these and other factors. Changes in
   habitat, prey base, and perhaps competitor guild will likely impact lynx populations in the DPS
   and in southern Canada.

   Roads - Paved highways fragment lynx habitat. They surround large areas of lynx habitat in
   Minnesota and northern Maine. In the West, they typically follow natural features such as rivers,
   valleys, and mountain passes that may have high value for lynx in providing habitat or
   connectivity. Nonetheless, the density of paved roads is generally low in most lynx habitat in the
   DPS range. Various studies have documented lynx crossing highways. A male lynx in western
   Wyoming was documented to have successfully crossed several 2-lane highways during
   exploratory movements (Squires and Oakleaf 2005). However, in Alberta, Canada, high road
   densities, human activity, and associated developments appeared to reduce the habitat quality
   based on decreased occupancy by lynx (Bayne et al. 2008). Apps et al. (2007) found lynx were
   13 times less likely to cross the Trans-Canada Highway (a 4-lane highway) relative to random
   expectation, but only 2.2 and 3.1 times less likely to cross smaller 2-lane highways (93 and 1A,
   respectively). In southeastern British Columbia, lynx avoided crossing highways within their
   home ranges (Apps, 2000). Squires et al. 2013 (p. 194) documented 44 radio-collared lynx with
   home ranges within an 8 km buffer of 2-lane highways; however, only 12 of these individuals
   crossed the highway. Paved highways also pose a risk of direct mortality to lynx and may inhibit
   lynx movement between previously connected habitats. If lynx avoid crossing some highways,
   this could lead to a loss of effective habitat within a home range and reduced interaction within a
   local population (Apps et al. 2007). Lynx and other carnivores may avoid using habitat adjacent
   to highways, or become intimidated by highway traffic when attempting to cross (Gibeau and
   Heuer 1996; Forman and Alexander 1998).



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   Carnivores are especially vulnerable to highway-caused mortality in areas with dense and high
   traffic volume roadways (Clevenger et al. 2001). As the standard of roads increases from single­
   lane gravel to 2-lane or 4-lane highways, traffic volumes and the degree of impact are expected
   to increase. Walpole et al. (2012, p. 770) found that small logging roads with low traffic volume
   had no effect on lynx distribution, and lynx in Nova Scotia followed road edges for considerable
   distances (Parker 1981, p. 229). In Maine, lynx occasionally travel on unplowed logging roads
   during winter, but these roads and their associated edge habitat were selected against within
   home ranges (Fuller et al. 2007, p. 1983). Lynx killed fewer hares near logging roads in Maine
   likely because hare density was lower there than in adjacent un-roaded habitats (Fuller et al.
   2007, p. 1985; Fuller and Harrison 2010, p. 1274) or possibly because of increased potential for
   interactions with generalist competitors suchs as coyotes (Fuller et al. 2007, p. 1985). In
   Minnesota, Moen et al. (2010b) found that lynx selected for roads during long-distance
   movements. Although roads may not be essential to these movements, lynx appeared to benefit
   energetically from the use of these linear features. Squires et al. (2008) reported that lynx
   denned farther from all roads compared to random expectation.

   Four-lane highways, such as the interstate highway system, commonly have fences on both
   sides, service roads, parallel railroads or power lines, and impediments like "Jersey barriers"
   that make successful crossing more difficult, or impossible, for wildlife (ILBT 2013, p. 78).
   Alexander et al. (2005) suggested traffic volumes between 3,000 and 5,000 vehicles per day
   may be the threshold above which successful crossings by carnivores are impeded. In
   Colorado, lynx successfully and repeatedly crossed major highways, including I-70 (Ivan 2011c;
   2011d; 2012). Colorado lynx crossed 2-lane highways an average of 0.6 times per day and
   more frequently during dusk and at night when traffic volume was lower (Baigas et al. 2017, p.
   204). They also crossed 4-lane highways (I-70), especially in forested areas under large,
   elevated bridges that spanned streams (Baigas et al. 2017, p. 204).

   Between 2000 and 2015, 54 lynx were reported to have been killed on roads (both paved and
   unpaved) in Maine (Vashon, MDIFW, unpubl. data), 9 in Minnesota (and 2 hit by trains; USFWS
   2016b, unpubl. data), 1 in Idaho, and 5 in Montana (USFWS 2016c, unpubl. data). Between
   1995 and 2011, 15 lynx were reported killed on British Columbia highways (British Columbia
   Wildlife Accident Reporting System 2012, as cited in ILBT 2013, p. 78). Most of these mortalities
   are on higher-speed paved highways. However, in Maine, about 41 percent (22 of 54) were
   killed on dirt logging roads with low traffic volumes and lower speed limits. In Minnesota, 2 lynx
   were killed on backcountry railroads and 2 on unpaved forest roads. Backcountry roads also
   provide human access into lynx habitat where incidental trapping or illegal shooting can occur.

   Translocated lynx may be more vulnerable to road mortality than resident lynx (Brocke et al.
   1991, p. 308), because they often move extensively after their release and are unfamiliar with
   their surroundings (ILBT 2013, p. 78). In the Adirondack Mountains of New York, an attempt to
   reintroduce lynx failed and 18 of 37 documented mortalities (among 83 lynx released over 3
   years; Brocke et al. 1993, p. 1) were attributed to road kills (Brocke et al. 1991, p. 308; ILBT
   2013, p. 78). Over a 7-year period in Colorado, 13 of 102 documented mortalities of
   translocated lynx were the result of vehicle collisions on highways (Devineau et al. 2010, p.


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   528) . Traffic volumes on those Colorado highways were estimated to range from about 2,300 to
   > 25,000 vehicles per day (USFWS 2016c, unpubl. data, p. 1).

   In summary, roads of all sizes may have direct (e.g., habitat loss and fragmentation, vehicle
   collisions) as well as indirect effects to lynx. The latter may include increasing human access,
   potentially resulting in increased incidental trapping and illegal shooting; creating edge habitats
   that may promote co-occurrence with potential competitors like coyotes and bobcats (Bayne et
   al. 2008, p. 1195); reducing prey densities; and influencing lynx behavior, both detrimentally
   (avoidance) and beneficially (energetic savings during long-distance movements). Although
   potential adverse impacts of roads in lynx habitats likely outweigh any potential benefits, thus far
   population-level impacts of roads have not been demonstrated among DPS lynx populations.

   Vegetation Management - As described above in section 3.3, forest management can further
   fragment boreal forest in the northern contiguous United States, potentially affecting habitat
   suitability for both snowshoe hares and lynx. Large-scale forest fragmentation or maturation can
   be detrimental to snowshoe hares because both can cause hares to become increasingly
   restricted to remaining small patches with adequate cover, where higher predation rates from a
   variety of carnivores tend to increase local hare extinction risk (Wolff 1981; Keith et al. 1993;
   Wirsing et al. 2002; see also Barbour and Litvaitis 1993, entire). Although forest management
   can benefit lynx if it creates, maintains, or restores a shifting mosaic of high-quality habitat, it
   can also be detrimental if it fragments habitat into small, widely-spaced parcels. Changes to
   vegetation structure can influence lynx movements; in Montana, fragmentation from forest
   thinning decreased the probability of lynx movements across the forested landscape (Squires et
   al. 2013, p. 192). Lynx in the Northern Rockies also seem sensitive to changes in forest
   structure and avoid large forest openings like recent clearcuts and thinned areas, particularly in
   winter (Koehler, 1990a; Squires et al. 2010). Modeling in Maine suggests that the shift from
   clear-cutting to partial harvesting will likely increase the number of patches of high-quality hare
   habitat but greatly reduce the size of patches and increase their isolation (Simons-Legaard et al.
   2016, pp. 5-6), thus diminishing landscape habitat quality for lynx. See section 3.3 for further
   discussion of vegetation management as a potential source of habitat fragmentation.

   Residential and Commercial Development - Residential and commercial development is
   increasing on private forest lands. Increased traffic and urbanization are projected for the
   Northern Rockies (Hansen et al. 2002) and Maine (also see section 5.2.1). It is uncertain to
   what degree lynx can tolerate habitat fragmentation from roads and clearing forest for
   development, and how human and pet activity associated with development may affect lynx use
   of habitats. Some anecdotal information suggests that lynx are quite tolerant of humans,
   although given differences in individuals and contexts, a variety of behavioral responses to
   human presence may be expected (Staples 1995, Mowat et al. 2000). The degree to which
   residential development and associated roads reduce connectivity of mesocarnivore populations
   (including lynx) likely depends on the physical design of highway improvements, the
   surrounding environmental features, the density of increased urbanization, and the increased
   traffic volume (Clevenger and Waltho, 2005; Grilo et al. 2009).



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   Ski area development also results in permanent habitat loss and fragmentation. One ski run is
   often separated from the next only by small inter-trail forest islands. Ski runs often are
   intermixed with other open areas such as open or gladed bowls, rock outcrops, or barren tundra
   ridges. Ski resorts that are built or expanded in lynx habitat may impact lynx by removing forest
   cover, reducing the snowshoe hare prey base, and creating or increasing human disturbance in
   or near linkage areas. There is limited information on lynx behavior and habitat use in and
   around ski areas. Lynx have been known to incorporate smaller ski resorts within their home
   ranges, but may not utilize the large resorts. Preliminary information from an ongoing study in
   Colorado suggests that some recreational use may be compatible, but lynx may avoid some
   areas with concentrated recreation use. In some areas, lynx habitat may be limited and
   concentrated in the ski area development footprint (ILBT 2013, p. 55). More than 50 ski areas
   exist throughout the range of the lynx in the contiguous United States (ILBT 2013, pp. 82-83).
   Most ski areas are located on north-facing slopes, where ample snow conditions provide for
   extended ski/snowboard recreational seasons. In the western states, many of these landscapes
   feature spruce-fir forests. While ski resorts occupy a small proportion of the landscape, spruce­
   fir forests provide important habitat for snowshoe hares and lynx at the southern extent of their
   range. In winter, alpine and Nordic skiing and snowboarding are the primary uses. Most of these
   resorts offer year-round recreation, with summer activities typically including hiking and
   mountain biking. Despite concerns regarding ski-area impacts to lynx, they have affected only a
   tiny fraction of potential lynx habitats in the DPS range, and no population-level effects of ski
   areas or related recreation activities have been demonstrated for DPS lynx populations.

   Mineral Extraction - Mining and oil and gas exploration and production activities occur primarily
   within the western units of the DPS although there is increased interest in mining in the
   Minnesota and Maine units. Lynx habitats may be lost and fragmented as a result of mining,
   similar to other development: loss of boreal forest; construction of roads, railroads, and
   transmission lines; and increased human access and disturbance where lynx occur. In the
   West, for example in the Wyoming Range (Unit 5), extensive oil and coal bed methane
   development can affect large areas of landscape (e.g., 1 well per 2-4 ha (5-10 ac) and could
   diminish potential lynx habitat in some areas. Open pit and subsurface mines can affect from
   tens to thousands of hectares of habitat. To reduce effects of mineral development, land
   exchanges are sometimes implemented to consolidate private land ownership of the surface
   above a deposit to be mined. Depending on the lands exchanged, this could retain lynx habitat
   in public ownership. Surface deposits of minerals and gravel for forest road construction are
   excavated within some lynx areas and vary from a single truck load to tens of acres. Although
   mining and oil and gas development can result in loss and fragmentation of lynx habitats, thus
   far, effects to DPS lynx populations have not been demonstrated.

   Wind Energy - Wind energy development and associated transmission lines are increasing
   across the nation and could affect lynx habitats. Facilities are often located on ridge tops or
   other areas exposed to consistent wind. Construction of wind facilities, including access roads,
   clearing for turbines, and transmission lines, may result in loss of lynx habitat and increased
   fragmentation from permanent forest clearings. Noise and human activity associated with the
   construction and operation of wind facilities could disturb or displace lynx from important


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   habitats. Effects would likely continue through the life of the project, which may exceed 20
   years. Wind energy development has occured in some areas of the lynx DPS but has effected
   relatively small amounts of lynx habitat. Despite being a potential source of additional habitat
   loss and fragmentation, there is no information to suggest that wind energy development has
   had population-level effects on lynx in the DPS range.

   Utility Corridors - Utility corridors contain developments such as overhead or buried powerlines
   and gas pipelines, and often are located within or adjacent to existing road rights-of-way. Utility
   corridors potentially could have short- or long-term impacts to lynx habitats, depending on
   location, type, vegetation clearing standards, and frequency of maintenance. Those that are
   extensively cleared of vegetation and maintained in grass or herbaceous vegetation likely
   equate to a permanent habitat loss. When associated with highways and railroads, utility
   corridors may further widen rights-of-way. Utility corridors can facilitate human access into
   previously remote areas potentially exposing lynx to increased trapping, illegal shooting, or
   other human disturbance. In most instances, naturally-vegetated utility corridors are less than
   300 m (984 ft) wide and would not be expected to block lynx movements. Despite being a
   potential source of additional habitat loss and fragmentation, there is no information to suggest
   that impacts from utilitiy corridors have had population-level effects on lynx in the DPS range.

   Agriculture - Agricultural activity currently is not expanding in lynx habitat areas and has
   decreased in some parts of the DPS range. For example, the amount of farmland in northern
   Maine has declined by over 75 percent, from over 1.2 million ha (3 million ac) in the late 1800s,
   to about 283,000 ha (700,000 ac) early this century (Ahn et al. 2002, p. 8). Most of the current
   farming is in northeastern Maine, where it fragments the forested landscape corridor between
   core habitats in northern Maine and western New Brunswick. However, lynx have been
   documented dispersing through this landscape (J. Vashon, Maine Department of Inland
   Fisheries and Wildlife, unpubl. data). Forest clearing for agriculture also may have contributed
   (along with increasing road densities and an expansion in coyote distribution) to the recent
   contraction in the southern part of lynx range in eastern Alberta (Bayne et al. 2008, p. 1195).
   Overall, agricultural activities occur at very low levels within potential lynx habitats in the DPS
   range, and no impacts to DPS lynx populations have been demonstrated.

   Habitat Loss and Fragmentation in Corridor Areas Connecting Lynx Populations in the DPS with
   Acjacent Populations in Canada - Lynx conservation in the contiguous United States is thought
   to depend in part on maintaining connectivity with habitat areas and lynx populations in Canada.
   Maintaining connectivity for lynx may become increasingly difficult because of climate change
   and other anthropogenic influences, as evidenced by reduced connectivity for other boreal
   species (van Oort et al. 2011). Potential corridors have been identified in the northern Rockies
   (Squires et al. 2013, entire). There are likely broad forested corridors with suitable dispersal
   habitat connecting core habitats in Maine to southern Quebec and northern New Brunswick, and
   northern Minnesota to southern Ontario. Given the perceived importance of lynx immigration
   from Canada to the persistence of the DPS (FR 68 40076- 40101; Squires et al. 2013, p. 187),
   roads and other forms of habitat loss and fragmentation that may impede lynx movements in the
   border regions of Canada and the United States are of concern.


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   Summary - Although lynx responses to forest management and forest roads are relatively well
   understood (e.g., Simons-Legaard et al. 2016, entire; sections above), their response to other
   human activity and types of development remain poorly understood. Nearly all studies of lynx in
   North America occurred in remote areas where human activity and development are minimal. In
   more developed areas of the DPS range, lynx may have to balance selection for prey density
   against mortality risk from humans. For example, in a developed landscape in Norway, Eurasian
   lynx demonstrated a trade-off in habitat selection, avoiding areas near human development
   despite high prey (roe deer, Capreolus capreolus) densities, and instead selecting areas with
   intermediate prey abundance and lower levels of human disturbance (Basille et al. 2009, pp.
   687-690). Their occurrence in areas having intermediate human occupancy (Basille et al. 2009,
   p. 687) confirms their ability to live in relatively human-modified habitats. Because lynx and
   snowshoe hares in North America are not typically associated with human development, it is
   uncertain whether Canada lynx would make similar trade-offs between prey density and risks
   associated human activity.

   Overall, most lynx habitats in the DPS range are naturally fragmented, which limits the
   abundance and density of both hares and lynx. The largest source of anthropogenic
   fragmentation throughout the DPS range is vegetation management (timber harvest and related
   silvicultural treatments), which has thus far benefitted lynx in northern Maine by creating optimal
   hare (and thus lynx foraging) habitat. In other geographic units, there have likely been localized
   adverse (and potentially some beneficial) impacts of vegetation management to lynx habitats
   and perhaps individual lynx. However, we find no evidence that habitat loss and fragmentation
   from forest management or other anthropogenic activites have had population-level negative
   consequences for resident lynx in the DPS range or resulted in extirpation of lynx from areas
   that previously supported persistent resident populations. That said, many parts of the DPS
   range seem naturally only marginally capable of supporting resident lynx populations, and it is
   possible that relatively low levels of anthropogenic habitat loss and fragmentation, in addition to
   natural fragmentation, could diminish landscape-level hare densities to the point that resident
   lynx populations may be unable to persist.


   Chapter 4: Current Conditions
   In this chapter, we present our understanding, based on the best available scientific information,
   including the professional judgment and opinions of lynx experts, of the current status of the
   lynx DPS in terms of redundancy, representation, and resiliency. We then provide brief
   summaries of the current conditions in each geographic unit, followed by a more detailed
   evaluation of the status of lynx populations and habitats and the factors currently believed to
   influence them in each unit. Where appropriate, we compare our current understanding to what
   was known or believed when the DPS was listed under the ESA in 2000 and to our
   understanding of historical conditions.




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   4.1 Summary of Current Conditions DPS-wide
   Because of the limitations and uncertainty in the historical records of lynx occurrence in the
   contiguous United States (described above in section 2.3.2.1), it is difficult to compare the
   current distribution and status of resident lynx populations in the DPS with what may have been
   the historical condition (but see evaluation in section 2.3.2.2). However, research and surveys
   over the last 2 decades have significantly improved our understanding of the current distribution,
   habitats, and the status of resident populations compared to what was known when the DPS
   was listed in 2000. For example, although we knew there were some resident lynx in Maine
   (Unit 1), we lacked information on the quality and distribution of lynx and hare habitats and the
   potential number of lynx. We now know this unit currently has large areas of high-quality habitat
   created by the regeneration of areas of extensive clear-cutting in the 1970s and 1980s in
   response to a large spruce budworm outbreak, that there are probably more lynx in Maine now
   than was likely under historical natural disturbance regimes and habitat distributions, and that
   currently this unit probably supports the largest resident lynx population in the DPS. Similarly,
   when the DPS was listed, we were uncertain whether Minnesota (Unit 2) supported a resident
   population. We now know that a persistent population occupies the northeastern corner of the
   state. Research also suggests that lynx and habitats in the western United States (Units 3, 4, 5,
   and 6) are naturally less abundant and more patchily-distributed than was thought at the time of
   listing, and several areas thought to have historically supported small resident populations
   currently do not (the GYA [Unit 5], the Garnet Mountains in western Montana [Unit 3], and the
   Kettle Mountains of northeastern Washington). We also know that recent extensive wildfires in
   north-central Washington (Unit 4) have substantially reduced (probably temporarily) the amount
   of high-quality lynx habitat and likely caused a decline in lynx numbers there. Finally, as a result
   of the release of 218 Canadian and Alaskan lynx from 1999-2006 and the subsequent survival
   and reproduction of some of these lynx and some of their offspring, resident lynx currently
   occupy parts of western Colorado (Unit 6), although the current number of lynx there is
   uncertain.

   With regard to redundancy, defined as the ability of the DPS to withstand catastrophic events,
   we find that the current broad distribution of resident lynx populations in large, geographically
   discrete areas makes the DPS invulnerable to extirpation caused by a single catastrophic event.
   The DPS range currently spans the northern contiguous states from Maine to Washington and
   south along the Rocky Mountains to southern Colorado. Resident breeding lynx populations
   currently occupy 5 of the 6 geographic units (all but the GYA; fig. 1). Of the 5 occupied units, 4
   are larger than 20,000 km2 (7,722 mi2), and the other (North-central Washington) is over 5,000
   km2 (1,931 mi2; see tables 2 and 3). Our analyses and lynx expert imput indicate no single
   catastrophic event that could result in the functional extirpation (loss of the ability to support
   resident lynx populations) of the entire DPS and, further, no or a very low likelihood of functional
   extirpation of any of the individual geographic units caused by a single catastrophic event (Lynx
   SSA Team 2016a, p. 56).

   Because we lack evidence that resident lynx populations have been lost from any other large
   geographic areas in the contiguous United States, it also seems that redundancy in the DPS


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   has not been meaningfully diminished from historical levels. That is, the loss of resident lynx
   populations in the DPS, to the extent suggested by verified historical records, was likely in areas
   peripheral to the geographic units that currently support resident lynx (e.g., northern New
   Hampshire [McKelvey et al. 2000a, pp. 212-214], the Kettle/Wedge area of northeastern
   Washington [Koehler et al. 2008, p. 1523; Lewis 2016, pp. 1-2], Isle Royale in Lake Superior
   [Licht et al. 2015, entire]). Any small populations that were lost were not in large, discrete
   geographic units that would have represented substantially greater redundancy in the
   contiguous United States. The implications of the potential recent loss of resident lynx in the
   GYA for the redundancy of the DPS are unclear. The historical record and recent research show
   that the GYA has supported resident lynx. However, it is unclear whether the area consistently
   supported a resident breeding population over time or whether it naturally supported resident
   lynx only some of the time (“winked on” in a metapopulation sense) when habitat conditions and
   hare densities were favorable, and at other times, when habitats and hare densities were less
   favorable, it did not support resident lynx (“winked off” in a metapopulation sense). Given the
   protected conservation status of millions of acres in the GYA unit (Yellowstone and Grand Teton
   national parks; all or parts of the Absaroka-Beartooth, Bridger, Gros Ventre, Lee Metcalf,
   Northern Absaroka, Teton, and Washakie Wildernesses), its apparent recent inability to support
   resident lynx may be a reflection of naturally marginal and patchy habitats and relatively low
   hare abundance in much of the unit, resulting in only an intermittent ability of this unit to support
   resident lynx. If so, the contribution of the GYA to redundancy within the DPS is questionable.

   Representation, defined as the ability of the DPS to adapt to changing environmental conditions,
   is characterized by the breadth of genetic and ecological diversity within and among populations
   (Lynx SSA Team 2016a, p. 25). Lynx experts and geneticists indicated high rates of dispersal
   and gene flow and, therefore, generally low levels of genetic differentiation across most of the
   species’ range, including the DPS (Lynx SSA Team 2016a, pp. 12-14, 55-56). Although
   hybridization with bobcats has been documented in the DPS (in Maine and Minnesota), it is not
   considered a substantial current threat to the DPS (Lynx SSA Team 2016a, p. 13). Further,
   despite differences in forest community types and other habitat parameters (e.g., topography
   and elevations) lynx across the range of the DPS occupy a similarly narrow and specialized
   ecological niche defined by specific vegetation structure, snow conditions, and the abundance
   of a single prey species. Therefore, lynx likely have little ability to adapt to changing
   environmental conditions (i.e., shift to other forest habitats, snow conditions, or primary prey
   species). However, although some small populations may have become extirpated recently,
   resident lynx in the DPS remain broadly distributed across the range of ecological settings that
   seems to have supported them historically in the contiguous United States. Because there are
   no indications of current threats to the genetic health or adaptive capacity of lynx populations in
   the DPS, we find that the current level of representation does not appear to represent a
   decrease from historical conditions.

   Resiliency, the ability to withstand stochastic disturbance events, is currently exhibited in the
   lynx DPS by the persistence of individual lynx populations and their broad distribution across the
   geographic scope of the DPS. However, because we lack reliable estimates of the sizes and
   trends of most lynx populations in the DPS, we are unable to use these parameters to evaluate


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   the current resiliency of individual populations or geographic units. Although some demographic
   data (survival, reproductive rates) are available for each geographic unit (see table 4), they were
   collected using different methods, at different times, and for different intervals, and possibly at
   different points in hare population cycles or fluctuations and, therefore, do not provide a
   consistent measure of resiliency. Efforts to understand resiliency within the DPS are also
   confounded by the metapopulation structure thought to govern lynx populations at the southern
   margin of their continental range, which suggests that some populations may be naturally
   ephemeral (i.e., “winked on” when conditions are favorable; “winked off” when conditions are not
   favorable). The related uncertainty about the extent to which DPS populations may rely on cyclic
   immigration of lynx from Canada during population irruptions and the ambiguity in the historical
   record that limits our understanding of the relative persistence of lynx in various geographical
   areas also limit our ability to characterize, rank, or model the relative contribution of each
   geographic area to the resiliency of the DPS.

   Despite uncertainties and data deficiencies, qualitative factors provide some hints about current
   relative resiliency among some geographic areas or parts of them. For example, in Maine, lynx
   have demonstrated resiliency by responding positively to substantial anthropogenic increases in
   the amount and distribution of high-quality foraging habitat. Conversely, the current apparent
   absence of resident lynx in the GYA (Unit 5) and in the Garnet Mountains of Unit 3 may indicate
   the lower level of resiliency expected among small and relatively more isolated populations. The
   persistence of lynx in north-central Washington (Unit 4) despite the substantial recent wildfire-
   mediated loss of habitat suggests resiliency in that population; however, the post-fires increase
   in home range size and likely decrease in lynx numbers may indicate the population is currently
   less resilient (less able to persist if additional or similar habitat losses occur) than it was
   previously. Overall, the apparent long-term (historical and current) persistence of resident lynx
   populations in at least 4 of the 6 geographic units (Units 1-4), and the absence of reliable
   information indicating that the current distribution and relative abundance of resident lynx are
   substantially reduced from historical conditions, suggest historical and recent resiliency of lynx
   populations in the DPS.

   In summary, the lynx DPS currently exhibits redundancy sufficient to preclude extirpation as a
   result of catastrophic events. The genetic health and ecological diversity expressed across the
   DPS range likewise suggest the recent and current maintenance of representation. The long­
   term persistence and broad geographical distribution of lynx populations in 4 of the 6
   geographic units also suggests historical and recent resiliency in the DPS, although the
   potential recent extirpation of several small populations may be an indication of declining
   resiliency in those places.

   4.1.1 Summaries of Current Conditions in Each Geographic Unit

   Unit 1 - Northern Maine: This geographic unit encompasses the northern hardwood and
   spruce-fir (Acadian) forest in roughly the northern half of Maine. Resident lynx in this unit
   represent the southern periphery of a larger and highly resilient population (Harrison 2017, p. 3)
   that also occupies southern Quebec (where trapping is legal) and northern New Brunswick

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   (where lynx are a provincially-endangered species and harvest is prohibited). Although the
   actual number of resident lynx in this unit is unknown, the MDIFW believes this unit currently
   may be capable of supporting 750-1,000 lynx based on estimates of habitat distribution and lynx
   home range sizes (Vashon et al. 2012, pp. 87-91), which would make it the largest population in
   the DPS. This is many more resident lynx than likely occurred historically and many more than
   were suspected to occur in this unit when the DPS was listed, and it is the result of extensive
   clearcutting and herbicide application to salvage spruce-fir and encourage softwood
   regeneration following a severe spruce budworm outbreak in the 1970s and 1980s (Hoving et
   al. 2004; Vashon et al. 2008b; Simons 2009, pp. 122-165). Those past treatments have created
   the current extensive distribution of young, regenerating softwood stands that provide optimal
   hare foraging habitat. Lynx responded to these conditions with high survival and reproduction,
   small home ranges, and the highest densities documented in the DPS. Historically, under a
   more natural disturbance regime, Maine typically had a greater proportion of mature forest and,
   therefore a patchier distribution of high-quality habitat that likely supported a smaller lynx
   population that may have been more dependent on immigration from Canada. State forestry
   regulations passed in 1989 caused landowners to shift to various forms of partial harvesting that
   have resulted in lower landscape hare densities across much of the unit. Hare populations do
   not seem to cycle in this region, but hare density estimates from 2008-2015 declined by over 50
   percent compared to estimates from 2001-2006. Reproduction and adult survival declined in the
   low-hare environment after 2006, although kitten survival remained high. Unlike other DPS
   units, lynx habitat in northern Maine occurs nearly entirely on private, industrial forest lands,
   most of which lack long-term commitments to lynx management. The majority of private lands in
   this unit are now owned by investment companies seeking to diversify income from their
   investments, which could result in forest practices less likely to maintain or conserve hare and
   lynx habitat. Other potential stressors to lynx in this unit include incidental trapping, road
   mortality, large-scale wind energy development, residential and resort development, and
   parcelization of forestlands from rapid turnover in investment company landowners. Another
   spruce budworm outbreak may be imminent, and forestry response by investment landowners is
   uncertain. Climate change is a concern because average annual snowfall and duration are
   currently at the minimum thresholds believed necessary to give lynx a competitive advantage
   over bobcats and other mesocarnivores. Although lynx regularly occur outside this unit in
   southeastern and southwestern Maine, and small numbers of reproducing lynx have also been
   documented recently in northern New Hampshire and northern Vermont, the ability of some of
   these peripheral areas to support persistent breeding populations is questionable. However,
   recent telemetry data in Maine suggest that resident lynx are expanding both east and south of
   the Northern Maine Geographic Unit, with home range maintenance and reproduction
   documented in both areas, which previously were considered outside the area capable of
   supporting resident lynx (Vashon 2017, pers. comm.).

   Unit 2 - Northeastern Minnesota: This geographic unit contains a mix of upland conifer and
   hardwood interspersed with lowland conifer, alder (Alnus spp.) or willow (Salix spp.) shrub
   swamps, and black spruce (Picea mariana) or tamarack (Larix laricina) bogs. Despite
   uncertainty when the DPS was listed, it has become apparent that a reproducing resident
   population of roughly 50 to 200 lynx exists in northeastern Minnesota. This unit is directly


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   connected to lynx habitats and populations in Canada, and lynx in this unit likely represent the
   southern extent of a larger cross-border population, most of which occurs in Ontario, where
   trapping of lynx is legal. Lynx in Minnesota select regenerating forest dominated by conifer with
   extensive forest edge; lynx beds (resting and hunting) and kill sites are associated with
   regenerating and mixed forest (Burdett 2008, p. 57). Hare densities in parts of northeastern
   Minnesota appear to be sufficient to support a viable lynx population and are highest in
   regenerating forests (McCann and Moen 2011, p. 513). The Superior National Forest continues
   to manage lynx habitats in accordance with its 2004 Forest Plan, which includes measures to
   minimize several risk factors and promote lynx conservation on the forest. Management of lynx
   habitat on State and private lands is voluntary and lacks long-term commitments to lynx
   management. Factors affecting current conditions in this unit primarily include forestry
   management, roads, and incidental trapping; other factors that could potentially impact resident
   lynx in this unit include mining development, snow compaction related to winter recreation,
   competition with bobcats, and lynx-bobcat hybridization. Since 2000, 45 lynx mortalities have
   been documented in Minnesota from unknown causes (16), incidental trapping (11), vehicle
   collisions (9 on roads and 2 on railroads), and illegal shooting (7). Six lynx radio-collared in
   Minnesota died after traveling north into Ontario, 4 from legal trapping/hunting, and 2 from
   unknown causes; some of these mortalities occurred years after the lynx was last located in
   Minnesota, indicating survival of Minnesota lynx in Ontario for extended periods is possible.

   Unit 3 - Northwestern Montana/Northeastern Idaho: The historical and current sizes of the
   resident lynx population in this unit are unknown, but it is thought currently to be capable of
   supporting 200-300 lynx home ranges. Habitats capable of supporting resident lynx in this unit
   are naturally patchier and less-broadly distributed (Squires et al. 2006a, pp. 46-47; Squires et al.
   2013, p. 191), and lynx therefore naturally rarer, than was thought when the DPS was listed
   (ILBT 2013, p. 23; Jackson In Lynx SSA Team 2016a, p. 12). Minor genetic differences suggest
   3 subpopulations in the northwest (Purcell Mountains), central (Seeley Lake), and southern
   (Garnet Mountains) parts of the unit. No lynx were detected in the Garnet Range from 2011 to
   2015, prompting concerns about the potential loss of the small resident population (perhaps 7­
   10 lynx) documented there in the mid-1980s and again recently from 2002 to 2010. However,
   whether this absence indicates the extirpation of a previously persistent resident population or
   the temporary loss of an historically ephemeral population is uncertain. A single lynx was
   verified in the Garnet Range in February 2016, indicating that natural recolonization of the area
   is possible; however, subsequent surveys have failed to detect that lynx or other lynx, and there
   currently remains no evidence of lynx residency in this mountain range (Lieberg 2017, pers.
   comm.). Most (about 90 percent) of this unit is managed to conserve and restore lynx and hare
   habitats, including on Federal, State, Tribal, and some private lands. Past timber harvest and
   associated management (e.g., thinning, road construction, fire suppression) appear to have had
   localized impacts but not to have diminished the unit’s ability to support resident lynx, with
   habitats in the Garnet Range being a possible exception (see 4.2.3 below). The size, frequency,
   and intensity of wildfires in this unit have increased over the past several decades, likely in
   response to climate warming, but population-level impacts to lynx have not been documented.
   Whether (and if so to what extent) other climate-mediated factors have influenced the current
   condition of lynx populations or habitats in this unit are also unknown. Regulations prohibit lynx


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   trapping and require measures to reduce the likelihood of trapping lynx incidentally when legally
   trapping other species. Hare densities have not been estimated broadly throughout the unit but
   appear to be low or marginal even in what is considered the highest-quality habitat, suggesting
   that even small decreases in habitat quality/hare densities could influence its continued ability to
   support resident lynx. The role of past and recent immigration in maintaining the demographic
   and genetic health of current lynx populations in this unit is unknown, but peaks in cyclic lynx
   numbers in Canada have declined, especially when compared to the unprecedented irruptions
   of the early 1960s and 1970s, and there is no evidence of significant immigration into this unit
   since then.

   Unit 4 - North-central Washington: This geographic unit encompasses extensive boreal forest
   vegetation types and is directly connected to lynx habitats and populations in British Columbia.
   It represents about 58 percent of the Okanogan Lynx Mangagement Zone (LMZ) designated by
   the WADNR. Historical and current resident lynx numbers in northern Washington are unknown,
   but recent habitat and home range analyses for the larger Okanogan LMZ (summarized in
   Lewis 2016) suggest that this geographic unit may have been capable of supporting about 50
   lynx prior to extensive wildfires over the past 2-3 decades (85-90 lynx in the entire LMZ). Those
   fires affected over a third of the LMZ, led to increased home range size, and may have reduced
   the carrying capacity of this unit to perhaps 30 lynx currently (50-55 in the entire LMZ).
   Additional extensive wildfire activity in the northern part of this unit in 2017 may result in further
   reduction of carrying capacity. The recent increases in wildfire frequency, size, and intensity in
   lynx habitat in this unit may have been influenced by climate change (Westerling et al. 2006, pp.
   942-943). Burned habitats are expected to regenerate back into suitable lynx habitat, but this
   may take 10-40 years. However, additional wildfire activity in this unit before previously burned
   areas recover could substantially reduce the viability of the lynx population in this geographic
   unit (see section 5.2.4). Because of these habitat impacts and remaining stressors to lynx, the
   Washington Department of Fish and Wildlife recently submitted, and the State Fish and Wildlife
   Commission adopted, a proposal to uplist lynx from threatened to endangered within the State.
   Hare densities in Washington are generally at the low end of the range thought necessary to
   support lynx persistence. The Okanogan-Wenatchee and Colville National Forests, which
   administer more than 90 percent of lynx habitat in Washington, continue to manage in
   accordance with the LCAS. Additionally, the WADNR, which manages approximately 4 percent
   of lynx habitat in Washington, developed a Lynx Habitat Management Plan in 1996, which was
   updated in 2006 and is also largely based on the LCAS. The Kettle Range to the east of this unit
   was suspected to have supported a small (likely fewer than 20 individuals) resident population
   until about 30 years ago when over-trapping compounded by habitat changes may have
   resulted in its extirpation (Stinson 2001, p. 13; Koehler et al. 2008, p.1523). Potential
   impediments to lynx movement between the Kettle Range and the Cascades and British
   Columbia may make natural recolonization of the Kettle Range unlikely.

   Unit 5 - Greater Yellowstone Area (GYA): There are no reliable estimates of current or historical
   lynx numbers in this unit but, given its naturally-fragmented potential habitat, generally low hare
   densities, and the paucity of verified records, it appears unlikely this unit ever supported a large
   resident population, and it is possible that this unit historically supported resident lynx only


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   ephemerally. No lynx have been verified in this unit since 2010, but whether this indicates the
   extirpation of a small but previously persistent resident population or the temporary loss of an
   historically ephemeral population is uncertain. Over 97 percent of this unit consists of Federal
   lands that are currently managed to conserve and restore lynx and hare habitats. Past timber
   harvest and associated management (thinning, road construction, fire suppression) appear to
   have had localized impacts but not to have diminished the unit’s ability to support resident lynx.
   The size and intensity of wildfires have increased over the past several decades, predominantly
   in the northern half of the unit (including the large fires of 1988 in Yellowstone National Park)
   and likely in response to climate warming, but impacts to lynx are uncertain. Whether (and if so
   to what extent) other climate-mediated factors have influenced the current condition of lynx
   populations or habitats in this unit are also unknown. Snow conditions currently appear to be
   adequate, with most of this geographic unit modeled to have a 95 percent probability of
   providing snow cover conditions supportive of lynx presence (Gonzalez et al. 2007, p. 12). Hare
   densities were very low in most of Yellowstone National Park but high in parts of the Bridger-
   Teton National Forest in the southern half of the unit. The role of past and recent immigration in
   maintaining the demographic and genetic health of lynx populations in this unit is unknown. This
   unit lacks direct connectivity to other lynx populations, and there is only anecdotal evidence that
   irruptions of lynx from Canada resulted historically in immigration into this unit. At least 9 lynx
   released in Colorado dispersed northward into this unit and some temporarily occupied home
   ranges in areas used previously by native resident lynx, but there is no evidence of long-term
   occupancy or reproduction by these lynx.

   Unit 6 - Western Colorado: The current and historical numbers of resident lynx numbers in this
   unit are unknown, but CPW lynx biologists believe it currently could support 100-250 lynx as a
   result of the 1999-2006 release of 218 lynx from Canada and Alaska. Released lynx had high
   survival but the proportion of females producing kittens and kitten survival were low. This unit is
   not directly connected to lynx populations in Canada, and it does not appear to have received
   immigrant lynx during the historicaly large irruptions of the early 1960s and early 1970s. Since
   1996, 2 unprecedentledly large bark beetle epidemics have affected about 16,200 km2 (6,255
   mi2) of spruce-fir and lodgepole pine forests in Colorado, including much of the lynx habitat in
   this unit. Additionally, the 2013 West Fork Complex fire impacted more than 400 km2 (154 mi2)
   of lynx habitat in the San Juan Mountains. Beetle outbreaks do not appear to have negatively
   impacted hares, and hare numbers may increase in affected areas as succession progresses;
   however, they have negatively impacted red squirrels, an important alternate prey species for
   lynx in this unit. Areas affected by beetles that contained multi-story stand conditions likely
   continue to provide habitat to support snowshoe hares and lynx. Areas affected by fire may
   require 20 years or more, and in some areas considerably longer, to recover to a point where
   the stands will again support snowshoe hares. Large-scale monitoring efforts in the San Juans
   documented continued lynx occupancy during 2010-11,2014-15, and 2015-2016, and it is
   reasonably likely that lynx continue to occur in all national forests within the State of Colorado.
   Snowshoe hare habitat is naturally patchily-distributed in this geographic unit, which limits hare
   abundance. Because the majority (90 percent) of potential lynx habitat in Colorado is under
   Federal land management, actions occurring on other ownerships are unlikely to result in
   significant impacts to lynx habitat within this unit. The USFS manages over 85 percent of the


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   lynx habitat in this unit, providing conservation through the SRLA. However, regulatory
   mechanisms for the conservation of lynx are lacking on approximately 3,159 km2 (1,220 mi2;
   over 12 percent) of this unit, including lynx habitats on some BLM and some non-Federal lands.

   Table 4. Summary of current conditions in 6 geographic units within the DPS range1.
                                                                               Unit 3 -
                                                         Unit 2 -                                     Unit 4 - North­           Unit 5 - Greater
                           Unit 1 - Northern ME                           Northwestern MT,                                                             Unit 6 - Western CO
                                                    Northeastern MN                                    central WA              Yellowstone Area
                                                                           Northeastern ID
     Unit Size (km2)              28,909                  21,101                 26,997                     5,176                    23,687                   25,294
    Percent of Unit in
      Conservation
     Ownership (i.e.,
                                  10 - 15                 75 - 90                  > 95                      > 90                     > 95                     > 90
     Federal, State,
      Tribal, Other
   Conservation Org.)

                        Directly connected to
                                                                    Directly connected to Directly connected to                                        No direct connection;
                            lynx habitats/    Directly connected to
                                                                         lynx habitats/        lynx habitats/                                           rates of immigration/
                           populations in s.      lynx habitats/
                                                                       populations in s.     populations in s.                                          emigration unknown;
   Connectivity to Lynx Quebec and n. New        populations in s.                                              No direct connection;
                                                                     Alberta and s. British British Columbia;                                               long-distance
      Populations/      Brunswick; evidence Ontario; evidence of                                                rates of immigration/
                                                                    Columbia; evidence of evidence of natural                                          dispersal (emigration)
    Habitats in Canada of natural movement, natural movement, but                                               emigration unknown
                                                                    natural movement, but movement, but rates                                          documented to many
                              but rates of    rates of immigration/
                                                                     rates of immigration/    of immigration/                                          western states and to
                             immigration/     emigration unknown
                                                                     emigration unknown emigration unknown                                                     Canada
                        emigration unknown

    Home Range Size
                                   25-33                  17 - 21                43 - 115                  37 - 91            50 (1 female, 3 years)            75
   (Adult Female, km2)
      Productivity -
                            89% (high hares);                               83% (Purcells);
    Percent Females                                       100%                                       100% (2 females)               Few data                   24%
                            30% (low hares);                               61% (Seeley Lake)
       with Kittens
   Productivity - Litter    2.74 (high hares);                               2.95 (Purcells);                                    3.0 (1 female, 2
                                                            3.3                                       2.25 (2 females)                                         2.75
           Size              2.25 (low hares)                              2.24 (Seeley Lake)                                         years)
                                                                                                                                                       0.93 (in Core Release
    Average Annual          0.80 (high hares);                               0.85 (Purcells);
                                                        0.75 - 1.00                                         0.86                    Few data               Area [CRA]);
   Adult Survival Rate       0.71 (low hares)                              0.75 (Seeley Lake)
                                                                                                                                                         0.82 (out of CRA)
                                                                                                                                 No estimate; no
                                                       No estimate;                                          0.12
                            0.78 (high hares);                                                                                  evidence of kitten
   Kitten Survival Rate                             recruitment thought    0.58 (Seeley Lake)       (7 of 8 kittens died in                                    0.23
                             0.89 (low hares)                                                                                       survival to
                                                            low                                            1st year)
                                                                                                                                  independence
                                    1.05
     Lambda (Annual                                                       1.16 (Purcells, 4 yrs);
                            (1.16, high hares, 6
    Rate of Population                                 No estimate        0.92 (Seeley Lake, 8          No estimate               No estimate               0.93 - 1.08
                           yrs; 0.88,low hares, 4
         Change)                                                                  yrs)
                                    yrs)
   1Estimators used to calculate home range size are provided in table 3.



   4.2 Current Conditions - Detailed Descriptions by Geographic Unit
   4.2.1 Unit 1 - Northern Maine

   Unit Description: This geographic unit encompasses approximately 28,909 km2 (11,162 mi2) of
   northern hardwood and spruce-fir forest (the Acadian forest) in northern Maine that has been
   designated as critical habitat for lynx (79 FR 54823-54828). Land ownership in this unit is about
   90 percent private, 7 percent State (primarily Baxter State Park), 1 percent Federal (the newly-
   designated Katahdin Woods and Waters National Monument and Appalachian Trail Corridor),
   and 1 percent Tribal (Passamaquoddy Tribe, Penobscot Indian Nation). Almost all private lands
   are intensively managed for commercial forest (timber and pulp) products. This unit is directly
   connected to lynx habitats and populations in southern Quebec and northern New Brunswick.
   Lynx in this unit represent the southern extent of a larger cross-border population, most of which


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   occurs in the Gaspe region of southern Quebec and northern New Brunswick (Ray et al. 2002,
   pp. 17-20) and which is geographically isolated by the St. Lawrence River from lynx populations
   in central Quebec (120 km [75 mi] north of Maine). Lynx populations in Maine and eastern
   Canada are also geographically isolated from other lynx populations on the island of
   Newfoundland (900 km [559 mi] northeast of Maine), and on Cape Breton Island, Nova Scotia
   (650 km [404 mi] east of Maine; Koen et al. 2015, entire; Prentice et al. 2017, entire). Lynx in
   Maine are also isolated from other DPS populations, the closest of which is in northeastern
   Minnesota, about 1,610 km (1,000 mi) west of this unit.

   Lynx regularly occur outside this unit and recently have been documented in smaller areas of
   similar habitat in southeastern and southwestern Maine, northern New Hampshire, and the
   northeastern corner of Vermont (see below). Occasional lynx reproduction has been
   documented recently in New Hampshire and Vermont, but these areas are not thought to
   support persistent breeding populations and are likely incapable of doing so (see below).
   Climate in this region is characterized by warm summers and some of the coldest temperatures
   and highest snowfalls in the eastern United States; a function of latitude, elevation, and distance
   from the ocean. The average terrain rises in northern Maine to 305-457 m (1,000-1,500 ft) with
   mountain peaks, particularly in western Maine, northern New Hampshire, and Vermont, from
   914-1,524 m (3,000-5,000 ft). Average annual precipitation is currently 104 cm (41 in), with
   greatest precipitation in winter in the form of snow (average total snowfall is 228-280 cm (90 -
   110 in), with higher amounts at the highest elevations. Snow duration is about 5 months (mid­
   November through mid-April).

   New Hampshire - Potential habitat in northern New Hampshire is limited (Hoving 2001, p. 59),
   and the few habitat patches that support lynx in New Hampshire are much smaller than those in
   northern Maine (Litvaitis and Tash 2005, fig. 2 and p. A-298; Robinson 2006, fig. 3.3, p. 99).
   Hoving estimated approximately 1,000 km2 (386 mi2) of potential habitat having a greater than
   50 percent probability of being occupied by lynx (68 FR 40086). Litvaitis and Tash (2005, p. A-
   298) estimated that New Hampshire contains about 888 km2 (343 mi2) of potential Canada lynx
   habitat. Historical lynx occurrence in New Hampshire included Coos and northern Carroll and
   Grafton counties (i.e., White Mountain National Forest; Siegler and Jorgensen 1971: Silver
   1974: Hoving et al. 2003). The majority of lynx records in northern New Hampshire over the past
   10 years have occurred in the vicinity of Pittsburg on the 101-km2 (39-mi2) Connecticut Lakes
   Natural Area (CLNA), which is owned and managed by New Hampshire Fish and Game, and on
   surrounding habitat owned and managed by the Connecticut Lakes Timber Company under a
   conservation easement held by the State (Kilborn 2015, App. A, pp. 42-43). The CLNA, under a
   conservation easement, includes a 61-km2(23-mi2) area that will be allowed to mature to a
   climax forest type which is contained within what is considered core lynx habitat. The area will
   potentially provide good denning habitat but will likely restrict the amount of snowshoe hare
   habitat in the foreseeable future. Current conditions are in a transition state, and portions of the
   core area currently support higher densities of snowshoe hare because of past forest
   management (Kilborn 2015, App. A pp. 42-43). Regional-scale modeling suggests that a high
   component of deciduous forest and insufficient snow conditions in New Hampshire make it



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   unlikely to support a persistent, viable lynx population over time (Hoving et al. 2005, pp. 739,
   749).

   Vermont - Recent modeling indicates that the Nulhegan River Basin contains Vermont’s best
   lynx habitat (Farrell 2012). The 530-km2 (205-mi2) area is approximately 20 percent Federal
   (Nulhegan National Wildlife Refuge), 17 percent State (Vermont Department of Natural
   Resources), and 63 percent private commercial timber lands (with conservation easement).
   Vermont does not appear to have historically supported a persistent resident lynx population
   and, despite several recent verified records of lynx presence and evidence of limited
   reproduction (see section 2.3.2.2), it is unlikely to do so in the future because of the patchy and
   limited amount of potential habitat, climate change (decreasing snow), trends toward hardwood
   management, and increasing human disturbance (Vermont Fish and Wildlife 2015, Appendix A5
   p. 127).

   Habitat Description: Most lynx occurrence records in this unit are found within the broadly
   described ‘‘Mixed Forest-Coniferous Forest-Tundra’’ cover type (68 FR 40086). This habitat
   type occurs along the northern Appalachian Mountain range from southeastern Quebec,
   northern New Brunswick, and northern and western Maine, south through northern New
   Hampshire. This area is part of the Acadian Forest Region (Rowe 1972, p. 112-129)
   representing a transition between northern boreal spruce and balsam fir and southern
   temperate deciduous forests (Seymour and Hunter 1992, pp. 3-4). This forest type becomes
   naturally fragmented and begins to diminish to the south and west, with a disjunct segment
   running north-south through Vermont and a patch in the Adirondacks of northern New York
   (McKelvey et al. 2000a, pp. 248-250). Patches of boreal forest in New Hampshire, Vermont, and
   New York are more highly fragmented and smaller than in northern Maine. These more
   southerly forests also contain a higher proportion of northern hardwood and are believed to lack
   an adequate conifer component needed to produce sufficient snowshoe hare densities to
   consistently support resident lynx populations (Hoving et al. 2005, p. 749; Carroll 2007, p.
   1100). Northern Maine is characterized by low-relief, hilly terrain, but with some higher
   elevations in the Katahdin Highlands and in western Maine. Higher elevations support a
   predominantly coniferous forest (white, red, and black spruce; balsam fir; eastern white pine
   [Pinus strobus]) intermixed with northern hardwoods (red maple, aspen, paper [white] birch,
   sugar maple [Acer saccharum], beech [Fagus spp.], and yellow birch [Betula alleghaniensis]).
   Lowland areas include spruce-fir flats interspersed with peatlands (black spruce, tamarack).

   In this unit, lynx are most strongly associated with stands of regenerating sapling spruce-fir
   forest supporting high hare densities (Homyack 2003, p. 53; Fuller and Harrison 2005, p. 716,
   Vashon et al. 2008b, p. 1492; Scott 2009, pp. 24, 32, 36-44). Most current high-quality stands in
   this unit are the result of landscape-level clearcutting in the 1970s and 1980s (see Habitat
   Status, below). Regenerating stands used by lynx typically develop 15-30 years after timber
   harvest (Hoving et al. 2004, p. 291) or other disturbance (e.g., periodic spruce budworm
   defoliation), are characterized by high stem density and dense horizontal cover within 1 m (3 ft)
   of the ground (Robinson 2006 pp. 26-36, Scott 2009, pp. 81-93; Fuller and Harrison 2010, p.



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   1276-1278; Vashon et al. 2012, p. 15), and support the highest snowshoe hare densities
   (Homyack 2003, p. 63; Fuller and Harrison 2005, pp. 716, 719; Vashon et al. 2005a, pp. 10-11).

   At the stand scale, lynx in northwestern Maine selected older (11- to 26-year-old), tall (4.6- to
   7.3-m [15- to 24-ft]) softwood-dominated (spruce and fir) regenerating clearcut stands, adjacent
   older (11- to 21-year-old) partially harvested stands in close proximity to clearcut stands (Fuller
   et al. 2007, pp. 1980, 1983-1985), and mature conifer stands (Simons-Legaard et al. 2013, p.
   568) where hares are more accessible. During winter, lynx primarily selected tall (4.4-7.3 m
   [15-24 ft]) regenerating clearcuts and established partially harvested stands that were 11-21
   years post-harvest (Fuller et al. 2007, pp. 1984-1985). Lynx selected against mature second-
   growth stands (> 40 years old), short (3.4-4.3 m [11-14 ft]) regenerating clear-cut or partially
   harvested stands < 10 years post-harvest, and roads and road edges (Fuller et al. 2007, pp.
   1980, 1983-1985). Research of year-round habitat use yielded similar results, with lynx
   preferentially using conifer-dominated sapling stands that were 3.4-7.3 m (11-24 ft) in height
   and supported high densities of snowshoe hares (Vashon et al. 2008b, pp. 1492-1495). At the
   home range scale, lynx select landscapes having extensive regenerating conifer forest, but also
   with some mature conifer forest (Simons-Legaard et al. 2013, pp. 572-573). Lynx tended to
   forage in areas with intermediate to high hare densities, where hares were more accessible to
   lynx compared to the densest (short regenerating) stands (Fuller and Harrison 2010, pp. 1276­
   1278). Lynx may select partially harvested and mature conifer stands in close proximity to
   clearcut stands because of increased ease of travel and access to hares along the extensive
   edges of the densest, high-quality (regenerating clear-cut) hare habitats (Simons-Legaard et al.
   2013, p. 574). Lynx are more likely to occur in large landscapes having a high percentage (> 27
   percent) of regenerating forest, and less likely to occur in landscapes with very recent clearcuts
   or extensive partial harvest (Hoving et al. 2004, pp. 291-292; Simons-Legaard et al. 2013,
   entire).

   Denning habitat included various types of coarse woody debris including blowdown, deadfalls,
   and root wads. In northern Maine, nearly half (12 of 26) of natal dens occurred in conifer-
   dominated sapling stands, and 6 dens were found in mature or mixed multi-story forest stands
   dominated by conifers (Organ et al. 2008, pp. 1515-1517).

   In general, landscape scale and home range scale habitat selection by lynx on commercial
   forest lands reinforces the importance of dense regenerating conifer forest along with a
   component of mature conifers (Hoving et al. 2004, p. 286; Vashon et al. 2008b, pp. 1494-1495;
   Simons 2009, pp. 64-110; Simons-Legaard et al. 2013, p. 568). Simons-Legaard et al. (2013, p.
   573) found the probability of lynx occurrence was > 50 percent where landscape hare densities
   were > 0.74 hares/ha (0.39 hares/ac) and there was > 10 percent mature conifer forest. No lynx
   maintained home ranges in landscapes with hare densities < 0.5 hares/ha (0.2 hares/ac). At a
   landscape scale, lynx habitat selection did not differ between sexes; however, at a home range
   scale, males tended to use more mature forest dominated by conifers than females, and both
   male and female lynx tended to avoid mature forests that had a high deciduous component
   (Vashon et al. 2008b, pp. 1492-1493). Based on these observations, Simons-Legaard et al.
   (2013, pp. 574-576) recommended maintaining landscape hare densities of > 0.5 hares/ha (0.2


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   hares/ac) and a minimum of 27 percent high-quality hare habitat within 100-km2 areas to
   conserve lynx.

   Habitat Status: As elsewhere in the DPS, boreal spruce-fir forest habitats in the Northern Maine
   Unit are naturally patchily-distributed and intermixed with northern hardwoods, riparian areas,
   and peatlands. USFS forest inventory data indicate that over 16,000 km2 (6,178 mi2) of
   forestland are classified as spruce-fir in Aroostook, Penobscot, Piscataquis, and Somerset
   Counties in northern Maine (McWilliams et al. 2005, p. 122), although not all of this forest type is
   in areas occupied by lynx. Currently, most of the high-quality hare and lynx habitat in northern
   Maine is the result of extensive landscape-scale clearcut timber harvesting in response to a
   spruce budworm outbreak in the 1970s-1980s (Hoving et al. 2004, p. 291; Simons 2009, pp.
   64, 218). Many of these clearcuts were also treated with herbicides to promote conifer
   regeneration by suppressing deciduous tree species. After salvage harvest of the affected trees,
   a portion of the area was sprayed with herbicide to reduce deciduous competition (Scott 2009,
   pp. 7, 14). The resulting vegetation was dominated by balsam fir and red or black spruce (Scott
   2009, p. 60). This created favorable habitat conditions for snowshoe hares and lynx. Habitat
   conditions for hares and lynx in the unit improved from the late-1980s to present, benefitting
   from stand-replacing salvage harvests during the last budworm outbreak (Simons 2009, pp.
   122-229; Simons-Legaard et al. 2016, entire). During this time period, the percentage of
   forestland with an average landscape hare density greater than 0.5 hares/ha (0.2 hares/ac)
   increased 400 percent (Simons-Legaard et al. 2016, p. 7). Both the current amount of high-
   quality habitat and the lynx population in Maine are likely larger than occurred prior to European
   settlement, when a relatively smaller proportion of the forest was typically in an early
   successional stage (Lorimer 1977, entire; Vashon et al. 2012, pp. 45, 56).

   In the Northeast prior to European settlement, lynx habitat was created and maintained by
   frequent, small-scale forest gap dynamic events and infrequent, large-scale stand-replacing
   forest disturbances (Seymour et al. 2002, pp. 359-365; Lorimer and White 2003, pp. 54-58).
   Historically, the natural disturbance regime (fires, windthrow, insect outbreaks) resulted in
   smaller, more frequent disturbances and long intervals between larger disturbances; thus, high-
   quality lynx foraging habitat in northern Maine was probably typically much less abundant and
   less broadly-distributed than it is today. Large, stand-replacing events (fire, wind and ice storms,
   insect outbreaks) are rare (intervals of several hundred to several thousand years) and highly
   variable in size (Seymour et al. 2002, entire; Lorimer and White 2003, pp. 50, 54, 59). Spruce
   budworm, spruce beetle, beech bark disease, and sugar maple defoliators have been important
   influences affecting forest landscape patterns (McNab and Avers 1994, Chapter 14). The
   frequency and intensity of spruce budworm outbreaks, the most likely insect to affect lynx
   habitat, have been highly variable in Maine and eastern Canada in recent centuries (Blais 1983,
   entire). Although, high-elevation boreal forests often exhibit dense, regenerating conifer
   (resulting from a wind-throw phenomenon known as fir-waves [Sprugel 1976, entire]), hare
   densities are believed to be low in these areas (Siren et al. 2015, entire). In this geographic
   area, wildfire is less significant as a natural agent of disturbance. The typical fire regime is
   infrequent surface fires in the dormant season in the hardwood forests, and slightly more
   frequent but long-interval fires in conifer forests (Kilgore and Heinselman 1990, entire; Seymour


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   et al. 2002, pp. 359-365, Lorimer and White 2003, p. 59). For the past several decades, early
   successional forests and lynx habitat in northern Maine, New Brunswick, and southern Quebec
   have been created almost exclusively by forest management (Lorimer and White 2003, pp. 42­
   43).

   In a roughly 14,500-km2 (5,598-mi2) area in northern Maine (about half of the Northern Maine
   geographic unit), Simons-Legaard (2016, p. 9-10) estimated that 3,845 km2 (1,485 mi2; nearly
   27 percent) of the forested landscape was comprised of spruce-fir in a young, regenerating
   stand condition that provide high-quality hare habitat. This habitat is similar to, and contiguous
   with, forested areas in Quebec and New Brunswick that support lynx (Hoving et al. 2005, pp.
   740-741). The current range of lynx in this unit is associated with areas of deep snowfall,
   extensive forested landscapes, and areas having a high proportion of regenerating conifer-
   dominated forest that had previously been clearcut and treated with herbicides to suppress
   hardwoods (Homyack 2003, p. 2; Hoving et al. 2004, p. 287).

   Snowshoe hare populations in Maine do not seem to cycle at 10-year intervals, but they have
   experienced a period of higher (1995-2005) and lower (2006 to present) densities (Scott 2009,
   pp. 1-44; Vashon et al. 2012, p. 14; Harrison et al. 2016, entire). Prior to 2006, several
   estimates of hare densities in the highest-quality regenerating conifer or mixed forest averaged
   1.9 to 2.1 hares/ha (0.8 to 0.9 hares/ac; Homyack et al. 2007, p. 8; Robinson 2006, p. 26). After
   2006, hare densities declined by about half in all stand types and have remained at these lower
   levels (Scott 2009, p. 109; D. Harrison, Univ. Maine, unpubl. data). Similar trends were
   observed in the Gaspe Region of Quebec (Assells et al. 2007, entire). In New Hampshire in
   1990, hare densities in dense, regenerating spruce-fir stands were about 0.5 hares/ha (0.2
   hares/ac) at low and high elevations (Brocke et al. 1993, p. 61). More recently, Siren et al.
   (2015) reported lower densities in New Hampshire (0.25 to 0.36 hares/ha [0.1 to 0.15 hares/ac])
   that are unlikely to support lynx persistence in both montane and lowland spruce-fir. Densities in
   high elevation areas (krumholtz, stunted spruce-fir) were only 0.19 to 0.28 hares/ha (0.08 to
   0.11 hares/ac), also unlikely to support lynx persistence. Comparable hare density data are not
   available for Vermont.

   Currently, the amount and distribution of high-quality habitat are likely at historically high levels,
   but this habitat has peaked and high-quality lynx habitat is projected to decline in the near future
   (Simons-Legaard et al. 2016, pp. 140-163, 202-218). In response to the widespread clearcutting
   in the 1970s and 1980s, Maine passed the Forest Practices Act in 1989, which regulated
   clearcutting. Since then, various forms of partial harvesting have replaced clearcutting as the
   predominant form of forest management in northern Maine. Partially harvested stands (e.g.,
   selection harvest, shelterwood harvest, overstory removal) have a wide range of residual stand
   conditions, but many have lower conifer stem densities and higher hardwood density than
   regenerating clearcuts (Robinson 2006, p. 29). On average, partially harvested stands support
   about 50 percent of the hare densities observed in regenerating clearcuts (Robinson 2006, p.
   26-27). Over 95 percent of cutting that occurs now in northern Maine is partial harvesting
   compared to 59 percent in 1988 (Scott 2009, p. 8; Simons 2009, pp.45-47, 69-71; Simons-
   Legaard et al. 2013). This new cutting regime results in lower landscape densities of snowshoe


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   hares (Fuller 1999; Homyack 2003; Robinson 2006; Scott 2009). Another consequence of
   partial harvesting is that a much greater acreage needs to be cut annually to attain similar
   harvest volume (as compared to clearcutting). Annual harvest rates have increased from about
   40,000 ha (100,000 acres) per year (before the Forest Practices Act) to over 200,000 ha
   (500,000 acres) per year (after the Act). Thus, 28 years after the Maine Forest Practices Act,
   much of the forested landscape in northern Maine has been partially harvested.

   Unlike Federal lands, there is no requirement that private landowners comply with lynx
   management guidelines, and a Federal nexus for review of forestry projects rarely exists.
   Furthermore, there continues to be high turnover in forest land ownership (Hagan et al. 2005;
   Ippoliti and Nadeau-Drillen 2006) and little funding to provide incentives or to work with private
   landowners. As of 2005, there were 23 landowners in northern Maine with land holdings in
   excess of 40,000 ha (100,000 ac) including the State, Federal government (White Mountain
   National Forest south of lynx range), a conservation group (The Nature Conservancy), 2 tribes
   (Penobscot Indian Nation and Passamaquoddy Tribe with much land south of lynx range) and
   18 private forest landowners (Ippoliti and Nadeau-Drillen 2006, p. 13).

   Although long-term, binding land management commitments are generally lacking in the
   northern Maine unit, several landowners have made short-term commitments to conserving lynx
   habitat. In 2003, Congress passed the Healthy Forest Restoration Act. Title V of this Act
   designates a Healthy Forest Reserve Program (HFRP) with objectives to: (1) promote the
   recovery of threatened and endangered species, (2) improve biodiversity, and (3) enhance
   carbon sequestration. In 2006, Congress provided the first funding for the HFRP, and Maine,
   was 1 of several pilot States to receive funding through its Natural Resources Conservation
   Service (NRCS) State office. Based on a successful pilot program, in 2008, the HFRP was
   reauthorized as part of the Farm Bill, and in 2010, NRCS published a final rule in the Federal
   Register (75 FR 6539) amending regulations for the HFRP based on provisions amended by the
   bill. In 2006 and 2007, the NRCS offered the HFRP to landowners in the proposed Canada lynx
   critical habitat unit in Maine to promote development of Canada lynx forest management plans.
   Since that time 4 private landowners, The Nature Conservancy, the Passamaquoddy Tribe,
   Merriweather LLC, and Katahdin Forestlands successfully enrolled in the program. Collectively,
   these land ownerships comprised 2,443 km2 (943 mi2), or 9.3 percent of the total designated
   critical habitat in northern Maine in 2014 (79 FR 54828).

   The NRCS required that lynx forest management plans must be based on the Service’s
   ‘‘Canada Lynx Habitat Management Guidelines for Maine’’ (McCollough 2007, entire). These
   guidelines were developed from the best available science on lynx management for Maine. The
   guidelines required maintenance of landscapes having hare densities that support reproducing
   lynx populations. Notably, HFRP forest management plans provided a net conservation benefit
   for lynx, which was achieved by employing the lynx guidelines, identifying baseline habitat
   conditions, and meeting NRCS standards for forest plans. Plans met NRCS HFRP criteria and
   guidelines and complied with numerous environmental standards. Plans were reviewed and
   approved by the NRCS with assistance from the Service.



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   Unlike lynx forest plans on Federal lands, HFRP plans lack long term commitments beyond an
   initial 10-year contract period, after which longer-term commitments to lynx management are
   voluntary. Plans were prepared for a forest rotation (70 years) and include a decade-by-decade
   assessment of the location and anticipated condition of lynx habitat on the ownership. Some
   landowners developed plans exclusively for lynx, and others combined lynx management
   (umbrella species for young forest) with American marten (umbrella species for mature forest)
   and other biodiversity objectives. All 4 plans have been completed although contracts with
   NRCS expired as of 2017. Landowners have the option to convert HFRP contracts into Safe
   Harbor Agreements or other agreements to provide regulatory assurances, however, at this time
   this option has not been explored with landowners.

   Many large private forest landowners in the northern Maine unit could potentially include lynx
   management as part of endangered species management required by forest certification
   programs. For example, The Nature Conservancy land enrolled in the HFRP is also enrolled in
   the Forest Stewardship Council (FSC) forest certification program. Other landowners are
   certified under the Sustainable Forestry Initiative (SFI). Both certification programs require
   protection of threatened and endangered species (FSC 2010, pp. 24, 27; SFI 2015, pp. 6-7).
   However, certification programs are also voluntary and may not include long-term commitments.
   Few certified landowners have consulted with the Service on forest management for lynx. In
   addition, “working woodland” easements now encompass > 10,000 km2 (3,861 mi2) across
   northern Maine; although these covenants do not require specific management practices or
   outcomes beyond sustainable forestry, they do ensure that conversions to other land uses will
   never occur (MDIFW 2017, p. 2).

   Lynx Status: Historically, Maine seems to have consistently had a breeding population of lynx.
    Early written accounts did not consistently distinguish bobcats from lynx (Hoving 2001). Prior to
    1939, lynx observations were based largely on written accounts of lynx from museum records,
   journals, and periodicals (Vashon et al. 2012, p. 56). Hoving et al. (2003, pp. 368-369) compiled
    118 lynx occurrence records (509 individual lynx) from 1833-1999, which suggest that lynx were
   widespread throughout the state except for the coastal areas. These records included 39 kittens
   representing at least 21 litters, primarily in northern and western Maine, from 1864-1999
   (Hoving et al. 2003, p. 371). Populations apparently fluctuated, and in some years 200-300 lynx
   were harvested in Maine (Hoving et al. 2003, pp. 373-374). Lynx were later documented in
   winter snow track surveys conducted by MDIFW during 1994-1998 (Vashon et al. 2012, p. 56).

   When the DPS was listed, lynx were known to be present in northern Maine but little was known
   about their distribution, population size and trend, snowshoe hare populations, and relationships
   to forest management. Since then, research from the MDIFW (Vashon et al. 2008a, entire;
   2008b, entire; and 2012, entire) and the University of Maine (Hoving et al. 2003, entire; Hoving
   et al. 2004, entire; Hoving et al. 2005, entire; Homyack et al. 2005, entire; Homyack et al. 2007,
   entire; Homyack et al. 2006, entire; Fuller et al. 2007, entire; Fuller et al. 2004, entire; Fuller and
   Harrison 2005, entire; Simons-Legaard et al. 2013, entire; Simons-Legaard et al. 2016, entire)
   have greatly increased our knowledge. Snow track surveys and confirmed occurrence records
   document that lynx occur throughout northern Maine and in small, isolated pockets in western


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   and eastern Maine (Vashon et al. 2012, pp. 10, 12, 59), and small numbers of lynx have also
   been documented recently in northern New Hampshire (Siren 2014b, pp. 7-16), and Vermont
   (Bernier 2015, entire). Population size and trend are still uncertain in northern Maine, and
   persistence in New Hampshire and Vermont remain questionable.

   This geographic unit is part of a larger, contiguous lynx population that extends into northern
   New Brunswick and the Gaspe region of southern Quebec. Extensive areas of contiguous
   forestland in this region provide high connectivity between populations in Maine and Canada.
   Lynx populations in adjacent southern Quebec may exhibit cyclic populations (Ray et al. 2002,
   entire), but obvious immigration of large numbers of lynx into Maine associated with hare cycles
   (if they occur) has not been documented (Hoving et al. 2003, pp. 373-374). Although potential
   lynx habitat in New Hampshire and Vermont is fragmented, there is near contiguous forest and
   connectivity for lynx movement between these areas and habitats in northern Maine (Farrell
   2013, pers. comm.; 79 FR 54821). Areas of recent lynx breeding in New Hampshire and
   Vermont are not directly connected to Canadian populations, but they are connected to the
   larger population in northern Maine via habitat corridors in western Maine.

   Lynx in the Northern Maine Unit and adjacent populations in southern Quebec and northern
   New Brunswick are separated from lynx populations in the interior of Canada. The St. Lawrence
   River restricts lynx dispersal and demographically isolates this population from those in northern
   Quebec, Labrador, and Ontario (Prentice et al. 2017, entire). However, sufficient numbers of
   individuals apparently cross the river on the ice each generation to prevent genetic drift of this
   population (Koen et al. 2015, enitre; Prentice et al. 2017, entire).

   When the DPS was listed, the Northern Maine Unit was not believed to contribute significantly to
   its persistence. However, we now believe that the extensive young, regenerating spruce-fir
   habitat created by large-scale clearcutting in the 1970s and 1980s may currently support the
   largest lynx population in the DPS (Vashon et al. 2012, pp. 58-59, Appendix IV; Vashon in Lynx
   SSA Team 2016a, p. 18). Habitat in northern Maine supported lynx densities in a localized area
   of high-quality habitat that was substantially greater than densities elsewhere in the DPS (ILBT
   2013, p. 23). In 2003 when hare populations were high, lynx density (juveniles and adults) in
   one of Maine’s highest-quality habitats was estimated to be 9.2-13.0 lynx/100 km2 (Vashon et al.
   2008a, Vashon et al. 2012, p. 15). At about the same time, the density of lynx in nearby Gaspe
   Peninsula, Quebec was estimated to be 10 lynx/100 km2 (Ray et al. 2002). These densities are
   intermediate to those in Canada during the high (17-45/100 km2) and low periods (2.3-3.0/100
   km2) of the lynx-hare cycle (Poole 1994, Slough and Mowat 1996, O’Donaghue et al. 1997).
   Simons (2009, p. 102) estimated that habitat on a 14,407-km2 (5,563-mi2) study area (about half
   of the geographic unit) in northern Maine could potentially support a population of 236 to 355
   adult lynx, and Vashon et al. (2012, pp. 58-59 and Appendix IV) estimated the potential for a
   population of 750 to 1,000 adult lynx in all of northern Maine in 2006. The actual number of lynx,
   however, is unknown because there are no methods available to count individuals over such a
   large geographic area.




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   Lynx seem to have maintained a similar distribution throughout northern Maine since the 1970s,
   and are found primarily north of Moosehead Lake and west of Interstate 95, with scattered
   pockets in western and eastern Maine (Hoving et al. 2003, p. 369; Vashon et al. 2012, pp. 10­
   12.) Resident lynx in small pockets of habitat outside of the core range in Maine (including New
   Hampshire and Vermont) may occur only ephemerally, winking on an off over time as would be
   expected at the periphery of the range of a metapopulation structure, and as suspected for other
   lynx populations at the periphery of the range (McKelvey et al. 2000b, pp. 25-31; Apps 2007, pp.
   81,95-104). From 1995-1998 and 2003-2008, the MDIFW conducted snow track surveys in 66
   townships to document the distribution of lynx and to inform habitat modeling at the University of
   Maine (Vashon et al. 2012, p. 91). Modeled areas of potential lynx habitat were well-distributed
   throughout northern Maine in the early 2000s (Simons-Legaard et al. 2016, entire).

   Lynx populations in New Hampshire and Vermont may consist of only a few animals and they
   may be ephemeral, although breeding has been documented in both locations in recent years.
   Most historical lynx records from New Hampshire are from trapping records from the 1930s to
   the 1960s (Brocke et al. 1993, pp. 71-74; McKelvey et al. 2000a, pp. 212-214). There were only
   2 records in the 1990s. In 2003, the Service determined that, despite a lack of breeding records,
   a small resident population likely occurred historically in New Hampshire but no longer exists
   (68 FR 40087). Lynx were detected in northern New Hampshire in 2006 and have occurred
   there annually since then (Siren 2014b, pp. 53, 55). In 2011,4 lynx kittens were observed in
   Pittsburg and were considered evidence of breeding in New Hampshire (Kilborn 2015, Appendix
   A, p.44). There were only 4 historical records of lynx in Vermont prior to 2003. Since then, 9 lynx
   sightings have been confirmed, and reproduction was confirmed in 2012 in the Nulhegan Basin
   when the tracks of 3 lynx, a presumed family group, were observed travelling together in late
   February (Vermont Fish and Wildlife 2015, Appendix A5, p. 126). Since 2012, more intensive
   surveys in Vermont have resulted in only a single photograph of a lynx in 2014 (Bernier 2015,
   pp. 1-3; Bernier 2016, pers. comm.). Landscape hare densities are marginal in these areas;
   0.52 hares/ha (range 0.12-0.58 hares/ha) in the Nulhegan Basin of Vermont and 0.12-0.23
   hares/ha in the White Mountain National Forest (Siren 2017, pp. 13, 23, 24), which may explain
   why lynx rarely occur.

   Maine lynx had spatial and demographic parameters similar to some northern populations
   during the cyclic high in the snowshoe hare cycle (Brand et al. 1976, Parker et al. 1983,
   O’Donaghue et al. 1997). From 1999 to 2011, biologists with the MDIFW trapped and radio­
   marked 85 lynx in northern Maine and documented lynx movements and home range (Vashon
   et al. 2008a, entire; Mallet 2014, pp. 69-93), resource use (Vashon et al. 2008b, entire), survival
   (Vashon et al. 2012, pp. 18-21), productivity (Vashon et al. 2012, pp. 17-19), and other aspects
   of their life history (Vashon et al. 2012, entire). During the period when snowshoe hare
   populations were highest (2000-2006), Maine lynx had among the highest reproductive rates in
   the DPS (89 percent of adult females produced litters, average litter size was 2.74, and kitten
   survival was 78 percent) (Vashon et al. 2012, pp. 18-21). During the current (2006-present)
   period of lower hare density, only 30 percent of females had litters and average litter size was
   smaller (2.25), but kitten survival rate remained high, and was actually somewhat higher during
   the lower hare years (89 percent from 2006-2010, compared to 78 percent from 1999-2005;


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   Vashon et al. 2012, p. 21, table 1.5). Maine lynx have among the smallest home ranges
   documented in the DPS (Vashon et al. 2008a, p. 1482; ILBT 2013, p. 24; also see tables 3 and
   4). Home range sizes were similar during periods of higher and lower hare density (Mallett
   2014). Lynx populations likely increased during the period of high hare density (lambda [A] =
   1.16) and declined during periods of low hare density (A = 0.88; USFWS, Vortex 10,
   deterministic population simulation 2016; demographic data from Vashon et al. 2012, pp. 17­
   21).

   In summary, Maine lynx and hare habitats are believed currently to be at historical highs as a
   result of forest regeneration following widespread clearcutting in the 1970s and 1980s and
   subsequent use of herbicides to suppress hardwoods in response to a spruce budworm
   outbreak (Hoving et al. 2004; Vashon et al. 2008b). In the Northeast prior to European
   settlement, lynx habitat was created and maintained by small-scale, frequent forest gap
   dynamic events and large-scale, infrequent (stand-replacing) forest disturbances (Seymour et
   al. 2002; Lorimer and White 2003). Historically, lynx distribution was patchy, and lynx
   populations likely fluctuated and may have been more dependent on immigration from Canada.
   At multiple scales, lynx in Maine select extensive areas of regenerating, dense (7,000 - 14,000
   stems/ha) spruce-fir stands 15 to 35 years after clearcut, other even-aged harvest, or natural
   disturbance (Hoving et al. 2005; Fuller et al. 2007; Vashon et al. 2008b; Simons-Legaard et al.
   2013). The unnaturally high amount of high-quality lynx habitat in this unit is expected to decline
   by 2030 because of changing forest practices, before stabilizing or increasing again by 2060
   (Simons-Legaard 2016, p. 10, fig. 8; Simons-Legaard et al. 2016; see 5.2.1, below).

   Factors Affecting Current Conditions

   Regulatory Mechanisms - In response to public concern about widespread clearcutting in
   northern Maine (described above), in 1989 the Maine Legislature passed the Maine Forest
   Practices Act (MFPA). The MFPA regulates maximum size of clearcuts (about 100 ha [250 ac]),
   separation zones between clearcuts, harvest plans, and notification to the Maine Forest Service.
   Clearcuts are not banned, but require varying levels of State permits depending on their size. As
   a result of these regulatory requirements, clearcuts have declined substantially in annual
   number and acreage and have been replaced by various forms of partial harvesting (Sader et
   al. 2003, p. 349-350; McWilliams et al. 2005, p. 35; Legaard et al. 2015, pp. 14-21). Following
   passage of the MFPA, the percentage of acreage clearcut annually in Maine declined from 44
   percent of annual harvest in 1989 to < 5 percent in 2004 (Simons 2009, pp. 45-46; Legaard et
   al. 2015, p. 18). The average size of clearcuts has been reduced from > 50 ha (125 ac; Maine
   Forest Service 1995, entire) to < 10 ha (25 ac; Maine Forest Service 2003, entire; 2005, entire;
   2007, entire). Currently, partial harvesting comprises about 94 percent of acres cut annually in
   Maine (Simons 2009, p. 50). Although total timber volume harvested has changed relatively
   little, landowners must partial harvest about twice as many acres to harvest the same volume of
   wood annually that they would with clearcutting (Legaard et al. 2016, p. 18). Thus, the annual
   forest area harvested in Maine has increased from about 100,000 ha (250,000 ac) pre-MFPA to
   223,000 ha (550,000 ac) post-MFPA (McWilliams et al. 2003, p. 35).



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   Currently, 28 years after implementing the MFPA, much of the 4 million-ha (10 million-ac)
   northern Maine landscape has been partially harvested (Legaard et al. 2016, p. 16) - some
   areas on multiple occasions. The partial harvests that replaced clearcuts include a variety of
   silvicultural treatments, including both even-aged (e.g., shelterwood) and uneven-aged (e.g.,
   selection) management that result in a wide range of residual stand conditions (Robinson 2006,
   pp. 5-37), which have important implications for lynx conservation. Snowshoe hare densities in
   partially harvested forests are on average about 50 percent lower (but range from 20 to 90
   percent lower) than in regenerating conifer stands created by clearcutting (Robinson 2006, pp.
   5-37; Scott 2009, p. 109; Simons 2009, p. 83), thus reducing landscape hare density and,
   thererofe, lynx habitat quality in this unit (Simons 2009, pp. 206, 209, 217; Simons-Legaard et
   al. 2016, p. 7-8; Simons-Legaard 2016, entire). Landscape level hare densities have declined
   with extensive partial harvesting and aging of the spruce budworm-era clearcuts, and future
   declines are anticipated (Simons-Legaard et al. 2016, 9-10; also see section 5.2.1).

   Climate Change - Climate change is affecting temperature, snow, and precipitation patterns in
   the Northeast at rates faster than expected (Rustad et al. 2012, p. 6). Rapid winter warming in
   recent decades is believed to be influenced by an albedo effect caused by the reduced
   persistence of snow in winter (Hayhoe et al. 2006). Average winter temperatures are increasing
   0.42° - 0.46°C/decade (0.76° - 0.83 °F/decade) with the greatest warming occurring in the winter
   months, especially January and February (Burakowski et al. 2008). Under mid- to high-
   emissions scenarios, average mean temperatures in northern Maine are projected to increase
   by 6.7° - 7.8°C (12° - 14°F) by 2080-2099 relative to 1971-2000 (Galbraith et al. 2013, p. 43).
   Under a higher emissions scenario, snow covered days in northern Maine (from December to
   February) could decrease from 30 days per month observed from 1961-1990 to about 18-20
   days per month in 2070-2099 (Galbraith et al. 2013, p. 49). Climate warming may have already
   affected lynx habitat in this unit by reducing the distribution of favorable snow conditions and
   boreal forest vegetation, and it is likely to continue to do so in the future (see section 5.2.1).

   Snow Duration, Depth, and Quality - As noted in chapter 2, records of lynx occurrence are
   correlated with areas that regularly have at least 4 months (120 days) of continuous snow
   coverage (Gonzalez et al. 2007, p. 7). Snow cover days in northern New England (1965-2005)
   ranged from 60-121 days and declined an average of 3.6 days/decade from 1965-2005
   (Burakowski et al. 2008). Snow duration declined by 16 days in the Northeast from 1970 to 2001
   (Wake 2005) and is expected to diminish another 2 weeks in Maine by mid-century (Fernandez
   et al. 2015). Thus, average conditions in Maine are currently at or below the snow cover
   duration correlated with historical lynx occurrence records. Similarly, the largest decreases in
   snow depth observed in Canada in the last 6 decades have occurred in the lower St. Lawrence
   Valley, immediately north of Maine (Brown and Braaten 1998, pp. 48-52).

   Lynx in the northeastern United States and eastern Canada occur where average annual
   snowfall typically exceeds 270 cm/yr (106 in/yr; Hoving et al. 2005), which defines the
   distribution of lynx (to the north) and bobcat (to the south) in this region (Hoving et al. 2005;
   Carroll 2007; Peers et al. 2013). Average annual snow depth at all 5 NOAA weather stations
   within the range of the lynx in northern Maine (1981-2010) was below this threshold and ranged


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   from 228-263 cm (90-104 in; NOAA 201114). In the last 50 years, 18 of 23 snow sampling sites
   in and near Maine experienced reduced depth of snowpack (Hodgkins and Dudley 2006). Snow
   depth in New England (1965-2005) declined an average of 4.6 cm/decade (1.8 in/decade;
   Burakowski et al. 2008). Thus, average annual snowfall in Maine is currently at or below depths
   associated historically with lynx presence, and further declines could reduce the likelihood that
   resident lynx will persist in this unit (Hoving et al. 2005).

   As noted in chapter 2, deep, unconsolidated and persistent snow is thought to provide lynx with
   a competitive advantage over other terrestrial hare predators and gives snowshoe hares the
   ability to reach winter browse. Snow quality (“fluffiness”) has deteriorated and snow density has
   increased in the Northeast. Unlike other units, annual precipitation in Maine is increasing
   because of climate change, but primarily as rain (Siren in Lynx SSA Team 2016a, p. 15;
   Fernandez et al. 2015), and especially rain on snow events in winter in northern Maine
   (Huntington et al. 2004; Deser et al. 2014; Fernandez et al. 2015). Snow density and
   compaction and crust conditions (caused by wet, heavy snow or rain on snow events in winter)
   have increased in northern New England (Dudley and Hodgkins 2002; Huntington et al. 2004;
   Huntington 2005; Hodgkins and Dudley 2006) and southern Canada (Karl et al. 1993).

   Vegetation Management - The effects of forest management on foraging and denning habitat for
   lynx in northern Maine are discussed in the Habitat Description, Habitat Status, and Regulatory
   Mechanisms sections above. As described there, past vegetation management in the form of
   landscape-level clearcutting (sometimes followed by herbicide application to promote softwood
   regeneration) of budworm impacted forests is responsible for the current historically high
   amount of high-quality hare (and therefore lynx forgaing) habitat in this unit. The amount of high-
   quality habitat created by these densely-regenerating stands probably peaked in the late 1990s
   - early 2000s and is expected to decline over the next several decades (see section 5.2.1).

   Wildland Fire Management - Although fire is frequent in many boreal forest regions, it is not a
   stressor for lynx in northern Maine and likely played a minimal role historically in creating and
   maintaining lynx and hare habitats. Annual precipitation is comparatively greater in this unit than
   others, and conditions for large fires occur infrequently. The fire regime in this unit is one of
   infrequent (50- to 200-year interval) and generally small (several acres) surface fires in the
   dormant season. Large (up to 32,375 ha [about 80,000 ac]) stand-replacing fires are rare and
   occur at a less frequent interval (800 to 9,000 years; Seymour et al. 2002, p. 360). In contrast,
   spruce budworm outbreaks cause stand-replacement over large areas every 100-250 years
   (Cogbill, 1985).

   Habitat Fragmentation - Habitat fragmentation (smaller and more isolated patches of high-
   quality hare habitat) caused by current forest practices in northern Maine is discussed in the
   Habitat Description and Habitat Status sections above.



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      http://www.ncdc.noaa.qov/oa/climate/normals/usnormals.html,
   https://www.currentresults.com/Weather/Maine/annual-snowfall.php, last accessed 3.31.2016.

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   Other Factors: Trapping - This unit is directly connected to lynx habitats and populations in
   southern Quebec, where trapping of lynx is legal. In areas where lynx are trapped for furs
   (Canada and Alaska), trapping can be additive to other sources of mortality and have
   population-level effects (Brand and Keith 1979; Koehler and Aubry 1994). Thus, harvest
   regulations for lynx are modified (e.g., lynx quotas per trapper are reduced) when hare and lynx
   populations are low (Bailey et al. 1986). About 400 lynx are trapped and killed annually in
   Quebec south of the St. Lawrence River15. Several lynx that were captured and radio-marked in
   northern Maine were subsequently trapped in southern Quebec (Vashon et al. 2012).

   Lynx trapping and hunting seasons were closed in Maine in 1967 (Vashon et al. 2012, p. 28)
   and also in New Hampshire and Vermont for decades prior to the DPS being listed under the
   ESA. In 2014, the MDIFW worked with the Service to develop an Incidental Take Plan for
   Maine’s Trapping Program (MDIFW 2014, entire; 2015a as amended, entire) and obtained a
   permit from the Service for lynx trapped incidental to other furbearer trapping in Maine (see
   section 3.1.2). Trapping injury and mortality are not believed to have a population-level effect on
   lynx in northern Maine and adjacent Canada when lynx may be at historically high numbers, but
   increased, targeted lynx trapping in southern Quebec could have a synergistic and negative
   effect if hare and lynx populations decline, habitat declines, or climate change further stresses
   lynx (Slough and Mowatt 1996; Carroll 2007, pp. 1099-1103). Carroll (2007, pp. 1099-1103)
   modeled lynx populations in this unit and demonstrated that increased trapping pressure in
   Quebec could, combined with projected clmate warming and associated snow loss, have a
   negative effect on protected lynx populations in Maine and New Brunswick.

   Wind Power Development - Interest in wind energy development has increased in northern and
   western Maine, and such development could impact high- and low-elevation spruce-fir habitats
   (Whitman et al. 2013). Maine has experienced a rapid increase in wind energy development16,
   and there is increased interest in placing developments on private lands in unpopulated areas in
   northern Maine, New Hampshire, and Vermont. Wind energy is an increasingly appealing
   source of income for investment companies and other landowners who own forestland in the
   northern Maine unit. As of 2016, at least 11 wind projects have been proposed in northern and
   western Maine and 5 projects are in operation; 2 have been proposed in northern New
   Hampshire and 2 are in operation; and 3 have been proposed for northeast Vermont and 2 are
   in operation or under construction. Maine’s 2 largest wind projects (combined over 250 turbines
   covering 932 km2 [360 mi2]) are proposed entirely within Maine’s designated lynx critical habitat.
   Although impacts of wind energy projects on lynx, hares, and their habitats have not been
   demonstrated, potential effects include loss and fragmentation of habitat from turbines, roads,
   and transmission lines, and disturbance or displacement of resident lynx. Road construction
   could further fragment habitat and increase access, potentially increasing vehicle collisions with
   lynx and other sources of mortality, including incidental trapping or illegal shooting (also see
   5.2.1).




   15 http://mffp.qouv.qc.ca/enqlish/wildlife/statistics/index.jsp, last accessed 5.19.2016.
   16 http://www.eia.qov/electricity/data/browser, last accessed 8.2.2016.

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   Changing Land Ownership and Development - Until recently, the northern Maine unit was
   largely undeveloped and owned primarily by about a dozen large, commercial timber interests,
   but land ownership patterns have changed dramatically in the last 15 years (Ippoliti and
   Nadeau-Drillen 2006). Large tracts of land have been sold, lumber and pulp mills shut down,
   and much of the area has been sold to investment-oriented owners. Some of these new
   landowners are seeking diversified financial returns on their investment, including developing
   residential housing, second homes, and resorts. At various times in the past, 2 large residential
   and resort areas have been proposed on forestlands within designated lynx critical habitat in
   this unit. Both projects, if eventually built as previously-planned, could result in the development
   of several thousand acres of potential lynx habitat, but would be mitigated by substantial
   (100,000s of acres) conservation easements on surrounding forestland. Also, a private
   landowner recently purchased and donated 354 km2 (137 mi2) within designated lynx critical
   habitat that was subsequently designated as the Katahdin Woods and Waters National
   Monument. This area currently has a legacy of young regenerating spruce-fir habitat from
   previous commercial timber harvest, but its new monument designation will limit future forest
   management activities (timber harvest or other vegetation management) that could benefit lynx.
   In addition, the Nature Conservancy continues forest management on about half of its 750-km2
   (290-mi2) ownership in this unit, including managing part of the area for lynx.

   Construction or expansion of developed areas such as residential areas and resorts and smaller
   recreational sites like Nordic ski huts or campgrounds may directly remove forest cover. Such
   habitat alteration and associated human recreation in lynx habitat could result in a more
   fragmented landscape and localized decreases in prey availability, and could affect lynx
   movements within home ranges or displace lynx from high-quality habitats. As with energy
   development, road and highway construction often associated with residential and recreational
   development can further fragment habitat and, with associated increases in traffic volumes
   and/or speeds and human access, can increases the likelihood of lynx mortality and injury from
   vehicle collisons and incidental or illegal trapping or hunting.

   In summary, lynx were historically and are currently widespread throughout northern Maine, and
   they currently occur (and probably occurred historically) as small resident or ephemeral
   populations in small patches of habitat outside this geographic unit in eastern and western
   Maine, northern New Hampshire, and northern Vermont. According to MDIFW, habitat in
   northern Maine may currently support a potential population of 750 to 1,000 lynx. High-quality
   habitat created by extensive clearcutting 30 to 40 years ago is peaking and is projected to
   decline by 50 percent in the next 15 to 20 years (Simons-Legaard 2016, pp. 10-18; also see
   section 5.2.1). Hare densities declined by 50 percent in this unit starting in about 2006 and have
   remained at lower levels, and future hare fluctuations or cycles are uncertain. Recent history
   demonstrates that some forms of forest management have the potential to create or increase
   lynx habitat. However, forest practices have shifted to partial harvesting, which is less likely to
   create large areas of lynx habitat or maintain the current historically broad distribution of high-
   quality habitat generated by previous landscape-level clear-cutting. Additionally, private
   landowners who previously entered into commitments to manage for lynx conservation have not
   renewed those commitments (although the habitat will remain viable for lynx for some time).


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   Land ownership has also changed in northern Maine, and the majority of lands are owned now
   by investment companies that often wish to diversify income from their investments, which could
   result in forest practices inconsistent with lynx habitat conservation. Without long-term, binding
   land management commitments in this unit, there is no guarantee that the current historically
   high amount of lynx habitat will be maintained by future forest managment practices on private
   lands. The greatest stressors to resident lynx in this unit are habitat loss (as a result of the shift
   in forest management from clearcutting to partial harvesting resulting in lower landscape hare
   densities), lack of forest planning for lynx, and projected continued climate warming (diminishing
   snow depth, quality and duration; transition from spruce-fir to northern hardwood forests;
   potential increased competition from bobcats and fishers; and increased future isolation of lynx
   in this unit and southeastern Canada because of diminishing ice conditions on the St. Lawrence
   River/Seaway).

   4.2.2 Unit 2 - Northeastern Minnesota

   Unit Description: This geographic unit encompasses approximately 21,100 km2 (8,147 mi2) in
   northeastern Minnesota. It includes the area designated as critical habitat in 2014 (79 FR
   54782) and an additional relatively small area of tribal land that was excluded from critical
   habitat. Land ownership in this unit is about 47 percent Federal (primarily USFS, with some
   NPS and BLM land); 36 percent State; 16 percent private; and 1 percent Tribal (Grand Portage
   Reservation; see table 2). This unit includes most of Superior National Forest (SNF; including
   the Boundary Waters Canoe Area Wilderness [BWCAW]) and Voyageurs National Park. This
   unit is directly connected to lynx habitats and populations in Canada, and lynx in this unit likely
   represent the southern extent of a larger cross-border population, most of which occurs in
   Ontario. Relative to other DPS lynx populations, this unit is about 1,610 km (1,000 mi) west of
   the Northern Maine geographic unit and about 1,480 km (920 mi) east of the Northwest
   Montana/Northeast Idaho Unit.

   Habitat Description: In Minnesota, most lynx occurrences are associated with the Mixed
   Deciduous/Conifer Forest (McKelvey et al. 2000a, pp. 246, 248) within the Laurentian Mixed
   Forest Province (McNab et al. 2007, p. 5). Most of this province is characterized by low-relief
   hilly landscapes with glacial features and an elevation from sea level to 730 m (2,400 ft),
   including many lakes and rivers. This unit contains a mix of upland conifer and hardwood
   interspersed with lowland conifer, alder or willow shrub swamps and black spruce or tamarack
   bogs. Coniferous and mixed-coniferous/deciduous vegetation types are dominated by balsam
   fir; black and white spruce (Picea glauca); northern white cedar (Thuja occidentalis); Jack
   (Pinus banksiana), white, and red (Pinus resinosa) pine; eastern hemlock (Tsuga canadensis);
   and tamarack; mixed with aspen and paper birch (Burdett 2008, p.5; McCann and Moen 2011,
   p. 510). Burdett (2008, p. 57) reported that lynx in Minnesota selected regenerating forest,
   dominated by conifer with extensive forest edge, and that lynx beds (resting and hunting) and
   kill sites were associated with regenerating and mixed forest. McCann and Moen (2011, p. 513)
   found snowshoe hare densities were highest in regenerating forests. Female lynx selected large
   woody debris and dense horizontal cover in lowland conifer cover for denning in northern



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   Minnesota (Moen et al. 2008a, p. 1510), but other cover types were used if recent blowdowns
   were present (Moen and Burdett 2009, p. 5).

   Snowshoe hare habitat in Minnesota primarily consists of conifer forests with dense low-growing
   understories, lowland shrub, and conifer bogs. Conifer bogs or lowland conifer forests may be
   especially important during declines in hare abundance by acting as refugia for hares. Early
   regenerating or pole-sized stands are not used as much as in other portions of their range,
   although older regeneration stands were used frequently in Minnesota (McCann 2006, p. 45).
   Sapling-sized aspen adjacent to conifer cover may also provide functional snowshoe hare
   habitat. In northeastern Minnesota, edge habitats and regenerating conifer stands appeared to
   be important for snowshoe hare populations (Burdett 2008, p. 58; McCann 2006, p. 45), as were
   dense habitats containing balsam fir, white spruce, and cedar (Fuller and Heisey 1986, p. 263).
   Recent research indicates that the red squirrel is not an important prey species for lynx in
   northeastern Minnesota (Burdett 2008, p. 62; Hanson and Moen 2008, p. 9).

   Average annual snowfall in this unit ranges from about 180 cm (71 in) in the northwestern part
   of the unit near International Falls, to 219 cm (86 in) in Duluth, on the southern end of the unit,
   to 228 cm (90 in) in Tofte, near the lake shore on the far eastern-central part of the unit and in
   Isabella, near the center of the unit, to 107 cm (42 in) in Grand Portage, at the northeastern tip
   of the unit. More snow is produced along Lake Superior, because of the lake effect17.

   Habitat Status: Friedman and Reich (2005, p. 732) conducted a spatially explicit forest
   composition change analysis on a 3.2 million-ha study area in northeastern Minnesota, which
   was based on General Land Office Survey records from the late 1800s and the 1990 USFS
   Inventory and Analysis Survey. The study documents altered forest tree species abundance,
   proportional basal area, and spatial distribution patterns. The proportionally most abundant
   species in northeastern Minnesota shifted from the presettlement period (spruce, 21 percent;
   tamarack, 15 percent; and paper birch, 15 percent) to aspen (30 percent), spruce (16 percent),
   and balsam fir (16 percent) in 1990. White pine declined from 20 percent to 5 percent basal
   area dominance, birch from 16 percent to 13 percent, spruce from 14 percent to 9 percent, and
   tamarack from 12 percent to 2 percent, while aspen increased from 8 percent to 35 percent
   basal area dominance.

   The SNF continues to manage in accordance with its 2004 Forest Land and Resource
   Management Plan (USFS 2004a, entire). The Forest Plan emphasizes providing sustainable
   amounts of timber, maintaining or enhancing biodiversity, contributing to economic and social
   needs of the community, and managing in an environmentally sound manner to produce goods
   and services that provide for long-term public benefits. The Plan includes many objectives,
   standards, and guidelines for the protection of lynx and enhancement of lynx habitat (USFS
   2004a, Appendix E) that are based on recommendations in the 2000 LCAS (Ruediger et al.
   2000, entire). LAUs were delineated on the SNF in 2000 as the smallest landscape scale on
   which to analyze effects to lynx. The boundaries have remained in place since that time to allow
   for long term analysis of project effects. However, the SNF Plan proposed several changes of

   17 https://snowfall.weatherdb.com/d/a/Minnesota; accessed 4/25/2016.

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   current LAU boundaries, such as adding LAUs to the Virginia Management Unit of the
   Laurentian Ranger District, and designating the BWCAW a lynx refugium.

   Hare density in parts of northeastern Minnesota appears to be sufficient to support a viable lynx
   population (Moen et al. 2008a, p. 1512), with stand-level densities ranging from 0.3-2.0
   hares/ha (0.12-0.8 hares/ac; McCann 2006, p. 17). Hare populations in northeastern Minnesota
   appear to be patchily-distributed, but are most consistently abundant in 10-30 year old
   regenerating forests (McCann 2006, p.45). Pellet count data prior to the 1990s show evidence
   of density fluctuations of snowshoe hare populations occupying Minnesota (Fuller and Heisey
   1986, pp. 262-263), but these fluctuations were not observed during the 1990s (Hodges 2000a,
   p. 172).

   This unit is directly connected to lynx habitats and populations in southern Ontario, where
   trapping of lynx is legal. Habitat connectivity within and between portions of northeastern
   Minnesota and Canada appears functional based on radio-telemetry data that have documented
   lynx movements in both directions between Minnesota and Ontario (Burdett et al. 2007, p. 458;
   Moen 2009, pp. 4-6; Moen et al. 2010b, p. 5).

   Lynx Status: When the DPS was listed, it was uncertain whether a resident lynx population
   occurred in Minnesota. However, we now know that a reproducing resident population has
   persisted in Unit 2 since the DPS was listed. Moen et al. (2008b, p. 30) estimated a likely
   maximum (all available habitat occupied) number of 190-250 resident lynx in this unit, and Moen
   (in Lynx SSA Team 2016a, p. 39) recently suggested that the resident population likely
   fluctuates from about 50 to 200 lynx. A more precise estimate of resident population size is not
   available.

   Average home range sizes in Minnesota were first reported as 194 km2 (75 mi2) for males and
   87 km2 (34 mi2) for females (Mech 1980, p. 263). Later radio-telemetry data showed that males
   had much larger average home range sizes (267 km2 [103 mi2]) than females (21 km2 [8 mi2]),
   and that females with kittens had the smallest home ranges (Burdett et al. 2007, pp. 460-461). A
   study of radio-collared lynx in Minnesota documented approximately 40 percent of male and
   female lynx making long distance movements outside of their home ranges and into southern
   Ontario (Moen et al. 2010b, p. 17). Among lynx that made long-distance movements, females
   tended to move 100-200 km (62-124 mi) and did not return to their original home ranges in
   Minnesota, while males moved 50-80 km (31-49 mi) back and forth between Ontario and
   Minnesota (Moen et al. 2010b, p. 17).

   The SNF and others have identified 268 unique individual lynx (48 percent female, 51 percent
   male) from DNA samples taken since 2000 (Catton et al. 2015, p. 1). This study also
   documented lynx hybridization with bobcat and identified 13 unique individual lynx-bobcat
   hybrids (5 Female, 8 Male; Catton et al. 2015, p. 1). The DNA analyses also showed
   persistence of individual lynx in Minnesota of 2 years (N = 27 lynx), 3 years (N = 11), 4 years (N
   = 5), 5 years (N = 6), and 1 female lynx tracked for over 5 years, who produced 7 kittens in
   Minnesota (Catton et al. 2015, pp. 3-5).


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   Since 2000, the Service has documented 45 lynx mortalities in Minnesota including 16 that died
   of unknown causes, 11 that died after being incidentally captured in traps set for other species,
   9 that were hit by vehicles on roads, 7 that were illegally shot, and 2 that were hit by trains
   (USFWS 2016b, unpubl. data). In addition to the 11 trapping mortalities, another 15 lynx were
   documented to have been incidentally trapped but released alive. The documented incidents
   largely occurred during legal trapping that targeted bobcat, coyote, fox, and marten, and
   involved a variety of traps including foot-holds, body gripping traps, and snares. Other lynx may
   have been incidentally trapped but not reported. Additionally, lynx emigrating from Minnesota to
   Ontario are exposed to legal trapping and shooting in accordance with regulated harvest in
   Canada. At least a third of lynx radio-collared in Minnesota spent time in Ontario; 4 radio­
   collared lynx were legally harvested (trapped) in Canada between 2003 and 2010, and 2 died in
   Ontario of unknown causes (USFWS 2016b, unpubl. data). Some of these mortalities occurred
   years after the lynx was last located in Minnesota, indicating, along with evidence of lynx
   returning to Minnesota after dispersing to Ontario, that survival of Minnesota lynx in Ontario for
   extended periods is possible (Moen 2009, pp. 2-3, 10-13). Minnesota has relatively high forest
   road and highway densities that intersect lynx habitat and several radio-collared lynx in
   Minnesota inhabited home ranges that were bisected by highways.

   Factors Affecting Current Conditions

   Identified factors potentially affecting current conditions for lynx in Minnesota include reduction
   in habitat quality or quantity, habitat fragmentation, climate change, increased access for
   competing hare predators, and human-caused mortality. The SNF is currently implementing the
   2004 SNF Plan (USFS 2004a, entire), which has direction based on the LCAS (Ruediger et al.
   2000, entire) and the Canada Lynx Conservation Agreement (CA) between the Forest Service
   and the Service (USFS and USFWS 2000, entire), for all forest activities that occur within LAUs.
   Active management of forest lands can create, maintain, and restore lynx habitat, and the SNF
   has a long-term commitment for doing so; however, private landowners do not. Under the
   Sustainable Forest Resource Act of 1995, the Minnesota Forest Resources Council (MNFRC)
   has developed guidelines for site-level timber harvesting and forest management (MNFRC
   2012, p. 1); these voluntary guidelines are intended for private and State landowners and
   include some general recommendations for wildlife including lynx. The implementation of the
   MNFRC guidelines is monitored annually (e.g., MNDNR 2016b, p. 2). Thus, the several risk
   factors are being minimized and managed to promote the conservation of lynx within the SNF,
   however implementation of the guidelines on privately owned lands is voluntary.

   Activities that change forest structure can affect habitat quantity and quality for lynx and
   snowshoe hares, their primary prey source. Thinning and other timber management practices
   that reduce stem density and downed material and promote more open, mature stands can
   reduce habitat quality and quantity. Throughout the SNF and northern Minnesota, human
   activities have reduced connectivity between patches of suitable lynx habitat. Development for
   residential and commercial uses, as well as roads, railroads, and utility corridors have all
   interrupted linkage corridors. Mineral exploration and development is increasing in portions of


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   Minnesota, particularly for hard rock (non-ferrous) minerals. Some of the area of interest for
   minerals overlaps with lynx habitat in northeastern Minnesota. Mineral exploration may result in
   short-term displacement of lynx. Mining activities and associated development may result in an
   irreversible loss of habitat or increased mortality risk. The specific effects to lynx and their
   habitat will depend on the scale and type of each project.

   Roads are a factor in human-caused lynx mortality where they provide access to areas where
   lynx occur, increasing the risk of negative interactions between people and lynx. Throughout the
   SNF outside the BWCAW, high and low standard roads bisect many areas that provide potential
   or suitable lynx habitat. Additionally, bobcat harvest in northeastern Minnesota has been
   increasing over the last decade (Erb 2012, unpaginated), although it is still very rare in the area
   occupied by resident lynx in this unit. Where lynx and bobcat overlap, there is potential for
   accidental shooting and increased incidental trapping of lynx.

   Winter road use, snowmobiling, cross country skiing, and dog sledding all increase the amount
   and distribution of compacted snow conditions, which may increase access by potential lynx
   competitors or predators to snowy areas from which they may otherwise be excluded (ILBT
   2013, pp. 80-82). However, results of research on whether these activities result in increased
   competition or predation are ambiguous (ILBT 2013, p. 81) and impacts, therefore, are
   uncertain. Outside the BWCAW, snowmobile activity is extensive and increasing significantly.
   The SNF has 1,135 km (705 mi) of snowmobile trails and 2,514 km (1,562 mi) occur on all
   ownerships within the National Forest boundary (USFS 2011a, p. 38). Advances in snowmobile
   capabilities have raised concerns about intrusion and snow compaction in areas previously not
   vulnerable to high levels of snowmobile use. In addition, new road construction in lynx habitat
   has made more areas accessible during winter. These routes could be used by snowmobiles
   even if new roads are designated as closed to motorized public travel during other seasons. The
   SNF has 3,101 km (1,927 mi) of low standard roads and 254 km (158 mi) of temporary roads
   (USFS 2011a, p. 38). Increases in these activities have the potential to reduce the competitive
   advantage lynx are believed to have in areas that typically receive deep, persistent,
   unconsolidated snows.

   As described in Chapter 2, lynx are adapted for surviving in areas that have cold winters with
   deep, fluffy snow, where they are thought to outcompete potential competitors such as bobcats,
   coyotes, and wolves. The geographical distribution of bobcat harvest in Minnesota has
   remained relatively static with a lack of harvest in the Arrowhead Region of Minnesota (the
   region encompassed by Cook, Lake, and St. Louis counties in northeastern Minnesota; Erb
   2009 cited in Kapfer 2012, p. 16; Erb 2012, unpaginated) and annual snow track and scent
   stations surveys support the conclusion that bobcats are as rare in the Arrowhead Region as
   harvest indicates (MNDNR, unpubl. data, cited in Kapfer 2012, p. 23). However, this may
   change with decreased snow conditions predicted to result from continued climate warming
   (Kapfer 2012, p. 25; see section 5.2.2). Bobcat and coyote populations already appear to be
   increasing in Minnesota (Erb 2014, p. 40). If snow depth and duration decrease in the
   Arrowhead Region as projected by climate models, deer mortality may be reduced; this could
   increase bobcat densities and facilitate bobcat expansion into northeastern Minnesota (Kapfer


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   2012, p. 25), potentially increasing bobcat-lynx hybridization (Koen et al. 2014b, p. 113).
   According to annual track surveys, wolf populations in Minnesota are currently stable (Erb 2014,
   p. 40); however, similar to bobcat, wolf populations may increase with changing snow conditions
   and prey availability as influenced by climate change.

   In summary, although lynx residency in the unit was uncertain when the DPS was listed, we
   now understand that it supports a persistent resident population that is thought to fluctuate from
   50-200 individuals, likely in response to hare population changes that affect lynx survival,
   productivity, and recruitment. We have no evidence to suggest that this area historically
   supported a larger population or a broader distribution of habitat capable of supporting
   persistent lynx occupany. Although recent research has improved our understanding of lynx
   distribution, habitat requirements, dispersal, and some demographic parameters in this unit, we
   still lack information on kitten survival, recruitment, and the influence of immigration and
   emigration on population persistence.

   4.2.3 Unit 3 - Northwestern Montana/Northeastern Idaho

   Unit Description: This geographic unit includes the parts of northwestern Montana and
   northeastern Idaho the Service designated as critical habitat for lynx in 2014 and some Tribal
   and State lands that were excluded from that designation (79 FR 54825). It encompasses
   approximately 27,000 km2 (10,424 mi2) in portions of Boundary County in Idaho and Flathead,
   Glacier, Granite, Lake, Lewis and Clark, Lincoln, Missoula, Pondera, Powell and Teton Counties
   in Montana. Ownership in this unit is 84 percent Federal (USFS, NPS, and BLM); 8 percent
   private; 4 percent State; and 4 percent Tribal. Most Federal lands in this unit (82 percent) are on
   national forests managed by the USFS; with NPS (16 percent) and BLM (almost 2 percent)
   contributing most of the remainder. This unit includes most of Glacier National Park and parts of
   the Flathead, Helena, Idaho Panhandle, Kootenai, Lewis and Clark, and Lolo National Forests,
   the BLM’s Garnet Resource Area, and the Confederated Salish and Kootenai Tribes Flathead
   Reservation. It also includes (from northwest to southeast) all or parts of the Purcell, Cabinet,
   Salish, Whitefish, Lewis, Flathead, Swan, and Garnet mountain ranges. Several areas adjacent
   to this unit are known or thought to support a small number of resident lynx, at least
   intermittently, including the southern Selkirk Mountains of northern Idaho and northeastern
   Washington and the western Cabinet Mountains of northern Idaho (USFS 2015a, pp. 9-10;
   Lucid 2016, pp. 7-11; Lucid et al. 2016, pp. 158-160; IDFG 2017, pp. 2-5), and a small area of
   the Helena National Forest just south of MacDonald Pass, between Helena and Missoula
   (Gehman et al. 2011, p. 21). This unit is directly connected to lynx habitats and populations in
   Canada, and lynx in this unit may represent the southern extent of a larger cross-border
   population that also occurs in southwestern Alberta and southeastern British Columbia. Relative
   to other DPS lynx populations, this unit is about 200 km (125 mi) east of the north-central
   Washington unit, about 145 km (90 mi) northwest of the GYA, and about 1,480 km (920 mi)
   west of the Northeastern Minnesota geographic unit.

   Habitat Description: In the Northern Rocky Mountains, most lynx occurrences are associated
   with the Rocky Mountain Conifer Forest or Western Spruce-Fir Forest vegetative classes

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   (Kuchler 1964, p. 4; McKelvey et al. 2000a, p. 246) at elevations ranging from 1,250 m (4,100 ft)
   to 2,500 m (8,200 ft; Aubry et al. 2000, pp. 378-380; McKelvey et al. 2000a, pp. 243-245). The
   dominant vegetation that constitutes lynx habitat in these areas is subalpine fir, Engelmann
   spruce and lodgepole pine (Aubry et al. 2000, p. 379; Ruediger et al. 2000, pp. 4-8 - 4-10).
   Within these vegetation types, lynx appear to prefer areas of moderate to gentle topographic
   relief (Koehler and Aubry 1994, p. 86; Apps 2000, p. 352; Squires et al. 2013, pp. 187, 191).
   Lynx use large landscapes that include a temporally- and spatially-shifting mosaic of forest age
   classes, where natural or anthropogenic disturbances may reset forest succession (ILBT 2013,
   p. 28). Early successional stages that often provide dense horizontal cover at ground/snow level
   and support high hare densities (Griffin 2004, pp. 53-54, 70; Squires et al. 2010, pp. 1654-1656)
   may be created and maintained by natural disturbance processes including wildfire, insect
   infestations, tree diseases, and wind events (ILBT 2013, p. 28). Timber harvest, other
   silvicultural treatments, wildfire management, or other vegetation management, which may be
   beneficial, benign, or adverse to lynx and hare habitats depending on prescription, extent, and
   implementation, can also influence the amount and distribution of early successional stands
   (Agee 2000, p. 39; ILBT 2013, pp. 28, 71-76). Likewise, natural disturbance regimes and forest
   management can also influence the amount and distribution of mature multi-story spruce-fir
   stands, which can include dense horizontal structure, support high hare densities (Griffin 2004,
   pp. 53-54, 70; Squires and Ruggiero 2007, pp. 313-314; Berg et al. 2012, pp. 1483-1485), and
   provide preferred winter foraging habitat for lynx (Squires et al. 2010, pp. 1653-1657).

   In northwestern Montana, lynx generally occur in mid-elevation (1,260 - 2,355 m [4,130 - 7,730
   ft]) moist subalpine mixed-conifer forests dominated by Engelmann spruce and subalpine fir and
   including Douglas-fir, western larch (Larix occidentalis), and lodgepole pine (Squires et al. 2010,
   pp. 1653-1654). Lynx home ranges occur in areas with low surface roughness (i.e., low
   topographic relief; gently-sloping to moderately-steep terrain), high canopy cover indices, and
   little open grassland (Squires et al. 2013, p. 191). These lynx habitats occur below the alpine
   zone and above drier, more open forest types (e.g., ponderosa pine and dry Douglas-fir/western
   larch/lodgepole pine) that do not provide lynx habitat (Agee 2000, p. 42; Berg 2009, p. 20;
   Squires et al. 2010, p. 1655). As elsewhere in the western portion of the DPS, this elevational
   pattern contributes, along with the transition from boreal to more temperate forests, to a
   naturally patchier, more fragmented distribution of lynx habitat than in the continuous boreal
   forest landscape in the core of the lynx’s North American range in northern Canada and interior
   Alaska (65 FR 16052-53; 68 FR 40089; Squires et al. 2006[a], pp. 46-47; ILBT 2013, pp. 76-77;
   Squires et al. 2013, p. 191; 78 FR 59438). Squires et al. (2013, pp. 187-189) used telemetry
   data to model the distribution of probable lynx habitat in a 36,096-km2 (13,937-mi2) study area
   that completely overlaps this geographic unit. Their results indicate that much of the area has a
   low to moderate probability of selection by lynx, and that the areas with higher selection
   probabilities are relatively small and patchily- but widely-distributed throughout the unit and are
   separated by intervening areas of low probability of lynx use (Squires et al. 2013; see fig. 1(a),
   p. 189). Holbrook et al. (2017, entire) recently corroborated this result. This patchy distribution of
   high-quality habitats interspersed with areas of low-quality or non-habitat results in naturally
   lower densities of both snowshoe hares and lynx than those typical (except durig hare cycle
   lows) in the continuous boreal forests of northern Canada and Alaska (Wolff 1980, pp. 123-128;


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   Buehler and Keith 1982, pp. 24, 28; Koehler 1990a, p. 849; Koehler and Aubry 1994, p. 84;
   Aubry et al. 2000, pp. 373-375, 382, 394).

   In this unit, female and male lynx exhibit strong selection for advanced (25- to 40-year-old)
   regenerating spruce-fir stands in both winter and summer and at all levels of proportional
   availability (ranging from about 5 to 40 percent) of this stand type on the landscape (Holbrook et
   al. 2017, pp. 10-18 and fig. 6). In winter, females and males both preferentially use mature
   multi-story spruce-fir stands with dense horizontal cover, particularly when it is less available,
   proportionally, on the landscape, and they avoid clearcuts and large forest openings (Squires et
   al. 2010, pp. 1648, 1653-1656; Holbrook et al. 2017, pp. 10-18 and fig. 6). In summer, lynx also
   select young stands with dense spruce-fir saplings, avoid mature forest, do not appear to avoid
   openings as in winter, and use slightly higher elevations (Squires et al. 2010, pp. 1648, 1653­
   1656; Holbrook et al. 2017, pp. 13, 18). Both mature multi-story and young regenerating stands
   provide dense horizontal structure at ground/snow level, which supports higher snowshoe hare
   densities than more open young or mature forests. In the central (Seeley Lake study area) part
   of this unit, during an apparent regional hare decline in 1999-2001, summer hare densities were
   highest (up to 1.4 hares/ha [0.6 hares/ac] in 1 study area) in dense young stands, and winter
   densities were highest (up to 1.8 hares/ha [0.7 hares/ac] in 1 study area) in dense mature
   stands (Griffin and Mills 2009, pp. 1492-1496). Over a longer interval (1999-2003) when hare
   populations in this area were thought to be stable, mean summer and winter hare densities,
   respectively, were 0.34 and 0.53 hares/ha (0.14 and 0.21 hares/ac) in dense mature stands and
   0.64 and 0.47 hares/ha (0.26 and 0.19 hares/ac) in dense young stands - habitats selected by
   lynx, compared to 0.18 and 0.20 hares/ha (0.07 and 0.08 hares/ac) in open mature stands and
   0.18 and 0.12 hares/ha (0.07 and 0.05 hares/ac) in open young stands that lynx did not select
   (Squires and Ruggiero 2007, pp. 313-314). Even the relatively higher hare densities in the
   dense young and dense mature stands only marginally achieve the threshold density of 0.5
   hares/ha (0.2 hares/ac) thought necessary to support lynx within home ranges (Ruggiero et al.
   2000b, pp. 446-447; ILBT 2013, pp. 24, 26, 90; also see section 2.2.1). Nonetheless, hares
   accounted for 96 percent of the biomass in lynx diets in this unit based on evidence at kill sites
   (Squires and Ruggiero 2007, pp. 310-313), suggesting that even small declines in landscape­
   level hare densities could reduce the ability of habitats in this unit to support resident lynx
   (Squires et al. 2010, p. 1656).

   Lynx in this unit generally den in mature spruce-fir forests among downed logs or root wads of
   wind-thrown trees in areas with abundant coarse woody debris and dense understories with
   high horizontal cover in the immediate areas around dens (Squires et al. 2004a, table 3; Squires
   et al. 2008, pp. 1497, 1501-1505). Dens are located farther from forest edges than random
   expectation are few occur in young regenerating or thinned stands with discontinuous canopies
   (Squires et al. 2008, p. 1497).

   Average annual snowfall in this unit ranges from about 142 cm (56 in) in the Kalispell/Whitefish/
   West Glacier area of northwestern Montana to 183 cm (72 in) in Nordman in northern Idaho, to
   216 cm (85 in) in Lincoln, Montana, near the southern end of the unit, to 259 cm (102 in) in
   Rexford, Montana near the Canada-United States border, to 345 cm (136 in) in Seeley Lake,


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   Montana, in the central part of the unit, with most snow falling from November to March in each
   place18.

   Habitat Status: Most lynx habitat in this unit is currently designated as critical habitat in
   accordance with the ESA. Over 84 percent (22,761 km2 [8,788 mi2]) of this unit is in Federal
   ownership, including 18,695 km2 (7,218 mi2) in national forests under USFS management,
   3,658 km2 (1,412 mi2) in Glacier National Park managed by NPS, and 397 km2 (153 mi2)
   managed by BLM in its Garnet Resource Area. As described above, potential lynx habitat in this
   unit is patchily-distributed and interspersed with areas of non-habitat (matrix). Among the 6
   national forests that contribute lands to this geographic unit, potential lynx habitat was mapped
   on about 54 percent of the total national forest area (both inside and outside this SSA unit;
   USFWS 2007, pp. 32, 95, 122-123). In Glacier National Park, 2,976 km2 (1,149 mi2; about 73
   percent of the park) is considered “lynx forest types” (65 FR 16073), but only 1,103 km2 (426
   mi2; 27 percent of the park, 37 percent of lynx forest types) is estimated to be lynx habitat (68
   FR 40086, 40089). In the Garnet Resource Area, the BLM designated 5 LAUs (which
   approximate a lynx home range) covering 947 km2 (366 mi2), of which, 574 km2 (222 mi2; about
   61 percent) was mapped as lynx habitat (Sparks 2016a, pers. comm.).

   Federal lands are managed as either ‘‘developmental’’ or ‘‘nondevelopmental’’ land use
   allocations (68 FR 40093). Lands in developmental allocations are managed for multiple uses,
   such as recreation and timber harvest, some of which may conflict with lynx conservation.
   Management within non-developmental allocations focuses on the maintenance of natural
   ecological processes, or conservation of rare ecological settings or components, and these
   areas include wilderness, roadless, and semi-primitive non-motorized areas (USFWS 2007, pp.
   33, 77). Timber harvest, road construction, and fire suppression typically do not occur or are
   very limited in lands managed in non-developmental allocations.

   In this SSA unit, almost 46 percent of the Federal land and 40 percent of the entire unit is in
   designated wilderness or National Park land. This includes (in addition to Glacier National Park)
   the 6,297-km2 (2,431-mi2) Bob Marshall Wilderness Complex (Bob Marshall, Great Bear, and
   Scapegoat wilderness areas) on the Flathead, Lewis and Clark, Helena and Lolo National
   Forests; the 302-km2 (117-mi2) Mission Mountain Wilderness on the Flathead National Forest;
   the 139-km2 (54-mi2) Rattlesnake Wilderness Area on the Lolo National Forest; and the 371-km2
   (143-mi2) Mission Mountain Tribal Wilderness on the Flathead Reservation. Management of
   NPS lands and both national forest and Tribal wilderness areas provides land-use restrictions
   that are likely beneficial to lynx (65 FR 16073; USFWS 2014, pp. 28-29; 79 FR 54831), and
   adverse effects of management activities on lynx habitats in these areas are unlikely. Among
   the 6 national forests that contribute to this unit, 56 percent of potential lynx habitat is in
   designated wilderness or roadless areas (USFWS 2007, p. 34).

   Much of the remaining USFS lands and the BLM lands have developmental land-use allocations
   where some management activities have the potential to impact lynx or its habitat. However, as
   described above in section 3.1.1, USFS lands in this unit are managed in accordance with the

   18 https://snowfall.weatherdb.com/d/a/Montana ; accessed 4.2.2016.

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   NRLMD, which formally amended all forest plans to adopt and implement lynx conservation
   measures (USFS 2007, pp. 8-30 and Attachment 1, pp. 1-9) that were developed based on the
   scientific findings and recommendations of the LCAS (Ruediger et al. 2000, pp. pp. 7-1 - 7-18).
   Similarly, the BLM in 2004 amended the Resource Management Plan (RMP) for the Garnet
   Resource Area to incorporate the conservation measures identified in the LCAS (BLM 2004a,
   2004b, entire; Sparks 2016b, pers. comm.). Both documents provide guidance on the kinds of
   activities that can and cannot be implemented in important lynx habitats and thresholds for the
   proportions of lynx habitat in LAUs that can be in an unsuitable state at any given time and how
   much can be converted from suitable to (temporarily) unsuitable over particular time frames.
   Implementation of these plans has likely benefitted lynx by providing a consistently applied
   framework for conserving and restoring important hare and lynx habitats.

   Habitat status on private lands, which account for about 8 percent of lands in this unit (2,172
   km2 [839 mi2]), is governed by some Federal and State regulations and by a number of private­
   public conservation partnerships and State agency efforts. As described in section 3.1, some
   Federal and State regulations guide some activities on private lands, including the ESA’s
   prohibition on take of listed species, and State regulations governing trapping and timber
   management. In addition to these protections, there have been several other notable lynx
   conservation achievements on private lands in this unit since the DPS was listed. Two of these,
   the Clearwater-Blackfoot Project and the Montana Legacy Project, are multi-partner and
   community efforts led by The Nature Conservancy in Montana to purchase large tracts of
   private commercial timberlands, conveying some to the State of Montana and the USFS for
   conservation management, and acquiring conservation easements on others (TNC 2016a,
   2016b, 2016c, entire). These land acquisitions have resulted in protection of roughly 673 km2
   (260 mi2) of important lynx habitat within this SSA unit and another 583 km2 (225 mi2) just to the
   south and west that may occasionally or temporarily support lynx or provide dispersal habitat.
   Additionally, the MTFWP has acquired fee title or conservation agreements on 3,096 km2 (1,195
   mi2) of private lands in western Montana, including 162 km2 (63 mi2) in designated lynx critical
   habitat in this SSA unit, with ongoing efforts on another 106 km2 (41 mi2) in the northwest part of
   the unit (MTFWP 2016, pp. 1, 3).

   In addition to the MTFWP’s efforts to acquire private lands and protect them through fee title or
   conservation agreement, the State of Montana has also worked to protect lynx habitat on State-
   owned lands, which account for about 4 percent of the lands in this unit (1,106 km2 [427 mi2]).
   As described above in section 3.1.2, the MTDNRC worked closely with the Service to develop
   the State of Montana Department of Natural Resources and Conservation Forested State Trust
   Lands Habitat Conservation Plan (MTDNRC HCP; MTDNRC and USFWS 2010a, 2010b,
   2010c, entire); a multi-species HCP that focuses primarily on commercial forest management.
   The HCP includes a Lynx Conservation Strategy that minimizes impacts of forest management
   activities on lynx, describes conservation commitments that are based on recent information
   from lynx research in Montana, and commits to active lynx monitoring and adaptive
   management programs. The HCP covers about 2,220 km2 (857 mi2) of forested State trust
   lands in western Montana, including 703 km2 (271 mi2) within this SSA geographic unit (about
   64 percent of State lands in this unit). The goal of the HCP’s Lynx Conservation Strategy is to


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   support Federal lynx conservation efforts by managing for habitat elements important to lynx
   and their prey that contribute to the landscape-scale occurrence of lynx. Specific objectives to
   achieve this goal include protecting den sites and potential denning habitat, mapping and
   maintaining lynx foraging habitats and limiting the spatial and temporal scope of their conversion
   to unsuitable conditions from forest management activities, and providing for habitat connectivity
   (MTDNRC and USFWS 2010b, pp. 2-45 - 2-61). The HCP was finalized and permitted by the
   Service in 2011, and includes a 50-year commitment by the State to manage for lynx
   conservation on these lands (79 FR 54835-37).

   Tribal lands of the Flathead Reservation account for almost 4 percent of this unit. In addition to
   the Tribe’s approach to lynx management described in section 3.1.2, most lynx and lynx habitat
   on the reservation occur in areas with formal protective status, including: (1) The long-
   designated Mission Mountains and Rattlesnake Tribal Wilderness Areas, which are largely
   roadless and managed for wilderness qualities; (2) the South Fork/Jocko Primitive Area, which
   is open to use only by Tribe members and in which commercial timber harvest is prohibited; and
   (3) the Nine-mile Divide country, which is marginal in terms of lynx habitat, but which is also
   partly roadless (Courville 2014, pers. comm.; 79 FR 54831).

   As elsewhere in the DPS, winter foraging habitat is thought to be the most limiting habitat for
   lynx in this unit (Squires et al. 2010, p. 1656; ILBT 2013, pp. 20, 27). As described above, lynx
   selected mature multi-story stands with dense horizontal structure and relatively higher winter
   hare densities (Squires et al. 2010, pp. 1648, 1653-1656). Because of this preference, the
   Forest Service in the NRLMD adopted a vegetation management standard (VEG S6) that
   precludes all vegetation management activities that could reduce winter snowshoe hare habitat
   in multi-story forests, not just precommercial thinning as recommended in the LCAS (USFS
   2007, pp. 13-14). Also as elsewhere (Moen et al. 2008a, p. 1512; Organ et al. 2008, pp. 1514,
   1516-1517, ILBT 2013, p. 30; 79 FR 54790), denning habitat is not thought to be a limiting
   factor for lynx in this unit (Squires et al. 2008, p. 1505). Nonetheless, the NRLMD includes
   guidance to ensure adequate denning habitat remains well distributed in LAUs and, therefore,
   across the larger landscape and to design projects to create or retain coarse woody debris in
   areas where denning habitat may be lacking (USFS 2007, p. 17). Snow conditions in this unit
   also appear to remain suitable to allow lynx to outcompete other terrestrial hare predators.
   Gonzalez et al. (2007, pp. 4-7) compared the highest-precision lynx occurrence data in the
   contiguous United States from 1966-1998 with snow-cover data available for those locations
   and concluded that lynx require nearly continuous snow cover from December through March.
   The authors modeled snow suitability across North America, showing that this geographic unit
   currently has a 90-95 percent probability of providing snow cover consistent with historical lynx
   occurrence records (Gonzalez et al. 2007, p. 12).

   Overall, although naturally fragmented and patchily-distributed, lynx habitat in this geographic
   unit appears to be largely intact relative to historical conditions and disturbance regimes, with
   only a small proportion apparently impacted by past management (timber harvest and
   precommercial thinning) activities (65 FR 16072). Despite some likely localized impacts of past
   timber management and infrastructure (e.g., highway) development and evidence of minor


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   genetic differentiation among lynx subpopulations (see Lynx Status, below), past management
   activities do not appear to have diminished this unit's ability to support resident lynx or to have
   created barriers to lynx movement, or to have had other landscape- or population-level effects.

   A possible exception may be in the Garnet Mountains, which are known to have supported a
   small number of resident lynx in the 1980s and recently from 2002-2010, but where more recent
   surveys and research trapping efforts failed to detect lynx from 2011 to 2015 before a single
   lynx was verified in 2016 (Squires in Lynx SSA Team 2016a, p. 20; Lieberg 2017, pers. comm.;
   also see Lynx Status, below). This small and relatively isolated island of lynx habitat (Squires
   2014, p. 4) at the southern end of this unit is thought to be capable of supporting 7-10 lynx
   home ranges (Squires 2016, pers. comm.). The BLM (2004, pp. 4-5) contrasted current and
   historical distributions of lynx habitats in the Garnets and found that early-successional stands
   (future hare and lynx foraging habitats) were at 25-50 percent of the historical condition in lower-
   elevation (1,370-1,830 m [4,500-6,000 ft]) lynx habitats, and 10-30 percent in higher-elevation
   (1,675-2,130 m [5,500-7,000 ft]) habitats. Late-successional (mature multi-story) stands (25-75
   percent of historical condition) and large (> 100 ha [250 ac]) patches (25-50 percent of historical
   condition) were also underrepresented at lower elevations, but at higher elevations, these 2
   stand types exceeded 200 percent and 100 percent of historical conditions, respectively. Lower
   elevation habitats were fragmented by roads and past management practices (i.e., timber
   harvest), while higher-elevation habitat patterns were attributed to the absence of disturbance,
   including fire (BLM 2004, p. 5), though fire absence was not attributed to suppression.

   As discussed for the GYA in section 2.3.2.2, whether the recent absence of resident lynx in the
   Garnets represents the extirpation of a previously-persistent small population (and, therefore, a
   contraction in the range of resident lynx in this unit) or a temporary “winking off” of a naturally
   ephemeral small peripheral population, as might be expected in a mainland-island
   metapopulation structure, is uncertain and perhaps irresolvable. If residency was intermittent or
   ephemeral historically, the current absence of resident lynx might be a natural condition related
   to the area’s naturally fragmented habitats and generally low hare densities - i.e., it may
   naturally be capable of supporting resident lynx only intermittently when habitat conditions and
   hare densities are optimal. If so, future intermittent lynx occupancy would be expected, but only
   if lynx dispersing from a source population immigrate to the Garnets when habitat conditions
   and hare densities return to more favorable levels. Conversely, if the Garnets historically
   supported a small but persistent population that was recently extirpated, it may suggest that the
   alteration of the historical distribution of some habitats in some parts of the range, described
   above, was enough to shift the quality of the area’s habitat from capable of supporting a small
   resident population to no longer capable of doing so.

   In summary, almost all lands in this unit are managed to conserve lynx and hare habitats in
   accordance with Federal, State, and Tribal regulations and management direction, conservation
   easements, and an approved HCP. Much of the area consists of designated Federal and Tribal
   wilderness areas and other nondevelopmental land use allocations, where management
   activities with the potential to adversely affect lynx generally do not occur. On lands with
   development allocations, USFS, BLM, and State management are based on plans that


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   incorporate the conservation guidance identified in the LCAS as informed by more recently
   available scientific information. The State and TNC, working with other conservation partners,
   have bought or acquired conservation easements on large tracts of high-quality private lands in
   the unit that are known or suspected to be occupied by resident lynx. These efforts and
   management across multiple ownerships likely preclude landscape-level management-related
   adverse impacts to the vast majority of existing lynx and hare habitats in this unit. Nonetheless,
   past management activities that occurred prior to implementation of current regulations and
   other conservation efforts may exert continuing influence on current habitat quality in some
   places, as described above for the Garnet Mountains. Because lynx habitats in this unit, like
   most other areas of the DPS range, are naturally highly-fragmented, and most have hare
   densities that barely meet the 0.5 hares/ha (0.2 hares/ac) threshold thought necessary to
   support resident lynx, relatively minor impacts, especially to hare and lynx foraging habitats,
   may strongly influence lynx persistence in some parts of this unit.

   Lynx Status: There are no reliable estimates of the historical or current number of resident lynx
   in this unit although, as described in section 2.3.2.2 above, it is thought to be capable of
   supporting perhaps 200-300 lynx (Squires in Lynx SSA Team 2016a, p. 41). This is substantially
   fewer than previous estimates of more than 1,000 lynx, which were based on a habitat area/
   density index and broad assumptions regarding habitat suitability and lynx distribution (65 FR
   16058) that are not supported by current understanding of lynx habitat requirements and current
   or historic habitat availability in this unit. That is, based on our understanding of lynx habitat and
   its current and historical distriubtution, it is very unlikely that this unit and surrounding areas
   were ever (recently or historically) capable of supporting 1,000 resident lynx. As described
   above, habitats capable of supporting resident lynx in this unit are (and also were historically)
   naturally patchier and less-broadly distributed (Squires et al. 2006a, pp. 46-47; Squires et al.
   2013, p. 191), and lynx therefore naturally rarer, than was thought at the time of listing (ILBT
   2013, p. 23; Jackson in Lynx SSA Team 2016a, p. 12). Although the exact distribution of
   resident lynx remains uncertain, this unit has a long and continuous history of lynx occurrence
   and evidence of reproduction (McKelvey et al. 2000a, pp. 224-225; Squires and Laurion 2000,
   pp. 346-348; Squires et al. 2008, entire; Squires et al. 2013, entire; ILBT 2013, p. 57; 65 FR
   16058; 68 FR 40090; 74 FR 8643; 79 FR 54825). Genetic analyses revealed minor fine-scale
   genetic sub-structuring among lynx subpopulations in the southern (Garnet Mountains), central
   (Seeley Lake), and northern (Purcell Mountains) parts of this unit, suggesting limited interaction
   among lynx in those areas (Schwartz in Lynx SSA Team 2016a, p. 12 and Appendix 5; Squires
   in Lynx SSA Team 2016a, p. 20). Lynx in this unit likely represent the southern periphery of a
   larger population in southwestern Alberta and southeastern British Columbia, but the extent to
   which lynx persistence in this area may rely on immigration from Canada is unknown, and there
   is no indication of substantial immigration (irruptions) of lynx from Canada into this unit after the
   1980s (Squires in Lynx SSA Team 2016a, p. 20).

   From 1998 to 2007, researchers with the Forest Service’s Rocky Mountain Research Station
   (RMRS) in Missoula trapped and radio-marked 175 lynx in northwestern Montana and collected
   nearly 170,000 GPS and over 3,000 VHS telemetry locations documenting lynx movements,
   resource use, survival, and productivity (Squires in Lynx SSA Team 2016a, p. 20). From 1999­


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   2007, litter sizes averaged 2.24 kittens/litter (N = 33) in the Seeley Lake area and from 2003­
   2007, 2.95 kittens/litter (N = 22) in the Purcell Mountains. In Seeley Lake, 61 percent of
   breeding-age females (N = 52) produced kittens; in the Purcells, 83 percent of females (N = 28)
   produced kittens. Recent research (Kosterman 2014, entire) suggests that the probability that a
   female produces a litter and initial litter size are correlated positively with mature forest
   connectivity and negatively with fragmentation in female home ranges (Squires in Lynx SSA
   Team 2016a, p. 20 and Appendix A). Annual survival rates for subadult and adult female lynx
   were 0.52 and 0.75, respectively, in Seeley Lake, and 0.68 and 0.85, respectively, in the
   Purcells. Kitten survival rate was 0.58 in Seeley Lake (Kosterman 2014, pp. 13, 30). There was
   no evidence of cyclicity in these vital rates, and no indication of substantial immigration of lynx
   into these study areas from Canada. Starvation, predation by cougars, and human-caused
   deaths each accounted for roughly one-third of documented sources of lynx mortality.
   Population viability analyses yielded population growth rates (A) of 0.92 for the Seeley Lake
   area (i.e., declining population trend, 1999-2007) and 1.16 for the Purcells (increasing trend,
   2003-2007). However, as described in section 2.2.2, estimates of A in a cyclic Canadian
   population of lynx ranged from 2.03 (annual doubling) when hares were abundant to 0.10 (order
   of magnitude decline) after hare populations crashed (Slough and Mowat 1996, p. 952, table 4),
   and the natural range in A that would be expected among peripheral, isolated, or semi-isolated
   and non-cyclic or weakly-cyclic lynx populations in the DPS versus those that would signal long­
   term population decline or instability is unknown. Also as noted above, estimates of A in this unit
   assumed no immigration, which is a questionable assumption, and only low numbers of
   immigrants (less than 1 female/yr on average for a hypothetical population of 100 lynx) would be
   needed to provide population stability or even growth (Schwartz 2017, p. 4).

   As described above, lynx distribution in this unit may have contracted with the recent apparent
   disappearance of resident lynx from the Garnet Mountains in the southern part of the unit. This
   area is thought to have habitat capable of supporting 7-10 lynx home ranges (Squires 2016,
   pers. comm.). As described in section 2.3.2.2 and above, whether the recent absence of lynx
   from this part of the unit represents the extirpation of a small but previously persistent
   population (and, therefore, a permanent contraction of lynx distribution in this unit) or the
   temporary “winking off” of a peripheral subpopulation that may become “winked on” again in the
   future is unknown. On February 2, 2016, a single lynx was detected via snow-track survey and
   verified via DNA analysis in the Garnet Range in the area previously occupied by resident lynx,
   demonstrating that natural recolonization of this area by dispersing lynx is possible. However,
   this recent record appears to have been of a dispersing/transient individual because subsequent
   surveys have not revealed additional detections of that lynx or any other lynx in the area, and
   there currently remains no evidence of lynx residency in this mountain range (Lieberg 2017,
   pers. comm.).

   Snow-tracking, hair-snare, and camera-trap surveys in other parts of this unit since the DPS
   was listed continued to detect lynx on the Flathead, Helena, Idaho Panhandle, Kootenai, Lewis
   and Clark, and Lolo National Forests (USFS 2015a, pp. 9-27). On the Flathead, the RMRS
   trapped and radio-marked 7 lynx (3 females, 4 males) in the Flathead River watershed from
   2010-2015, and surveys detected lynx in several other areas including the Salish Mountains, the


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   area just south of Glacier National Park, and in the vicinity of Hungry Horse Reservoir (USFS
   2015a, pp. 10-11). The Swan Lake District in the southern part of the Flathead, along with the
   Seeley Lake District of the Lolo National Forest and the Lincoln District of the Helena National
   Forest, is part of the 6,070-km2 (2,344-mi2) Southwestern Crown of the Continent, which was
   intensively surveyed from 2012-2014 by the Southwestern Crown Carnivore Monitoring Team
   (SCCMT 2014, entire). The SCCMT conducted snow track surveys and used hair snares, bait
   stations, and camera traps to detect lynx in 36 of the 82, 8 x 8 km (5 x 5 mi) grid cells they
   surveyed (SCCMT 2014, pp. 3, 17-20). The surveys resulted in collection of DNA that allowed
   identification of 18 individual lynx (5 females, 13 males), 13 of which were new to regional lynx
   databases (SCCMT 2014, pp. 3, 17-20), indicating recruitment of new individuals into this
   population, or immigration, or a combination of the 2.

   On the Helena National Forest, few lynx have been detected outside the Lincoln District/
   Southwestern Crown area described above. In the south MacDonald Pass area, just south of
   this SSA unit and south of designated critical habitat, an individual male lynx was verified by
   DNA evidence over 4 winters (2007-2011), and an individual female was verified in the same
   area in the winter of 2008-2009 (Gehman et al. 2011, p. 21; USFS 2015a, p. 27). Other surveys
   on the Helena National Forest failed to detect lynx in the disjunct Big Belt and Elkhorn
   Mountains, although telemetry data indicated that 3 lynx released in Colorado passed through
   the Big Belts in 2004-2006 (USFS 2015a, pp. 26-27). Likewise, during snow tracking surveys on
   the Lolo National Forest in 2010-2011 (prior to the Southwestern Crown monitoring described
   above), lynx were also confirmed on the Seeley Lake District in the eastern part of the forest,
   but no lynx were documented on the Missoula or Ninemile districts, nor on the Superior and
   Plains/Thompson Falls districts in the western part of the forest (USFS 2015a, pp. 12-14). The
   USFS concluded that lynx presence in districts other than Seeley Lake is extremely rare and
   likely represents occasional dispersing lynx (USFS 2015a, p. 21).

   On the Kootenai National Forest, RMRS research trapping and telemetry efforts continued to
   document the long-term presence of lynx from 2003-2012 (USFS 2015a, p. 10). On the Lewis
   and Clark National Forest, lynx are considered “still present” in the Rocky Mountain Front
   portion of the forest, which is within this geographic unit and designated critical habitat, and
   snow track surveys from 2010-2013 in the disjunct Little Belt and Crazy Mountains documented
   the continued absence of resident lynx in those ranges (USFS 2015a, pp. 25, 27-34). In Idaho,
   surveys in 2006-2007 by the Coeur d’Alene Tribe recorded 1 lynx detection in the Coeur d’Alene
   Mountains and 1 in the Saint Joe Mountains (Albrecht and Heusser 2009, entire). On the Idaho
   Panhandle National Forest, Multi-species Baseline Initiative (MBI) surveys in 2010-2014
   detected 5 individual lynx (2 males, 3 females): 1 male in the Selkirk Mountains; 1 male and 2
   females in the Purcell Mountains (and another 18 detections not identifiable to individual), and 1
   female in the West Cabinet Mountains (Lucid et al. 2016, pp. 158-160). All detections were
   within 50 km (31 mi) of the Canada border, 3 detections were of incidentally-trapped lynx (2 in
   the West Cabinets released unharmed [1 with a radio collar] and 1 in the Purcells that died), and
   no lynx were detected in the Coeur d’Alene or Saint Joe Mountains (Lucid et al. 2016, p. 180).
   MBI follow-up surveys in 2015-2016 targeting areas where lynx were detected in 2010-2014
   resulted in 89 lynx detections representing a minimum of 6 individual lynx; 1 in the Selkirks, 4 in


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   the Purcells (including camera images of an adult traveling with 2 young and later on the same
   camera an adult traveling with 1 juvenile), and 1 in the West Cabinets (IDFG 2017a, p. 5). No
   lynx were detected in the Saint Joe Mountains.

   In summary, although the number of lynx in this geographic unit is uncertain, resident lynx
   appear to remain broadly distributed throughout much of the unit as evidenced by continued
   documentation of lynx in the research surveys described above. Genetic analyses and snow
   and camera surveys have verified continued reproduction and recruitment among lynx
   populations in this unit and also suggest some immigration may be occurring. The recent
   apparent absence of resident lynx in Garnet Mountains may indicate extirpation of a small
   resident population and a contraction in lynx distribution in the southern part of the unit, or it
   may reflect natural source-sink dynamics of a naturally ephemeral peripheral population in a
   mainland-island metapopulation structure. Lynx are rarely detected on surveys on other national
   forests (or parts of those above) that are outside but adjacent to this geographic unit (Patton
   2006, entire; USFS 2105a, pp. 1-9, 25-34), suggesting that these areas lack the habitat features
   and/or landscape-level hare densities necessary to support resident lynx populations (79 FR
   54818-54820).

   Factors Affecting Current Conditions

   Regulatory Mechanisms - Federal management activities (especially timber harvest and
   precommercial thinning, perhaps fire suppression) that occurred prior to listing and before
   implementation of current Federal regulatory mechanisms likely impacted some lynx habitats by
   altering the distribution and quality of hare habitats. However, because these activities occurred
   in low proportions of lynx habitat on Federal lands and impacts appear to have been localized,
   they were deemed a low-level threat to lynx at the time of listing (65 FR 16072-16076; 68 FR
   40091-40095). Nonetheless, past Federal management activities may continue to influence the
   current quality and distribution of lynx habitats in some parts of this unit. For example, as
   described above in Habitat Status and Lynx Status, past timber harvest/management and
   associated road construction may have fragmented, reduced the amount, and altered the
   distribution of lynx habitats in the Garnet Mountains, perhaps contributing to the apparent recent
   loss of that area’s ability to support resident lynx.

   Currently, as described above and in section 3.1, all Federal and Tribal lands, most State lands,
   and large blocks of private or formerly-private land in this unit are managed for the conservation
   of lynx habitats, and much of the unit is in designated wilderness or other nondevelopmental
   land-use allocations. Regulatory mechanisms and conservation measures associated with these
   management strategies are intended to conserve and restore lynx and hare habitats across
   large landscapes and multiple ownerships. Although their effectiveness has not been
   quantitatively evaluated, and despite the potential extirpation of a small population in the
   Garnets, lynx habitats and resident lynx appear to remain well distributed throughout most of
   this unit.




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   Other regulations prohibit lynx trapping and require measures to reduce the likelihood of
   trapping lynx incidentally when legally trapping other species. Since the DPS was listed in 2000,
   16 lynx are documented to have been incidentally trapped in Montana, with 13 of those
   occurring before 2008, when more protective regulations (e.g., lethal snares prohibited for
   bobcat sets, leaning pole sets limited to < 4” pole that must be 48” above ground for marten,
   fisher, and wolverine) were put in place (MTFWP 2016, pp. 5-10). Of the 16, 8 were released
   uninjured, 1 was released with an injury, and 7 were killed; all incidences of mortality occurred
   prior to 2008 and prior to the implementation of the more protective regulations (MTFWP 2016,
   p. 5). In Idaho, in addition to the 3 lynx incidentally trapped on the Idaho Panhandle National
   Forest from 2012-2014 (described above under Lynx Status), 1 other lynx was incidentally
   trapped in 2012 on the Salmon-Challis National Forest further south.

   Although lynx are legally trapped in Canada adjacent to this unit in southern Alberta and
   southern British Columbia, trapping there is managed through regulated seasons and harvest
   levels, which are adjusted to avoid overexploitation, especially during the low phase of the hare­
   lynx population cycle (Environment Canada 2014, entire; Vashon 2015, pp. 5-6). Lynx harvest in
   Alberta varied from about 4,000 to 14,000 annually in the late 1970s and early 1980s, but
   declined to fewer than 2,000 for most years from 1984-2000, and restrictive quotas and season
   closures were implemented beginning in the late 1980s (Poole and Mowat 2001, pp. 16, 28).
   Similarly, harvests in British Columbia peaked at over 12,000 in the early 1960s and over 8,000
   in the early 1970s, then declined to fewer than 2,000 for most years from the mid-1980s until the
   year 2000 (Hatler and Beal 2003, p. 2). Whether (and if so to what extent) trapping in Canada
   may influence lynx dispersal across the border and into this geographic unit is unknown;
   however, such dispersal was documented historically when harvest levels in Canada were
   much higher than under current management.

   Climate Change - As elsewhere, increased temperatures, reduced snowpack, earlier snowmelt,
   and increased drought leading to increased fire all have been documented in this geographic
   unit (e.g., Hall and Fagre 2003, entire; Mote 2003b, entire; Fagre 2005, entire; Knowles et al.
   2006, entire; Harvey et al. 2016, entire; Siren in Lynx SSA Team 2016a, pp. 14-15; Squires in
   Lynx SSA 2016, p. 20; Westerling 2016, entire). A number of potential impacts to lynx have
   been described, and climate projections suggest these impacts are likely to result in future loss
   and increased fragmentation and isolation of lynx and hare habitats and declining lynx
   populations in the DPS (Carroll 2007, entire; Gonzalez et al. 2007, entire; ILBT 2013, pp. 69-71;
   79 FR 54810-54811; Lawler and Wilsey in Lynx SSA Team 2016a, pp. 15-16; Siren in Lynx
   SSA Team 2016a, p. 15; see also sections 3.2, and 5.2.3). Although climate change has
   probably already had some impact on lynx habitats in this geographic unit, and such impacts
   are likely to continue to occur, there currently is no evidence that climate change has had
   population-level effects or has reduced the unit’s current ability to support persistent resident
   lynx populations. However, such impacts would be difficult to document and, as described under
   Habitat Status, above, lynx habitats in this unit are naturally highly-fragmented and hare
   densities, even in areas considered high-quality habitat for this DSP unit, often appear to barely
   meet the 0.5 hares/ha (0.2 hares/ac) threshold thought necessary to support resident lynx.



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   Therefore, even relatively minor impacts, especially to hare and lynx foraging habitats, may
   strongly influence lynx persistence in some parts of this unit.

   Modeling vegetation and snow suitability for lynx across North America, Gonzalez et al. (2007,
   pp. 12, 15) indicated that boreal and temperate conifer forest biomes were broadly distributed
   across this geographic unit and that snow conditions suitable for lynx occurred with 90-95
   percent probability from 1961-1990. (Future conditions based on this modeling are described in
   section 5.2.3). As described in section 3.2, climate change has also been implicated in recent
   increases in the frequency and intensity of outbreaks of boreal forest insect pests, with warmer
   winters resulting in increased insect survival and drought increasing conifer vulnerability to
   insects. This trend is expected to continue through the end of the century with continued climate
   warming (Bentz et al. 2010. pp. 607, 609). Although insect outbreaks have affected some parts
   of the DPS, no major outbreaks have been documented in lynx habitats in this unit (Lynx SSA
   Team 2016a, p. 41).

   Vegetation Management - As elsewhere in the DPS range, timber harvest and related
   vegetation management (precommercial thinning and other silvicultural techniques designed to
   optimize forest products outputs; ILBT 2013, pp. 71-72) are the dominant land uses potentially
   affecting lynx habitats in this unit (68 FR 40075, 40092; 79 FR 54825). As described in section
   3.3, these activities can reduce hare and lynx habitats by reducing horizontal cover and altering
   natural disturbance regimes and forest successional patterns. In this unit, precommercial
   thinning was shown to reduce short-term hare abundance (Griffin and Mills 2007, entire) and
   appeared to influence lynx movements (Squires et al. 2013, p. 192-194), and lynx rarely
   traveled across recent clearcuts or other large openings, especially in winter (Squires et al.
   2010, p. 1654; ILBT 2013, p. 77). However, as described under Habitat Status, above, these
   activities on Federal lands, which account for most of the lands in this unit, occur only on lands
   with developmental allocations and historically appear to have impacted only a small proportion
   of potential lynx habitats in this unit (65 FR 16072; 68 FR 40093). Additionally, timber harvest
   levels on Federal lands in the West, including the Northern Rockies, and specifically with regard
   to “lynx forest types,” had declined consistently and dramatically for a decade or longer prior to
   the DPS being listed (68 FR 40093), and have remained at levels much lower than those from
   most of the previous century. Despite some likely localized impacts, past vegetation
   management does not appear to have broadly diminished this unit's ability to support resident
   lynx, although, as described above, it may have contributed to the current absence of a small
   number of resident lynx from the Garnet Mountains. Also as described above, current
   vegetation management in this unit on all Federal, most State and Tribal, and some private
   lands, is conducted in accordance with formally amended USFS and BLM management plans,
   an approved State HCP, Tribal regulations, and conservation easements designed to avoid or
   minimize impacts to lynx habitats, especially important hare and lynx winter foraging habitats.

   Wildland Fire Management - As described above in section 3.4, wildfire suppression in this unit,
   as elsewhere in the West, has likely had little impact on lynx habitats (65 FR 16074; 68 FR
   40093-94; USFS 2007, pp. 18, 20; USFS 2008a, p. 11; ILBT 2013, p. 76). Also as described in
   that section, wildfire frequency, size, and intensity have increased in this geographic unit, where


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   about 15 percent (4,172 km2 [1,611 mi2]) of the forest area in this unit burned from 2000-2013
   (Squires in Lynx SSA Team 2016a, p. 20), likely in response to climate warming and related
   increases in drought conditions (e.g., Harvey et al. 2016, entire; Westerling 2016, entire). During
   the 2017 fire season alone, roughly 1,150 km2 (444 mi2; over 4 percent of the unit) burned,
   including the Rice Ridge and Reef fires, which together burned over 690 km2 (267 mi2) in the
   core of the Seeley Lake population’s habitat and the site of long-term lynx research by the
   RMRS.19 Although these fires likely have reduced or will reduce lynx carrying capacity in some
   parts of this geographic unit, we expect such impacts to be temporary, with burned areas
   regenerating into high-quality lynx and hare habitats 20-40 years post-fire. Thus far, we are
   aware of no evidence that increased fire activity has permanently reduced lynx populations or
   diminished this geographic unit’s ability to support resident lynx. However, with climate-driven
   elevated wildfire activity projected to continue into the future, such impacts are possible,
   depending on the location, timing, and extent of future fires (see section 5.2.3, below).

   Habitat Loss and Fragmentation - As described above, the dominant land use in this unit, and
   that most likely to result in habitat loss and fragmentation, is timber harvest and associated
   vegetation management (e.g., precommercial thinning) and road construction. In the Northern
   Rocky Mountains, the forests upon which lynx depend have had less timber harvest, road
   construction, and have been modified much less than other drier forests (65 FR 16073), and
   these activities appear not to have had population-level impacts on lynx or to have measurably
   reduced the ability of this geographic unit to support resident lynx (with the possible exception of
   the Garnet Mountains). Few highways intersect lynx habitats in the Northern Rockies (ILBT
   2013, p. 63) and there are few records of lynx killed by vehicle collisions in Montana (5) and
   Idaho (1; USFWS 2016c; MTFWP unpubl. data). Other potential sources of habitat loss and
   fragmentation include recreation, minerals/energy development, and backcountry roads and
   trails; these are all considered second tier anthropogenic influences (ILBT 2013, pp. 78-85) that
   are unlikely to exert population-level influences, despite potential impacts to individual lynx.

   Other Factors - Connectivity/Immigration - As elsewhere in the range of the DPS, resident lynx
   populations in this geographic unit are thought to be influenced by connectivity with, and
   immigration of lynx from, populations in Canada (see section 2.2). However, whether, and if so
   to what the extent, the persistence of populations in this geographic unit may depend on regular
   or intermittent immigration of lynx from Canada remains uncertain, and historic, recent, and
   current immigration rates are unknown. This unit is directly connected to lynx habitats and
   populations in southwestern Alberta and southeastern British Columbia, where lynx habitats are
   also (like Montana and Idaho) patchily-distributed and generally support low hare densities, and
   where some lynx populations may be ephemeral and the persistence of others reliant on
   periodic immigration (Apps 2007, pp. 81,95-104). Additionally, connectivity between this
   geographic unit and lynx habitats and populations in southern Alberta and southern British
   Columbia may be facilitated by only a few predicted corridors that extend south from the
   international border (Squires et al. 2013, pp. 187, 191-193).



   19 https://inciweb.nwcg.gov/state/27/0/

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   Although lynx occurrence and harvest records in this geographic unit reflect the unprecedented
   irruptions of lynx from Canada into the northern contiguous United States in the early 1960s and
   early 1970s (McKelvey et al. 2000a, pp. 224-226, 232-242), there is no evidence of irruptions of
   lynx into this unit after the 1980s (Squires in Lynx SSA Team 2016a, p. 20). This is supported
   by lynx trapping records from Canada, which suggest that the magnitude of lynx population
   cycles in Alberta and British Columbia dampened dramatically after the early 1980s (McKelvey
   et al. 2000a, p. 226; Poole and Mowat 2001, p. 28; Hatler and Beal 2003, p. 2; Bowman in Lynx
   SSA Team 2016a, p. 13; also see Appendix 5, 2015 10 13 - 5, pp. 4-520).

   A number of climate-mediated factors have been suggested as contributing to changes in the
   periodicity and amplitude of northern lynx and hare population cycles (see section 3.2), which
   would be expected to alter the timing and magnitude of irruptions of lynx from Canada into the
   contiguous United States. If lynx populations in this unit rely on immigration from Canada which
   is no longer occurring or has been substantially reduced relative to historical conditions,
   population declines and a reduced likelihood of persistence among resident populations would
   be expected. Although the extent to which this factor has influenced the current condition of lynx
   populations in this unit is unknown, the population growth rate estimated for the Seeley Lake
   area (A = 0.92, declining trend 1999-2007; Squires in Lynx SSA Team 2016a, p. 20) may reflect
   a gradual decline of a resident lynx population that needs but is not receiving adequate
   immigration. In contrast, the growth rate estimated for the lynx population in the Purcell
   Mountains in the northwestern part of this unit (A = 1.16, increasing trend 2003-2007; Squires in
   Lynx SSA Team 2016a, p. 20) suggests that the level of immigration, if necessary for
   demographic stability, has been adequate or that productivity and recruitment have been high
   enough to offset potentially diminished immigration. It is also possible that, despite the
   documented historical intermittent (cyclic) influxes of lynx from Canada into lynx populations in
   this geographic unit, immigration does not contribute meaningfully to the demographic stability
   of these populations. If that is the case, the estimated growth rates suggest that recruitment has
   failed to offset mortality in the Seeley Lake population but that it has more than done so in the
   Purcell Mountains population. However, Schwartz (2017, p. 4) noted that very low immigration
   rates (less than 1 female/year on average for a theoretical population of 100 lynx) could provide
   population stability or even growth, suggesting that the Seeley Lake population and perhaps
   other DPS populations are probably being sustained by low levels of undetected immigration.
   The growth rate estimates presented above assumed no immigration.

   4.2.4 Unit 4 - North-central Washington

   Unit Description: This geographic unit is located on the eastern side of the northern Cascade
   Mountain Range of north-central Washington in portions of Chelan and Okanogan Counties. It
   includes mostly Okanogan-Wenatchee National Forest lands as well as BLM lands in the
   Spokane District that were designated as critical habitat for lynx in 2014 (79 FR 54825). The unit
   also includes State Forest lands (portion of the Loomis State Forest) that were excluded from

   20 https://www.fws.qov/mountain-
   prairie/es/species/mammals/lynx/SSA2016/Appendices/Appendix%205%20Presentation%20PDFs/2015
   %2010%2013%20-%205%20-%20Bowman%20Lynx%20Southern%20Canada.pdf .

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   designation as critical habitat (79 FR 54825). It encompasses approximately 5,176 km2 (1,988
   mi2), with ownership that is 91.5 percent Federal (USFS, BLM), 8.2 percent State, and 0.3
   percent private lands; there are no Tribal lands in this unit. This unit is about 200 km (125 mi)
   west of the Northern Montana/Northeastern Idaho geographic unit. This area was occupied by
   resident lynx when the DPS was listed and remains occupied currently. Evidence from recent
   research and DNA analysis shows lynx distributed within this unit, and breeding has been
   documented. Although researchers have fewer records in the portion of the unit south of
   Highway 20, this area contains boreal forest habitat and is thought to support resident lynx.
   Further, it is contiguous with lynx habitat north of Highway 20, particularly in winter when deep
   snows close Highway 20. The northern portion of the unit adjacent to the Canada border also
   appears to support few recent lynx records; however, it is designated wilderness and access to
   survey this area is difficult. This northern portion contains extensive boreal forest vegetation
   types and also likely supports resident lynx. Additionally, lynx populations exist in British
   Columbia directly north of this unit.

   This geographic unit represents 58 percent of the 8,923-km2 (3,445-mi2) Okanogan Lynx
   Management Zone (LMZ) identified by the WADFW (Stinson 2001, p. 16). Five smaller and
   relatively disjunct LMZs to the east of this geographic unit (Vulcan-Tunk, Kettle Range, The
   Wedge, Little Pend Oreille, and Salmo Priest) combined represent another 3,656 km2 (1,412
   mi2) of potential lynx habitat known or thought to have historically and perhaps recently
   supported a small number of lynx, at least intermittently. Among these, the Kettle Range LMZ
   was thought to support a small (likely fewer than 20 individuals) resident lynx population as
   recently as the late 1970s that may have been extirpated as a result of overharvest
   compounded by habitat changes (Stinson 2001, pp. 14-16; Koehler et al. 2008, p.1523; see
   Lynx Status, below).

   Habitat Description: In the northern Cascades most lynx occurrences are associated with the
   Rocky Mountain Conifer Forest (Aubry et al. 2000, p. 379; McKelvey et al. 2000a, p. 246) at
   elevations between 1,400 m (4,593 ft) and 2,150 m (7,053 ft; McKelvey et al. 2000d, p. 322;
   Stinson 2001, p. 9). Within this area lynx primarily use forests dominated by Engelmann spruce,
   subalpine fir, or lodgepole pine on mild to moderate slopes (< 30°), and avoid Douglas-fir and
   ponderosa pine forests, forest openings, recently burned areas with sparse canopy and
   understory cover (< 10 percent), low elevations [less than 915 m (3,000 ft)], and steep slopes (>
   30°; Koehler et al. 2008, pp. 1518, 1521; Maletzke 2004, pp. 16-17). Similar to the Northern
   Rocky Mountains, lynx habitat in the North Cascades is naturally fragmented (Koehler et al.
   2008, p. 1523). As in other boreal forest systrems, fires and insect outbreaks are major drivers
   of disturbance in this unit, but other factors, including wind and tree diseases, also contribute to
   natural disturbance regimes (Agee 2000, p. 47). Fire return intervals in the North Cascades
   range between approximately 100 to 250 years (Agee 2000, p. 50). Average annual snowfall is
   consistent throughout this unit and is approximately 291 cm (115 in)21.

   Walker (2005, p. 20) estimated an average snowshoe hare density of 0.89 hares/ha (0.36
   hares/ac) with a range of 0.03 to 4.85 hares/ha (0.01 to 1.94 hares/ac) in the North Cascades.

   21 https://snowfall.weatherdb.com/d/a/Washinqton ; accessed 4.27.2016.

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   The WADNR estimated snowshoe hare densities between 0.3 and 0.7 hares/ha (0.1 and 0.3
   hares/ac) on the Loomis State Forest (WADNR 2006, p. 87). Koehler (1990a, p. 848) found
   snowshoe hares were the primary prey of lynx in the North Cascades, occurring in 23 of 29 (79
   percent) lynx scats examined. The remains of red squirrels were identified in 24 percent of
   scats, which also included remains of other species including deer and mice. Similarly, Von
   Kienast (2003, p. 39) found snowshoe hares in 87 percent (40 of 46) of lynx scats in the North
   Cascades, while red squirrels were identified in 28 percent of scats.

   Habitat Status: Lynx habitat in this geographic unit has been reduced and fragmented by
   multiple large wildifres over the past several decades that have likely caused a reduction,
   perhaps temporary, in the number of resident lynx in the unit (Lewis 2016, pp. 4-6; Lyons et al.
   2016, entire; Maletzke in Lynx SSA Team 2016a, p. 21; see Lynx Status below). Several
   wildfires affected lynx habitat in the North Cascades during the middle 1990s and early 2000s:
   1994 Whiteface Burn (15.5 km2 [6 mi2]); 1994 Thunder Mountain Fire (36.9 km2 [14.2 mi2]);
   2001 Thirty-Mile Fire (25.7 km2 [9.9 mi2]); and 2001 Farewell Fire (323 km2 [125 mi2];
   Vanbianchi 2015, p. 23). Subsequent to those fires and incorporating research on lynx habitat
   use, Koehler et al. (2008, p. 1522) estimated that the Okanogan LMZ (including this geographic
   unit) contained approximately 2,411 km2 (930 mi2) of suitable lynx habitat, and that the other 5
   LMZs in the northeastern corner of the state, combined, contained an additional 1,381 km2 (533
   mi2) of suitable habitat. More recent wildfires, including the 2006 Tripod Fire (706 km2 [273 mi2];
   Vanbianchi 2015, p. 23), have affected approximately 1,000 km2 (386 mi2) of lynx habitat in the
   Okanogan LMZ (Maletzke in Lynx SSA Team 2016a, p. 21), and the Diamond Creek fire burned
   another 393 km2 (152 mi2) in the northern part of this unit during July-October 2017, along with
   another 126 km2 (49 mi2) across the border in southern British Columbia22.

   Recently, Lewis (2016, pp. 4-6, fig. 3, table 2) estimated that about a third (3,130 km2 [1,209
   mi2]) of the total forested area in the Okanogan LMZ burned from 1992 to 2015, and that the
   amount of suitable lynx habitat in the LMZ similarly declined by 37 percent, from 2,581 km2 (997
   mi2) in 1996 to 1,630 km2 (629 mi2) in 2014. In the Kettle Range, Lyons et al. (2016, p. 5)
   estimated that about 11 percent (360 km2 [139 mi2]) of the LMZ burned from 2000 to 2015, and
   Lewis (2016, p. 6) estimated that the amount of suitable lynx habitat in the LMZ declined by
   about 7 percent, from 404 km2 (156 mi2) in 1996 to 376 km2 (145 mi2) in 2014. Cumulatively,
   Lewis (2016, p. 6) estimated that suitable lynx habitat in north-central and northeastern LMZs in
   Washington declined by 26 percent, from 3,770 km2 (1,456 mi2) in 1996 to 2,790 km2 (1,077
   mi2) in 2014, with 97 percent of the losses occurring in the Okanogan LMZ and attributable to
   large wildfires over the past 25 years. This estimate does not include impacts of the 2017
   Diamond Creek wildfire described above. These burned areas are expected to regenerate back
   into suitable lynx habitat, but it may take 10 to 40 years for that to occur (Lewis 2016, p. 5;
   Maletzke in Lynx SSA Team 2016a, p. 21), during which time the resident lynx population in this
   geographic unit will likely be at increased risk of stochastic demographic, genetic, and
   environmental effects.



   22 https://inciweb.nwcq.qov/incident/5409/ , accessed 10/25/2017.

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   As it is throughout the DPS range, maintaining connectivity with Canada is believed to be
   important to the conservation of resident lynx in this geographic unit (ILBT 2013, p. 65).
   Singleton et al. (2002, p. 46) reported broad landscape permeability for lynx between the
   northern Cascades and the Thompson River watershed in British Columbia. With no known
   barriers and lynx dispersal from this unit into Canada recently documented, connectivity with
   lynx populations and habitats in Canada currently appears functional (ILBT 2013, p. 65).
   Outside of this geographic unit, lynx habitat in the Kettle Range and the other northeastern
   LMZs is limited in size and potentially capable of supporting only a few lynx. Koehler et al.
   (2008, p. 1523) estimated the Kettle Range could support 10 to 23 lynx based upon a lynx
   density of 2.3 lynx/100km2 and 400 km2 (154 mi2) to 987 km2 (381 mi2) of lynx habitat. However,
   that lynx density estimate was derived from research conducted in the Cascade Range within a
   large area of contiguous, high-quality habitat (Koehler 1990a, pp. 845, 847). Lynx habitat in the
   Kettle Range is much smaller and likely more fragmented, and may not be capable of
   supporting a similar density. The Kettle Range is also somewhat isolated from other lynx
   habitats in Washington and British Columbia. The Kettle Range is separated from the Cascades
   in Washington by low elevation valleys dominated by shrub-steppe and Douglas-fir and
   ponderosa pine forests (Koehler et al. 2008, p. 1523), and from British Columbia by the Kettle
   River Valley (Stinson 2001, p. 20) and a major highway corridor with associated wildlife fencing
   in British Columbia (Koehler et al. 2008, p. 1523). These natural topographic and anthropogenic
   features may impede lynx movement between the Kettle Range and the Cascades and British
   Columbia, perhaps reducing the likelihood of natural recolonization and re-establishment of a
   resident breeding population in the Kettle Range.

   Lynx Status: In Washington, there is little information on the status of lynx prior to the early
   1960s (Stinson 2001, p. 13) because lynx trapping records were not maintained in Washington
   prior to 1961. From 1960 to 1991 a total of 234 lynx was harvested in Washington, with the most
   (35 percent) lynx trapped in Ferry County, followed by Okanogan (23 percent) and Stevens (10
   percent) counties (Stinson 2001, p. 13). Lynx were trapped relatively consistently in the Kettle
   Range in the 1960s, 1970s, and 1980s, with a total of 81 lynx harvested from 1961 through
   1986 (Stinson 2001, p. 63). Beginning in 1978, trapping seasons for lynx in Washington were
   reduced to 1 month. In 1987 a restricted permit system was implemented, and in 1990 a
   statewide closure on lynx trapping was implemented (USFWS 2008a, p. 2). In 1993, lynx were
   classified by the Washington Fish and Wildlife Commission as a State threatened species
   (Stinson 2001, p. 22). In 2001, the WADFW considered lynx to be present in the Okanogan,
   Kettle Range, Little Pend Oreille, and Salmon-Priest LMZs; at that time lynx had not been
   detected in the Wedge LMZ since 1987 nor the Vulcan-Tunk LMZ since 1990 (Stinson 2001,
   p.15). In its October, 2016, Periodic Status Review for the Lynx, the WADFW recommended
   that the Washington Fish and Wildlife Commission uplist the lynx from a State threatened to a
   State endangered species because of: 1) observed range contraction in Washington following
   protection efforts; 2) the substantial loss of habitat in the last 20 years; and 3) the ongoing and
   anticipated threats to lynx population persistence (Lewis 2016, pp. iii; WADFW 2016, entire). In
   December, 2016, the Commission approved WADFW’s review and adopted its recommendation
   to uplist lynx to endangered (WAFWC 2016, p. 3).



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   As elsewhere in the DPS, there are no reliable historical or current estimates of the number of
   resident lynx in this geographic unit. In 2001, based on data collected from lynx telemetry
   studies conducted in the Cascade Range during the 1980’s, the WADFW estimated that
   Washington contained approximately 12,579 km2 (4,857 mi2) of potential lynx habitat which it
   felt could theoretically support up to 238 lynx, including up to 149 lynx in the Okanogan LMZ
   (based on a lynx density of 2.5 lynx/100 km2; Stinson 2001, p. 16). However, based on
   professional opinions of individuals knowledgeable about lynx and lynx habitat and on surveys
   conducted as of 2000, the WADFW concluded that the State’s lynx population almost certainly
   numbered fewer than 200 and perhaps fewer than 100 lynx at that time (Stinson 2001, p. 16).
   Koehler et al. (2008, p. 1523) later estimated there was approximately 3,800 km2 (1,467 mi2) of
   suitable lynx habitat in Washington’s 6 LMZs, potentially capable of supporting up to 87 resident
   lynx. This revised estimate of potential carrying capacity was based on a study investigating
   lynx habitat use in the Okanogan from 2002 to 2004, and used a lynx density estimate of 2.3
   lynx/100 km2 derived from a radio-telemetry study of lynx in the Cascades from 1985-1987
   (Koehler 1990a, pp. 845-847). However, the study area from which the 2.3 lynx/100 km2 density
   estimate reported by Koehler (1990a, p.847) was derived is located in an area of the northern
   Cascades known as the “Meadows”. During the time of Koehler’s study, the Meadows provided
   some of the best lynx habitat in Washington, whereas most other potential lynx habitat in
   Washington is lower in elevation and more highly fragmented (Walker 2005, pp. 3, 6). Thus, the
   lynx densities Koehler observed in his study area in the Meadows may not be applicable to
   other areas of potential lynx habitat in Washington, because as habitat becomes more
   fragmented and isolated, the carrying capacity for lynx likely declines. Therefore, applying
   Koehler’s estimated density uniformly throughout Washington would likely overestimate the
   number of resident lynx potentially supported in Washington.

   More recently, Lewis (2016, pp. 5-6) estimated that wildfires over the last several decades (see
   Habitat Status section above) have reduced the carrying capacity of the Okanogan LMZ by 37
   percent, from 43 females (86 total lynx assuming similar numbers of males and females) in
   1996 to 27 females (54 total lynx) in 2014. The author estimated a minor decline in carrying
   capacity in the Kettle Range LMZ from 8 females (16 total lynx) in 1996 to 7 females (14 total
   lynx) in 2014. Overall, Lewis (2016, p. 6) estimated that suitable lynx habitat in north-central and
   northeastern LMZs in Washington declined by 26 percent from 1996 to 2014, with most of the
   losses resulting from large wildfires in the Okanogan LMZ, and that lynx carrying capacity in the
   State declined by 29 percent from 58 females (116 total lynx) to 41 females (82 total lynx) over
   that time period. However, considering a dramatic increase in female home range size (from
   about 39 km2 [15 mi2] during 1990-2002 to 91 km2 [35 mi2] by 2014), likely a result of fire-driven
   habitat loss and fragmentation, Maletzke (in Lynx SSA Team 2016a, p. 21) suggested that the
   carrying capacity of the Okanogan LMZ alone, which encompasses this geographic unit, may
   have declined from 90-115 females (180-230 total resident lynx) to as few as 27 females (54
   total resident lynx) currently. Maletzke’s estimate suggests a much larger (70 to 77 percent)
   potential decline in carrying capacity in this LMZ and, therefore, in the North-central Washington
   geographic unit. Because of these habitat impacts, limited demographic information, and
   remaining uncertainties (e.g., immigration/emigration rates, changes in snowpack, disease, lynx
   population status and impacts of trapping in southern British Columbia, and habitat corridor


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   stability between British Columbia and this unit; WADFW 2017, p. 3),the Washington
   Department of Fish and Wildlife recently submitted, and the State Fish and Wildlife Commission
   adopted, a proposal to uplist lynx from threatened to endangered within the State.

   From 1985 to 1987, Koehler (1990a, entire) monitored the movements of 5 adult male and 2
   adult female radio-collared lynx in the Cascades of north-central Washington. Results of the
   study indicated average female home range size was 39 km2 (15 mi2) and average male home
   range size was 69 km2 (27 mi2). Based on occupancy of the 640 km2 study area by 15 adult
   lynx, adult lynx density was estimated to be 2.3 adults/100 km2. Annual adult survival rates of
   the radio-collared lynx were 0.73 in 1986 and 1.00 in 1987, and kitten mortality was high at 88
   percent with only 1 of 8 known kittens surviving its first year (Koehler 1990a, p. 847).

   Factors Affecting Current Condition

   Within Washington, the vast majority of lynx habitat is administered by the Okanogan-
   Wenatchee (OWNF) and Colville (CNF) National Forests. The North Cascades (i.e., the
   Okanogan LMZ in north-central Washington), which supports the only known, long-term
   persistent lynx breeding population in Washington, and within which critical habitat was
   designated for lynx in 2014 (79 FR 54782), is administered by the OWNF. Subsequent to listing
   lynx under the ESA, the Forest Service entered into a Conservation Agreement (CA) with the
   Service in 2000 (USFS and USFWS 2000, entire), which was revised and extended in 2006
   (USFS and USFWS 2006, entire). The CA committed the OWNF and CNF to use the Lynx
   Conservation Assessment and Strategy (LCAS) for management of lynx and its habitat on their
   ownerships, and will remain in place until the forests amend or revise their individual LRMPs.

   In Washington, and the north Cascades specifically, it appears that the single threat for which
   lynx were listed under the ESA (i.e., inadequacy of Federal regulatory mechanisms) has largely
   been addressed through the development of the LCAS, and CA between the USFS and
   Service, which commits the USFS, specifically for Washington the OWNF and CNF, to use the
   LCAS in the management of lynx habitat on National Forest System lands and when designing
   and implementing projects within LAUs.

   The WADNR manages approximately 4 percent of the lynx habitat within portions of each of the
   delineated LMZs (WADNR 2006, p.9) in Washington State, including the Loomis State Forest
   that is located in the north Cascades within the Okanogan LMZ. In 1996, the WADNR
   developed and implemented a Lynx Habitat Management Plan (1996 Lynx Plan) in response to
   listing of the lynx as a State threatened species by Washington State (WADNR 1996, entire).
   After the DPS was Federally listed as threatened, the WADNR in 2006 modified its Lynx Habitat
   Management Plan to incorporate new science and management standards and guidelines to
   avoid the incidental take of lynx in accordance with the ESA (WADNR 2006, entire). These
   standards and guidelines address maintenance of lynx denning and foraging habitat, as well as
   habitat connectivity within and between LAUs and lynx populations within Washington (i.e.,
   LMZs) and Canada.



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   For example, the WADNR 2006 Lynx Plan includes, among other things: (1) Encouraging
   genetic integrity at the species level by preventing bottlenecks between British Columbia and
   Washington by limiting size and shape of temporary non-habitat along the border and
   maintaining major routes of dispersal between British Columbia and Washington; (2)
   Maintaining connectivity between subpopulations by maintaining dispersal routes between and
   within zones and arranging timber harvest activities that result in temporary non-habitat patches
   among watersheds so that connectivity is maintained within each zone; (3) Maintaining the
   integrity of requisite habitat types within individual home ranges by maintaining connectivity
   between and integrity within home ranges used by individuals and/or family groups; and (4)
   Providing a diversity of successional stages within each LAU and connecting denning sites and
   foraging sites with forested cover without isolating them with open areas by prolonging the
   persistence of snowshoe hare habitat and retaining coarse woody debris for denning sites. The
   2006 Lynx Plan also describes how WADNR will monitor and evaluate the implementation and
   effectiveness of the plan. The WADNR has been managing for lynx for almost 2 decades, and
   the Service has concluded that the management strategies implemented are effective. In the
   2014 final revised critical habitat designation, we determined that the benefits of excluding lands
   managed in accordance with the WADNR 2006 Lynx Plan outweighed the benefits of including
   them in the designation, and that doing so would not result in extinction of the species
   (extirpation of the DPS; 79 FR 54834-54835).

   In summary, recent wildfires have, perhaps temporarily, eliminated or reduced the quality of
   over 40 percent of the higher-quality lynx habitat within the North Cascades (Lewis 2016, pp 4­
   6; Maletzke in Lynx SSA Team 2016a, p. 21), which has reduced lynx carrying capacity and
   significantly affected the status of and current viability of the lynx population within this
   geographic unit. This geographic unit likely supports fewer resident lynx currently than it did
   historically, making the current, smaller population more vulnerable to environmental,
   demographic, and genetic stochasticity and to large catastrophic events (Lewis 2016, p. 5).
   Recent wildfire severity, extent, and intensity in lynx habitat within this geographic unit may have
   been influenced by climate change (Westerling et al. 2006, pp. 942-943), and as discussed in
   chapter 5, climate change may similarly affect the future viability of lynx within this geographic
   unit.

   4.2.5 Unit 5 - Greater Yellowstone Area

   Unit Description: This geographic unit includes the parts of southwestern Montana and
   northwestern Wyoming the Service designated as critical habitat (Unit 5) for lynx in 2014 (79 FR
   54825-54826). It encompasses approximately 23,691 km2 (9,147 mi2) in portions of Carbon,
   Gallatin, Park, Stillwater, and Sweetgrass Counties in Montana; and Fremont, Lincoln, Park,
   Sublette, and Teton Counties in Wyoming, with ownership that is 97.5 percent Federal (USFS,
   NPS, and BLM); 2.2 percent private; and 0.3 percent State. This unit includes parts of Grand
   Teton and Yellowstone national parks and the Bridger-Teton, Custer-Gallatin, and Shoshone
   National Forests, and lands managed by the BLM’s Kemmerer and Pinedale Districts. It
   includes parts of the Absaroka, Beartooth, Gallatin, Gros Ventre, Salt River, Teton, Wind River,
   and Wyoming mountain ranges. This unit is not directly connected to lynx habitats and

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   populations in Canada or to other DPS populations, although lynx dispersing from the north
   likely arrived intermittently into the area historically and, more recently, some lynx released into
   Colorado traveled into and through this unit (Devineau et al. 2010, p. 526; Ivan 2017, entire;
   details below). Relative to other DPS lynx populations, this unit is about 145 km (90 mi)
   southeast of the Northwestern Montana/Northeastern Idaho unit, and roughly 400 km (250 mi)
   northwest of the Western Colorado geographic unit.

   Habitat Description: In northwestern Wyoming and the GYA, lynx are generally associated with
   Engelmann spruce-subalpine fir and lodgepole pine of the Rocky Mountain Conifer Forest
   vegetation class, as described above (Section 4.2.3) for northwestern Montana, although these
   habitats, and thus lynx, typically occur at higher elevations (2,000-3,000 m [6,550-9,850 ft]) in
   the GYA (McKelvey et al. 2000a, p. 245; ILBT 2013, p. 60). Potential lynx habitat in much of the
   GYA is naturally marginal (patchier and composed in many places of drier forest types), with
   fewer shrubs and a more open understory, and generally very low to marginal hare densities,
   resulting in a spatially-limited distribution of lynx with large home ranges (Squires et al. 2003,
   pp. 5, 12-13; 68 FR 40090; 71 FR 66010, 66029; 74 FR 8624, 8643-8644; Hodges et al. 2009,
   entire; Berg and Gese 2010, p. 1750; 79 FR 54796; Lynx SSA Team 2016a, p. 45). Among the
   3 national forests that contribute lands to this geographic unit, potential lynx habitat was
   mapped on about 42 percent of the total national forest area (both inside and outside this unit;
   USFWS 2007, pp. 32, 95, 122-123).

   In Yellowstone National Park, 7,732 km2 (2,985 mi2; about 86 percent of the park) is considered
   “lynx forest types” (65 FR 16073), but only 2,784 km2 (1,075 mi2; 31 percent of the park, 36
   percent of lynx forest types) is estimated to be potential lynx habitat (68 FR 40086). However,
   hares were completely absent from more than 36 percent of surveyed stands in Yellowstone
   National Park, and 96 percent had estimated hare densities below the 0.5 hare/ha threshold
   thought necessary to support resident lynx (Hodges et al. 2009, pp. 870, 873-877). In contrast,
   estimated hare densities were > 0.48 hares/ha (0.19 hares/ac) in all surveyed stands on the
   Bridger-Teton National Forest in the southern portion of the GYA, with highest densities (1.7
   hares/ha [0.69 hares/ac]) in 30-70-year-old regenerating lodgepole pine stands with dense
   horizontal cover, and densities of 1.2-1.6 hares/ha (0.49-0.65 hares/ac) in mature multi-story
   spruce-fir and mixed spruce-fir (containing aspen or lodgepole pine) stands (Berg et al. 2012, p.
   1483). In the central Wyoming Range in the southern part of this unit, hare tracks were more
   abundant in seral aspen stands with a significant spruce-subalpine fir component than in aspen
   stands with little or no spruce-fir, and hares appeared to be absent from pure aspen stands
   except where they bordered spruce-fir areas (Endeavor Wildlife Research 2009, p. 4). The only
   lynx den sites described for this unit (the natal den and a subsequent maternal den of 1 female
   in 1998) occurred in a mature subalpine fir-lodgepole pine forest in the Wyoming Range, where
   coarse woody debris and high sapling density provided dense horizontal cover (Squires and
   Laurion 2000, pp. 346-347).

   Average annual snowfall in this unit ranges from about 127 cm (50 in) in Bozeman and 556 cm
   (219 in) in West Yellowstone, Montana, on the northern and northwestern peripheries of the
   unit, respectively, to 280-310 cm (110-122 in) in Alpine, Dubois, and Jackson, WY near the
   central and southern peripheries, with most snow falling from November to March in each

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   place23. In potential lynx habitats on the Bridger-Teton National Forest in the southern half of
   this unit, deep snow persisted from late October through May (Berg et al. 2012, p. 1481).

   Habitat Status: Potential lynx habitats in this unit are currently designated as critical habitat in
   accordance with the ESA. Over 97 percent (23,109 km2 [8,922 mi2]) of this unit is in Federal
   ownership, including 18,877 km2 (7,292 mi2) in national forests under USFS management,
   3,944 km2 (1,523 mi2) in national parks managed by NPS, and 271 km2 (105 mi2) managed by
   BLM. As described above in section 3.1.1, USFS lands in this unit are managed in accordance
   with the NRLMD, which formally amended all forest plans to adopt and implement lynx
   conservation measures (USFS 2007, pp. 8-30 and Attachment 1, pp. 1-9) that were developed
   based on the scientific findings and recommendations of the LCAS (Ruediger et al. 2000, pp.
   pp. 7-1 - 7-18). Similarly, the BLM in 2008 and 2010 revised its RMPs for the Pinedale and
   Kemmerer districts, respectively, to include conservation measures and BMPs for lynx based on
   the LCAS (BLM 2008, pp. A18-10 - A18-15; BLM 2010, pp. A-9 - A-12). On lands with
   developmental land-use allocations, these amended forest plans and the revised BLM RMPs
   provide guidance on the kinds of activities that can and cannot be implemented in important lynx
   habitats and thresholds for the proportions of lynx habitat in LAUs that can be in an unsuitable
   state at any given time and how much can be converted from suitable to (temporarily)
   unsuitable over particular time frames. Implementation of these plans has likely benefitted lynx
   by providing a consistently-applied framework for conserving and restoring important hare and
   lynx habitats.

   As elsewhere in the DPS (Squires et al. 2010, p. 1656; ILBT 2013, pp. 20, 27), winter foraging
   habitat is likely the most limiting habitat for lynx in this unit, and denning habitat is not thought to
   be limiting. Standards, guidelines and BMPs in the NRLMD and in revised BLM plans restrict
   vegetation management activities that could reduce winter snowshoe hare habitat and direct the
   creation or retention of coarse woody debris in areas where denning habitat may be lacking
   (USFS 2007, Attachment 1, pp. 2-5; BLM 2008, pp. A18-10 - A18-15; BLM 2010, pp. A-9 - A-
   12). Snow conditions in this unit also appear to remain suitable to allow lynx to outcompete
   other terrestrial hare predators. Gonzalez et al. (2007, pp. 4-7) modeled snow suitability across
   North America, showing that most of this geographic unit has a 95 percent probability of
   providing snow cover conditions consistent with historical lynx occurrence records (Gonzalez et
   al. 2007, p. 12).

   This unit includes substantial areas in nondevelopmental land-use allocations, including (in
   addition to Yellowstone and Grand Teton national parks) the Absaroka-Beartooth, Bridger, Gros
   Ventre, Lee Metcalf, Northern Absaroka, Teton, and Washakie designated wilderness areas.
   Among the 3 national forests that contribute to this unit, 75 percent of potential lynx habitat is in
   designated wilderness or roadless areas (USFWS 2007, p. 34). Management activities in these
   areas are unlikely to adversely impact lynx and hare habitats. Large parts of Yellowstone
   National Park burned in the extensive wildfires of 1988. Although the extent to which those fires
   may have impacted potential lynx habitats is uncertain, some of the burned areas may soon
   reach a stage of regeneration capable of supporting increased densities of hares, perhaps


   23 https://snowfall.weatherdb.com/d/a/Montana ; accessed 8.17.2016.

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   increasing the likelihood that lynx could reestablish and maintain home ranges in some parts of
   the park (Lynx SSA Team 2016a, p. 45). Because non-Federal lands make up less than 3
   percent of lynx habitats in this unit, it is unlikely that activities on those lands have impacted lynx
   populations or meaningfully influenced the unit’s current capacity to support resident lynx.

   Overall, although naturally fragmented and patchily-distributed, potential lynx habitat in this
   geographic unit appears to be largely intact relative to historical conditions and disturbance
   regimes, with only a small proportion apparently impacted by past management (timber harvest
   and precommercial thinning) activities (65 FR 16072). Despite some likely localized impacts of
   past timber management and infrastructure (e.g., highway, railroad) development, past
   management activities do not appear to have diminished this unit's ability to support resident
   lynx or to have created barriers to lynx movement, or to have had other landscape- or
   population-level effects.

   In summary, much of this geographic unit occurs in national parks, designated wilderness and
   roadless areas, or other nondevelopmental land-use allocations, where management activities
   with the potential to adversely affect lynx habitat generally do not occur. Almost all lands with
   developmental land-use allocations in this unit are managed by the USFS to conserve and
   maintain lynx and hare habitats under management plans that were formally revised in 2007 in
   accordance with the NRLMD and based on the scientific findings and conservation
   recommendations of the LCAS. A small proportion of lands with developmental allocations
   occurs on BLM lands where management plans also were revised recently (2008 and 2010) to
   adopt conservation measures identified in the LCAS. Implementation of these USFS and BLM
   plans likely precludes landscape-level management-related adverse impacts to the vast majority
   of existing lynx and hare habitats in this unit. Nonetheless, past management activities that
   occurred prior to implementation of current regulations and other conservation efforts may exert
   continuing influence on current habitat quality in some places. Additionally, because lynx
   habitats in this unit are naturally highly-fragmented and, in most places, support low landscape­
   level hare densities, relatively minor impacts, especially to hare and lynx winter foraging
   habitats, may strongly influence lynx persistence in some parts of this unit.

   Lynx Status: There are no reliable estimates of the historical or current number of resident lynx
   in this unit. As described in section 2.3.2.2 above, the historical record and recent research
   show that the GYA has supported resident lynx at least occasionally, but it is unclear whether
   the area consistently supported a persistent resident population over time or whether it naturally
   supported resident lynx only intermittently. Most historical and recent verified lynx records are
   from the southern portion of this unit in the Gros Ventre, Salt River, Wind River, and Wyoming
   mountain ranges in the Bridger-Teton National Forest. Reeve et al. (1986a, entire; 1986b,
   entire), who compiled all lynx records state-wide in Wyoming from 1856-1986, reported 22
   verified (“certain”) records and over 200 unverified (“probable”) records based on trapping
   reports and observations of animals or tracks (Reeve et al. 1986a, pp. 64-70. Most records were
   from the northwestern corner of the State (Reeve et al. 1986a, pp. 28-29; 1986b, pp. 6-9), which
   overlaps much of the GYA geographic unit. McKelvey et al. (2000a, pp. 229-230) reported 30
   verified records for Wyoming, including those in Reeve et al. as well as 2 resident lynx, a male


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   and a female, who were trapped, radio-marked, and monitored in the Wyoming Range over
   several years beginning in 1996 and who produced 6 kittens over 2 years. The female had 4
   kittens in 1998 and 2 in 1999, though none of the kittens survived to independence, and the
   female died of starvation in March 2000 (Squires and Laurion 2000, p. 346; Squires et al. 2001,
   pp. 9, 26). The female’s home range averaged 50 km2 (19 mi2) over the 3 years she was
   monitored, and the male’s averaged 824 km2 (318 mi2) over 5 years (Squires et al. 2003, pp.
   12-13). The male also made multiple long-distance exploratory movements (up to 728 km [452
   mi], including multiple highway crossings) over 3 successive years (Squires et al. 2003, pp. 13­
   16; Squires and Oakleaf 2005, entire).

   As described in section 2.3.2.2, several sources reported accounts of numerous lynx being
   trapped in the Wyoming Range in the early 1970s. However, nearly all these records are
   unverified and the various anecdotal reports provide conflicting numbers and years in which lynx
   were purportedly trapped. These conflicting anecdotal reports illustrate compellingly why only
   verified records are appropriate for evaluating historical lynx distribution (McKelvey et al. 2000a,
   pp. 208-210; 2008, pp. 553-554). Even if these anecdotal records were accurate, the large
   numbers of lynx reported in the early 1970s correspond to the second of 2 well-documented and
   unprecedentedly large irruptions of lynx from Canada into the northern contiguous United
   States, when dispersing/transient lynx occurred temporarily in many parts of the DPS range
   (McKelvey et al. 2000a, pp. 232-242). That the sudden increase in lynx suggested by these
   anecdotal records would have reflected a pulse of dispersing lynx associated with that large
   irruption is more plausible than the notion that a previously undocumented resident lynx
   population suddenly and simultaneously became vulnerable to trapping in only a handful of
   winters.

   Other surveys, however, resulted in verified detections of a small number of lynx in the southern
   portion of this unit from 1999-2009, with records most consistent in the Wyoming Range,
   Togwotee Pass, Union Pass, the Bondurant Corridor, and in the Gros Ventre Range (Squires et
   al. 2001, pp. 9-14; Squires et al. 2003, pp. 9-11,29-31; Endeavor Wildlife Research 2008, 2009,
   entire; Berg 2016, pers. comm.; Squires in Lynx SSA Team 2016a, pp. 20-21). At least 9 radio­
   marked lynx released in Colorado subsequently moved into or through the GYA unit from 1999­
   2010, with locations of several of these lynx concentrated in areas used previously by the native
   male and female described above (Devineau et al. 2010, p. 526; Hanvey 2016, pers. comm.;
   Ivan 2017, entire). In winter 2004-05, a male and female, both released in Colorado in spring
   2004, occupied overlapping areas on the east side of the Wyoming Range (Ivan 2017, p. 3, figs.
   20, 24). During the 2006 breeding season, a male and a female, both also released in Colorado
   in 2004, occupied overlapping areas farther north near Pinnacle Buttes along Highway 287
   (Ivan 2017, p. 3, figs. 21,23). However, there is no evidence that either of these pairs bred or
   that either female denned or produced kittens (Ivan 2017, p. 3). On the Shoshone National
   Forest in the northeastern part of this unit, analysis of DNA collected during winter surveys
   confirmed 7 lynx snow tracks in winter 2005/06 and a single track in 2006/07 (Endeavor Wildlife
   Research 2008, p. 2; Berg 2016, pers. comm.). Overall, during the 4 winters of 2004-05 through
   2007-08, 26 snow tracks on the Bridger-Teton and Shoshone National Forests were confirmed
   by DNA analyses to be from 5 individual lynx (3 males, 2 females). One of the males had


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   previously been documented in Yellowstone National Park (see below). The other 2 males and
   both females were lynx that had been released in Colorado (Pilgrim 2016, pers. comm.).

   Verified records of lynx are less common elsewhere in this unit, including in Yellowstone and
   Grand Teton national parks and the Custer-Gallatin National Forest. There were no verified
   records of lynx in Yellowstone National Park from 1920-1999 (McKelvey et al. 2000a, p. 230);
   however, surveys in 2001-2004 documented at least 3 individual lynx, including 2 kittens, in the
   eastern part of the park (Murphy et al. 2006, entire). On the Custer-Gallatin National Forest in
   Montana in the northern part of the unit, a single female was detected over 6 consecutive
   winters (2003/2004 - 2008/2009) but not subsequently (Gehman et al. 2010, pp. 2-4), and it
   appears that she did not encounter a male or produce kittens during the 6 years she was
   detected (Gehman et al. 2010, p. 4).

   Recent surveys and research-related trapping efforts have failed to detect lynx in this unit after
   2010 (79 FR 54791; Squires in Lynx SSA Team 2016a, pp. 20-21,45; Hanvey 2016, pers.
   comm.). As discussed above and in section 2.3.2.2, it is uncertain whether this unit historically
   supported a small but persistent resident population that was recently extirpated, or if it
   historically and recently supported resident lynx only intermittently. Given the protected
   conservation status of millions of acres in this unit, its apparent recent inability to support
   resident lynx may be a reflection of naturally marginal and patchy habitats and relatively low
   hare abundance in much of the unit, resulting in only an intermittent ability of this unit to support
   resident lynx (Lynx SSA Team 2016a, p. 57). Conversely, the characteristics described above
   suggest that relatively small impacts could shift potential habitats in this unit from just barely
   able to support a persistent resident population to incapable of doing so. Further, the available
   evidence suggests that if this unit did support a persistent population, it was very likely a very
   small one, which would be more vulnerable to extirpation as a result of demographic,
   environmental, and genetic stochasticity, catastrophic events (McKelvey et al. 2000b, pp. 23­
   29), or a combination of these factors.

   Factors Affecting Current Conditions

   Regulatory Mechanisms - As described above for Unit 3, Federal management activities (e.g.,
   timber harvest and precommercial thinning, perhaps fire suppression) that occurred prior to
   listing and before implementation of current Federal regulatory mechanisms likely impacted
   some lynx by altering the distribution and quality of hare and lynx habitats. However, because
   these activities occurred in low proportions of lynx habitat on Federal lands and impacts appear
   to have been localized, they were deemed a low-level to threat to lynx at the time of listing (65
   FR 16072-16076; 68 FR 40091-40095). Nonetheless, past Federal management activities may
   continue to influence the current quality and distribution of lynx habitats in some parts of this
   unit. Current regulatory mechanisms and conservation measures associated with recently
   amended or revised Federal management plans are intended to conserve and restore lynx and
   hare habitats across large landscapes. Although their effectiveness has not been quantitatively
   evaluated, they have almost certainly reduced significantly the potential for adverse
   management-related impacts to lynx habitats in this unit.


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   Lynx trapping has been prohibited in Wyoming since 1973 (79 FR 54794) and in Montana since
   1999 (MTFWP 2016, p. 7) and, as described in section 3.1.2, both states require measures to
   reduce the likelihood of trapping lynx incidentally when legally trapping other species. Since the
   DPS was listed in 2000, no lynx are documented to have been incidentally trapped in the
   Montana portion of this unit (MTFWP 2016, pp. 5-10) and we are aware of no incidental
   captures in northwestern Wyoming since listing.

   Climate Change - As elsewhere, increased temperatures, reduced snowpack, earlier snowmelt,
   and increased drought leading to increased fire all have been documented in this geographic
   unit (e.g., Mote et al. 2005, entire; Pederson et al. 2013, entire; Riley et al. 2013, entire;
   Dennison et al. 2014, entire; USEPA 2015, entire; Harvey et al. 2016, entire; Siren in Lynx SSA
   Team 2016a, pp. 14-15; Westerling 2016, entire). A number of potential impacts to lynx have
   been described, and climate projections suggest these impacts are likely to result in future loss
   and increased fragmentation and isolation of lynx and hare habitats and declining lynx
   populations in the DPS (Carroll 2007, entire; Gonzalez et al. 2007, entire; ILBT 2013, pp. 69-71;
   79 FR 54810-54811; Lawler and Wilsey in Lynx SSA Team 2016a, pp. 15-16; Siren in Lynx
   SSA Team 2016a, p. 15; see also sections 3.2, and 5.2.3). Although climate change has
   probably already had some impact on lynx habitats in this geographic unit, and such impacts
   are likely to continue to occur, there currently is no evidence that climate change has had
   population-level effects or has reduced the ability of this unit to support persistent resident lynx
   populations. However, such impacts would be difficult to document and, as described under
   Habitat Status, above, lynx habitats in this unit are naturally highly-fragmented and hare
   densities low in some places. Therefore, relatively minor impacts, especially to hare and lynx
   foraging habitats, may strongly influence lynx persistence in some parts of this unit.

   Modeling vegetation and snow suitability for lynx across North America, Gonzalez et al. (2007,
   pp. 12, 15) indicated that boreal and temperate conifer forest biomes were broadly distributed
   across this geographic unit and that snow conditions suitable for lynx occurred with 95 percent
   probability from 1961-1990. (Future conditions based on this modeling are described in section
   5.2.5). As described in section 3.2, climate change has also been implicated in recent increases
   in the frequency and intensity of outbreaks of boreal forest insect pests, with warmer winters
   resulting in increased insect survival and drought increasing conifer vulnerability to insects. This
   trend is expected to continue through the end of the century with continued climate warming
   (Bentz et al. 2010. pp. 607, 609).

   Vegetation Management - The influence of vegetation management on the current condition of
   lynx and habitats in this unit is described above under Habitat Status and Regulatory
   Mechanisms, above.

   Wildland Fire Management - As described above in section 3.4, wildfire suppression in this unit,
   as elsewhere in the West, has likely had little impact on lynx habitats (65 FR 16074; 68 FR
   40093-94; USFS 2007, pp. 18, 20; USFS 2008a, p. 11; ILBT 2013, p. 76). Also as described in
   that section, wildfire frequency, size, and intensity have increased in this geographic unit, likely
   in response to climate warming and related increases in drought conditions (e.g., Dennison et
   al. 2014, entire; Harvey et al. 2016, entire; Westerling 2016, entire), with most large, stand­

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   replacing fires having occurred in the northern part of the unit, in Yellowstone National Park (see
   Harvey et al. 2016, fig. 1). Despite this increase, we are aware of no evidence that increased
   fire activity in the unit has thus far impacted resident lynx populations or reduced this unit’s
   ability to continue to support resident lynx.

   Habitat Loss and Fragmentation - As described above, the dominant land use in this unit, and
   that most likely to result in habitat loss and fragmentation, is timber harvest and associated
   vegetation management (e.g., precommercial thinning) and road construction on lands with
   developmental allocations. Much of this unit occurs in national parks, designated wilderness and
   roadless areas, or other nondevelopmental allocations. Even in areas with developmental
   allocations, the moist subalpine forests important to lynx have had less timber harvest and road
   construction, and have been modified much less than other drier forests (65 FR 16073). These
   activities appear not to have had population-level impacts on lynx or to have measurably
   reduced the ability of this geographic unit to support resident lynx. Few highways intersect lynx
   habitats in the Northern Rockies (ILBT 2013, p. 63) and there are few records of lynx killed by
   vehicle collisions in Montana (5) and Wyoming (1 [a Colorado-released lynx]; USFWS 2016c).
   Other potential sources of habitat loss and fragmentation include recreation, minerals/energy
   development, and backcountry roads and trails; these are all considered second tier
   anthropogenic influences (ILBT 2013, pp. 78-85) that are unlikely to exert population-level
   influences, despite potential impacts to individual lynx.

   Other Factors - Connectivity/Immigration - As elsewhere in the range of the DPS, resident lynx
   populations in this geographic unit are thought to be influenced by connectivity with, and
   immigration of lynx from, populations in Canada (see section 2.2). However, whether, and if so
   to what the extent, the persistence of populations in this geographic unit may depend on regular
   or intermittent immigration of lynx from Canada remains uncertain, and historic, recent, and
   current immigration rates are unknown. Although this unit is not directly connected to lynx
   habitats and populations in Canada or elsewhere in the contiguous United States, no barriers to
   lynx dispersal from the north have been identified, and 9 lynx released in Colorado are known to
   have dispersed northward into and through this unit (Devineau et al. 2010, p. 526; Ivan 2017,
   entire), demonstrating that dispersal between the southern and northern Rockies is possible. As
   described above in Lynx Status, the large number of lynx reportedly trapped from a small area
   of the Wyoming Range in the early 1970s (Squires and Laurion 2000, p. 338) may suggest
   dispersers associated with the irruption of many lynx from Canada into the northern contiguous
   United States documented at that time (McKelvey et al. 2000a, pp. 235-242). No subsequent
   pulses of lynx dispersing from the north have been documented, and lynx trapping records
   suggest that the magnitude of lynx populations cycles in Alberta and British Columbia, the most
   likely source of lynx dispersing southward into this unit, dampened dramatically after the early
   1980s (McKelvey et al. 2000a, p. 226; Bowman in Lynx SSA Team 2016a, p. 13; also see
   Appendix 5, 2015 10 13 - 5, pp. 4-524).



   24 https://www.fws.qov/mountain-
   prairie/es/species/mammals/lynx/SSA2016/Appendices/Appendix%205%20Presentation%20PDFs/2015
   %2010%2013%20-%205%20-%20Bowman%20Lynx%20Southern%20Canada.pdf .

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   As described in section 3.2, a number of climate-mediated factors have been suggested as
   contributing to changes in the periodicity and amplitude of northern lynx and hare population
   cycles, which could alter the timing and magnitude of irruptions of lynx from Canada into the
   contiguous United States. If lynx populations in this geographic unit rely on immigration from
   Canada which is no longer occurring or has been substantially reduced relative to historical
   conditions, population declines and a reduced likelihood of persistence among resident
   populations would be expected. Although the extent to which this factor has influenced the
   current condition of lynx populations in this unit is unknown, it is possible that it has contributed
   to the recent apparent loss of resident lynx from this unit.

   4.2.6 Unit 6 - Western Colorado

   Unit Description - This geographic unit includes parts of the Southern Rocky Mountains of
   western Colorado. It encompasses approximately 25,294 km2 (9,766 mi2) of potential lynx
   habitat distributed west of US Interstate 25, with ownership that is 90 percent Federal (85
   percent USFS, 3 percent BLM, 2 percent NPS), 9 percent private, and < 1 percent State. When
   it listed the DPS, the Service identified 26,305 km2 (10,156 mi2) of potential lynx habitat in the
   Southern Rockies (i.e., western Colorado and south-central Wyoming; [65 FR 16052]). In 2003,
   we estimated 31,027 km2 (12,419 mi2) of potential habitat within that area (68 FR 40076). Ivan
   et al. (2011e, entire) developed a(predictive map of lynx habitat)by using telemetry location data
   collected during CPWs lynx monitoring, and then estimated the amount of habitat associated
   with a high probability of detecting lynx. Our review of the vegetative characteristics ofCPW’s)
  (predictive map detected large areas of spruce-fir habitats)that were excluded by their
   presentation of the habitat associated with the top 20 percent of predicted use (Ivan 2011e, p.
   26). Therefore, we selected the top 30 percent of predicted use areas and the associated
   habitat to represent the amount of potential lynx habitat in this unit. Our estimate of potential
   habitat (above) falls between the Ivan et al. (2011e, p. 26) estimate (about 18,700 km2 [7,220
   mi2]) and the USFS’s habitat estimate (30,664 km2 [11,839 mi2]; USFS 2008b, p. 18), while
   retaining a greater than 60 percent probability of detecting lynx as described by Ivan et al.
   (2011e, pp. 32-33).

  (We excluded the northwest part of the State,)bounded on the south by US Interstate 70 and the
   east by Colorado State Highway 13, because(this area lacks sufficient habitat to support lynx.)
  fSmall areas of similar potential lynx habitat extend into south-central Wyoming and north-central)
  (New Mexico, and some lynx released in Colorado traveled into or through those areas.)^^^”
   However,)there is no evidence that either area supports resident lynx, and we doubt their ability)
  fto do so. This unit is not directly connected to lynx habitats and populations in Canada or to)
  (other DPS populations, although lynx dispersing from the north apparently arrived intermittently
   into the area historically, and long-distance dispersal (emigration) of translocated lynx from this
   unit to many western states and to Canada have been documented.) The Southern Rockies are)
  (separated from the rest of the Rocky Mountain chain,) and thus from lynx habitat in northwestern
   Wyoming and further north, by sagebrush and desert shrub communities in the Wyoming Basin
   and the Red Desert of southern and central Wyoming, and the arid Green and Colorado River
   plateaus of western Colorado and eastern Utah.(Because of extreme topographic relief)


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   juxtaposed with highways, residential communities, and other human developments, lynxj_
    biologists have identified habitat connectivity as an important consideration for the Southern~;
    Rockies (ILBT 2013, p. 54).)Relative to other DPS lynx populations, this unit is about 400 km
    (250 mi) southeast of the^GYA geographic unit.)

   Habitat Description - Lynx habitat in the Southern Rockies occurs within the subalpine and
   upper montane forest zones, generally above 2,900 m (9,514 ft) elevation (Shenk 2009, p. 10).
   In the upper elevations of the subalpine zone, forests are typically dominated by subalpine fir
   and Engelmann spruce. As the subalpine zone transitions to the lower-elevation upper montane
   zone, spruce-fir forests begin to give way to lodgepole pine and aspen. On cooler, mesic mid­
   elevation sites, Engelmann spruce may retain dominance, intermixed with aspen, lodgepole
   pine, and Douglas-fir. Lodgepole pine reaches its southern limits in the central part of the
   geographic unit, while southwestern white fir occurs only in the San Juan Mountains. The lower
   montane zone is dominated by ponderosa pine and Douglas-fir, with pines typically dominating
   on lower, drier, more exposed sites, and Douglas-fir occurring on the more sheltered sites.
   Lower montane forests do not support snowshoe hares and are seldom used by lynx except
   during dispersal and exploratory movements.

   In this unit, lynx most commonly use mature Engelmann spruce-subalpine fir forests with total
   canopy cover of 42-65 percent and a conifer understory canpoy of 15-20 percent, followed by
   mixed forests of Engelmann spruce-subalpine fir-aspen (Shenk 2008, p. 15; ILBT 2013, p. 52).
   Riparian and riparian-mix are the third most-used cover type, with a pattern of increasing use
   beginning in July, peaking in November, and dropping off in December. Large or medium
   willow-alder carrs and willow riparian communities provide important habitat for snowshoe hare,
   grouse, ptarmigan (winter), and other prey species (ILBT 2013, p. 52).

   Habitat Status - Snowshoe hare (lynx foraging) habitat is naturally patchily-distributed in the
   Southern Rocky Mountains (ILBT 2013, p. 54), limiting hare abundance in this geographic unit.
   Dolbeer and Clark (1975, pp. 535, 539) estimated snowshoe hare density at 0.73 hares/ha (0.3
   hares/ac) in Summit County in central Colorado, with the highest densities in mature and late-
   successional spruce-fir forests. However, this study was conducted in a very limited area and
   did not sample younger sapling-stage stands (15-40 years post-disturbance) to compare hare
   densities with those reported for mature and late-successional spruce-fir forests (USFWS
   2008b, p. 32). Zahratka and Shenk (2008, pp. 910-911) estimated higher hare densities in
   mature Engelmann spruce-subalpine fir stands (0.08 to 1.32 hares/ha ([0.03 to 0.5 hares/ac])
   than in mature lodgepole pine stands (0.06 to 0.34 hares/ha [0.02 to 0.14 hares/ac]) in Taylor
   Park, Colorado. In contrast, Ivan et al. (2014, p. 587) estimated highest (summer) hare
   densities in early (20-25 years old) seral lodgepole stands (0.2 to 0.66 hares/ha [0.08 - 0.27
   hares/ac]); intermediate densities in mature spruce-fir stands (0.01 to 0.26 hares/ha [0.004 - 0.1
   hares/ac]); and lowest densities in mid-seral (40-60 years old) lodgepole stands that had been
   pre-commercially thinned (0.01 to 0.03 hares/ha [0.004 - 0.01 hares/ac]). Densities were more
   similar across the 3 forest types during the winter months; however, in all forest types and all
   seasons, hare densities were < 1.0 hares/ha (< 0.4 hares/ac) and in most cases were < 0.3
   hares/ha (< 0.12 hares/ac; Ivan et al. 2014, p. 589). In fact, only 1 stand type (early seral)


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   lodgepole) in 1 summer (2006) had an estimated density (0.66 ± 0.14 hares/ha [0.27 ± 0.06£
   hares/ac]) that exceeded the 0.5 hares/ha (0.2 hares/ac) threshold suggested as a minimum
   needed to support resident lynx over time (Ivan et al. 2014, p. 587, fig. 2).)The information
   summarized above suggests that hare densities in this unit are low to marginal (compared to)
   units that have historically supported persistent resident lynx populations, and they may be)
   inadequate to support long-term lynx persistence.)

    Colorado is currently experiencing historically (unprecedented bark beetle epidemics)in
    lodgepole pine and spruce-fir forests.)By 2015,) the spruce beetle outbreak influenced
    approximately)95 percent of the mature spruce) component of the subalpine cover types on the
   fRio Grande National Forest (Squires et al. 2016, unpubl. report, p. 1), which contains )most of)
   (the potential lynx habitat in the San Juan Mountains.)Recent statewide sampling, however,
    indicates that)snowshoe hare occupancy is invariant' to time)since beetle outbreak or severity of
    the outbreak (IvanandSeglund 20167pp7275))(which suggests that the ongoing epidemic will)
   (not be catastrophic to lynx in Colorado.)However))red squirrels)are an important alternate food
    source in this unit, and)occupancy of that species has declined markedly with the beetle)_____
   fepidemic (Ivan and Seglund 2016, pp. 2-3), which may be of some concern during periods when)
   (snowshoe hare abundance naturally fluctuates downward.)

   All USFS land management plans within the unit were amended by the SRLA in 2008 to provide
   for the conservation of lynx (USFS 2008a, entire; USFWS 2008b, entire).^In 2008, the USFS)
   reported that most LAUs on National Forest System lands in the Southern Rockies fell within^
   range of 3-8 percent in a currently unsuitable condition^^with only 1 LAU exceeding_the_30)
   percent unsuitable threshold established in the SRLA (USFS 2008b, p. 19).) Currently, the' USFS
   reports that '.51 of 202 LAUs (25 percent) exceed the 30 percent unsuitable condition (McDonald)
   2016, pers. comm.).)These changes aTemostly in response to the ongoing bark beetle)
   infestations and wildfires that have occurred since 2008.^No forest management activities have)
   resulted in LAUs exceeding the threshold.)

   (Similarly, since the DPS was listed, all BLM Field Offices (FOs) in Colorado have been)
    conserving lynx discretionarily through application of conservation measures provided in the)
    LCAS (Ruediger et al. 2000, entire; ILBT 2013, entire).)Three BLM FO plans in Colorado have
   been amended or revised to conserve lynx following the 2013 LCAS on lands totaling
   approximately 126 km2 (49 mi2) of potential lynx habitat. One additional FO plan provides
   conservation measures for timber management actions only, but that FO administers only about
   1 km2 (0.39 mi2) of potential lynx habitat. To date, the remaining FOs have not formally
   amended or revised their plans specifically to provide conservation for lynx. Combined, these
   plans guide management of approximately 645 km2 (298 mi2; about 2.6 percent of the
   geographic unit) of potential lynx habitat. Additionally, Rocky Mountain National Park has a fire
   management plan that includes conservation measures for lynx (Wrigley 2016, pers. comm.;
   Watry 2016, pers. comm.), although resident lynx have not been confirmed in the park.)We are)
   not aware of any specific lynx conservation strategies guiding activities on non-Federal lands in)
   this geographic unit.)



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   (Lynx Status)- The current number and distribution of resident lynx in Colorado are somewhat
    uncertain. However, (experts suggest there may be 100-250 lynx in this unit, and we believe it is)
   (reasonable that lynx continue to occur in all national forests within the State.)As of 2007,
    average(annual survival among released lynx was 0.93 ± 0.03 within the study area in the San)
   Im Mountains and 0.82 ± 0.07 outside the study area boundary (Devineau et al. 2010, p. 5).)
       hough 30 percent of known mortalities were due to human causes (being shot or hit by aj~
       Iicle; Devineau et al. 2010, p. 5), the estimate of survival within the study area was higher
       n those reported for natural, lightly trapped populations of lynx in the Yukon (0.75-0.90;)2__
       ugh and Mowat 1996, entire; O’Donoghue et al. 1997, p. 155) or in the Northwest Territories)
       3 0; Poole 1994, p. 612). Successful reproduction, including by third- and fourth-generation^
       i pring of translocated lynx, has been documented (Shenk 2008, p. 2); however, the average)
      portion of females that produced kittens (24 percent; Ivan in Lynx SSA Team 2016a, p. 22))
      I the kitten survival rate (0.23; Ivan 2016b, pers. comm.) were both lower in this geographic)
      t (during the period of intensive monitoring from 1999-2010) than rates reported for other)
      )graphic units where estimates were based on adequate sample sizes (Units 1 and 3; table)



   The CPW has developed a minimally-invasive, long-term, state-wide monitoring program to
   track the distribution, stability, and persistence of lynx in Colorado (Ivan 2011e, entire) that may
   also eventually provide population trend information.t^As of 2016, this monitoring program)
   detected evidence of recent lynx reproduction via camera captures of kittens accompanying)
   adult females at 3 locations during the 2014-2015 and 2015-2016 monitoring efforts (Ivan etal.)
   2015, p. 1; Odell et al. 2016, p. 6). In addition, 38 percent of lynx captured during recent (2010­
    2015) RMRS research projects in Colorado have been young and/or unmarked cats (Ivan in^
    Lynx SSA Team 2016a, p. 17), suggesting continued reproduction within Colorado. However?)
    current reproductive rates are unknown. Finally, despite the large scale and almost complete)
    mortality of the mature spruce component within the core release area of the San Juan)
    Mountains, lynx continue to use and reproduce in the beetle-infested forests (Squires et al.}
   ,2016, unpubl. report, p. 2).)

   Factors Affecting Current Conditions

    Regulatory mechanisms to conserve lynx habitats in Colorado are largely provided through
    Forest Service planning documents, as described above under Habitat Status.(Because the)
   (majority (88 percent) of potential lynx habitat in Colorado is under Federal land' management,)
   factions occurring on other ownerships are unlikely to result in significant losses of lynx habitat)
   (within Colorado. However, habitat connectivity may be negatively affected by intense)”
   (recreational use or development in key areas that are important for habitat connectivity,)
   ,although this isn't a widespread phenomena or threat.)

   Although bark beetles are native insects and forests in the western United States have
   experienced regular insect infestations throughout their history, the current bark beetle epidemic
   is notable for its intensity and extensive geographic range.)The causes of this epidemic include:)
   relatively even-aged, dense, and homogenous forest conditions, which are highly susceptible to)
   beetle attack, and which were created by large-scale logging in the late 1800s and subsequent)

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    fire suppression efforts; warmer winters as a result of climate change (cold winters typically)
    reduce beetle populations); and a multi-year drought that occurred in the mid-1990s through
    early 2000s, stressing the trees and making them more susceptible to beetle attack (USFS)
   '2011b, p. 4).)

   (In lodgepole pine forests,) a mountain pine beetle epidemic typically kills the entire overstory and
    results in a stand-replacing disturbance event. In Colorado, more than 13,759 km2 (5,312 mi2)
    have been affected by mountain pine beetle and 6,390 km2 (2,467 mi2) have been affected by
    spruce beetle since 1996 (USFS 2015b, p. 3), a portion of which overlaps potential lynx habitat
    in this geographic unit.(Even-aged mature and “dry” lodgepole pine stands characteristically)
   (have depauperate understory vegetation and are not capable of supporting dense populations)
   (of snowshoe hares.)On moist sites, regeneration of beetle-killed lodgepole pine stands is
    expected to be relatively rapid (20-30 years), and the(new stands will be dominated by a)
   (regenerating cohort of lodgepole pine or resprouting aspen. If these newly-established stands)
   (grow tall and dense enough to provide horizontal cover above the snow layer, they may produce
   (excellent habitat for snowshoe hares and lynx for several decades, until the crowns again lift)
   (above the reach of snowshoe hares.)

   A spruce beetle epidemic kills the larger-diameter trees and can also result in a stand-replacing
   disturbance event.(Because of the importance of spruce-fir forests for production and survival of
   snowshoe hares, widespread mortality of mature spruce-fir forests could impact lynx habitat for)
   a long time.)

   ILBT (2013 p. 57; 61-62) states:

           Plague, a flea-borne disease caused by the(bacterium Yersinia pestis) which isnOy^
          (native to North America) was reported for the first time in lynx in Colorado (Wild et al.
           2006)hPp’neumionC: plague appeared to be the direct or indirect cause of death of 6)
          (reintroduced lynx between 2000 and 2003.}When translocated from Canada and Alaska,
           none of the lynx had antibody titers to Y. pestis;in appears likely that lynx were exposed)
          (to plague by infected prey after their release in Colorado.)

          (Vehicular collisions are a potentially important cause of mortality for lynx in portions of;
          (the southern Rockies. Thirteen of 102 mortalities documented for lynx translocated into)
          (Colorado were from vehicle collisions)(Devineau et al. 2010). Brocke et al. (199C)
           suKgesiedrhartttainskcctteid animals might be more vulnerable to highway mortality)than
           resident lynx and this could have been a factor in Colorado at the time of listing.)
          [Clurennlh/) hie mnorriy) of lynx mortalities caused by vehicle collision (13 of 16) occurred)
          (during the reintroduction period (1999-2006). Since early 2007, one year after the final)
          freintroductions occurred, only 3 hit by vehicle mortalities have been reported, and only)
          (two of those occurred in Colorado (Broderdorp unpublished data 2016). A number ofT
          (highways with high speed and high traffic volume pass through lynx habitat, suchasj-
          (70, I-80, US 50, US 550 and US 160. These highways are not a barrier to lynx)
          (movement, as repeated successful crossings by radio-telemetered lynx have been)


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          documented on I-70 and Highways 9, 40, 50, 91, and 114 (Ivan 2011b, c, 2012; J.
          Squires, personal communication 2012). At this time, it appears that hit by vehicle^^
          mortality may be a less significant mortality factor for lynx in Colorado.}

           As compared with other portions of the range of lynx, in Colorado more winter recreation
           and associated development overlaps with lynx habitat. Preliminary information from a
           study in Colorado indicates that some winter recreation uses may be compatible, but
           lynx may avoid some developed ski areas (J. Squires, personal communication 2012).).ft)
          'is possible that ski areas and 4-season resorts may reduce the amount and availability)
           of lynx habitat within localized areas, in part by influencing the distribution or abundance)
           of prey resources within the developed area. However, there is also considerable)
           anecdotal evidence of lynx using ski areas.)

         )Leg-hold trapping is currently prohibited}under the state constitution of Colorado as a
          means of predator control or for commercial and recreational trapping. If a landowner
          can prove that all other non-lethal methods have been ineffective,)a 30-day exemption)
         mmay be granted for depredation cases.)Incidental trapping mortality of lynx may be a
         )minor risk during trapping seasons in southern Wyoming and surrounding states.)

         (Predator control activities on federal lands,including coyote shooting or trapping, are
          common throughout most of this geographic area, mostly related to the grazing of
         ddomestic sheep.iThe majority ofsheep grazing occurs on arid rangelands, butsome)
         (grazing does occur during summer at the higher elevations,especially in south-central
          Colorado.)Incidental capture of lynx is possible, but unlikely.

   In summary, there are currently many more resident lynx in this unit than likely occurred}_
   historically,}and many more than were known or suspected at the time the DPS was listed?)
   There were even fewer verified records in this unit during the last century than in the GYA, and
   no reliable evidence of a resident breeding population. However,(from 1999-2006, 218)
   Canadian and Alaskan lynx were released into the San Juan Mountains of southwestern)
   Colorado.)As a result of the subsequent reproduction of some of the released lynx and some of
   their offspring over several generations, resident lynx currently occupy this unit. When the DPS
   was listed in 2000, 27 of 41 radio-marked lynx released in 1999 were still alive.)The State of)
   Colorado has concluded that its efforts have established a viable lynx population, and the)
   State’s lynx experts suggest this unit may currently support 100-250 resident lynx (Ivan inLynx)
   SSA Team 2016a, p. 47). Recent (2010-2016) snow-tracking and camera surveys in the San)
   Juan Mountains in the southern part of the unit documented evidence of continued lynx)
   residency and reproduction.)



   Chapter 5: Future Conditions
   In this chapter, we present our assessment of the future condition of the lynx DPS in terms of
   redundancy, representation, and resiliency. Given the uncertainty about the historical
   distribution of resident lynx in the contiguous United States and the current lack of reliable

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    estimates of the sizes, trends, and many demographic parameters for most DPS populations,lit)
    is difficult to confidently predict the future condition of the DPS or the likelihood that any given)
    geographic unit will support resident lynx in the future.)We lack data to build rigorous empirical
    population models for lynx across the DPS range, and uncertainty regarding the timing and
    magnitude of potential impacts to lynx from continued climate warming also limits our ability to
    predict the future condition of the DPS.)Therefore, our assessment of the future condition of the)
   fDPS is based on our evaluation of the availablescientific information regarding the factors)
   fidentified by the ILBT as the most likely to have population-level impact to lynx in the DPS (ILBT)
   f2013, pp. 68-78) and on the best professional judgments and opinions of lynx experts.)

   1 We provide brief summaries of the possible future conditions in each geographic unit, followed)
   fby a more detailed evaluation of the factors likely to influence lynx populations and habitats in)
   feach unit.)We present and summarize the professional judgments and opinions of a panel of 10
     lynx experts regarding the factors likely to influence the persistence of resident lynx populations
     in each of the 6 geographic units.)We also present and summarize the experts’ projection's))
   )based on consideration of those influencing factors, of the probability that each of the)
   )geographic units will continue to support resident breeding populations of lynx into the future “(at)
   (years 2025, 2050, and 2100), and the sources of)uncertainty that influenced their confidence)in
   their predictions. Although we did not ask experts to evaluate different specific scenarios (e.g.,
   climate models using different greenhouse gas emissions scenarios), we did ask them to
   provide the highest and lowest probabilities that each unit would continue to support resident
   lynx populations in the future, in addition to what they considered the “most likely” probability
   (see figs. 9-15, below).

   ) Formal elicitation of expert opinion where empirical information is unavailable or inadequate is)
     an appropriate and scientifically supported approach (Morgan 2014, entire).)However, we
     remind readers that the output remains the experts’ best professional judgment, which is
     subjective and, therefore, inherently different than experimentally collected data subjected to
     rigorous statistical analyses. For purposes of useful and meaningful presentation and
     comparison among geographic units, it was necessary to combine, quantify, graph, and
     summarize the qualitative information provided by experts. However,)we caution that the results)
    we present below and describe more fully in this chapter should not be interpreted as precise,)
     statistically robust estimates of the probability that resident lynx will persist in the DPS or in any)
   ,individual geographic unit in the future.)Readers should consider the inherent limitations and
     substantial uncertainties in expert responses, particularly over longer time periods.

    After summarizing experts’ inputs, we then present our evaluation of the scientific literature
     regarding)how certain anthropogenic factors may influence future conditions)for resident lynx in
     each geographic unit.(The factors we consider for each geographic unit includeTegulatory)
     mechanisms (the factor for which the DPS was originally listed under the ESA) and the)
     anthropogenic influences identified by the Interagency Lynx Biology Team (ILBT) as having the)
     potential for population-level impacts to lynx in the DPS (climate change, vegetation)
     management, wildland fire management, and habitat loss/fragmentation; ILBT 2013, pp. 68-78;)
   , see also chapter 3, above).) Other factors were also evaluated for some geographic units if the


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   Core Team member most familiar with that unit felt those factors could pose meaningful, even if
   less likely, risks to the unit’s continued ability to support resident lynx. After considering all of the
   above, we present our conclusions regarding the future conditions for resident lynx populations
   in each geographic unit and we discuss the extent to which our conclusions agree with or differ
   from the projections provided by the lynx expert panel we consulted and, if they differ, why.

   Implicit in our evaluation of the future for lynx in the contiguous United States is our recognition
   and consideration of a possible future in which the DPS is not listed under the ESA. However,
   given (1) the history of lynx management, research, monitoring, and habitat conservation efforts
   by State wildlife and natural resource agencies in most states throughout the DPS range; (2)
   similar efforts by Federal land managers and related formal amendments or revisions to their
   land management plans to address the threat for which the DPS was listed (the inadequacy of
   previous regulatory mechanisms); (3) Tribal wildlife conservation efforts and philosophies; and
   (4) the DPS’s listing and consultation history, we do not evaluate the unlikely hypothetical future
   in which all protections and conservation efforts would disappear if the DPS was not listed.
   Rather, although some protections could be relaxed (e.g., less stringent analyses of project-
   related impacts, potential for some states to reinstitute limited trapping harvest), we assume that
   Federal, State, and Tribal agencies and some private landowners would continue to manage for
   the conservation of resident lynx populations in those places that can support them in the DPS
   range. Our evaluation, therefore, considers the possibility of future relaxing of some lynx
   conservation measures and efforts, but not the complete absence of all protections for lynx.
   Some of the experts we consulted indicated that their projections assumed the status quo (i.e.,
   continued protections under the ESA and current Federal and State land management policies).
   Others indicated their projections were not influenced by regulatory considerations but that
   doing so would not have altered their estimates; they felt that factors influencing lynx
   persistence on the landscape are independent of ESA listing status (Lynx SSA Team 2016a, p.
   52).

   As mentioned above, we do not define and evaluate specific and explicit climate change or
   greenhouse gas emissions scenarios or attempt to quantify differences in DPS viability or the
   persistence of resident lynx populations in individual geographic units based on differences in
   the rate and extent of potential impacts associated with projected continued climate warming.
   This is because of the limited resolution and inherent uncertainty of available climate models
   and the inadequacy of existing demographic data for projecting lynx population sizes and trends
   in the DPS over time, including their potential responses to a range of climate-mediated
   potential future habitat conditions. Therefore, this SSA does not constitute or include a formal
   climate change vulnerability assessment (Glick et al., editors, 2011, entire) for the lynx DPS.
   Instead, underlying our evaluation in this SSA is the recognition that the lynx, as a broadly-
   distributed boreal forest-and snow-associated predator that relies heavily on a single, similarly-
   specialized prey species, and whose habitats are naturally influenced by climate-mediated
   disturbance factors (e.g., wildfire, forest insects, wind/ice storms, etc.), is likely highly sensitive
   and broadly exposed to the impacts of climate change and has limited adaptive capacity to
   respond to it. Therefore, we (along with the experts we consulted and the ILBT) consider lynx
   populations in the DPS vulnerable to the projected impacts of continued climate warming. While


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   we recognize that the pace and extent of impacts would be expected to differ under specific
   emissions or modeling scenarios, the limitations described above preclude us from quantifying
   those differences and their potential influence on the likelihood that resident lynx will persist in
   the DPS or in individual geographic units.


   5.1 Summary of Future Conditions DPS-wide
   Overall, our evaluation of the scientific literature and expert input suggests that resident lynx
   populations are likely to persist in each of the geographic units where they currently occur in the
   near-term (though year 2025), and in all or most of those units at mid-century (year 2050; see
   table 1, above, and figs. 9-15, below). Over the longer-term (out to year 2100 and beyond),
   populations in each of the geographic units and, therefore, in the DPS as a whole, are likely to
   be smaller and their distributions reduced. These anticipated declines are likely to be most
   influenced by projected loss and increasing fragmentation and isolation of boreal forests and
   favorable snow conditions resulting from continued climate warming and related impacts (e.g.,
   increased wildfire and forest insect activity, diminished hare populations; Lynx SSA Team
   2016a, p. 58). This outcome seems likely regardless of which climate emissions scenario is
   used to model future conditions, although the timing, extent, and magnitude of impacts is
   uncertain and would likely vary by scenario.

   In addition to climate change, forest management also has the potential to influence (negatively
   or positively) hare and lynx habitats in the DPS range. Forest management on private lands that
   lack lynx conservation commitments may contribute to future declines in the amount and quality
   of lynx habitats, particularly in Maine and perhaps also in Minnesota (private lands contribute
   minimally to lynx habitats in the other geographic units - see table 2 in chapter 1). Uncertain
   future forest ownership and markets for forest products, shifts in silvicultural practices, and
   development pressures on private lands all may affect the resiliency of future lynx populations in
   these 2 units. Increased frequency, size, and intensity of wildfires and forest insect outbreaks,
   both driven by climate warming, are of concern for western geographic units.

   Although all 5 geographic units that currently support resident populations (all units except the
   GYA) are, individually, expected by lynx experts (based on the median of experts’ “most likely”
   persistence probabilities) to continue to do so at 2025 and through 2050, only 1 unit
   (Northwestern Montana/Northeastern Idaho; Unit 3) had an expert-estimated probability of
   persistence greater than 50 percent (i.e., persistence more likely than not) by the end of the
   century (see fig. 12, below). Expert input suggests that all other geographic units individually
   have a 50 percent or greater probability of functional extirpation (i.e., no longer capable of
   supporting resident lynx populations) by the end of the century, although all experts expressed
   substantial uncertainty regarding projections that far into the future (figs. 10, 11, and 13-15,
   below; also see Lynx SSA Team 2016a, pp. 36-49).

   Cumulatively, expert responses suggest a high (about 80 percent) “most-likely” probability that
   resident lynx populations will persist in all 5 units that currently support them (all units except the
   GYA) in the near term (year 2025; see fig. 9, column 2; row 2, below). Expert responses

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   similarly suggest a high (80 percent) likelihood that at least 4 of the 5 units will continue to
   support resident lynx at mid-century, and a cumulative probability just under 50 percent that all 5
   will do so (see fig. 9, column 2; row 3, below). Over the longer term, expert responses
   cumulatively suggest a high (about 85 percent) likelihood that at least 2 of the 5 units will
   support resident populations at the end of the century; a more than 50 percent likelihood that 3
   units will do so; but also a high (> 75 percent) likelihood that resident lynx populations will be
   functionally extirpated from 2 of the 5 units that currently support them by the end of the century
   (see fig. 9, column 2, row 4, below; see Cummings, 2016, pp. 6-20 for details on the data and
   software used to generate figs. 9-15, below). The experts we consulted expect the likelihood
   that lynx populations will persist to decline in each geographic unit in the future, although
   uncertainty increases with time from the present, and increases greatly for end-of-century
   projections (Lynx SSA Team 2016a, pp. 36-49; also see 5.2).




                                Probability at leastX geographic
                                           units persist
   Figure 9. Summary of lynx experts’ predictions regarding the probability of persistence
   of at least a given number of geographic units given the probability of persistence for
   each individual geographic unit. The y axis of each grid in figure 9 is the probability that
   at least the number of geographic units indicated by the x axis of the grid persist. The
   probability in a bar reaches 1 when there is no probability of fewer geographic units
   persisting. Moving from top to bottom, the grids show the probabilities by time period
   (2015 [current at time of expert elicitation], 2025, 2050, and 2100). Moving from left to
   right the grids show the range of expert responses by summary selection type and
   probability response. Therefore, looking down a column of grids provides a view of the
   trend in persistence through time and looking across a row of grids provides a view of
   the range of uncertainty in expert projections of persistence for a given time period.




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   Our evaluation generally concurs with the expert input we received. We believe that lynx
   populations and habitats in the DPS will decline over time largely as a result of continued
   climate warming and associated impacts, which are likely to exacerbate the potential adverse
   effects of other factors (e.g., forest management, potential increased competition from other
   hare predators). We acknowledge that under a “worse case” climate modeling scenario the
   boreal and subalpine forests and snow conditions associated with lynx occupancy could
   completely or largely disappear from some units (e.g., Minnesota; Galatowitsch et al. 2009, pp.
   2015-2016) and be substantially reduced in the remainder before the end of the century.
   However, we are aware of no climate modeling that suggests the complete disappearance of
   potential lynx habitat from the entire contiguous United States by the end of the century.
   Complete loss of lynx habitat is perhaps more likely in the Northern Maine and Northeastern
   Minnesota units where there is little potential for elevational refugia compared to the more
   topographically diverse units (3 through 6) in the western United States. Under such a scenario,
   resident lynx would be unable to persist in some units and would be severely restricted in
   number and distribution in others, with any remaining resident populations more vulnerable to
   demographic and environmental stochasticity, genetic drift, and catastrophic events than they
   are currently.

   Conversely, under a “better case” climate scenario (perhaps combined with a “better case”
   future forest management scenario), it is possible that resident lynx could continue to persist
   through the end of the century in all 5 geographic units that currently support them. Even under
   this scenario, however, we would expect smaller population sizes and reduced distributions in
   each unit resulting from the impacts of even moderate continued climate warming. We are
   aware of no models that predict climate cooling or climate-mediated improvement in lynx habitat
   conditions in the contiguous United States over the next century. We cannot quantify the
   likelihood of either of these extreme scenarios nor improve the accuracy or precision of, or our
   confidence in, the experts’ predictions regarding persistence.

   Considering this range of potential future climate conditions, associated uncertainties, and
   expert input, we conclude that over the short-term (through year 2025), resident lynx
   populations are very likely to persist in all 5 geographic units that currently support them. We
   likewise conclude they are likely to persist in the mid-term (through 2050) in all or most
   geographic units that currently support them, with corresponding maintenance of redundancy
   and representation, despite reduced lynx numbers and distribution and, therefore, reduced
   resiliency among all or most populations. Recognizing the high level of uncertainty associated
   with predications beyond mid-century, we nonetheless conclude it is very unlikely that resident
   lynx populations will persist through 2100 in all 5 of the geographic units that currently support
   them. That is, we believe that resident populations will likely persist at the end of the century in
   2 or 3 of the 5 units that currently support them, but that resident populations may be functially
   extirpated from 2 to 3 of the units by then. Even where populations persist, they will be reduced
   in number and distribution and, therefore, resiliency.

   The loss of viable resident lynx populations from 1 or more geographic units would represent
   reduced future redundancy, representation, and resiliency within the lynx DPS. With regard to


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   redundancy, however, our evaluation of the scientific literature and expert input indicates that no
   individual geographic unit that currently supports resident lynx is vulnerable to extirpation from a
   single catastrophic event. Given that, we conclude that the DPS as a whole is not vulnerable to
   extirpation from a catastrophic event (i.e., we find that there is a zero probability that a single
   catastrophic event could result in extirpation of resident lynx from any of the 5 geographic units
   that currently support them and, therefore, a zero probability of catastrophic extirpation of the
   entire DPS). As described above (section 1.3), we do not consider continued anthropogenic
   climate warming a catastrophic event; rather, we consider it a systemic, ongoing, and pervasive
   stressor, not a single temporally- and spatially-discrete event. We recognize that a sequence of
   discrete but spatially-clustered catastrophic events in lynx habitats over a short time could
   increase the potential for functional extirpation in 1 or more of the individual geographic units
   (especially the possibility of additional large wildfires in north-central Washington), thereby
   reducing redundancy within the DPS. However, as long as resident lynx remain geographically
   well-distributed in 1 or more units within the DPS, extirpation of the DPS from a single
   catastrophic event is very unlikely.

   With regard to representation, although some lynx populations in the DPS units are
   demographically isolated from each other and the level of interaction between others is
   uncertain, there seems to be little risk of significant genetic drift. This is because of the currently
   observed and likely future high level of gene flow across most of the lynx’s continental range,
   the species’ well-documented dispersal capability, and the current and likely future connectivity
   and absence of significant barriers to dispersal between Canada and most DPS geographic
   units. Based on these factors and expert input, we find that there is no indication that the
   relatively low level of genetic diversity currently observed among lynx populations is likely to
   reduce DPS viability in the future (Lynx SSA Team 2016a, p. 51) and no indication that future
   gene flow is likely to be substantially reduced (79 FR 54793). This information suggests the
   current and likely future relative genetic health of the DPS. However, as noted in section 2.2, the
   potential for genetic drift among DPS populations would be expected to increase at some point
   in the future if lynx and hare habitats shift northward and upslope, as projected with continued
   climate warming, resulting in reduced connectivity and gene flow among smaller and more
   isolated lynx populations at the periphery of the range. This would result in (1) smaller and more
   distant potential source populations, reducing the likelihood and number of immigrant lynx
   reaching DPS populations, and (2) smaller effective population sizes among DPS populations,
   making them more vulnerable to drift, the consequences of which could include lower survival
   and reproduction rates and loss of adaptive potential.

   How the potential loss of resident lynx from 1 or more geographic units may affect
   representation within the DPS in terms of ecological diversity is uncertain. Despite similarities in
   the fundamental components (vegetation, snow conditions, and hares) that define the ecological
   niche of lynx DPS-wide, differences in habitats and how lynx use them are apparent. For
   example, the amount of snow that seems to demarcate a boundary between lynx and bobcat
   occupancy in Maine (270 cm/yr [106 in/yr]) is almost twice that observed in Minnesota (140
   cm/yr [55 in/yr]), and lynx in some parts of the West select mature forest stands, particularly in
   winter, while in other parts of the DPS, younger regenerating stands are most important. The


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   loss of resident lynx from any of the geographic units could result in the loss of behavioral and
   potential future genetic adaptations to the climate-mediated changes now occurring and likely to
   continue into the future at the southern edge of the lynx range. Such potential adaptability to
   diminished snow conditions, increasingly patchy and isolated boreal forests, and reduced hare
   abundance may be important to the taxon as a whole faced with a rapidly changing climate.

   Because resident lynx populations in all geographic units that currently support them are
   expected to become smaller and more fragmented and isolated, each geographic unit and the
   DPS as a whole will be less resilient in the future. Our analyses and expert input suggest that
   resiliency will likely be sufficient to foster persistence of resident lynx in most units through mid­
   century but that its declining trajectory over time could result in extirpation of resident
   populations from 2 to 3 (of 5) units by the end of the century. Projected continued climate
   warming is expected to exert the greatest influence on the resiliency of individual populations,
   and thus continued presence of resident lynx in each geographic unit. Climate models project
   that boreal forests and snow conditions favorable for lynx at the southern periphery of the range
   will retreat northward and upslope with continued warming, further fragmenting and diminishing
   the quality of lynx and hare habitat within the DPS. Although uncertainty remains regarding the
   timing, extent, and biological consequences of such impacts, as habitat conditions decline, hare
   and lynx reproductive and survival rates are likely to decrease, resulting in population declines
   in both species. As snow conditions become less favorable, competitors (e.g., coyotes and
   bobcats) may outcompete and displace lynx. This in turn would reduce lynx abundance and
   density within populations, making populations more susceptible (i.e., less resilient) to
   stochastic events.

   5.1.1 Summaries of Future Conditions in Each Geographic Unit

   Unit 1 - Northern Maine: Although the Northern Maine geographic unit currently has extensive
   lynx habitat, the amount and distribution of high-quality habitat is projected to decline over the
   next 2 to 3 decades. Forestry practices, climate change, habitat loss and fragmentation, spruce
   budworm outbreaks, and development are most likely to drive future hare and lynx habitat in this
   unit. Lynx habitat and lynx densities are expected to decline by 50 to 60 percent by 2032 in
   response to aging of the budworm-era clearcuts and the effects of extensive partial harvesting
   since the 1989 passage of the Maine Forest Practices Act (Simons 2009, pp. 209, 217). In the
   next few decades, high-quality hare habitat is projected to decline from about 10 percent to 5
   percent of the landscape (Simons-Legaard 2016, fig. 8, p. 10), perhaps more in line with likely
   historical conditions. High-quality habitat patches will likely become more fragmented, smaller,
   and more isolated, thus making the landscape less suitable for lynx than it currently is. For the
   next few decades the best habitat (young regenerating stands) will occur in the southern portion
   of current lynx distribution, where effects of climate change and potential competition with
   bobcats are likely to be greatest (Simons-Legaard et al. 2016, p. 1267). Absent long-term lynx
   management agreements, the future of lynx habitat in this unit is uncertain. Wood products
   markets will likely continue to change and could be affected by interest in carbon sequestration
   in response to climate change, with potential consequences for forest management in this unit.
   Recent rapid changes in private forest land ownership are likely to continue and could result in

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   subdivision of large ownerships. Non-forestry land uses (wind energy development,
   transmission line corridors, residential and resort development, and unmanaged conservation
   lands) may compete with forest management as the primary future land use. Conservation
   easements will limit development pressures in some areas and keep some lands as working
   forest, but forest practices (e.g., partial harvesting, northern hardwood management) may not
   create new lynx habitat or maintain the current historically high amount of high-quality habitat.
   Climate change is expected to affect this unit more than some others in the DPS because snow
   amount and duration already seem to be at thresholds for lynx and there are few potential
   elevational refugia. In the near term and beyond, snow quantity and quality will likely continue to
   deteriorate, which could cause lynx range to contract northward.

   Our review of the published literature and input from lynx experts lead some members of the
   SSA Core Team to conclude that lynx could become extirpated from this unit before the end of
   the century. Climate change, increasing demand for hardwood forest products, a pending
   spruce budworm outbreak, and frequent forest disturbance all will likely contribute to the trend in
   the loss of spruce-fir forest and expansion of northern hardwoods, although the timeframe for
   conversion is uncertain. The lynx experts we consulted indicate the likelihood that resident lynx
   will persist in this unit will decline to about 50 percent by the end of the century, although there
   was wide variation and much uncertainty in opinions. After reviewing the scientific literature
   concerning climate change projections (diminishing snow conditions, lack of elevational refugia),
   some members of the Core Team were more pessimistic about the future of lynx in Maine than
   the lynx expert panel. In particular, we observed that there is great uncertainty about the future
   of forest management and future development on private forest lands. The lack of forest
   planning for lynx was not perceived or defined as a threat for this area when the DPS was listed.
   Nonetheless, forest management practices clearly have influenced that amount of high-quality
   lynx habitat and thus lynx numbers in this unit, and they are likely to continue to influence its
   population in the future. Currently, there are no long-term management plans in place on most
   privately-owned forest lands in this unit; State forest regulations have greatly influenced
   harvesting practices that have reduced landscape hare densities and will likely continue to do
   so; markets for forest products are depressed; and forest modeling projections (under current
   harvest scenarios) suggest that habitat will diminish and shift southward in the near term
   because of post-harvest succession and recede northward over the longer-term because of
   continued climate warming.

   Unit 2 - Northeastern Minnesota: The direct and indirect effects of climate change are expected
   to affect lynx into the future in Minnesota. Specifically, boreal conifer forest is projected to
   contract northward, resulting in increased habitat loss and fragmentation and increased isolation
   of Minnesota lynx with diminishing forest conditions in southern Ontario. Additionally, the
   quantity, quality, and duration of snow are projected to decline; potentially resulting in increased
   competition and hybridization with bobcats as snow conditions favorable to lynx are diminished.
   The likelihood that resident lynx will persist in this unit is projected to decrease over time with
   increasing uncertainty through the end of the century, driven in the near term by decreaseing
   quality, quantity and persistence of snow and over the long term from loss of spruce-fir forests.
   We expect the SNF will continue to implement lynx conservation measures in accordance with


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   its Forest Plan, thus continuing to minimize several risk factors and promote the conservation of
   lynx into the future. If the DPS is de-listed, the species would be placed on the Forest’s
   Regional Forester Sensitive Species list for at least 5 years, which would give it a higher priority
   than other species for monitoring and management during that time. We also expect that
   MNFRC guidelines will remain in place into the future and that voluntary actions will continue on
   State and private lands. However, it is unclear on what proportion of State and private lands
   these voluntary actions will be implemented into the future. Further, these guidelines are
   generalized for listed species and give no specific direction for lynx. Taking these factors into
   consideration, median “most likely” probabilities of persistence generated by lynx experts were
   high for the near- and mid-term (> 95 percent at year 2025; 80 percent at year 2050), but
   declined to 35 percent (with great uncertainty) by 2100. We concur with the expert panel that
   resident lynx are likely to persist in this unit at 2025 and 2050. However, after reviewing the
   scientific literature concerning climate change projections (diminishing snow conditions, loss of
   boreal forest, lack of elevational refugia, and the potential for increased competition, disease,
   and insect outbreaks), some members of the SSA Core Team were slightly less optimistic about
   the long-term future of lynx in Minnesota than the lynx expert panel. The Core Team concluded
   that the climate-mediated conversion of boreal forest to temperate forest and the loss of
   favorable snow conditions could occur at a rate and extent that would result in a lower likelihood
   of persistence than projected by experts, including the possibility that resident lynx could be
   extirpated from this unit by the end of the century.

   Unit 3 - Northwestern Montana/Northeastern Idaho: As in other units, climate change is
   projected to reduce the future amount, distribution, and quality of lynx habitat in this unit via
   northward and upslope contractions of favorable snow and forest vegetation conditions. This
   would result in increased fragmentation and isolation of habitats and smaller and more isolated
   lynx populations. Increased wildfire frequency and extent and perhaps other climate-mediated
   factors (forest insect outbreaks, changes in northern hare/lynx cycles that may influence
   immigration into this unit) could also reduce future lynx habitats and populations in this unit.
   Fire- and insect-related habitat losses would likely be temporary, resulting subsequently in
   improved habitat conditions when impacted areas regenerate the dense vegetative structure
   conducive to hare abundance. Continued forest management to conserve and maintain the vast
   majority of lynx habitats in this unit would benefit resident lynx in the future, though it is unlikely
   to offset the projected adverse consequences of continued climate warming. Lynx experts felt
   that future extirpation of lynx from this unit from reduced genetic health or a catastrophic event
   is unlikely. However, the extent to which the future demographic and genetic health of lynx
   populations in this unit may be influenced by immigration is unknown. Considering the factors
   above, lynx experts felt this geographic unit has the highest likelihood of continuing to support
   resident lynx into the future in the near term (year 2025; median probability of persistence >
   0.95), at mid-century (median = 0.90), and end-of-century (median = 0.78), despite a declining
   probability of persistence and greater uncertainty with increasing time from present, as in all
   units. After reviewing the scientific literature and evaluating the factors that may influence lynx
   persistence in this unit, we concur with the experts’ conclusion that this geographic unit is likely
   the most secure in the DPS. We conclude that it is very likely to continue to support resident
   lynx in the short term (through 2025) and through mid-century, although the number of lynx, the


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   amount and distribution of high-quality habitat, and landscape-level hare densities are all likely
   to decline by mid-century as a result of continued climate warming and associated impacts. We
   also agree that this unit is more likely than not to support some resident lynx at the end of this
   century, although at that time we expect lynx numbers and distribution would be substantially
   reduced from the current condition and would, therefore, be more vulnerable to demographic,
   environmental, and genetic stochasticity and to catastrophic events, resulting in reduced
   resiliency.

   Unit 4 - North-central Washington: Over the past 25 years, wildfires have (perhaps temporarily)
   eliminated or reduced the quality of about a third of lynx habitat within the North Cascades,
   which has significantly affected the status of and current viability of the lynx population in this
   geographic unit. As elsewhere, continued climate warming is anticipated to reduce the future
   quality and distribution of lynx habitat in Washington, potentially further exacerbating the recent
   losses of lynx habitat from wildfires. Projected warming may increase wildfire frequency and
   severity, which may result in further losses of lynx habitat. Climate change is also expected to
   reduce the quantity and quality of snow, potentially resulting in permanent reductions in the
   quantity and distribution of lynx habitat in this unit. These potential climate-driven reductions of
   lynx habitat could isolate resident lynx within this unit and reduce connectivity with neighboring
   lynx populations in the other geographic units and Canada. Continued forest management on
   both Federal and State lands would benefit lynx populations in Washington but is unlikely to
   ameliorate the potential negative effects related to climate change. Considering the recent
   reduction in lynx habitat and the projected impacts of climate change, experts indicated
   persistence probabilities of 60 to 90 percent (median = 80 percent) over the near-term (year
   2025), 30 to 80 percent (median = 70 percent) at mid-century, and less than 50 percent (median
   = 38 percent) by the end of the century for resident lynx in this geographic unit. After
   considering the best available scientific information and input from lynx experts, the Core Team
   is generally in agreement with experts regarding the likelihood of long-term persistence of
   Canada lynx in this geographic unit. We expect this unit will continue to support a small resident
   lynx population through mid-century but that its ability to do so beyond then is questionable, and
   that functional extirpation of lynx from this unit by the end of the century is more likely than not.

   Unit 5 - Greater Yellowstone Area (GYA): As elsewhere, climate change is projected to reduce
   the future amount, distribution, and quality of lynx habitats in this unit via northward and upslope
   contractions of favorable snow and forest vegetation conditions. This would result in increased
   fragmentation and isolation of habitats and smaller and more isolated lynx populations. Because
   potential habitats in much of this unit already are naturally highly fragmented and perhaps only
   marginally capable of supporting resident lynx, and because it appears to have never supported
   more than a small number of residents, its ability to do so in the future is tenuous. Lynx experts
   felt that the small number of lynx this unit appears capable of supporting and its relative isolation
   from other lynx populations make it more vulnerable to genetic drift and extirpation from
   catastrophic events or demographic or environmental stochasticity. However, the extent to
   which the future demographic and genetic health of lynx populations in this unit may be
   influenced by immigration is unknown. Increased wildfire frequency and extent and perhaps
   other climate-mediated factors (forest insect outbreaks, changes in northern hare/lynx cycles


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   that may influence immigration into this unit) could also reduce future lynx habitat in this unit.
   Continued forest management to conserve and maintain the vast majority of lynx habitats in this
   unit would benefit resident lynx in the future, though it is unlikely to offset the projected adverse
   consequences of continued climate warming. Considering the factors above, lynx experts felt
   this geographic unit has the lowest likelihood of supporting resident lynx into the future in the
   near term (year 2025; median probability of persistence = 0.52), at mid-century (median = 0.35),
   and end-of-century (median = 0.15), with a declining likelihood of persistence and greater
   uncertainty with increasing time from present, as in all units. After reviewing the scientific
   literature and evaluating the factors that may influence lynx persistence in this unit, we concur
   with the experts’ conclusion that this geographic unit is the least secure in the DPS. We find that
   conditions for lynx in this unit are naturally marginal, both its historical and current ability to
   support a persistent resident lynx population are questionable, and that continued climate
   warming and associated impacts are likely to further diminish its already limited ability to support
   resident lynx. We conclude, based on the protected status (national park, designated
   wilderness, and non-developmental land use allocations) of vast areas and climate models that
   project some areas of adequate vegetation and snow conditions through the end of the century,
   that this unit may continue to occasionally or intermittently support a small number of resident
   lynx and some reproduction throughout the remainder of the century. However, we conclude
   that it is very unlikely to support a persistent resident population over the short-term (through
   2025), even less likely that it will do so at mid-century, and it is highly improbable that this
   geographic unit will support resident lynx by the end-of-century.

   Unit 6 - Western Colorado: Regulatory mechanisms that provide for the conservation of lynx in
   Colorado consist of State regulations prohibiting unauthorized take of lynx and amendments of
   USFS and BLM management plans, which limit vegetation management (among other things)
   covering approximately 85-90 percent of the lynx habitat within this geographic unit and provide
   guidance to limit habitat fragmentation. Climate change is expected to negatively affect
   vegetation and influence snow conditions in this unit. The elevation gradient in Colorado may
   provide refugia from deteriorating snow conditions in the future. Assuming that snow levels will
   increase in elevation, lynx habitat is likely to become more fragmented by areas that no longer
   retain appropriate snow conditions and vegetation. However, we anticipate large areas of snow
   persistence to remain through the end of the century. Wildland fire will likely result in temporarily
   reduced habitat quality to some extent; however, affected areas are likely to regenerate and
   provide excellent habitat conditions to support hares and lynx. Given projected climate warming,
   some areas that currently support snowshoe hare populations may experience vegetation type
   conversion that may not support snowshoe hares in the future. Considering the factors above,
   lynx experts felt this geographic unit has a high likelihood of continuing to support resident lynx
   into the future in the near term (year 2025; median probability of persistence = 0.90) and at mid­
   century (median = 0.80), and a reasonable likelihood of doing so at end-of-century (median =
   0.50), despite a declining probability of persistence and greater uncertainty with increasing time
   from present, as in all units. This unit would be expected to continue to support resident lynx in
   the future if survival and reproductive rates similar to those estimated during intensive
   monitoring are maintained over the long-term. However, given the lack of evidence of historical
   occupancy by resident populations, the naturally limited and fragmented potential habitat,


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     generally low hare densities, low proportions of females that produce kittens, and low kitten
     survival rate, along with projected impacts of climate warming on all or most of these
     paramenters, we are less optimistic than the lynx expert panel regarding the likelihood that this
     unit will continue to support resident lynx over the long-term.

     Table 5, below, summarizes expert predictions of future lynx persistence and Core Team
     summary of factors thought likely to influence the future resiliency of lynx populations in each
     geographic unit.

     Table 5. Expert-predicted future (2025, 2050, and 2100) persistence1 of resident lynx
     populations in individual geographic units of the Canada lynx DPS and supporting
     evidence and uncertainties.
                Median lynx
             expert probability
Geographic     of persistence
                                                   Key evidence                                   Uncertainties
   Unit      (%)2 (range [%])3
               at years 2025,
              2050, and 2100

                                  • 50% decline from current habitat projected      • Future forest management trends and
                                    by 2032; habitat shift to the south edge of       habitat conditions on private forest
                                    current range                                     lands in Maine and Canada
                 2025: 96         • Slight recovery of habitat by end of            • Future shifts in land ownership, forest
                 (80-100)           century depending on forestry trends              products markets, and development
                                  • Continued demographic and genetic               • Extent and pace of deteriorating snow
                 2050: 80           connectivity to southern Quebec, New              conditions
  Unit 1
                  (65-95)           Brunswick populations                           • Response of hares (pelage mismatch),
                                  • Climate models predict deteriorating snow         bobcat, and fisher to changing snow
                 2100: 50           quality, depth and duration; more severe          regime
                  (40-80)           than other units                                • Extent and pace of spruce-fir loss
                                  • Little potential elevation refugia              • Future hare population trends
                                                                                    • Disease and parasites in lynx
                                                                                    • Effects of lynx trapping in Quebec

                                  •   Smaller population could be susceptible to    • Future forest management trends and
                                      stochastic effects                              habitat conditions on private forest
                                  •   Habitat conditions on SNF will remain           lands in Minnesota and Ontario
                 2025: 96
                                      stable or improve if managed for              • Extent and pace of deteriorating snow
                 (88-100)
                                      softwoods                                       conditions
                                  •   Continued demographic and genetic             • Adequacy of immigration from
                 2050: 80
  Unit 2                              connectivity to southern Ontario                southwest Ontario
                  (60-90)
                                      populations                                   • Response of bobcat and fisher to
                                  •   Climate models predict deteriorating            changing snow regime
                 2100: 35
                                      snow quality, depth and duration; loss of     • Rate of spruce-fir decline
                  (10-60)
                                      boreal forest                                 • Future hare population trends
                                  •   Little elevation gradient: lake-effect snow   • Disease and parasites in lynx
                                      may retain refugia to 2050 but not 2100       • Effect of lynx-bobcat hybridization

                 2025: 98         • Some habitat loss from increased wildfire,      • Extent and frequency of fire in hare-lynx
                 (95-100)           otherwise habitat should remain stable            habitat
                                    with USFS/BLM management                        • Extent and frequency of insect
                 2050: 90         • Continued demographic and genetic                 outbreaks
  Unit 3
                 (70-100)           connectivity to southern Alberta and BC         • Extent and pace of deteriorating snow
                                    populations                                       conditions
                 2100: 78         • Potential elevational refugia                   • Adequacy of immigration from southern
                  (50-90)         • Recent loss of small sub-population in            Alberta and BC


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                                   Garnet Range                                   • Response of bobcat, cougar, coyote to
                               •   Increasing fire frequency                        changing snow regime
                                                                                  • Extent and pace of elevational
                                                                                    migration of spruce-fir
                                                                                  • Mismatch in elevation between
                                                                                    appropriate snow regime for lynx and
                                                                                    spruce-fir
                                                                                  • Future hare population trends

                               •   Habitat and population low because of          • Extent and frequency of fire in hare-lynx
                                   recent fires; could be susceptible to            habitat
                                   stochastic effects                             • Extent and frequency of insect
                2025: 80
                               •   Continued demographic and genetic                outbreaks
                 (60-95)
                                   connectivity to southern British Columbia      • Extent and pace of deteriorating snow
                                   populations                                      conditions
                2050: 70
 Unit 4                        •   Elevation is not sufficient to provide long­   • Adequacy of immigration from southern
                 (30-80)
                                   term refugia from deteriorating snow             BC
                                   quality, depth, and duration                   • Response of bobcat, cougar, coyote to
                2100: 38
                               •   State uplisted from T to E (2016)                changing snow regime
                 (5-50)
                                                                                  • Extent and pace of elevational
                                                                                    migration of spruce-fir
                                                                                  • Future hare population trends

                               • Very low hare densities in much of unit          • Persistent vs. ephemeral historical
                               • Habitat should remain stable with USFS,            presence
                                 BLM, and NPS management                          • Adequacy of immigration
                               • No direct connectivity with Canada               • Extent and frequency of fire and insect
                2025: 52
                                 populations; little immigration from DPS           outbreaks
                 (10-70)
                                 populations                                      • Extent and pace of deteriorating snow
                               • Potential elevational refugia                      conditions
                2050: 35
 Unit 5                        • Smaller population could be susceptible to       • Response of bobcat, cougar, coyote to
                 (15-60)
                                 stochastic effects                                 changing snow regime
                                                                                  • Extent and pace of elevational
                2100: 15
                                                                                    migration of spruce-fir
                 (5-50)
                                                                                  • Future hare population trends
                                                                                  • Extent to which high elevation may
                                                                                    provide climate and snow refugia


                               •   Habitat loss from increased wildfire and       • Persistent vs. ephemeral historical
                                   insect outbreaks, otherwise habitat will         presence
                                   remain stable with USFS management             • Demographic and genetic effects of
                               •   Isolation from other lynx populations            isolated population
                2025: 90       •   Elevation may provide refugia from             • Extent and frequency of fire and insect
                (60-100)           deteriorating snow quality, depth and            outbreaks
                                   duration                                       • Extent and pace of deteriorating snow
                2050: 80       •   Uncertainty about stability of recently-         conditions
 Unit 6
                 (50-85)           introduced lynx population                     • Response of bobcat, cougar, coyote to
                                                                                    changing snow regime
                2100: 50                                                          • Extent and pace of elevational
                 (20-70)                                                            migration of spruce-fir
                                                                                  • Mismatch in elevation between
                                                                                    appropriate snow regime for lynx and
                                                                                    spruce-fir
                                                                                  • Future hare population trends

    ^We asked 10 recognized lynx experts to provide their estimates of the probability that resident lynx populations or
    subpopulations would persist in each geographic unit, even if reductions in lynx numbers and distributions were
    anticipated ( i.e., the probability that resident lynx would not be functionally extirpated from the unit).



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   2Median “most likely” probabilities of persistence provided by 10 lynx experts for each geographic unit considering the
   current status of lynx populations and current and likely future stressors to those populations.
   3The full range of “most likely” probabilities of persistence provided by the 10 lynx experts.



   5.2 Future Conditions - Detailed Descriptions by Geographic Unit
   In this section, we present and summarize the formally-elicited opinions of a panel of 10 lynx
   experts regarding the likelihood that each geographic unit will continue to support resident
   breeding lynx populations into the future (at years 2025, 2050, and 2100), the factors they think
   will influence lynx persistence, and the sources of uncertainty that influenced their confidence in
   their predictions. We then present our evaluation of factors that may influence future conditions
   for resident lynx in each geographic unit, our conclusions regarding future conditions in each
   geographic unit, and whether our conclusions concur with or differ from projections provided by
   the lynx expert panel we consulted.

   As mentioned above, we remind readers that the text and figures presented here are intended
   to convey and summarize expert opinions, which are subjective. The graphs we provide are
   intended to illustrate individual and cumulative expert opinion and uncertainty, and to allow
   comparsions of projections of possible future lynx persistence among all geographic units. We
   do not imply, and readers should not infer, that these depictions represent statistically robust,
   accurate, or precise estimates of the actual likelihood that resident lynx will persist in the DPS or
   in any individual geographic unit in the future, and readers should consider the inherent
   limitations and substantial uncertainties in expert responses, particularly over longer time
   periods. In figures 10-15 below, responses for each lynx expert for each of the 3 probability-of-
   persistence levels, (i.e., highest, most likely, and lowest probabilities) are represented by the
   hollow red, filled green, and hollow blue points, respectively. The black X mark is the median of
   the most likely responses across the experts in each response year. The red, green, and blue
   dashed lines connect the median of the highest, most likely, and lowest probability-of-
   persistence responses across the experts in each response year. The edges of the gray areas
   were defined by the entire range of expert responses, from the largest of the highest-probability
   responses to the smallest of the lowest-probability responses. The median lines and gray areas
   are provided as a summarizing visualization to aid comprehension of the experts’ responses
   and their range, and should not be viewed as a substitute for individual responses or presented
   outside the context of the accompanying discussion. The gray area between red and blue
   dashed lines can be viewed as the median uncertainty across all 10 experts.

   5.2.1 Unit 1 - Northern Maine

   Expert Projections of Lynx Persistence

   All of the experts that we consulted indicated an initially high and subsequently declining
   likelihood that resident lynx will persist in Maine through the end of the century, with uncertainty
   (range between lowest and highest estimates) also increasing over time (Lynx SSA Team



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   2016a, pp. 33-36). Climate change was an overriding near- and long-term stressor for lynx
   expressed by lynx experts.

   Increased winter precipitation in the form of rain, reduced snow depth, and reduced snow
   durations were discussed by the experts. Experts believed that the effects of climate change
   would continue to increase as a stressor that would reduce lynx populations by mid- to end-of-
   century. Snow conditions would continue to deteriorate, potentially resulting in increased
   competition with bobcats and increased predation by fisher. We heard varying prognoses from
   experts regarding the speed at which climate-induced loss of spruce-fir forest may occur. The
   scientific literature suggests that loss of spruce-fir could occur relatively quickly in the Northeast,
   and several experts noted that an increase in northern hardwood composition of the forest is
   already occurring. One expert provided information that suggests that balsam fir could actually
   increase in the short-term (over the next few decades), but that the long-term prognosis is not
   favorable for natural spruce-fir regeneration. Decline or loss of spruce-fir could be accelerated
   by forest disturbance (e.g., budworm outbreaks or forest management affecting large acreages
   of lynx habitat annually).

   In addition to climate change, lynx experts expressed a number of near-term stressors related to
   forest management in northern Maine. Land management objectives were uncertain because of
   frequent changes in private forest land ownership. Experts acknowledged uncertainty
   concerning the severity of and response by new landowners to future spruce budworm
   outbreaks. Experts believed that investment landowners are unlikely to respond to future
   budworm outbreaks as they did in the 1970s-80s (extensive clearcuts, herbicide application).
   Experts also acknowledged concerns about the effects of the aging of past clearcuts beyond
   conditions that support high-quality hare and lynx habitat.

   Although uncertainty increases with time from the present, experts generally agreed that
   climate-related loss of favorable snow conditions (amount, consistency, and duration), loss of
   spruce-fir forest, and potential competition from bobcats would be expected to reduce the
   likelihood that lynx will persist in this unit. Experts also were uncertain about whether hare
   numbers would rebound to past higher levels or remain at current lower levels.

   Taking all of these factors into consideration, experts provided “most likely” persistence
   probabilities of 80 to 100 percent (median = 96 percent) in the near-term (year 2025), 65 to 95
   percent (median = 80 percent) at mid-century, and 40 to 80 percent (median = 50 percent) at
   the end of the century (fig. 10). As they did for most other geographic units, all experts indicated
   an initially high and subsequently decreasing likelihood that resident lynx will persist in this unit,
   with uncertainty increasing substantially over time.




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   Figure 10. Lynx expert estimates of the probability that the Northern Maine Geographic
   Unit will continue to support resident lynx in the future (at years 2025, 2050, and 2100).

   Service Evaluation of Factors Potentially Influencing Future Conditions

   Regulatory Mechanisms - As described above (section 4.2.1), past forest management
   practices (large-scale clearcutting) have created an unnaturally high amount of high-quality hare
   habitat in this unit, resulting in a resident lynx population that is probably larger than typically
   occurred historically under natural conditions. Also as described above, a shift in forest
   management from clearcutting to various forms of partial harvesting that began in 1989 with
   passage of the Maine Forest Parctices Act (MFPA) is unlikely to maintain or recreate this
   extensive high-quality habitat. Therefore, we expect lynx habitat and numbers to decline in this
   unit over the next several decades, perhaps to levels more consistent with likely historical
   conditions.

   If timber harvest continues using methods and at rates similar to those that have predominated
   since passage of the MFPA (see section 4.2.1), lynx habitat at year 2030 is modeled to decline
   by about 50 percent from current anthropogenically incluenced high levels (Simons-Legaard
   2016, pp. 9-10). Habitat modeling indicates that the maturation of previously clearcut areas will
   result in a decline in high-quality hare habitat (i.e., lynx foraging habitat) in this unit from 7-12
   percent of the landcape in 2010, to about 3-8 percent by year 2030, then increasing to 5-16

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   percent by 2060 (Simons-Legaard 2016, p. 10, fig. 8). After 2030, however, projected outcomes
   for lynx habitat become more uncertain and depend on assumptions about habitat definitions
   and harvest rates. Lynx in Maine selected for regenerating, conifer-dominated forest (> 75
   percent conifer; Vashon et al. 2008b, pp. 1490, 1492-1494). If one defines high-qulaity lynx
   habitat as stands having greater than 75 percent spruce-fir, then such habitat will decline by
   about 50 percent by 2030 and then stabilize or increase slightly through 2060 (Simons-Legaard
   2016, pp. 9,16; fig. 8).

   The projections above do not consider a nearly 60 percent decline in snowshoe hare densities
   that has occurred in Maine from a period of high hare density in 2001-2006 (1.8 - 2.2 hares/ha
   [0.7 - 0.9 hares/ac] in regenerating conifer) to a period of lower hare density in 2008-2015 (0.8
   - 1.0 hares/ha [0.3 - 0.4 hares/ac]; Harrison et al. 2016, entire). This decline occurred across all
   forest stand types and across a broad geographic area of Maine (Scott 2009, p. 36; Harrison et
   al. 2016, entire), and a decline in hare density also occurred in the adjacent Gaspe region of
   southern Quebec (Assells et al. 2007 in Scott 2009, p. 41-42). Hares remained at these lower
   densities through 2015 (Harrison et al. 2016, p. 55). If future hare populations remain low, then
   Maine habitats will likely have a lower capacity for supporting resident lynx. How current and
   likely future hare densities in this unit compare to densities under historical disturbance patterns
   is unknown.

   The habitat projections above also do not consider the effects of future spruce budworm
   outbreaks. After low levels of infestation for the last 20 years, Maine appears poised for another
   spruce budworm outbreak. Budworm numbers are increasing toward epidemic levels in
   southern Quebec and northern New Brunswick.Significant defoliation could occur in Maine in
   the next few years, and the outbreak may last about a decade (Wagner et al. 2015; pp. 12-16).
   Although research has clearly demonstrated that landowner response to the last outbreak
   resulted in unintended benefits for lynx from 1 to 3 decades later, our ability to project what
   effects the next outbreak will have on lynx habitat is limited because land ownership has
   changed since the last outbreak. To reduce risk from spruce budworm, some financial
   investment owners may cut younger spruce-fir stands that still support elevated hare densities.
   Some may be less inclined to intensively manage for spruce-fir and may switch to an emphasis
   on northern hardwoods. It is unlikely that current landowners will broadly apply pesticides to
   control spruce budworm or herbicides to promote spruce-fir regeneration after stands are
   defoliated. The MFPA may constrain clearcutting of infested stands, even with recently-enacted
   changes intended to reduce the regulatory burden for landowners. Despite these uncertainties,
   landowner response to the pending budworm outbreak will likely have important implications for
   the short- and long-term persistence of lynx habitat in northern Maine (Simons-Legaard 2016,
   pp. 16-17).

   Climate Change - Because this geographic unit generally lacks potential elevational refugia
   (Carroll 2007, p. 1102; Siren in Lynx SSA Team 2016a, pp. 15 and experts, p. 37), its lynx
   population may be more vulnerable to deteriorating snow conditions than populations in the
   more topographically diverse western units, and changes in snow conditions could further
   restrict lynx distribution (Hoving 2001, pp. 27-28; Hoving et al. 2005, p. 749; Carroll 2007,


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   entire). This unit’s only potential elevational refugia under reduced snow scenarios are in the
   mountains of western Maine, where favorable snow conditions may only persist as very small,
   isolated “sky islands” that would be unlikely to support lynx. Carroll (2007, entire) modeled the
   Maine lynx population assuming non-cycling hare populations and snow conditions expected
   under intermediate to high emissions climate models (Kiehl and Gent 2004, entire). He
   predicted a 59 percent decline in the lynx population (the non-cycling hare population model) by
   mid-century because of climate change alone, with larger declines projected from interactions
   between climate change and other factors (potential increased trapping in Canada and lynx
   population cycling; Carroll 2007, p. 1100). Wildlife experts in Maine ranked lynx as highly
   vulnerable to climate change (> 66 percent loss in species range/population and extirpation
   within 50 to 100 years; Whitman et al. 2013, pp. 19, 74).

   Climate change is already affecting the Northeast, and the rate of change is faster than
   expected, with large changes observed since 1970 (Rustad et al. 2012 p. 6). Rapid winter
   warming in recent decades is believed to be exacerbated by an albedo feedback caused by the
   diminished persistence of snow in winter (Hayhoe et al. 2006, p. 25). Average winter
   temperatures are increasing about 0.4°C/decade (0.8°F/decade) with the greatest warming
   occurring in the coldest winter months (January-February; Burakowski et al. 2008, p. 1).
   Northeast climate models predict average winter temperature increases of 2.0°C (3.6°F; low
   emission) to 2.9°C (5.2°F; high emission) by mid-century and 3.1°C (5.6°F; low emissions) to
   5.3°C (9.5°F; high emissions) by late century (Notaro et al. 2014, p. 6529). The largest
   increases in temperature are expected in northern Maine (Siren in Lynx SSA Team 2016a,
   Appendix 3; Rawlins et al. 2012, p. 9) where temperatures may increase 2.5° to 2.8°C (4.5° to
   5.0°F) by 2050 (Fernandez et al. 2015, p. 3). In response to climate change, interest in wind
   development has grown in northern and western Maine, which has the potential to impact high-
   elevation habitats and potential spruce-fir refugia (Publicover 2013, p. 2).

   Gonzalez et al. (2007, pp. 12-13 and 15-18) modeled distribution of boreal forest and future
   snow conditions under 9 different low, medium, and high emission scenarios and predicted
   reduced probablility of suitable snow (from 95 percent during 1961-1990, to 90 percent
   predicted for 2071-2100) and very minor changes in forest cover type in Maine by the end of the
   century. Although there are uncertainties about future climate warming, if projections are
   accurate, the area capable of supporting resident lynx in Maine could be expected to recede
   northward and lynx populations to decline substantially in this unit over the next 100 years
   (Vashon et al. (2012, p. 60). If future trends in increasing temperature and decreasing snow
   occur as projected, then at some time in the future lynx would be unlikely to persist in Maine.

   Snow Duration - The current average snow duration in Maine is at or below the 4-month snow
   persistence threshold believed necessary to support lynx (section 4.2.1; Gonzalez et al. 2007, p.
   7). Snow duration declined by 16 days in the Northeast from 1970 to 2001 (Wake 2005, p. 15)
   and is expected to diminish by another 2 weeks in Maine by mid-century (Fernandez et al. 2015,
   p. 10). It is projected to decline by 25 percent (low emissions) to 50 percent (high emissions)
   from current conditions by the end of the century (Hayhoe et al. 2006, pp. 21-25). Similarly,



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   Notaro et al. (2014, p. 6543) projected an average decrease of 28 days (low emission) to 47
   days of snow cover (high emissions) by the end of the century.

   Snow Depth - The current average annual snowfall in northern Maine is at or below the 270-
   cm/yr. (106-in/yr) threshold below which lynx are unlikely to occur (Hoving et al. 2005, p. 749;
   section 4.2.1), and it is expected to decline in the future with projected continued climate
   warming. From 1965-2005, Northeast winter snowfall has decreased by about 4.6 cm/decade
   (1.8 in/decade), with the greatest decreases occurring in December and February (Burakowski
   et al. 2008, p. 1). By the end of the century, large areas of the Northeast will experience 15-
   percent (under a low-emissions scenario) to 25-percent (high-emissions scenario) reductions in
   snowfall (Ning and Bradley 2015, p. 6). Similarly, Notaro et al. (2014, p. 6529) concluded that
   average snowfall in the northeastern United States and southeastern Canada will decline by 59
   cm (23 in; 31 percent) under a low-emissions scenario) to 92 cm (36 in; 48 percent) under a
   high-emissions scenario by the end of the century because a higher proportion of winter
   precipitation is projected to fall as rain rather than snow. Hayhoe et al. 2006, (pp. 22-25)
   predicted that under moderate and high climate scenarios there would be large reductions in the
   length of the snow season with < 25-50 percent reductions in the number of snow days by
   2070-2099.

   Snow Quality - Winter precipitation in Maine is projected to increase by 10 to 15 percent by the
   end of the century (Hayhoe et al. 2006, p. 28) with a greater proportion of winter precipitation
   falling as rain (Huntington et al. 2004, entire; Hayhoe et al. 2006, p. 23; Ning and Bradley 2015,
   entire). Snow density and compaction (caused by wet, heavy snow or rain on snow events in
   winter) will likely continue to increase in the region in the future (Karl et al. 1993, entire; Dudley
   and Hodgkins 2002, pp. 8-10, 19-20; Huntington et al. 2004, p. 2632; Huntington 2005, entire;
   Hodgkins and Dudley 2006, entire).

   Loss of Boreal Forest - The boreal spruce-fir forest type has come and gone from New England
   during the post-glacial period. It nearly disappeared from the Northeast during the interglacial
   warming period 1000 years ago, then moved south into New England only in the past few
   centuries during the “Little Ice Age” (Schauffler and Jacobson 2002, entire; DeHayes et al.
   2000, entire). Continued anthropogenic climate warming is projected to cause another
   northward contraction of spruce-fir forest in the Northeast with potential negative consequences
   for both lynx and snowshoe hares (Gonzalez et al. 2007, entire). Because of its sensitivity to
   climate and its mobile nature, the spruce-fir forest type in the Northeast, including northern
   Maine, is projected to decline substantially in response to climate change even under low-
   emissions scenarios and could disappear completely under higher-emissions scenarios (Iverson
   and Prasad 2001, pp. 192-193; Prasad et al. 2007, entire; Beckage et al. 2008, entire; Iverson
   et al. 2008, p. 403; Ollinger et al. 2008, p. 17; Jacobson et al. 2009, p. 27; Tang and Beckage
   2010, entire; Whitman et al. 2010, p. 12; Andrews 2016, p. 20). Even under the lowest
   emissions scenarios, spruce-fir forest would be reduced by the end of the century (Williams and
   Liebhold 1997, pp. 210-214; Prasad et al. 2007, entire; Mohan et al. 2009, pp. 221-222),
   although some spruce-fir may persist at the highest elevations (Tang and Beckage 2010, pp.
   148-156) and along the eastern coast (Jacobson et al. 2009, pp. 26-29) where cooler conditions


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   would likely persist. Climate change is anticipated to increasingly fragment the boreal forest in
   northern New England (Iverson et al. 2008, pp. 400-405), which would diminish the amount and
   quality of lynx habitat (Simons 2009, pp. 221-222). Recent shifts of northern hardwoods to
   higher elevations formerly occupied by boreal forests have also been attributed to regional
   warming over the last century (Beckage et al. 2008, entire).

   Spruce (red, black, and white) and balsam fir are the most important boreal forest conifer tree
   species in the Northeast and will be affected by climate change in different ways. Mechanisms
   of injury to spruce-fir include winter injury from freeze-thaw cycles, spring drought (because of
   reduced snowpack), and reduced seed germination (Auclair et al. 2010, pp. 694-695). Thus, the
   range of spruce-fir is limited by summer heat and drought. Mohan et al. (2009) projected that
   the suitable area for balsam fir would be 80 percent lower by 2100 under an average- to high-
   emissions scenario. In contrast, Ollinger et al. (2008, p. 8) projected increasing growth rates for
   balsam fir and red spruce to mid-century, after which they would decline. Andrews 2016 (p. 53,
   104) modeled future climate envelopes for spruce and fir species in Maine under a moderate
   emissions scenario and predicted northward shifts in these species. The results suggest that
   areas of suitable climate for these tree species would diminish in northern New England by
   2030, white and black spruce would disappear from northern Maine by 2060, and balsam fir and
   red spruce would dwindle to only a few high altitude locations by 2060. However, suitable
   habitat for spruce and fir species would remain in northern and coastal highlands of New
   Brunswick and Cape Breton Island Nova Scotia.

   The timescale of the spruce-fir decline in the Northeast is difficult to predict because of the
   many variables that influence shifting of the forest species composition (emissions scenarios,
   the long lifespan and slow dispersal rates of trees, frequency of disturbance, competition from
   advancing hardwoods and invasive tree species, complex interactions with moisture, and
   synergistic effects with other pollutants). Support for an accelerated decline includes evidence
   that spruce-fir is already in decline and is being replaced in Maine by northern hardwoods (oak,
   pine, red maple). Since 1995, the area of forest land classified as the northern hardwoods type
   in Maine has increased 8.9 percent (by about 2,400 km2 [927 mi2]) and the area in the spruce-fir
   forest type group has decreased 8.5 percent (1,987 km2 [767 mi2]; McCaskill et al. 2016, p. 2).
   Although forest disturbance often favors northern hardwoods, it may, in some situations, favor
   balsam fir and help it persist longer in a warming climate (Scheller and Mladenoff 2005, p. 318).
   A pending spruce budworm outbreak and frequent disturbance from forest management could
   accelerate conversion to northern hardwoods. Other climate-related forest disturbances (forest
   pests, diseases) could further accelerate conversion to northern hardwoods (Iverson et al. 2008,
   p. 404).

   In contrast, some authors note that trees migrate slowly in response to a changing climate and
   are long-lived. Therefore, a time lag may occur in shifting forest composition from spruce-fir to
   northern hardwoods (Mohan et al. 2009, p. 221; Zhu et al. 2012, pp. 1048-1051). Some
   northern Maine industrial forest landowners could “adapt” to climate change by intentionally
   favoring spruce-fir (e.g., by plantations and use of herbicides).



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   Finally, there is uncertainty concerning the influence of climate change on balsam fir, a short­
   lived, shade-tolerant conifer that dominates much of the understory in the Acadian forest and is
   an important component of lynx habitat in the Northern Maine Unit. McWilliams et al. 2005 (p. 8)
   noted that balsam fir increased in Maine’s forest inventory in the early 2000s because this
   species seems to respond favorably to frequent disturbance. Forest models projected increases
   in spruce-fir biomass over the next century because of partial harvesting and periodic budworm
   outbreaks, but did not take climate change into consideration (Simons-Legaard et al. 2013,
   entire). In contrast, Iverson et al. 2008 (p. 400) identified balsam fir as the tree species in Maine
   most sensitive to a warming climate, and they projected large declines, with only 29 percent
   (low emissions) to 16 percent (high emissions) persisting by the end of the century. Climate
   change will influence precipitation and temperature, forest management strategies, and forest
   disturbance (fire frequency and spruce budworm), all of which will interact in complex ways to
   influence balsam fir at the southern edge of its range. Carter (1996, pp. 1092-1093), Iverson et
   al. (1999, pp. 400, 403), and Goldblum and Rigg (2005, p. 2714) documented balsam fir growth
   rates and growth potential would decline under likely climate warming scenarios (about a 2.2°-
   2.8°C (4°-5°F) temperature increase by the end of the century and reduced snow conditions).
   Some have projected the extirpation of spruce-fir forest types in the Great Lakes States
   (Scheller and Mladenoff 2005, entire) and New England (Iverson et al. 2008, entire. 403).
   Balsam fir has prolific seed production following forest disturbance such as harvesting (Seymour
   1992, p. 217), and has proliferated under the current climate and forest management regime
   dominated by partial harvesting (Olson et al. 2013, entire). Balsam fir is a relatively short-lived
   tree (about100 years), and is unlikely to persist long if climate change affects seed and
   germinations rates. Given anticipated climate changes, especially early snow melt and low
   spring precipitation, fir may increase for the next few decades but is unlikely to regenerate in the
   future Maine forest (Simons-Legaard 2015, pers. comm.).

   Vegetation Management - Habitat suitable for lynx is expected to decline in the future (see
   Regulatory Mechanisms section above). By 2020, all of the extensive areas that were clearcut
   in the 1970s and 1980s will be greater than 35 years of age and no longer likely to support high
   hare densities. For the foreseeable future, partial harvesting will continue as the primary means
   of forest management. Although partially harvested forests with well-developed understory
   structure may provide foraging opportunities via increased prey access (Fuller et al. 2007, 1984­
   1985), snowshoe hare densities are approximately 50 percent less in landscapes dominated by
   partially harvested stands (Robinson 2006, pp. 5-37; Fuller and Harrison 2010, p. 1276). Thus
   changing forest management practices have and will continue to reduce landscape hare density
   possibly below levels that can support lynx.

   Sources of uncertainty concerning future habitat conditions in northern Maine include changes
   in forest policy, timber harvesting methods, changing timberland ownership, response to
   budworm outbreaks, and timber markets - all of which have occurred in the recent past and will
   undoubtedly shape forest management in the future (Simons-Legaard et al. 2016, p. 8).
   Currently, the landscape is owned primarily by financial investors who may be less inclined to
   intensively manage for spruce and fir after the next outbreak of the spruce budworm (Wagner et
   al. 2015, p. 4).


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   The dramatic shift from clearcutting to partial harvesting presents a challenge for lynx
   conservation in this unit for the next several decades (Legaard et al. 2015, p. 21). Lynx habitat
   is expected to peak and then remain stable through about 2012-2020 and then decline (Simons
   2009, pp. 153-165, 202-220; Simons-Legaard et al. 2016, p. 6). After 2020, aging of the former
   clearcuts and extensive partial harvesting are projected to result in a 50 to 65 percent decline in
   lynx habitat by 2032 (Simons 2009, p. 217). Lynx habitat will decline from about 9.5 percent of
   the landscape (current condition) to about 5.0 percent of the landscape (Simons-Legaard 2016,
   fig. 8, p. 10). By 2032, the Northern Maine Unit may support less than half the number of
   resident lynx that it does today (Simons 2009, pp. 209, 217).

   In the future, lynx habitat is projected to become fragmented into smaller, isolated parcels and
   shift southward into areas currently occupied by bobcats and fishers, where snow conditions are
   unlikely to favor lynx occupancy (Simons 2009, pp. 153-165; Simons-Legaard et al. 2016, pp. 1,
   6; Simons-Legaard 2016, p. 8). By 2022, the number of patches of high-quality hare habitat is
   modeled to increase by 57 percent, but the average size of patches would decline by 87 percent
   and patches would become more isolated (Simons-Legaard et al. 2016, pp. 5-6). The proximity
   index of high-quality habitat patches is expected decline by 78 percent within lynx home ranges.
   Although lynx habitat in this geographic unit is currently peaking, fragmentation may diminish its
   future ability to support as many resident lynx as it does currently (Simons-Legaard et al. 2016,
   p. 8).

   Beyond 2030, assumptions concerning future climate change, land ownership, and harvest
   rates introduce greater uncertainty. The most optimistic forest management models (greatest
   harvest rates, no climate change, no spruce budworm) project that lynx habitat will likely decline
   over the next few decades then gradually increase to about 10 percent of the landscape by
   2060 (Simons-Legaard 2016, fig. 8, p. 9). Other models (lowest harvest rates, no climate
   change, no spruce budworm) project about 5 percent of northern Maine will likely have high-
   quality hare habitat from 2030 to 2060 (Simons-Legaard 2016, fig. 8, p. 9), although the habitat
   will be much more fragmented and patch sizes will be smaller (Simons-Legaard et al. 2016,
   entire).This could represent a return to conditions similar to those that occurred historically prior
   to the landscape-scale clearcutting the created the current condition, perhaps resulting in
   commensurate changes in Maine’slynx population.

   A shift toward managing private timberlands as softwood plantations could offset losses in
   spruce-fir and become a form of adaptation to climate change effects of reducing spruce-fir
   forest types. Jack pine plantations are extensive in adjacent New Brunswick (Etheridge et al.
   2005, p. 1966). A forest company that has planted extensive spruce plantations in New
   Brunswick recently purchased nearly 4,047 km2 (1,563 mi2) of forestland in northern Maine
   where it is doing the same. Spruce plantations are becoming more common on this ownership
   in Maine, but not on others. Stand structure and intensive management of plantations are highly
   variable (e.g., pruning, thinning, herbicide treatments), thus hare densities and use by lynx vary
   (Roy et al. 2010, entire). Hares can achieve higher densities in plantations depending on the
   amount of lateral (horizontal) cover, but for shorter periods of time; about 10 to 17 years after


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   cutting and planting in New Brunswick (Parker 1984, p. 163) and 15 to 25 years in Quebec (Roy
   et al. 2010, p. 585). This is in contrast to about 15 to 35 years in naturally regenerating spruce­
   fir stands after harvest (Simons-Legaard et al. 2016, p. 4). The future of plantations in the
   northern Maine unit is uncertain. Most investment landowners have short-term investment
   horizons and are unlikely to invest in plantations.

   Natural stand-replacing disturbances in this unit are rare and infrequent and, other than spruce
   budworm outbreaks, are unlikely to significantly affect future habitat conditions (Hoving et al.
   2004, p. 292). At its peak in 1975, budworm affected nearly all of Maine’s 8 million acres of
   spruce and fir with greatest mortality (up to 49 percent) of balsam fir and less for the spruce
   species (Livingston 1998, pp. 26-27). A very large outbreak has thus far defoliated 60,700 km2
   (over 23,000 mi2) of spruce-fir in southern Quebec, immediately north of Maine (Wagner et al.
   2015, pp. 2-3), and it is projected to expand into northern Maine in 2018-2021, potentially
   putting much of Maine’s 23,472 km2 (9,063 mi2) of spruce-fir stands across the State at risk of
   defoliation. However, despite the severe defoliation of spruce-fir forests in southern Quebec,
   some project a weaker outbreak in Maine because spruce and fir trees are younger and less
   susceptible and there is a higher hardwood component in northern Maine forests (Wagner et al.
   2015, p. 18-22). A typical outbreak lasts for a decade.

   Forest management strategies for addressing the coming budworm outbreak vary and include
   applying insecticides (although land area sprayed is expected to be small compared to the
   previous outbreak), pre-emptively cutting mature spruce-fir before defoliation, stopping
   precommercial and commercial thinning, and salvaging dead and diseased trees (Wagner et al.
   2015, pp. 38-48). The nature and aggressiveness of forest management response to budworm
   outbreaks could greatly affect future outcomes for lynx habitat (see section 4.2.1). The next
   budworm outbreak and subsequent forestry response is a disturbance agent that may
   accelerate changes in forest composition influenced by climate change, especially toward
   increased northern hardwood and reduced spruce-fir. The nature of land ownership is greatly
   changed from the 1970s and 1980s, and landowner response is expected to be diverse
   depending on their objectives and investment horizons. The pending budworm outbreak cast
   additional uncertainty on the status of lynx habitat in this geographic unit beyond 2030.

   Climate change, forest management and budworm outbreaks will interact to influence the future
   trajectory of spruce-fir forest in Maine. All 3 variables have yet to be modeled simultaneously
   (Legaard 2016, pers. comm.). Assuming current forest management trends persist to the end of
   the century, spruce-fir dominated forest is expected to continue to decline (Legaard et al. 2013,
   entire). The combination of budworm-induced mortality and salvage harvesting will have a
   negative effect on spruce-fir (Legaard et al. 2013, entire). However, after a budworm outbreak
   the biomass and area of mixed-hardwood/softwood forest would be expected to increase
   through this century primarily because of the proliferation of regenerating balsam fir (see
   discussion above; Legaard et al. 2013). Mixed forests having a high (greater than 50 percent)
   hardwood component are not believed to support high hare densities (Scott 2009, p. 109) or to
   be preferred by lynx (Vashon et al. 2008b, pp. 1492-1493). It is uncertain whether lynx can
   adapt to lower landscape hare densities associated with mixed hardwood-softwood forest. They


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   may persist, but at lower densities as they currently do in the western units of the DPS.
   However, the probability of persistence is further diminished by deteriorating snow conditions
   and potentially increased populations of bobcats and other competitors.

   Wildland Fire Management - Susceptibility of the northern Maine unit to fire may be enhanced
   by a severe spruce budworm outbreak because of the amount of dead and dying spruce-fir
   (Stocks 1987, entire), although there were no large fires after the last outbreak. Fire risk is
   currently very low in this unit and a continuous decrease in fire frequency is predicted with
   climate change in eastern Canada because of increased precipitation and decreased drought
   (Bergeron and Flannigan 1995, entire; Flannigan et al. 1998, entire). Climate is expected to
   become more variable (i.e, wider extremes of summer drought and precipitation) during the next
   century (Gregory & Mitchell 1995, entire; Gregory et al. 1997, pp. 684-685), which could create
   fire conditions in unusually dry years (Flannigan et al. 1998, p. 475). Maine’s policy is to
   immediately suppress wildfire, thus large, stand-replacing fires are expected to be infrequent in
   this region in the future. Notable large fires in Maine include a 1.2 million-ha (3 million-ac) fire in
   1825 and an 81,000 ha (200,000-ac) fire in 1947.

   Habitat Fragmentation - The future of the 40,470-km2 (15,630-mi2), sparsely populated “North
   Woods” of Maine is highly uncertain and has been the subject of intense public debate (Baldwin
   et al. 2007, entire). Land use and zoning in the state’s “unorganized townships” are the
   responsibility of the Land Use Planning Commission (LUPC) in the Maine Department of
   Conservation. The LUPC revised its Comprehensive Land Use Plan (Maine Land Use
   Regulation Commission 2010, entire), and described principal values in guiding future land
   management decisions: maintaining working forests, provide for traditional recreational
   opportunities, protect high-value natural resources, and encourage long-term conservation. The
   North Woods has long been considered a public resource or “commons,” even though privately
   owned (Judd 2007, p. 9). This land was traditionally owned by a few large timber companies,
   but since the 1980s there has been turnover in ownership largely by investments companies
   and subdivision of large parcels (Hagan et al. 2005, entire). Financial investors, primarily Real
   Estate Investment Trusts (REITS) and Timber Investment Management Organizations (TIMOs),
   focus on maximizing the asset value of timberlands and are increasingly likely to seek revenue
   from non-timber resources if they generate a higher return. These new owners operate over
   relatively short (5- to 15-year) time horizons and are willing to consider multiple means of
   monetizing their asset, including development and real estate sales (Legaard et al. 2013,
   entire). If left unchecked, these pressures may continue to promote dispersed development
   throughout this region. Parcelization and subdivision has increased, particularly in the southern
   third of the jurisdiction (Maine Department of Conservation 2010, p. 72-73). The LUPC has
   limited ability to address stressors on Maine’s North Woods, including resale and subdivision
   trend. This trend is likely to continue into the foreseeable future and will make management of
   large, forested landscapes for lynx even more difficult.

   Historically, development has stayed mostly on the edges of the North Woods jurisdiction with
   the exception of scattered seasonal dwellings and sporting camps in the interior, but this could
   change in the future. Between 1971 and 2005, the LUPC permitted 8,136 new dwellings in


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   unorganized townships, increasing the number of residences by 66 percent during this time
   period (Maine Land Use Regulation Commission 2010, p.80). Between 1971 and 2005, the
   LUPC also issued 1,353 development permits for new uses scattered throughout the
   unorganized townships (Maine Land Use Regulation Commission 2010, pp. 97-99), with most
   (42 percent) being recreational facilities (boat launches, campsites, gatehouses, recreational
   lodges). Most development has occurred in areas that abut organized communities and near
   public roads. Within the interior, most development has occurred along lakeshores and other
   waterfront. However, the amount of hillside and ridge development is growing and this trend is
   likely to continue (Maine Land Use Regulation Commission 2010, p. 136), which will likely
   further fragment lynx habitat.

   We have an incomplete understanding of the effects of outdoor recreation on lynx and their
   habitat (ILBT 2013, p. 80). Future trends in outdoor recreation in northern Maine are also
   uncertain (Vail 2007, entire). A portion of the North Maine Woods is a gated road system that
   encompasses about 1.4 million ha (3.5 million ac). Visitation by outdoor recreationists is
   currently about 175,000 per year and declining. Likewise, visitors to Baxter State Park and the
   Allagash Wilderness Waterway have declined (Vail 2007, p. 107). Aside from a vigorous
   discussion of the recently-designated Katahdin Woods and Waters National Monument or a
   master tourism plan for the area (Vail 2007, pp. 112-113), there could be stagnant or declining
   participation in traditional outdoor recreational activities in the future (Vail 2007, p. 107).
   Alternately, increased numbers of second homes and resorts could increase visitor numbers in
   the future. Snowmobiling may be an exception and has risen in popularity in northern Maine, but
   it too may decline because of declining snow (see section 3.2). The effects of new or expanded
   downhill ski development on fragmentation of lynx habitat are expected to be minimal. Future
   trends in outdoor recreation and associated effects on lynx, hares, and their habitat in northern
   Maine are uncertain.

   Within the last 5 years, 2 landowners developed concept plans for rezoning for large-scale
   development of hundreds of house lots and resort development within designated lynx critical
   habitat. Under one concept plan, 975 houses and 2 resorts would be constructed on about 14
   km2 (5.5 mi2) and a 1,469-km2 (567-mi2) conservation easement would be established. A
   second concept plan would allow development on about 8 km2 (3 mi2) of land and establishment
   of a 59-km2 (23-mi2) conservation easement. Although these developments have not been built,
   they may portend future trends in land use.

   Energy production is emerging as a potentially significant economic factor in this unit, with the
   potential for grid-scale industrial wind and solar power, biomass, biofuels, and other energy
   sources. Wind energy resources are high within the lynx critical habitat (National Renewable
   Energy Laboratory 201025), and wind development in the lynx critical habitat are likely to
   accelerate in the foreseeable future. Two large wind energy projects are being considered in
   designated lynx critical habitat in this unit; if built, each would cover about 450-650 km2 (180­
   250 mi2) and become 2 of the largest such projects in Maine. Mining is not a traditional land use

   25 http://apps2.eere.enerqy.qov/wind/windexchanqe/wind resource maps.asp?stateab=mecitation; last
   accessed 5.25.2016.

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   in this unit, but a large mining operation is being considered within designated lynx critical
   habitat. Extraction operations for gravel (for road building) are widely-scattered throughout the
   unit.

   The area designated as lynx critical habitat is heavily-roaded, particularly with forestry roads.
   While accurate numbers are difficult to obtain, approximately 1,500 miles of public roads and
   over 20,000 miles of private roads exist within unorganized areas of Maine (Maine Department
   of Conservation 2010). There has been discussion of an east-west limited access highway
   through northern Maine and extending Interstate 95 north from Houlton to Presque Isle, which, if
   constructed, would further fragment habitat (Maine Department of Transportation 1999; Beck et
   al. 2012, p. 38).

   An increasing area of the designated lynx critical habitat in this unit is likely to be placed under
   conservation easements that will limit future development and fragmentation of lynx habitat.
   Maine has the largest amount of land under easement of any state, and there are about 8,094
   km2 (3,125 mi2) of conservation easements in lynx habitat in northern Maine (Pidot 2011).
   Continued expansion of areas under conservation easement is uncertain and will depend on
   willing landowners and funding available for purchase of easements. Conservation easements
   often include abandonment of some development rights, but they may allow for wind power
   development and other land uses that may not be compatible with lynx conservation.
   Easements in Maine allow forest management, but they rarely prescribe specific management
   that would benefit lynx and other species of conservation concern. If market conditions continue,
   trends toward forest certification will likely continue in Maine for the foreseeable future.
   Currently, 8 million acres are enrolled in Maine by SFI and FSC (Wagner et al. 2016, p. 31).
   Certification has the potential to address lynx management in the future.

   The Core Team believes that all development trends portend increased loss and fragmentation
   of lynx habitat in the Northern Maine Unit. As habitat is lost and fragmented as a result of
   development and forest maturation and management, it will become increasingly difficult to
   influence landscape-scale forest management that could benefit lynx. However, whether (and if
   so, when) future development may result in population-level impacts to lynx in this unit is
   uncertain.

   Conclusion

   After reviewing the scientific literature concerning snow and climate change and acknowledging
   other potential stresssors unique to this unit (e.g., lack of forest planning for lynx, land
   ownership turnover, and development pressures), the Core Team believes that lynx habitat and
   numbers in Maine will diminish substantially in the future. We believe the number of resident
   lynx in Maine is at an historically (unnaturally) high level and will likely decrease over the next
   several decades, perhaps to levels more like natural historical conditions, and perhaps (but with
   increasing uncertainty) to even lower numbers in the more distant future (end of this century).
   Given current trends (diminishing snow conditions, extensive partial harvesting and
   fragmentation of spruce-fir forest, possible pelage mismatch for hares, increasing populations of


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   bobcat and fishers in a lower-snow environment),we believe landscape level hare densities are
   likely to decline in northern Maine. Extended periods of lower hare numbers would likely reduce
   the number of lynx and the probability that this unit would continue to support a persistent
   resident lynx population in the future.

   We concur with expert assessments concerning trends in forest management, but we also note
   that development pressures in northern Maine did not receive much discussion at our expert
   elicitation workshop. We believe development pressures (residential and commercial
   development, energy development, transmission lines, roads, mining) may increasingly become
   competing land uses on private lands in northern Maine. We also expect continued turnover and
   subdivision of private forest lands in northern Maine, which could accelerate opportunities for
   non-forestry land uses. Turnover in land ownership has provided opportunities to conserve
   some areas of the North Maine Woods through purchase of conservation easements and fee
   title acquisitions, including a new Katahdin Woods and Waters National Monument. However,
   conservation easements do not fully protect these lands from some kinds of development that
   could adversely affect lynx and their habitat. For example, many conservation easements allow
   large-scale, industrial wind power development. We conclude that various forms of development
   in northern Maine will continue in the future.

   The Core Team believeslynx in Maine would be more exposed to potential adverse impacts in a
   future scenario without Federal listing. The lynx is not State-listed in Maine but it is considered a
   species of special concern. There is rarely a nexus for Service review of forestry projects under
   section 7 of the ESA (i.e., no Federal funding or permits are typically required for forest
   management on private lands). Nevertheless, because of its Federal listing, the Canada lynx
   are a priority species for planning by Federal, Tribal, State, and private forest landowners.
   Although few private landowners have thus far made formal commitments to intentionally
   manage their forests for lynx, by virtue of their Federal listing status they at least consider the
   possibility of doing so in the future. This is particularly true of landowners who must plan for
   Federal listed species as a requirement of their enrollment in green certification programs.
   Without Federal listing, there would be no incentive or motivation for private forest landowners
   to change the current paradigm of partial harvesting and intentionally engage in forest
   management to benefit lynx. With current Federal listing, there is a nexus for the Service to
   review other projects in northern Maine (e.g., Army Corps of Engineers permits for wetland
   impacts); for new highways, transmission lines, large-scale energy development, mining, and
   residential and commercial development. Without Federal listing, few of these projects would
   consider lynx. Critical habitat has been an important consideration in the Federal review of the
   aforementioned kinds of development projects. Critical habitat also has had a positive influence
   on land conservation in northern Maine, with land trusts and non-governmental organizations
   using the lynx and their critical habitat as justification for seeking funds for conservation
   easements. This justification for habitat protection would no longer be valid if the DPS was not
   Federally-listed. The Core Team concludes that a future scenario without Federal listing would
   result in increased habitat loss and fragmentation and would result in reduced justification for
   habitat protection initiatives in northern Maine.



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   Lynx would be at greater risk without ESA section 9 prohibitions against take. There is currently
   a closed season on lynx, but it is uncertain whether legal trapping of lynx would resume in
   Maine if the DPS was not listed. If the DPS was not listed, it is possible that State-managed
   trapping could resume in this and perhaps other geographic units. We expect that would only
   occur if scientific evidence strongly suggested the presence of a harvestable surplus of lynx and
   that harvest quotas would be carefully managed to ensure that the viability of resident lynx
   populations would not be diminished. If the DPS was not listed, Maine’s incidental take permit
   for trapping would not apply, and it is possible that some protective measures to minimize injury,
   take, and mortality of lynx could be diminished. Habitat mitigation for lethal take of lynx
   associated with the Maine trapping HCP also would cease. About 10 lynx have been illegally
   shot and reported or otherwise discovered since listing. Illegal shooting and non-reporting could
   increase without Federal protection. We believe several high-profile Federal law enforcement
   cases have helped to reduce illegal shooting of lynx.

   After considering the lynx expert’s opinions and the best available scientific information, the
   Core Team is less optimistic than the experts regarding the long-term (end-of-century)
   persistence of resident lynx in this unit. All potential stressorss - forest management, climate
   change, habitat loss and fragmentation, and development - are increasing in frequency,
   intensity, and extent. The amount of high-quality hare and lynx habitat created by clearcutting in
   the 1970s and 1980s recently peaked at unprecedented high levels that are unlikely to be
   achieved again. Because of state law, forest management has shifted dramatically away from
   clearcutting to many forms of partial harvesting, which on average support less than half the
   hare densities of regenerating clearcuts. Forest land ownership has, and continues to change,
   further subdividing private forest lands. Furthermore, hare densities have declined by half and
   have remained at these lower levels. Lynx habitat in the next few decades will shift south to
   areas that will be more influenced by climate change and northward range expansion by
   bobcats. Thus, we conclude that the carrying capacity to support lynx is diminishing, and the
   lynx population will decline as the quantity and quality of boreal forest habitat declines. There
   are few commitments by private forest landowners to manage specifically for lynx conservation.

   After reviewing the best available scientific information, we believe that climate change will be a
   significant stressor to lynx in the Maine unit; perhaps more so than expressed by experts. Unlike
   other units, as snow condition decline there is little potential for elevational refugia for lynx in
   Maine. Spruce-fir is being replaced by northern hardwoods because of climate change.
   Frequent forest cutting and disturbance, including a pending spruce budworm outbreak, could
   accelerate conversion to northern hardwoods. We acknowledge that the rate of spruce-fir
   decline is uncertain, but note that some of the science reviewed indicates the spruce-fir forest
   type could nearly disappear from Maine by late-century under both low and high emissions
   scenarios. Climate change models portend declining snow conditions from low- to high-
   emissions. Because increases in temperature are thus far tracking high emissions scenarios we
   are less optimistic for snow conditions that favor lynx by mid- to late-century. In the past decade,
   interest in development has increased in lynx critical habitat, especially proposals for large-scale
   residential and resort development and extensive wind energy development that could cover
   hundreds of square miles. We conclude that these stressors, individually and cumulatively,


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   indicate diminished populations of lynx and their habitat. If these stressors are not abated, we
   believe that the probability of persistence will be lower by mid-century and that lynx will have a
   greater likelihood of extirpation by the end of the century than projected by experts.

   5.2.2 Unit 2 - Northeastern Minnesota

   Expert Projections of Lynx Persistence

   The experts that we consulted indicated an initially high and subsequently declining probability
   of persistence of resident lynx in Minnesota, with increasing uncertainty through the end of the
   century (Lynx SSA Team 2016a, pp. 37-38). Near term drivers of the projected decline were
   climate-driven reduction in snow quality, quantity, and persistence; potential increased
   competition from bobcats; and forest insects. Long term drivers were climate-driven loss of
   spruce-fir forests; further reductions in snow quality, quantity, and persistence; potential
   competition from bobcats; and potential increases in wildfire activity.

   Climate change was primarily associated with loss of boreal forest but also could potentially
   increase disease or insect outbreaks, and is likely to affect the amount of precipitation falling as
   good quality snow in the area of the state supporting lynx habitat. We heard varying prognoses
   from experts on the speed at which climate-induced loss of boreal forest will occur. The
   scientific literature suggests (and 1 of the climate change experts indicated) that loss of spruce­
   fir could occur relatively quickly in the Midwest and Northeast (but possibly more slowly
   elsewhere in the DPS because of potential elevational refugia), and all noted that an increase in
   northern hardwood composition of the forest is already occurring. Connectivity to lynx in Ontario
   reduces the likelihood of local extirpation in this geographic unit, but the likelihood would
   increase if connectivity was to become compromised in the future if habitat recedes northward
   and becomes increasingly fragmented on both sides of the border, as expected with continued
   climate warming.

   Despite uncertainty, experts generally agreed that climate-related loss of favorable snow
   conditions (amount, consistency, and duration), loss of boreal forest, and potentially increased
   bobcat competition and hybridization are likely to reduce the probability of lynx persistence in
   this unit. Experts expressed uncertainty about the likelihood and severity of future insect
   outbreaks (and how this could affect future lynx habitat) and the potential introduction and
   spread of diseases.

   Taking all of these factors into consideration, experts provided “most likely” persistence
   probabilities of 88 to 100 percent (median = 96 percent) in the near-term (year 2025), 60 to 90
   percent (median = 80 percent) at mid-century, and 10 to 60 percent (median = 35 percent) at
   the end of the century (fig. 11). As they did for most other geographic units, all experts indicated
   an initially high and subsequently decreasing likelihood that resident lynx will persist in this unit,
   with uncertainty increasing substantially over time.




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   Figure 11. Lynx expert estimates of the probability that the Northeastern Minnesota
   Geographic Unit will continue to support resident lynx in the future (at years 2025, 2050,
   and 2100).

   Service Evaluation of Factors Potentially Influencing Future Conditions

   Regulatory Mechanisms - In Minnesota, the vast majority of lynx habitat that supports a long­
   term persistent lynx breeding population is administered by the SNF. This area includes
   designated critical habitat (79 FR 54782). The SNF consults with the FWS to consider the
   effects of any projects on lynx and its critical habitat and is anticipated to do so as long as the
   species is listed under the ESA. The SNF is currently implementing the 2004 SNF Plan (USFS
   2004a, entire), which has direction based on the LCAS (Ruediger et al. 2000, entire) and the
   Canada Lynx Conservation Agreement (CA) between the Forest Service and the Service (USFS
   and USFWS 2000, entire), for all forest activities that occur within LAUs. Active management of
   forest lands can maintain, restore, or create lynx habitat, and the SNF has a long-term
   commitment to doing so. If the SNF continues to follow vegetation and wildland fire
   management and other applicable recommendations in accordance with the LCAS (including
   consideration of new scientific information as it becomes available) in its Forest Plan, we expect
   that several risk factors will continue to be minimized and managed to promote the conservation
   of lynx within the SNF into the future. Management of lynx and its habitat on SNF land will
   remain in place until the forest amends or revises its LRMP. We expect that management


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   direction for lynx addressing vegetation management, wildland fire management, and habitat
   fragmentation on National Forest System lands will be incorporated into the revised or amended
   Forest Plans (LRMPs). Although management of lynx habitat and lynx conservation efforts on
   the SNF could change in the future if the DPS was not listed, the species would be placed on
   the Regional Forester’s Sensitive Species list for a minimum of 5 years, which gives it a higher
   priority than other species for monitoring and management during that time.

   The Chippewa and the Chequamegon-Nicolet National Forests occur outside the Northeastern
   Minnesota geographic unit and the area considered to be core lynx habitat (i.e., where lynx are
   persistent and are reproducing). However, because lynx occasionally occur on these forests,
   the Forest Plans for both also include direction based on the LCAS and the CA between the
   Forest Service and the Service for all forest activities that occur within LAUs (USFS 2004b,
   entire; USFS 2004c, entire). These 2 forests consult with the FWS to consider the effects of any
   projects on lynx and are anticipated to do so as long as the species is listed under the ESA. It is
   unclear if lynx habitat management and conservation efforts on these national forests would
   change if the DPS was not listed in the future.

   Additionally, the Minnesota Department of Natural Resources (MNDNR) manages
   approximately 36 percent of the lynx habitat in this unit, and privately-owned lands make up
   about 16 percent of the unit. Under the Sustainable Forest Resource Act of 1995 (revised in
   2014), the Minnesota Forest Resources Council (MNFRC) has developed guidelines for site­
   level timber harvesting and forest management (MNFRC 2013, entire; MNFRC 2014, entire).
   These voluntary guidelines are intended for private and State landowners and include some
   general recommendations for wildlife but are not specific to lynx (MNFRC 2014, pp. 4-5). It is
   expected that the MNFRC guidelines will remain in place into the future and that voluntary
   actions will continue. Private landowners, however, do not have an official commitment to land
   management. We cannot say with any certainty what proportion of privately owned land will
   follow those guidelines into the future, because following the guidelines is voluntary. The
   MNFRC guidelines are less comprehensive and are not specific to lynx, and therefore may not
   be as beneficial to lynx and lynx habitat as the lynx and hare specific direction followed by the
   Forests.

   The NPS manages Voyageurs National Park, which is also within the Minnesota unit.
   Voyageurs National Park protects an area of 882 km2, of which 534 km2 (62 percent) is covered
   by forests and other uplands (Moen et al. 2012, p. 348), but does not have lynx specific
   direction in its management plan (NPS 2002, entire). The National Park consults with the FWS
   to consider the effects of any projects to lynx (NPS 2002, p. 26) and is anticipated to do so as
   long as the species is listed under the ESA. Lynx documented on and near Voyageurs National
   Park are probably transient animals (Moen et al. 2012, p. 348).

   Approximately 1 percent of the Minnesota unit is managed by the Grand Portage Band of
   Chippewa, which has been actively working on lynx conservation since 2004. Timber sales and
   harvest practices on the reservation follow an integrated plan for priority wildlife management,
   sustainable economic development, and recreational uses. The Band’s timber management


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   practices benefit snowshoe hares (Deschampe 2008, entire) and are expected to continue into
   the future.

   In response to a 2008 court ruling, the MNDNR drafted a plan (currently under review by the
   Service) to minimize the likelihood that lynx would be incidentally trapped during otherwise legal
   trapping of other furbearers in Minnesota. As described above in section 3.1.2, the MNDNR
   designated a Lynx Management Zone (LMZ) where it enforces special trapping regulations to
   minimize the incidental take of lynx (MNDNR 2016a, pp. 53-55). In 2015, the MNDNR als issued
   emergency trapping rules in the LMZ mandating additional restrictions on the types of traps that
   may be used (MNDNR 2015, entire) to further reduce the likelihood of incidental take. If the
   DPS was not listed, we expect that the State would continue efforts to reduce incidental trapping
   of lynx. Although we consider it unlikely, it is possible that State-managed trapping of lynx could
   resume in the future if the DPS was not listed.If that were to occur, we assume the State would
   proceed only after demonstrating the level of harvest the population could sustain and carefully
   developing, enforcing, and monitoring a strict trapping quota system to ensure that harvest level
   would not be exceeded.

   Climate Change - The direct and indirect effects of climate warming are expected to affect lynx
   in Minnesota (Siren in Lynx SSA Team 2016a, pp. 15 and Moen in Lynx SSA Team 2016a, p.
   19) and could restrict their future range. As described in section 3.2, new information on
   regional climate change and potential effects to lynx habitat that has become availalbe since the
   DPS was listed suggests that lynx distribution and habitat is likely to shift northward in latitude
   and upward in elevation within its currently occupied range as temperatures increase. Because
   of its generally flat topography, this geographic unit presents little opportunity for elevational
   migration of lynx and lynx habitat. Other protential impacts of climate change include (1)
   diminishing snow depth, quality, and duration, perhaps resulting in increased competition from
   bobcats, coyotes, and other terrestrial hare predators and increased hybridization with bobcat,
   (2) conversion of spruce-fir to northern hardwoods, and (3) potential future isolation of resident
   lynx in this unit because of diminishing forest conditions in southern Ontario.

   Gonzalez et al. (2007, pp. 8, 12-19) predicted the persistence of boreal forest and historical
   (1961-1990) snow suitability for lynx (95 percent historical and future probability of suitable
   snow) in this unit through 2071-2100, and suggested that the SNF could provide a potential
   refugium for lynx. Notaro et al. (2015, pp. 1668-1669) projected changes in lake effect snowfall
   using downscaled climate models (Abdus Salam International Centre for Theoretical Physics
   (ICTP) Regional Climate Model version 4 (RegCM4; Elguindi et al. 2011 and Giorgi et al. 2012
   as cited in Notaro et al. 2015) for the Great Lakes Basin. Siren (in Lynx SSA Team 2016a, p.
   15) stated that climate models show an increase in lake effect snow in the eastern Great Lakes
   until 2050, with a decline later in the century, with an overall decline in the amount and duration
   of snowpack in the Midwest.

   Historical lynx records occurred in areas with at least 4 months (120 days) of continuous snow
   coverage (Gonzalez et al. 2007, p. 7). In northern Minnesota from 1959-1979, the number of
   days with snow cover > 2.5 cm (1 in) ranged from 130 to 160 days; > 15 cm (6 in), from 85 to


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   130 days; > 30 cm (12 in), from 50 to 100 days; and > 61 cm (24 in), from 10 to 30 days
   (Kuehnast et al. 1982, pp. 7-9). In the future, Notaro et al. (2015, p. 1675) projected a general
   reduction in the frequency of heavy lake-effect snowstorms during the twenty-first century, with
   the exception of projected mid-century increases around Lake Superior when local air
   temperatures are expected to remain low enough for precipitation to fall largely in the form of
   snow. The snow season in the Great Lakes basin is likely to become substantially compressed
   during the twenty-first century with dramatic increases in rainfall (Notaro et al. 2015, pp. 1676­
   1678). The Minnesota unit may be more vulnerable to snowpack loss due to lack of elevational
   refugia (Siren In Lynx SSA Team 2016a, p. 15).

   Normal annual snowfall from 1981-2010 in northeastern Minnesota ranged from 140 to 241
   cm/yr (55 to 95 in/yr)26 and is projected to decline across the Great Lakes Basin in the future
   (Notaro et al. 2015, p. 1675). Snow conditions favorable for lynx (depth, consistency, and
   persistence) are projected to deteriorate in the Great Lakes Region. Notaro et al. (2015, pp.
   1671-1674) projected a dramatic decline of Great Lakes ice cover that will become confined to
   the northern shallow lakeshores during mid-to-late winter by the end of the century. Ultimately,
   this leads to increased rainfall, not snowfall, as these projected reductions in ice cover and
   greater dynamically induced wind fetch lead to enhanced lake evaporation and total lake-effect
   precipitation (Notaro et al. 2015, pp. 1674-1678).

   Climate change is projected to cause some northward contraction of boreal conifer forest in
   Minnesota (Gonzalez et al. 2007, p. 16, 18), with some potential loss of habitat at the southern
   portion of lynx habitat in the State but persistence of boreal forest in this geographic unit
   (Gonzalez et al. p. 2007, p. 19). Gonzalez et al. (2007, pp. 8, 13) also projected that
   northeastern Minnesota, including the SNF, would continue to have snow conditions suitable for
   lynx at the end of the century, and may serve as a refugium for lynx in the Lower 48 States.
   However, Moen (In Lynx SSA Team 2016a, p. 19) questioned this result, noting that the
   Gonzalez et al. model predicted a much larger distribution of suitable snow conditions than the
   area currently occupied by lynx in Minnesota. Moen presented preliminary snow modeling
   results that project snow conditions suitable for lynx could shrink significantly by 2055, be limited
   to extreme northeastern Minnesota by 2070, and could be entirely absent from the state by
   2095 (Moen and Catton In Lynx SSA Team 2016a, p. 19). Frelich (In Lynx SSA 2016, p. 14),
   concluded that Minnesota could lose the boreal biome completely, possibly within the next 60 to
   70 years, with unmitigated climate change. Similarly, Galatowitsch et al. (2009, pp. 2015-2016)
   concluded that the boreal forest of the Northern Superior Uplands (which encompass this
   geographic unit) will likely be lost by 2069 as a result of warmer summers and more frequent
   and longer droughts associated with climate change. If a refugium for lynx does persist in this
   unit in the future, it would likely only consist of the small area in Cook County (the extreme
   northeastern corner of the unit) with slightly higher elevations (518-701 m [1,700-2,300 ft) than
   the majority of the area that is now considered lynx core habitat and would, therefore, support a
   much smaller number of resident lynx than likely occur in the unit now. Although uncertainties
   remain, as elsewhere, about the timing and magnitude of future climate-driven impacts, lynx

   26 http://www.dnr.state.mn.us/climate/summaries_and_publications/normals_snow_1981_2010.html ;
   accessed 5.24.2016.

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   populations in Minnesota are expected to recede northward and decline over the next century
   (Lynx SSA Team 2016a, pp. 37-38).

   Vegetation Management - Vegetation management similar to that conducted under current
   Forest Plans will likely continue into the future on Forest Service lands in Minnesota as long as
   the DPS is listed. These activities include timber harvest (thinning, clear-cutting, shelterwood,
   partial cut, and uneven-aged cutting); wildlife restoration projects that involve tree cutting,
   shearing, burning, seeding, and planting; prescribed burning for ecological purposes, hazardous
   fuel reduction, and site preparation; and mechanical site preparation. If the DPS is de-listed, the
   species would be placed on the Forest’s Regional Forester Sensitive Species list for a minimum
   of 5 years, which gives it a higher priority than other species for monitoring and management
   during that time; however, it is unclear what the forest management would entail during or after
   that period of time.

   Vegetation, timber, and minerals management authorized under current Forest Plans in
   Minnesota have the potential to adversely affect lynx and lynx critical habitat by reducing habitat
   quality for denning, foraging, and dispersal; disrupting travel, resting, and foraging patterns;
   disturbing denning females; and reducing habitat quality for lynx prey species, especially
   snowshoe hares. Depending on the timing, frequency, intensity, extent, amount, or other
   conditions, impacts may be variable among similar projects. Using the LCAS as a basis, the
   Forest Plans have incorporated a number of components that would reduce the risk of those
   impacts into the future. We expect that management direction for lynx addressing vegetation
   management on National Forest System lands in the future will be incorporated into revised or
   amended forest plans, using LCAS as a basis. Future Forest Plan revisions will likely maintain
   broad direction to design and implement vegetation management projects to maintain or restore
   conditions for lynx foraging and denning habitat and to maintain or improve juxtaposition of
   required habitat types and connectivity.

   Over the long term, the Forest Plan will alter vegetation patterns on the landscape. Suitable
   hare habitat was predicted to decrease over time with implementation of the Forest Plan, but
   has actually increased since 2004 (USFWS 2011b, p. 51). Management activities that create
   unsuitable conditions for hare generally include clear-cut and seed tree harvest, and might
   include management-ignited fire, mechanical site preparation, salvage harvest, and shelterwood
   and commercially-thinned harvest, depending on unit size and remaining stand composition and
   structure. Suitable hare habitat is predicted to remain above the range of natural variation,
   which is essentially a description of conditions that existed prior to European settlement (1600 -
   1900 A.D.) of the area (USFS 2004a, p. 105). Further, unsuitable habitat for lynx would vary
   only slightly with continued implementation of the Forest Plan and would remain distinctly below
   the maximum of 15 percent unsuitable in a decade prescribed in the LCAS and incorporated
   into the Forest Plan. Current (2010) unsuitable habitat levels are below what was predicted in
   the 2004 (USFWS 2011b, pp. 51-52). Because suitable habitat on National Forest System lands
   alone is such a high percentage within LAUs and the SNF is the majority landowner within most
   LAUs, we expect that in the future, the Forest would not approach the LCAS maximum of 30



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   percent of lynx habitat on all ownerships in an unsuitable condition within an LAU at any time,
   which would be ensured by corresponding guidance in the Forest Plan.

   Wildland Fire Management - Unlike the Maine unit, the susceptibility of the Minnesota unit to fire
   may be reduced by periodic spruce budworm outbreaks. Measurable defoliation from spruce
   budworms has occurred in Northeastern Minnesota continuously since 1954 and is expected to
   continue into the future (Russell and Albers 2016, entire). Modeling to evaluate the relative
   strength of interactions between spruce budworm outbreaks and fire disturbances in the
   BWCAW showed that budworm disturbance can partially mitigate long-term future fire risk by
   periodically reducing live ladder fuel within the forest types of the BWCAW but will do little to
   reverse the compositional trends caused in part by reduced fire rotations there (Sturtevant et al.
   2012, pp. 1286-1292). The SNF manages for wildfires through preventative measures such as
   fuels reductions, but does not manage for wildfires in the BWCAW. Natural successional
   changes and those associated with natural phenomena, such as wildfire or windstorms, are the
   dominant force in BWCAW ecosystems and are expected to continue to be in the future.

   Habitat Fragmentation - Ravenscroft et al. (2010, p. 329) considers northeastern Minnesota
   forest landscape as largely unfragmented. The BWCAW remains intact and contiguous with
   Canada. Within the SNF, natural disturbances and vegetation management activities make up
   most of the annual human-caused fragmentation in actively managed portions of the Forest.
   These areas typically re-vegetate within 3 to 5 years, depending on the forest type and number
   and type of activities (USFS 2011a, p. 119). The SNF’s Forest Plan (USFS 2004a, Appendix E)
   provides direction on limiting lynx habitat fragmentation and the Forest actively consolidates
   habitat through land acquisitions and exchanges. The Forest direction limiting habitat
   fragmentation is expected to continue as long as the DPS is listed.

   Fragmentation, Development, and Human Access - Throughout the SNF and northern
   Minnesota, human activities have reduced connectivity between patches of suitable lynx habitat.
   Development for residential and commercial uses, as well as roads, railroads, and utility
   corridors have all interrupted linkage corridors. Still, much of the land within the Forest remains
   undeveloped and lynx habitat remains relatively intact and well connected. This is particularly
   true on the SNF, which has a “high standard” road density of roughly 0.45 mi/mi2 outside the
   BWCAW.

   Human access to lynx habitat occurs by foot and motorized vehicle, including recreational and
   off-road motor vehicles (RMVs and ORVs), and generally occurs on trails, low standard roads,
   and temporary roads developed for management operations, particularly timber harvests, and
   more recently, minerals exploration. While open, these roads provide access to lynx habitat. As
   northern Minnesota has become more developed and the human population has increased, the
   SNF has sustained increased visitation in recent years (USFS 2011a, p. 5) which increases the
   opportunity for human-lynx encounters, especially by trappers. Lynx are likely to continue to be
   incidentally trapped at the current rate as a result of continued access via low standard roads
   and trails on the Forest. Any corridor open to RMVs provides the potential for Forest visitors to
   incidentally trap, shoot, or collide with lynx. Temporary road construction for minerals


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   exploration projects may contibute significantly to temporary road densities and increase human
   access during the time the roads are being used. Temporary roads in mineral exploration
   projects may stay open longer (1-15 years) than those predicted by the Forest Plan EIS for
   resource management (1-5 years). If these sites are left accessible to the public, then human­
   lynx conflicts may increase. Additionally, intersections of new roads, closed temporary roads
   and/or roads open to the public are likely to become parking areas for cars, which would
   indirectly increase public access. Further, these corridors could increase potential competition
   through increased snow compaction. Effective road closures, however, may reduce the potential
   effects to lynx and their habitat.

   Energy and Mineral Development - Mining (e.g., iron ore and taconite mining) is occurring at
   several locations in or near the lynx core habitat area in northeastern Minnesota (MNDNR
   2016c, entire). Large-scale mining operations on non-Forest land could result in irreversible or
   irretrievable loss of lynx and hare habitat. Minerals exploration has increased and is occurring at
   many locations in northeastern Minnesota, which may lead to more large-scale mining projects.
   Vegetation clearing for minerals exploration projects may have temporary impacts to lynx and
   hare habitat at drill pad sites, although impacts from pad sites are expected to be minimal and
   temporary because the foot print of individual drill pads is typically small and the cleared land is
   expected to re-vegetate. Drill pad site preparation includes vegetation clearing on small patches
   of land (average of approximately 0.6 ha [1.6 ac]). This cleared land may provide snowshoe
   hare habitat after it has time to revegetate. Mineral exploration activities use existing Forest
   roads but also may require construction of new roads and may potentially add a significant
   number of road miles. Land exchanges associated with proposed mining sites could result in a
   loss of lynx and hare habitat under Forest management, but may also result in consolidation or
   gain of habitat with newly acquired lands (e.g, the Forest may able to consolidate lands that
   they can then manage for lynx). Stone quarry extraction operations are also scattered
   throughout the unit (MNDNR 2016c, entire) and may impact lynx and hare habitats.

   Conclusion

   We concur with the expert panel that this unit is very likely to continue to support resident lynx in
   the near-term (2025) and mid-term (2050). However, after reviewing the scientific literature
   concerning climate change projections (diminishing snow conditions, northward contraction of
   boreal forest, lack of elevational refugia, potential for increased competition, disease, and insect
   outbreaks), some Core Team members were less optimistic about the future of lynx in
   Minnesota than the lynx expert panel. Depending on future emissions levels, the likelihood that
   this unit will continue to support resident lynx at the end of the century may be lower than the 35
   percent (median most likely) estimate based on expert opinion. The threat for which the lynx
   was listed, lack of specific conservation direction, associated regulations, and lynx forest
   management planning has not been addressed on private lands in Minnesota, except through
   voluntary guidance. There is some uncertainty about the future of forest management and future
   development on private forest lands in Minnesota and in adjacent lands in Ontario, although
   there are some basic voluntary management guidelines for private lands in Minnesota. Further,
   if the DPS is de-listed, there is uncertainty whether the lynx direction on Forest lands would


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   continue into the future. It is projected that habitat will diminish and recede northward over the
   mid- to longer-term because of continued climate warming. Hybridization and competition with
   bobcat also may increase with diminishing snow conditions because of continued climate
   warming, and it is uncertaint how insect outbreaks or disease may affect habitat and lynx in this
   unit.

   The Core Team believes the Minnesota lynx populations would be expected to decline more
   rapidly in a future scenario without Federal listing. The lynx is designated as a species of special
   concern (MNDNR 2013, p. 2), a less restrictive designation than state threatened or
   endangered. There is a closed season on lynx, and it is expected that intentional take would
   continue to be prohibited until the population reached sustainable levels defined by the state. In
   Minnesota, the large proportion of lynx core area owned by the Forest Service provides a nexus
   for USFWS review of Forest projects under section 7 of the Endangered Species Act (i.e., there
   is rarely federal funding spent on forestry and no federal permits required for forest
   management on private lands), which would be lost post de-listing. Because of their Federal
   listing, Canada lynx are recognized as a priority species for planning by Federal, Tribal, State,
   and private forest landowners. Voluntary guidelines that consider the Federal listing status may
   guide private landowners to consider measures to help conserve listed species in the future.
   Without Federal listing driving voluntary conservation guidelines, however, there could be
   reduced incentive for some private forest landowners to intentionally engage in forest
   management to benefit lynx. With current Federal listing, there is a nexus for the USFWS to
   review other projects in northeastern Minnesota (e.g., Army Corps of Engineers permits for
   wetland impacts) for new highways, transmission lines, large-scale energy development,
   mining, and residential and commercial development. Without Federal-listing, the agencies
   funding or permitting these projects would not be required to consider impacts to lynx and
   designated critical habitat. The Core Team concludes that a future scenario without Federal
   listing would likely result in increased habitat loss and fragmentation and reduced incentive for
   habitat protection initiatives in northeastern Minnesota.

   Lynx would be at greater risk without Endangered Species Act section 9 prohibitions against
   take. In a future scenario without Federal listing, Minnesota’s incidental take planning effort for
   trapping would become moot, likely resulting in diminished protective measures to minimize
   injury, take, and mortality of lynx. Even with these prohibitions and protections, incidental
   trapping of 16 lynx has been reported in Minnesota since listing, resulting in at least 6
   mortalities. It is uncertain if lynx would become a legally trapped furbearer in Minnesota if the
   DPS was not listed (although a legal wolf hunt was reinstated after that species was delisted in
   Minnesota, so regulated trapping could also be considered for lynx if the DPS was not listed).
   Seven lynx have been illegally shot and reported or otherwise discovered since listing. Illegal
   shooting and non-reporting could increase without Federal protection. Education efforts by
   Federal and State agencies and law enforcement agents may have helped to reduce illegal
   shooting of lynx in this unit. With a diminished snow regime, populations of bobcats could
   increase and expand north and eastward into areas currently occupied by lynx. Incidental take
   of lynx from bobcat trapping and hunting activities would likely increase without Federal listing.
   Similarly, fisher, fox, and coyote populations may increase in a diminished snow regime in


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   northern Minnesota and trapping would be expected to occur there that could lead to greater
   incidental take of lynx. We believe that despite a closed hunting and trapping season, incidental
   take would continue and possibly increase and could become a significant stressor to a
   population of lynx that could be substantially diminished between mid- and late-century.

   After considering the best available scientific information, including the opinions of lynx experts
   summarized above, the Core Team was less optimistic than the experts about the long-term
   (end-of-century and beyond) likelihood that resident lynx will persist in this geographic unit. All
   potential stressors -climate change, habitat loss and fragmentation, mining and development -
   are increasing in frequency, intensity, and extent. Lynx habitat in the next few decades will likely
   shift north to areas that will be more influenced by climate change and northward range
   expansion by bobcats. Thus, we conclude that this unit’s ability to support resident lynx will
   likely diminish in the future, and the lynx population will likely decline as the quantity and quality
   of boreal forest habitat declines. Although there are voluntary forest management measures to
   consider listed species on private forest lands, there are no commitments by private forest
   landowners to manage specifically for lynx conservation. We also believe that climate change
   will be a significant stressor to lynx in this unit; slightly more so than expressed by most of the
   experts. Snow depth and duration in the area currently supporting resident lynx are projected to
   decline significantly by the end of the century, likely to the detriment of both hare and lynx
   populations. Unlike most other units, as snow condition decline there is little potential for
   elevational refugia for lynx in Minnesota except, perhaps, a small area of slightly higher
   elevation in the extreme northeastern corner of the unit. The boreal forest in this unit is already
   being replaced by northern hardwoods because of climate warming. Frequent forest cutting and
   disturbance, including a potential insect outbreak, could accelerate conversion to northern
   hardwoods. We acknowledge that the rate of boreal decline is uncertain, but note that some of
   the modeling we reviewed suggests that the spruce-fir forest type could nearly disappear from
   Minnesota by late-century under both low and high emissions scenarios. Climate models also
   portend declining snow conditions under low- and high-emissions scenarios. Because increases
   in temperature are thus far tracking high emissions scenarios, we are less optimistic for snow
   conditions that favor lynx by mid- to late-century. In the past decade, interest in development
   has increased in lynx critical habitat, especially proposals for large-scale mining developments.
   Although we expect resident lynx to persist in this unit through 2025 and 2050, we conclude that
   the stressors described above, individually and cumulatively, could diminish lynx habitat and
   numbers in this unit. If these stressors are not abated, we believe that resident lynx in this unit
   will face a slightly greater risk of extirpation by the end of the century than was predicted by lynx
   experts.

   5.2.3 Unit 3 - Northwestern Montana/Northeastern Idaho

   Expert Projections of Lynx Persistence

   When considering the probability that this unit would continue to support resident lynx in the
   future, experts noted that despite projected losses of favorable forest and snow conditions,
   climate models project that some boreal forest will persist in this unit and that it will maintain

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   some areas of suitable snow into the future. Experts also noted that lynx in this unit primarily
   occupy public lands, which are actively managed for lynx into the future. Experts also
   considered recent and projected future increases in wildfire frequency, size, and intensity (Lynx
   SSA Team 2016a, pp. 41-43). Additionally, because of its connectivity to lynx populations and
   habitats in Canada, its large geographic extent, and the relatively large number and broad
   distribution of resident lynx it is thought to support, experts felt that future extirpation of lynx from
   this unit from either reduced genetic health or a catastrophic event is unlikely (Lynx SSA Team
   2016a, pp. 25-34).

   Overall, experts assigned a higher likelihood of persistence in this unit compared to the other
   geographic units. Most lynx habitats in this unit occur on Federal lands that are managed for
   lynx conservation, but 1 expert noted that little has been done to document whether lynx are
   responding to this management. The recent sale of large tracts of private commercial
   timberlands in the central part of this unit to The Nature Conservancy has increased protection
   for lynx via conservation easements managed for lynx. Habitats in some areas should improve
   in the near future as previously cut or burned areas mature into dense stands. Unlike the Maine
   and Minnesota geographic units (but similar to most other western units), high elevations in this
   unit could buffer the effects of climate change by providing for the upslope migration of lynx
   habitats and snow conditions that climate models predict. However, this would result in even
   patchier and more isolated islands of habitat in high elevation areas that would be more prone
   to extirpation from catastrophic or stochastic events. Competition from coyotes and bobcats
   seem to be less of a concern for this unit.

   This unit has unimpeded connectivity with Canada, but some experts questioned whether this
   geographic unit depends on intermittent immigration of lynx from Canada, and whether the
   historical lynx population cycles in Canada believed to have fueled such immigration are still
   occurring or will into the future. There doesn’t appear to be much demographic input from recent
   cycles. There is evidence of lynx from this unit moving north into Canada, but little evidence of
   demographic interactions among the 3 subpopulations (Purcell Mountains, Seeley Lake, and
   Garnet Mountains) in this unit. Experts noted that the Garnet Mountains subpopulation at the
   southern end of this unit may have recently become extirpated (a single lynx was later
   [February, 2016] confirmed by DNA analysis in this area, suggesting the potential for natural
   recolonization of this range, but no other lynx were documented during winter 2016/2017).

   Discussion among experts indicated that fire was more of a concern for this unit. Increased fire
   extent and severity or other catastrophic events and small subpopulation effects in separated
   mountain ranges could affect lynx persistence in the future in some parts of this unit. Fire
   exclusion in this area for the last 100 years likely resulted in the accumulation of fuels; however,
   this unit may have a reduced probability of a catastrophic fire over time because of recent
   changes in management and recent fires that may have reduced fuels. Out to the year 2050
   and beyond, some experts felt there may be more pressure on lynx populations in this unit from
   continued increases in fire extent and severity. Other experts expressed a different opinion of
   the overall effect of fire in this unit, indicating that it may actually improve habitat over time, and



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   that whether fires improve or degrade habitat depends on the frequency, intensity, size and
   spatial extent of future fires.

   Experts discussed the possibility for increased precipitation and warmer temperatures in this
   unit because of climate change, and how this might affect lynx habitats. Boreal/subalpine forest
   may move up in elevation as described above; however, experts expected a shift in forest
   composition and diminished lynx habitat quality in the future with climate change. It is unknown
   how much the distribution of dry ponderosa pine (non-habitat for lynx) will increase with climate
   change, but it is likely to happen at some level. One expert cautioned that some climate
   modelers estimated that vegetation will lag about 50 years behind the projected changes in
   temperature and precipitation. Snow levels in lower elevation areas are already decreasing in
   some areas, which could lead to smaller areas for lynx to use in winter in the future.

   Taking all of these factors into consideration, experts provided “most likely” persistence
   probabilities of 95 to 100 percent (median = 98 percent) in the near-term (year 2025), 70 to 100
   percent (median = 90 percent) at mid-century, and 50 to 90 percent (median = 78 percent) at
   the end of the century (fig. 12). As they did for most other geographic units, all experts indicated
   an initially high and subsequently decreasing likelihood that resident lynx will persist in this unit,
   with uncertainty increasing substantially over time.

                                  NW Montana & NE Idaho




                                                                                     Protkability
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   Figure 12. Lynx expert estimates of the probability that the Northwestern
   Montana/Northeastern Idaho Geographic Unit will continue to support resident lynx in
   the future (at years 2025, 2050, and 2100).

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   Service Evaluation of Factors Potentially Influencing Future Conditions

   Regulatory Mechanisms - Federal, State, and Tribal regulations and land management direction
   could change in the future, but such changes and their potential impacts on lynx populations
   and habitats are difficult to predict. Because most (84 percent) of this geographic unit consists
   of Federal lands, the regulations and guidance that govern management of those lands have
   the greatest potential to influence future lynx habitats and populations in this unit. When Forest
   Service, Park Service, and BLM management plans are revised or amended, they require
   opportunities for public participation in accordance with several statutes (e.g., the National
   Environmental Policy Act [NEPA], National Forest Management Act [NFMA], National Parks and
   Recreation Act, Federal Land Policy and Management Act [FLPMA]; USFWS 2014 pp. 26-34,
   also see 3.1). If plan amendments or revisions may affect listed species, management agencies
   must consult with the Service in accordance with section 7 of the ESA. If in the future the lynx
   DPS is determined by the Service to no longer warrant listing under the ESA (i.e., if the DPS is
   removed from the Federal Lists of Endangered and Threatened Wildlife and Plants), the ESA
   requires the Service, in cooperation with the States, to monitor the DPS for a minimum of 5
   years to assess its ability to sustain itself without the ESA's protective measures. If, within the
   designated monitoring period, threats to the DPS change or unforeseen events affect its
   stability, then the DPS could be relisted or the monitoring period extended. Given these
   requirements, we expect that future Federal management direction will continue to include
   regulations and guidance protective of lynx, although specific measures may change as new
   information becomes available.

   We anticipate that future Federal management direction will include continued management of
   national parks, designated wilderness and roadless areas, and other areas with
   nondevelopmental land-use allocations to maintain natural ecological processes, which should
   maintain natural disturbance regimes and landscape-level habitat mosaics to which lynx are
   adapted (although continued climate warming [see below] may preclude maintenance of
   historical disturbance and landscape patterns). Regardless of the future listing status of the
   DPS, these lands will continue to be managed in accordance with the acts described above, as
   well as the National Park Service Organic Act and the Wilderness Act.

   We also expect that Federal management into the future will include continued management of
   lands with developmental allocations to avoid or minimize potential impacts of vegetation
   management (timber harvest, thinning, salvage logging, other silvicultural prescriptions),
   wildland fire management (fire suppression, fuels reduction, prescribed fires), energy
   exploration and development, recreation, or other management activities with the potential to
   affect lynx. Current and likely future objectives include (1) managing vegetation to mimic or
   approximate natural disturbance and succession processes while maintaining habitat
   components necessary for lynx conservation; (2) providing a mosaic of habitat conditions
   through time that supports dense horizontal cover, high hare densities, and winter hare habitat
   in both young regenerating and mature multi-story forest stands; (3) using fire (natural and
   prescribed) to restore ecological process and maintain or improve lynx habitat, and (4) focusing
   vegetation management in areas with potential for improving winter hare habitat (BLM 2004a,


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   pp. 2-3; USFS 2007, Attachment 1, p. 2). Although specific standards and guidelines may
   change as new scientific information and management techniques become available, we
   anticipate continued Federal management designed to conserve or restore the capacity of the
   areas that historically or recently supported resident lynx populations, including the
   Northwestern Montana/Northeastern Idaho Geographic Unit, to continue to do so in the future.

   On non-Federal lands (about 16 percent of this unit), as described above (sections 3.1.1 and
   4.2.3, Habitat Status), recent acquisitions and conservation easements on some of the private
   lands in this unit will also reduce the likelihood of future adverse impacts to important lynx
   habitats. Similarly, the MTDNRC HCP includes a 50-year commitment to manage most (64
   percent) State lands in this unit to conserve lynx foraging, denning, and connectivity habitats.
   Additionally, the Confederated Salish and Kootenai Tribe’s objective to manage wildlife and
   habitats on the Flathead Reservation for future generations (section 3.1.2, Tribal Management)
   suggests continued management to conserve lynx habitats on Tribal lands.

   Given the commitments and management objectives and practices described above,
   implementation of current and future regulatory mechanisms will likely continue to support
   conservation and restoration of lynx habitats in this unit and improve the likelihood that it will
   continue to support resident lynx into the future.

   If the DPS was not listed, it is possible that State-managed trapping could resume in this and
   perhaps other geographic units. We expect that would only occur if scientific evidence strongly
   suggested the presence of a harvestable surplus of lynx and that harvest quotas would be
   carefully managed to ensure that the viability of resident lynx populations would not be
   diminished.

   Climate Change - The recent evidence of climate change and the numerous mechanisms by
   which continued warming may affect future conditions for lynx and the potential consequences
   for the DPS and specific geographic areas are described in detail in section 3.2. Also, as noted
   above in section 4.2.3, evidence of warming and related impacts (increased temperatures,
   reduced snowpack, earlier snowmelt, and increased drought leading to increased fire) have
   already been documented in the Northern Rocky Mountains, including this geographic unit.
   Climate projections suggest these impacts are likely to continue and to result in future northward
   and upslope contractions of the snow conditions and boreal/subalpine vegetation communities
   that support lynx. This is expected to cause loss and increased fragmentation and isolation of
   lynx and hare habitats and, therefore, declining and more vulnerable lynx populations in the
   DPS and in this geographic unit (Carroll 2007, entire; Gonzalez et al. 2007, entire; ILBT 2013,
   pp. 69-71; 79 FR 54810-54811; Lawler and Wilsey in Lynx SSA Team 2016a, pp. 15-16; Siren
   in Lynx SSA Team 2016a, p. 15).

   Snow conditions in this unit are projected to become less favorable, with an overall decrease in
   snowpack after mid-century as a result of a shorter snowfall season, fewer days with snowfall,
   and a lower proportion of winter precipitation in the form of snow (more as rain; Siren in Lynx
   SSA Team 2016a, p. 15). In this unit, the probability of snow conditions comparable to those


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   associated with historical lynx occurrence records is modeled to decline from 90-95 percent
   from 1961-1990 to 50 percent across much of the unit by the end of this century (years 2071­
   2100), although some parts of this unit are projected to retain favorable snow conditions
   (Gonzalez et al. 2007, pp. 12-14; Lynx SSA Team 2016a, pp. 15, 41). Tennant et al. (2015, pp.
   2818-2820) simulated snowpack loss in the Northern Rockies (ID, MT, WY) and predicted that
   watersheds between 1,000 - 2,000 m (3,281 - 6,562 ft) elevation would experienced the
   greatest snowpack losses, while those > 2000 m (6,562 ft) would be more resilient to significant
   warming. Given the greater predicted snowpack persistence at some elevations used by lynx in
   this unit and the considerable area of potential climate refugia in mountainous terrain
   (Dobrowski 2011, pp. 1027-1029; Curtis et al. 2014, entire; Holden et al. 2015, entire; Morelli et
   al. 2016, entire), at least a portion of lynx distribution in this unit is likely resilient to climate-
   driven losses in snowpack (IDFG 2017a, p. 7).

   There will likely be a lag time between the loss of favorable snow conditions and an eventual
   shift or contraction in vegetative communities (Lynx SSA Team 2016a, pp. 43, 59; also see
   section 3.2), but continued warming is projected to convert much of the boreal forest in this unit
   to temperate conifer forest by the end of the century (Gonzalez et al. 2007, pp. 15-17). The
   ability of lynx and hare populations to persist during this lag and to adjust to future habitat
   distributions is uncertain, but habitat quality, quantity, distribution, and connectivity are expected
   to decline, likely compromising this unit’s future ability to support resident lynx populations.

   Climate change has also been linked to increased wildfire size, frequency, and intensity in this
   geographic unit, and to increased frequency and extent of forest insect outbreaks in other parts
   of the DPS. These factors are likely to have temporary impacts on future lynx habitat, with
   regeneration to hare and lynx foraging habitat 20-40 years post-disturbance, depending on local
   climate, elevation, and topography. However, if extensive areas are affected, the ability of these
   landscapes to continue supporting resident lynx may be compromised, and lynx populations
   may be unable to persist until favorable vegetation conditions return. This is especially true
   where habitats and populations are naturally fragmented and patchily-distributed, and where
   landscape-level hare densities are already marginal, which appears to be the case for much if
   not all of this geographic unit.

   Climate change has also been implicated in observed declines in the amplitude of northern hare
   and lynx population cycles (Yan et al. 2013, p. 3269). If lynx populations in this geographic unit
   are influenced (as is suspected) by intermittent immigration from the north, and if climate
   change diminishes the likelihood of future immigration via muted northern lynx population
   cycles, the future persistence of resident lynx in this unit is uncertain (see also Other Factors,
   below).

   Given the factors described above, recent and projected future climate warming will likely
   reduce this geographic unit’s ability to continue to support resident lynx into the future. The
   timing and magnitude of climate-driven impacts are uncertain; however, all are anticipated to
   adversely affect, and none are expected to benefit, lynx populations in this geographic unit.
   Climate model uncertainties and resolution limits, combined with our imperfect understanding of


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   historical and current lynx numbers and habitat distributions, preclude quantifying future habitat
   quality and distribution or lynx population dynamics in this unit. Nonetheless, it appears likely
   that continued climate warming will reduce future habitat quality and quantity and, therefore, the
   likelihood that this geographic unit will support resident lynx in the future.

   Vegetation Management - Future vegetation management and, therefore, its implications for
   future lynx habitats and populations in this unit, are closely linked to the current and future
   regulatory mechanisms described above. As noted, we expect future vegetation management
   on all Federal and most non-Federal lands in this unit to continue to focus on maintaining and
   restoring lynx habitats by implementing standards, guidelines, and BMPs based on the best
   available scientific information. We expect these measures to continue to benefit lynx by limiting
   detrimental effects of timber harvest, thinning, fuels management, etc., and by encouraging the
   use of these activities to restore, improve, or create high-quality hare and lynx foraging habitats
   where feasible.

   Wildland Fire Management - As noted in sections 3.4 and 4.2.3, past wildfire management,
   including fire suppression, does not appear to have altered the historical fire regime in lynx
   habitats in the western contiguous United States, including this geographic unit. Also as noted
   there and in sections 3.1.1 and the Regulatory Mechanisms section of this chapter, current
   Federal management restricts, with few exceptions, fire management (fuels reductions,
   prescribed fires, etc.) impacts to lynx habitats, and it promotes the use of such activities and
   wildfire response to conserve and restore lynx and hare habitats. We expect such conservation-
   focused fire management to continue and, therefore, to benefit lynx rather than to affect them
   detrimentally in the future.

   However, as also noted in section 4.2.3, increased wildfire frequency, size, and intensity have
   been documented in this geographic unit, and that pattern is anticipated to continue in the future
   with continued climate warming. Although this increased wildfire activity does not appear to
   have diminished this unit’s current ability to support resident lynx, it could do so in the future
   depending on the location, timing, and extent of future fires. As described in section 3.4,
   increases in fire frequency and size could rapidly convert large areas to the temporarily
   unsuitable stand-initiation successional stage, thus reducing the amount and altering the
   distribution of higher-quality habitats and potentially compromising this unit’s ability to support a
   resident lynx population until burned habitats recover. Because lynx habitats are naturally
   patchily-distributed and landscape-level hare densities already marginal in many parts of this
   unit, it is possible that very large wildfires or many fires over a short time period could shift some
   parts of this unit from being just barely capable of supporting resident lynx to being incapable of
   doing so in the future. Although fire suppression was considered a potential risk factor for lynx in
   the DPS range, given the trends discussed above and the likely continued increase in future fire
   activity resulting from continued climate warming and drying, it may be necessary to reconsider
   whether fire suppression in some lynx habitats could benefit lynx by reducing the potential for
   extirpation of resident populations, especially in places already apparently only marginally
   capable of supporting them.



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   Habitat Loss/Fragmentation - As described above in section 4.2.3, lynx habitats in this unit are
   naturally fragmented but otherwise appear to be largely intact relative to historical conditions in
   most of this geographic unit. Although some localized impacts of past timber harvest and related
   activities have likely occurred, anthropogenic habitat loss or fragmentation does not appear to
   have broadly diminished this unit’s ability to support resident lynx. Current and probable future
   management for conservation of lynx habitats suggests that broad-scale habitat loss or
   fragmentation resulting from timber harvest and other development activities are unlikely. The
   most likely sources of future habitat loss and fragmentation in this unit are the climate-mediated
   influences discussed above: increased wildfire activity and the projected contraction of
   vegetation and snow conditions favorable for lynx. Increased frequency, size, and severity of
   forest insect outbreaks, also driven by climate warming, has been documented in other
   geographic units and could occur in this unit in the future, too, resulting in temporary habitat loss
   and increased (though also temporary) fragmentation.

   Additional highway construction and other transportation developments are likely in this unit, but
   the future locations, size, and potential impacts of such projects are difficult to predict. We are
   not currently aware of plans for specific major highway/road projects in this unit that would
   potentially impact lynx habitats and increase future habitat loss or fragmentation. Other potential
   sources of future habitat loss and fragmentation include recreation, minerals/energy
   development, and backcountry roads and trails; these are all considered second tier
   anthropogenic influences (ILBT 2013, pp. 78-85) that are unlikely to exert population-level
   influences, despite potential impacts to individual lynx.

   Other Factors: Connectivity/immigration - As described above and in section 4.2.3, maintaining
   connectivity between this geographic unit and lynx populations in Canada is thought to be
   important, although it is uncertain if or to what degree immigration of lynx from Canada is
   essential to the persistence of lynx in this unit. A number of climate-mediated factors have been
   suggested as contributing to changes in the periodicity and amplitude of northern lynx and hare
   population cycles (see section 3.2), which could alter the timing and magnitude of lynx
   immigration into the contiguous United States from Canada. If lynx populations in this unit rely
   on immigration from Canada which is no longer occurring or has been substantially reduced
   relative to historical conditions, population declines and a reduced probability of persistence
   among resident populations would be expected.

   Although the extent to which this factor may influence lynx populations in this unit is unknown,
   the population growth rate estimated for the Seeley Lake area (A = 0.92, declining trend 1999­
   2007; Squires in Lynx SSA Team 2016a, p. 20) may reflect a gradual decline of a resident lynx
   population that needs but is not receiving adequate immigration. If this growth rate was applied
   continuously to a hypothetical resident population of 250 lynx (the midpoint of the range in the
   number of resident lynx this geographic unit may support based on expert opinion [Lynx SSA
   Team 2016a, p. 41]), the population would decline to 100 lynx after 11 years, about 50 lynx after
   20 years, and roughly 20 individuals after 30 years. Vulnerability to demographic,
   environmental, and genetic stochasticity would increase as lynx numbers decreased, resulting
   eventually in an increased likelihood of functional extirpation of lynx from this unit (i.e., a lower


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   probability that the unit would continue to support a persistent resident lynx population).
   However, Schwartz (2017, p. 4) noted that very low immigration rates (less than 1 female/year
   on average for a theoretical population of 100 lynx) could provide population stability or even
   growth, suggesting that the Seeley Lake population and perhaps other DPS populations are
   probably being sustained by low levels of undetected immigration. Additionally, as noted above,
   the lynx population in the Purcell Mountains in the northwestern part of this unit was estimated
   to be increasing (A = 1.16, 2003-2007; Squires in Lynx SSA Team 2016a, p. 20) over the last 4
   years of the period for which the Seeley Lake population was estimated to be declining. In the
   absence of information on historic, recent, and likely future rates of immigration and its
   contribution to the persistence of lynx populations in this geographic unit, impacts of potentially
   reduced future immigration are difficult to project and are largely speculative at this time.

   Conclusion

   After reviewing the scientific literature and evaluating the factors that may influence lynx
   persistence in this unit, we concur with the experts’ conclusion that this geographic unit is likely
   the most secure in the DPS. We conclude that it is very likely to continue to support resident
   lynx in the short term (through 2025) and through mid-century, although the number of lynx, the
   amount and distribution of high-quality habitat, and landscape-level hare densities are all likely
   to decline by mid-century as a result of continued climate warming and associated impacts. We
   also agree that this unit is more likely than not to support some resident lynx at the end of this
   century, although at that time we expect lynx numbers and distribution would be substantially
   reduced from the current condition and would, therefore, be more vulnerable to demographic,
   environmental, and genetic stochasticity and to catastrophic events, resulting in diminished
   resiliency. We acknowledge that under a status quo or increasing greenhouse gas emissions
   scenario the rate of climate-mediated loss, fragmentation, and isolation of habitat could,
   perhaps in concert with other factors (e.g., continued increases in wildfire size, frequency, and
   intensity and decrease in or complete loss of immigration from Canada), result in the functional
   extirpation of resident lynx from this unit before the end of the century. We also acknowledge,
   however, that there is great uncertainty with all persistence predictions that far into the future.

   5.2.4 Unit 4 - North-central Washington

   Expert Projections of Lynx Persistence

   Compared to most other units, expert predicted a lower probability of persistence for this unit
   over the short term, and then a similar declining trajectory, with increasing uncertainty, by the
   end of the century, reflecting a more pessimistic outcome for this geographic unit than most
   other units (Lynx SSA Team 2016a, pp. 43-45). Experts felt that the probability of lynx
   persistence in this unit could decrease sharply over the next 10-20 years because of extensive
   recent fires in lynx habitats and the time needed for these areas to regenerate back to good
   hare/lynx habitat. However, 1 expert predicted an increase in persistence probability by mid­
   century as habitats impacted by recent large-scale fires regenerate into optimal hare-lynx


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   habitat. After that, the probability could rebound (or decline more slowly) over the longer term as
   these large areas return to prime habitat providing high hare densities.

   Experts agreed that the current small population is likely at greater risk of extirpation because of
   stochastic events, particularly if large fires in lynx habitat continue to occur in the near future as
   they have in the recent past. A small population also could be more susceptible to disease,
   though no diseases have been documented among lynx in this unit. Experts discussed the
   extent to which small lynx populations could be reduced before they would become highly
   susceptible to stochastic demographic effects. It was suggested that 15-20 breeding individuals
   might be the minimum needed to avoid such susceptibility. Unimpeded connectivity between
   Canada and this unit could allow lynx to repopulate recently burned areas after the habitat
   recovers. Lynx in this unit are likely the southern portion of a larger population in Canada, not
   really a separate, isolated small population. Factors that influenced expert persistence
   probabilities for this unit included fire, habitat loss, and the future loss of favorable snow
   conditions predicted by climate change models.

   Taking these factors into consideration, experts provided “most likely” persistence estimates of
   60 to 95 percent (median = 80 percent) in the near-term (year 2025), 30 to 80 percent (median
   = 70 percent) at mid-century, and 5 to 50 percent (median = 38 percent) at the end of the
   century (fig. 13). Compared to most other geographic units, experts indicated greater
   uncertainty regarding short-and mid-term term persistence in this unit but, as for other units,
   uncertainty was greatest at the end of the century.




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                                      Washington




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                                                                                      HighEst
                                                                                      Moat Likely
                                                                                      LewEst




   Figure 13. Lynx expert estimates of the probability that the North-central Washington
   Geographic Unit will continue to support resident lynx in the future (at years 2025, 2050,
   and 2100).

   Service Evaluation of Factors Potentially Influencing Future Conditions

   Regulatory Mechanisms - As described above (section 4.2.4), regulatory mechanisms currently
   in place guide forest management in this geographic unit for lynx conservation. We do not
   anticipate that existing regulatory protections for lynx would diminish appreciably in the future
   even if the DPS was no longer listed. On USFS lands, we anticipate that either the CA will
   remain in place (and/or be extended), or the OWNF and CNF will revise or amend their
   respective LRMPs to incorporate direction for lynx management similar to the formally amended
   LRMPs that have been implemented on all other national forests in the DPS range (see section
   3.1.1). Currently, both the OWNF and CNF are in the process of amending or revising their
   LRMPs. We expect that management direction for lynx conservation addressing vegetation
   management, wildland fire management, and habitat fragmentation on National Forest System
   lands will be incorporated into the revised or amended LRMPs. We expect that both the OWNF
   and CNF will be required to manage for lynx and their habitat into the future because both
   forests will have incorporated lynx management direction into their respective LRMPs. We
   acknowledge that LRMPs can be amended or revised; however, LRMPS are typically in place
   for 15 years or longer, and the Service, other Federal and State agencies, and the public would
   have opportunities to comment on any proposed amendments or revisions to LRMPs through

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   the NEPA process. Therefore, we expect that both the OWNF and CNF will continue managing
   for lynx and their habitat into the future regardless of the DPS’s listing status.

   On State lands in this unit, the WADNR has committed to implementing its Lynx Habitat
   Management Plan until lynx are delisted or until 2076, whichever is shorter (WADNR 2006, p.
   6). Additionally, the WADNR’s internal policies encourage consideration of lynx habitat on lands
   it manages including participating in efforts to recover and restore endangered and threatened
   species, providing upland wildlife habitat, and establishing Riparian Management Zones. In
   accordance with legal obligations specified in the State’s Forest Resource Plan, the WADNR
   will contribute to the future of Washington's lynx population by improving habitat conditions and
   reducing the likelihood of adverse effects on the habitat it manages (WADNR 2006, p. 6).
   Therefore, although some protections for lynx could be relaxed in the future if the DPS was not
   listed under the ESA, we anticipate that both Federal and State regulators would continue to
   manage for lynx conservation in this geographic unit.

   Climate Change -Recent warming likely contributed to recent increases in wilfire activity in this
   unit and is likely to continue to do so in the future. Westerling et al. (2006, pp. 942-943)
   compiled information on large wildfires in the western United States from 1970-2004 and found
   that large wildfire activity has increased significantly from the mid-1980s with higher large-
   wildfire frequency, longer wildfire duration, and longer wildfire seasons. The greatest increases
   occurred in high elevation forest types including lodgepole pine and spruce fir in the northern
   Rockies (i.e., lynx habitat). They also found that fire exclusion (suppression) had little impact on
   natural fire regimes; rather, climate appeared to be the primary driver of increasing wildfire risk.

   Koehler’s (1990a, p. 847) estimated adult lynx density of 2.3 lynx/100 km2 was obtained in an
   area supporting high-quality lynx habitat in the Meadows area of north central Washington (at
   least relative to other lynx habitat in Washington). Much of the lynx habitat in the Meadows was
   impacted by the recent large, stand replacing fires, resulting in further fragmentation of lynx
   habitat in the northern Cascades. Thus, the lynx densities Koehler observed in his study area
   may not be currently supported, because as habitat becomes more fragmented and isolated
   (i.e., marginal), the carrying capacity for a particular species declines.

   As in other units, continued climate warming is projected to cause northward and upward shifts
   in spruce-fir habitats and snow conditions thought to favor lynx. In addition to potentially
   affecting fire return intervals, fire severity (intensity, size), and insect outbreaks, climate change
   is likely to affect the amount of precipitation falling as snow at elevations typically supporting
   lynx habitat in this geographic unit. Climate change is expected to impact the quantity, quality,
   and duration of snow in the Cascades. Mote (2003b, pp. 272, 274), who evaluated temperature
   trends in the Pacific Northwest using data collected by weather stations from 1930 to 1995,
   determined that the temperature increased in the Pacific Northwest and more precipitation fell in
   the spring and summer months, especially at elevations below 1,800 m (5,900 ft). Additionally,
   Mote (2003a, pp. 2-3) determined that an increasing temperature and precipitation trend from
   1950 to 2000 is correlated with a 40 percent decrease in the snow water equivalent in the
   Cascades. Mote et al. (2005, p.45) determined that the Cascades are very sensitive to


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   temperature changes, with large increases in temperature potentially resulting in significant
   declines in snowpack. Corroborating Mote’s results, Stoelinga et al. (2010, p. 2474) determined
   that the Cascade snowpack has declined by up to 40 percent in the latter half of the twentieth
   century, which resulted from increased temperatures. Furthermore, temperatures are predicted
   to continue increasing by 2° to 5°C (3.6° to 9°F) over the next century and are expected to
   cause further and accelerated losses in snowpack in the Cascades (Mote et al. 2005, p. 48).
   Continued declines of snowpack in the Cascades through 2025 are predicted to range from 9
   percent (Stoelinga et al. 2010, p. 2486) to 29 percent (Elsner et al. 2010 cited in Stoelinga et al.
   2010, p. 2486), which may also affect lynx densities supported in the Cascades.

   Finally, some of the best lynx habitat in this geographic unit occurs on plateaus that may be
   more vulnerable to impacts of climate change because of the absence of higher elevation areas
   to which habitats and lynx could migrate in response to climate warming (Lynx SSA Team
   2016a, p. 42). Thus, in addition to the recent losses of lynx habitat to large wildfires, coupled
   with increasing wildfire risk, the potential for the Cascades to support a viable lynx population
   may be further reduced because of projected climate-mediated decreases in snow quantity and
   quality. Overall, our review of the published literature on this subject leads the Core Team to
   conclude that climate change poses the greatest risk to the long-term persistence of lynx in this
   geographic unit.

   Conclusion

   After considering the best available scientific information and the opinions of lynx experts
   summarized above, the Core Team generally agrees with the experts that this geographic unit,
   like most others, has a relatively high likelihood of continuing to support a resident lynx
   population over the short-term (2025) and at mid-century (2050), but a lower probablility of
   doing so, with more uncertainty, by the end of the century (2100). As described above, the
   potential effects of climate change on the quantity and quality of snow, as well as the projected
   northward and upslope movement of spruce-fir and subalpine fir forests are likely to result in
   further fragmentation and reduction of lynx habitat within this geographic unit by the end of the
   century. More fragmented and smaller habitat patches are likely to support a smaller and more
   isolated lynx population that will be more vulnerable to stochastic environmental and
   demographic events. Over the past 25 years, wildfires have reduced lynx habitat in this
   geographic unit by almost 40 percent and likely reduced its carrying capacity for lynx by a
   similar amount. Additional future losses of lynx habitat resulting from climate-driven increases in
   wildfire size, frequency, and intensity may pose the greatest near-term threat to the persistence
   of this population. Connectivity between this unit and Canada is likely to remain intact in the
   future. Because lynx are highly mobile and able to traverse large areas of non-lynx habitat, we
   do not anticipate that climate change, in and of itself, will significantly affect connectivity
   between this geographic unit and the larger lynx population in southern British Columbia. This
   connectivity may contribute to maintaining a persistent, albeit smaller, lynx breeding population
   in this geographic unit into the future.




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   5.2.5 Unit 5 - Greater Yellowstone Area

   Expert Projections of Lynx Persistence

   Current and future factors expressed by experts as influencing probability of persistence for this
   unit included small population size, forest disease and insect pests, and fire (Lynx SSA Team
   2016a, pp. 45-46). Some experts doubt that the GYA unit currently supports a resident breeding
   population of lynx. Experts indicated that climate models predict that some parts of the GYA unit
   could provide refugia from climate change impacts because of their high elevations and
   potential to maintain winter snow levels into the future. Summer conditions in this unit, however,
   could be drier in the future, resulting in increased fire frequency, extent, and intensity, and
   additional temporary habitat loss. However, regeneration of these areas and the extensive
   areas that have burned in the recent past may provide good habitat over the next several
   decades. Some experts suggested that lynx emigrating to this unit from Colorado could occupy
   such improved habitats in the near future. Colorado lynx have made exploratory movements
   into the GYA in summer months, and analysis of available data could improve our
   understanding of Colorado lynx movement into and use of the GYA. It is possible that lynx from
   Colorado could maintain lynx in GYA.

   Taking these factors into consideration, experts provided “most likely” persistence estimates of
   10 to 70 percent (median = 52 percent) in the near-term (year 2025), 15 to 60 percent (median
   = 35 percent) at mid-century, and 5 to 50 percent (median = 15 percent) at the end of the
   century (2100; fig. 14). Unlike other units, the expert graphs for this unit were widely variable
   and had high uncertainty at all time frames. This was the only unit for which most experts
   believed the current probability of persistence is low (i.e., that it is uncertain whether this area
   currently supports a resident lynx population). Some experts increased persistence likelihoods
   into mid-century based on the possibility that large areas impacted by the 1980s-era wildfires
   may by then regenerate into hare/lynx habitat, and on possible continued dispersal of lynx from
   Colorado into this unit. Unlike other units, where expert confidence in their predictions was
   initially high but decreased greatly beyond mid-century, expert uncertainty in this unit was high
   for all timpe periods and was related to uncertainty about whether resident lynx currently occur
   in the GYA.




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                                  Greater Yellowstone Area




                                                                                     Probability
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                                                                                         West Likely
                                                                                         L-E?b'iest




   Figure 14. Lynx expert estimates of the probability that the Greater Yellowstone Area
   Geographic Unit will continue to support resident lynx in the future (at years 2025, 2050,
   and 2100).

   Service Evaluation of Factors Potentially Influencing Future Conditions

   Regulatory Mechanisms - As noted above in section 5.2.3, Federal, State, and Tribal
   regulations and land management direction could change in the future, but such changes and
   their potential impacts on lynx populations and habitats are difficult to predict. Federal lands
   account for over 97 percent of this geographic unit; therefore, regulations and guidance that
   govern management of those lands have the greatest potential to influence future lynx habitats
   and populations. Also as described above, revisions or amendments to Federal management
   plans require opportunities for public participation in accordance with NEPA, NFMA, National
   Parks and Recreation Act, and FLPMA (USFWS 2014 pp. 26-34; also see 3.1) and consultation
   with the Service in accordance with section 7 of the ESA. If the DPS is delisted in the future, the
   ESA requires a minimum of 5 years of monitoring to assess its ability to sustain itself without the
   ESA's protective measures. If, during that time, threats to the DPS change or unforeseen events
   affect its stability, then the DPS could be relisted or the monitoring period extended. Given these
   requirements, we expect that future Federal management direction will continue to include
   regulations and guidance protective of lynx, although specific measures may change as new
   information becomes available.


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   We anticipate that future Federal management direction will include continued management of
   national parks, designated wilderness and roadless areas, and other areas with
   nondevelopmental land-use allocations to maintain natural ecological processes, which should
   maintain natural disturbance regimes and landscape-level habitat mosaics to which lynx are
   adapted (although continued climate warming [see below] may preclude maintenance of
   historical disturbance and landscape patterns). Regardless of the future listing status of the
   DPS, these lands will continue to be managed in accordance with the acts described above, as
   well as the National Park Service Organic Act and the Wilderness Act.

   We also expect that Federal management into the future will include continued management of
   lands with developmental allocations to avoid or minimize potential impacts of vegetation
   management (timber harvest, thinning, salvage logging, other silvicultural prescriptions),
   wildland fire management (fire suppression, fuels reduction, prescribed fires), energy
   exploration and development, recreation, or other management activities with the potential to
   affect lynx. Current and likely future objectives include (1) managing vegetation to mimic or
   approximate natural disturbance and succession processes while maintaining habitat
   components necessary for lynx conservation; (2) providing a mosaic of habitat conditions
   through time that supports dense horizontal cover, high hare densities, and winter hare habitat
   in both young regenerating and mature multi-story forest stands; (3) using fire (natural and
   prescribed) to restore ecological process and maintain or improve lynx habitat, and (4) focusing
   vegetation management in areas with potential for improving winter hare habitat (USFS 2007,
   Attachment 1, p. 2; BLM 2008, pp. A18-10 - A18-15; BLM 2010, pp. A-9 - A-12). Although
   specific standards and guidelines may change as new scientific information and management
   techniques become available, we anticipate continued Federal management designed to
   conserve or restore potential lynx habitats in this geographic unit in the future.

   Given the commitments and management objectives and practices described above,
   implementation of current and future regulatory mechanisms will likely continue to support
   conservation and restoration of lynx habitats in this unit and improve the likelihood that it will
   support resident lynx into the future. Because non-Federal lands make up such a small
   proportion of this geographic unit, we believe it is unlikely that regulatory mechanisms on those
   lands will influence this unit’s future ability to support resident lynx.

   If the DPS was not listed, State-managed trapping could resume in this geographic unit, as
   elsewhere. We expect that would occur only if scientific evidence strongly suggested the
   presence of a harvestable surplus of lynx and that harvest quotas would be carefully managed
   to ensure that the viability of resident lynx populations would not be diminished.

   Climate Change - The recent evidence of climate change and the numerous mechanisms by
   which continued warming may affect future conditions for lynx and the potential consequences
   for the DPS and specific geographic areas are described in detail in section 3.2. Also, as noted
   above in section 4.2.5, evidence of warming and related impacts (increased temperatures,
   reduced snowpack, earlier snowmelt, and increased drought leading to increased fire) have
   already been documented in the Northern Rocky Mountains, including this geographic unit.


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   Climate projections suggest these impacts are likely to continue and to result in future northward
   and upslope contractions in the snow conditions and boreal and subalpine vegetation
   communities that support lynx. This is expected to cause loss and increased fragmentation and
   isolation of lynx and hare habitats and, therefore, declining and more vulnerable lynx
   populations in the DPS and in this geographic unit (Carroll 2007, entire; Gonzalez et al. 2007,
   entire; ILBT 2013, pp. 69-71; 79 FR 54810-54811; Lawler and Wilsey in Lynx SSA Team 2016a,
   pp. 15-16; Siren in Lynx SSA Team 2016a, p. 15).

   Snow conditions in this unit are projected to become less favorable, with an overall decrease in
   snowpack after mid-century as a result of a shorter snowfall season, fewer days with snowfall,
   and a lower proportion of winter precipitation in the form of snow (more as rain; Siren in Lynx
   SSA Team 2016a, p. 15). In this unit, the probability of suitable snow conditions is projected to
   decline from 90-95 percent from 1961-1990 to 50 percent across much of the unit by the end of
   this century (years 2071-2100), though some parts of this unit are projected to retain adequate
   snow (Gonzalez et al. 2007, pp. 12-14; Lynx SSA Team 2016a, pp. 15, 46). There will likely be
   a lag time between the loss of favorable snow conditions and an eventual shift or contraction in
   vegetative communities (Lynx SSA Team 2016a, pp. 43, 59; also see 3.2), but continued
   warming is projected to convert much of the boreal forest in this unit to temperate conifer forest
   by the end of the century (Gonzalez et al. 2007, pp. 15-17). The ability of lynx and hare
   populations to persist during this lag and to adjust to future habitat distributions is uncertain, but
   habitat quality, quantity, distribution, and connectivity are expected to decline, likely further
   compromising this unit’s ability to support resident lynx populations, which is already
   questionable.

   Climate change has also been linked to increased wildfire size, frequency, and intensity in this
   geographic unit, including the extensive fires in Yellowstone National Park in 1988, which
   burned over one-third of the park. Climate warming has also been linked to increased frequency
   and extent of forest insect outbreaks in other parts of the DPS. These factors are likely to have
   temporary impacts on lynx habitat, with regeneration to hare and lynx foraging habitat 20-40
   years post-disturbance, depending on local climate, elevation, and topography. However, if
   extensive areas are affected, the ability of landscapes in the GYA to support resident lynx may
   be further compromised, and resident lynx may be unable to persist until favorable vegetation
   conditions return. This is especially true where potential habitats are naturally fragmented and
   patchily-distributed, and where landscape-level hare densities are already marginal, which
   appears to be the case for much of this geographic unit.

   Climate change has also been implicated in observed declines in the amplitude of northern hare
   and lynx population cycles (Yan et al. 2013, p. 3269). If lynx populations in this geographic unit
   are influenced by intermittent immigration from the north, and if climate change diminishes the
   likelihood of future immigration via muted northern lynx population cycles, the future persistence
   of resident lynx in this unit is uncertain (see also Other Factors, below).

   Given the factors described above, recent and projected future climate warming will likely further
   reduce this geographic unit’s ability to support resident lynx into the future. The timing and


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   magnitude of climate-driven impacts are uncertain; however, all are anticipated to adversely
   affect, and none are expected to benefit, lynx and habitats in this geographic unit. Climate
   model uncertainties and resolution limits, combined with our imperfect understanding of
   historical and current lynx numbers and habitat distributions, preclude quantifying future habitat
   quality and distribution or lynx population dynamics in this unit. Nonetheless, it appears likely
   that continued climate warming will further reduce habitat quality and quantity and, therefore,
   the likelihood that this geographic unit will support resident lynx in the future.

   Vegetation Management - Future vegetation management and, therefore, its implications for
   future lynx habitats and populations in this unit, are closely linked to the current and future
   regulatory mechanisms described above. As noted, we expect future vegetation management
   on all Federal lands in this unit to continue to focus on maintaining and restoring lynx habitats by
   implementing standards, guidelines, and BMPs based on the best available scientific
   information. We expect these measures to continue to benefit lynx by limiting detrimental effects
   of timber harvest, thinning, fuels management, etc., and encouraging the use of these activities
   to restore, improve, or create high-quality hare and lynx foraging habitats where feasible.

   Wildland Fire Management - As noted in sections 3.4 and 4.2.5, past wildfire management,
   including fire suppression, does not appear to have altered the historical fire regime in lynx
   habitats in the western contiguous United States, including this geographic unit. Also as noted
   there and in sections 3.1.1 and the Regulatory Mechanisms section of this chapter, current
   Federal management restricts, with few exceptions, fire management (fuels reductions,
   prescribed fires, etc.) impacts to lynx habitats, and it promotes the use of such activities and
   wildfire response to conserve and restore lynx and hare habitats. We expect such conservation-
   focused fire management to continue and, therefore, to benefit lynx rather than to affect them
   detrimentally in the future.

   However, as also noted in section 4.2.5, increased wildfire frequency, size, and intensity have
   been documented in this geographic unit, and that pattern is anticipated to continue in the future
   with continued climate warming. Although the extent to which increased wildfire activity has
   impacted this unit’s current ability to support resident lynx is uncertain, such impacts may
   become more likely in the future depending on the timing and extent of future fires. As described
   in section 3.4, increases in fire frequency and size could rapidly convert large areas to the
   temporarily unsuitable stand-initiation successional stage, thus reducing the amount and
   altering the distribution of higher-quality habitats and potentially compromising this unit’s ability
   to support resident lynx until burned habitats recover. Because lynx habitats are naturally
   patchily-distributed and landscape-level hare densities already marginal in many parts of this
   unit, it is possible that very large wildfires or many fires over a short time period could cause a
   shift in some parts of this unit from just barely capable of supporting resident lynx to incapable
   of doing so in the future. Although fire suppression was considered a potential risk factor for lynx
   in the DPS range, given the trends discussed above and the likely continued increase in future
   fire activity resulting from continued climate warming and drying, it may be necessary to
   reconsider whether fire suppression in some lynx habitats could benefit lynx by reducing the



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   potential for extirpation of resident populations, especially in places already apparently only
   marginally capable of supporting them.

   Habitat Loss/Fragmentation - As described above in section 4.2.5, lynx habitats in this unit are
   naturally fragmented but otherwise appear to be largely intact relative to historical conditions in
   most of this geographic unit. Although some localized impacts of past timber harvest and related
   activities have likely occurred, anthropogenic habitat loss or fragmentation does not appear to
   have broadly diminished this unit’s ability to support resident lynx. Current and probable future
   management for conservation of lynx habitats suggests that broad-scale habitat loss or
   fragmentation from timber harvest and other development activities are unlikely. The most likely
   sources of future habitat loss and fragmentation in this unit are the climate-mediated influences
   discussed above: increased wildfire activity and the projected contraction in vegetation and
   snow conditions favorable for lynx. Increased frequency, size, and severity of forest insect
   outbreaks, also driven by climate warming, has been documented in other geographic units and
   could occur in this unit in the future, too, resulting in temporary habitat loss and increased
   (though also temporary) fragmentation.

   Additional highway construction and other transportation developments are likely in this unit, but
   the future locations, size, and potential impacts of such projects are difficult to predict. We are
   not currently aware of plans for specific major highway/road projects in this unit that would
   potentially impact lynx habitats and increase future habitat loss or fragmentation. Other potential
   sources of future habitat loss and fragmentation include recreation, minerals/energy
   development, and backcountry roads and trails; these are all considered second tier
   anthropogenic influences (ILBT 2013, pp. 78-85) that are unlikely to exert population-level
   influences, despite potential impacts to individual lynx.

   Other Factors: Connectivity/immigration - This geographic unit is not directly connected to lynx
   populations in Canada or elsewhere in the DPS range, although lynx released into Colorado
   have dispersed northward into and through this unit. There is no reliable evidence of intermittent
   immigration into this unit during past irruptions of lynx from Canada, as has been documented in
   other parts of the contiguous United States, although anecdotal occurrence reports (see section
   2.3.2.2) may suggest a pulse of immigrants in the early 1970s during the second of 2
   unprecendented irruptions. Nonetheless, as elsewhere in the DPS, immigration may influence
   the persistence of resident lynx in this unit. If continued climate warming or other factors further
   reduce the chances that dispersing lynx will reach this unit and contribute to its demographic
   and genetic health, either through habitat loss and fragmentation in potential dispersal corridors
   or declines in the amplitude of northern hare and lynx population cycles, the likelihood that the
   unit will support resident lynx in the future may also decline. However, as in Unit 3 above,
   because we lack information of historic, recent, and likely future rates of immigration and its
   contribution to the persistence of lynx populations in this geographic unit, impacts of potentially
   reduced future immigration are difficult to project and are largely speculative at this time.




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   Conclusion

   After reviewing the scientific literature and evaluating the factors that may influence lynx
   persistence in this unit, we concur with the experts’ conclusion that this geographic unit is the
   least secure in the DPS. We find that conditions for lynx in this unit are naturally marginal, its
   historical or current ability to support a persistent resident lynx population are questionable, and
   continued climate warming and associated impacts are likely to further diminish its already
   limited ability to support resident lynx. We conclude that it may continue to occasionally or
   intermittently support a small number of resident lynx and some reproduction over the short
   term (through 2025), but that it is very unlikely to support a persistent resident population over
   that time frame, even less likely that it will do so at mid-century (2050), and highly improbable
   that this geographic unit will support resident lynx by the end-of-century (2100).

   5.2.6 Unit 6 - Western Colorado

   Expert Projections of Lynx Persistence

   Some experts indicated that beetle kill and fire could potentially create poor habitat conditions in
   large areas of this unit by mid-century, but that forest regeneration after these impacts could
   result in good lynx/hare habitats. Others expressed uncertainty about whether fire and insect
   impacts would be temporary or permanent, especially considering climate change and the
   potential for conversion from boreal/subalpine forests to other forest types. Higher-quality lynx
   habitat in this unit occurs primarily in 2 areas and is patchily-distributed. Lynx in this unit may
   occur as several smaller, relatively isolated subpopulations, which are likely more vulnerable to
   stochastic events. This unit’s relative isolation may limit exchange with other lynx populations,
   increasing the likelihood of genetic drift and reducing the chance of demographic rescue or
   recolonization if lynx in the unit become extirpated. There was discussion about whether ski
   areas may affect daily movements of lynx, and whether hares may be declining in ski areas.
   There is some evidence of lynx using ski areas in summer months but avoiding them during the
   ski season. Two-thirds to three-quarters of the lynx in this unit are in its southern portion in the
   San Juan Mountains. There is a large area (Weminuche Wilderness) that has not been well
   surveyed for lynx, so it is possible that lynx also could be using that area.

   Taking these factors into consideration, experts provided “most likely” persistence estimates of
   60 to 100 percent (median = 90 percent) in the near-term (year 2025), 50 to 85 percent (median
   = 80 percent) at mid-century (2050), and 20 to 70 percent (median = 50 percent) at the end of
   the century (2100; fig. 15). Most experts indicated an initially high and subsequently decreasing
   likelihood that resident lynx will persist in this unit, with uncertainty increasing substantially over
   time; however, experts also expressed substantial uncertainty over the near- and mid-term.




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                                         Colorado




                                                                                   Probability
                                                                                    O HighEst
                                                                                        Moat Likely
                                                                                    O LewEst




            2015   2025               2050                                 2100
                                             Year

   Figure 15. Expected probability of persistence for the Western Colorado Geographic Unit
   at present, 2015, and in 2025, 2050 and 2100.

   Service Evaluation of Factors Potentially Influencing Future Conditions

   Regulatory Mechanisms - Regulatory mechanisms for the conservation of lynx in the Southern
   Rockies consist of 7 amended USFS management plans in south-central Wyoming and
   Colorado. We concluded that the Southern Rockies Lynx Amendment substantively reduced the
   threat identified for previously inadequate regulatory mechanisms by addressing the major
   adverse impacts of Forest Service land management on lynx (USFWS 2008b, p. 70-71). Lynx
   habitat on all other ownerships makes up the remaining 15 percent of potential lynx habitat in
   Colorado, of which, only 5 percent is in Federal ownership. Other ownerships include state,
   county, municipal, etc., and private lands. Some BLM resource management plans have not
   been amended to include conservation specifically for lynx. Lynx habitat on BLM ownership
   mostly consists of narrow forest extensions connected to larger blocks of habitat on adjacent
   USFS lands. Generally these extensions are insufficient on their own to support a lynx home
   range. Additionally, the Gunnison Field Office is the only BLM unit that contains sufficient habitat
   to map and identify LAUs. The State of Colorado manages lynx as a State endangered species
   (C.R.S. 33-2-105), prohibiting take of the species with exceptions for protection of human life
   (C.R.S. 33-6-205) and incidentally during depredation management (not caused by lynx; C.R.S.
   33-6-207).


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   Climate Change -In the Southern Rockies, warmer winters, earlier spring snowmelt, and a
   reduction in the extent of snow cover are expected consequences of climate change (ILBT
   2013, p. 61). Using a variety of climate models, McKelvey et al. (2011, entire) predicted an
   overall 40 percent decline in persistent snow, but that snow would persist in large areas late in
   the 21st century, including the high elevations of Colorado.

   “All of the climate models under all representative concentration pathways (RCPs) project that
   Colorado’s climate will warm substantially by 2050. Under RCP 4.5 (medium-low emissions
   scenario), Colorado’s annual temperatures are projected to warm by 1.4° to 2.8°C (2.5° to 5°F)
   by mid-century relative to the observed 1971-2000 baseline. Under RCP 8.5 (high emissions
   scenario), Colorado’s annual temperatures are projected to warm by 1.9° to 3.6°C (3.5° to
   6.5°F) by mid-century. Summers are projected to warm slightly more than winters under both
   RCPs. Beyond mid-century, the warming trend is projected to continue into the late-21st century
   under all RCPs except RCP 2.6. By the period centered on 2070 (2055-2084), annual
   temperatures in Colorado are projected to warm under RCP 4.5 by 1.4° to 3.6°C (2.5° to 6.5°F)
   relative to the 1971-2000 baseline. Under RCP 8.5, the projected warming is 3.1° to 5.3°C (5.5°
   to 9.5°F) relative to the 1971-2000 baseline.” [Lukas et al. 2014, p. 61]

   An analysis of projected 21st century temperature trends as a function of elevation in the
   Northern Hemisphere mid-latitudes from CMIP5 models shows more warming at higher
   elevations during winter, particularly in the daily minimum temperature (Rangwala et al. 2013
   [cited in Lukas et al. 2014, p. 63]). “However, ^, the global climate models do not represent the
   topography of Colorado very well, so it is difficult to discern whether the warming projected for
   the higher elevation regions (> 10,000’) in the state is substantially different from that projected
   for lower elevations” (Lukas et al. 2014, p. 63).

   On average, the climate models indicate a seasonal shift in precipitation for Colorado, with
   increasing winter precipitation, and in some areas a decrease in late spring precipitation (Lukas
   et al. 2014, p. 65). Although recent climate projections suggest that snow water equivalent (the
   amount of water held in a given amount of snow) may decline less in Colorado than in other
   areas of the Southwest, it is nonetheless projected to decline by 26 percent by the end of this
   century (Garfin et al. 2014, p. 466). This will likely translate to a reduction in the areas that will
   continue to have snow conditions that provide a competitive advantage to lynx over bobcats and
   other hare predators. Additionally, when specifically modeling potential impacts of climate
   change on lynx, researchers concluded that potential snow and boreal forest habitat refugia
   were most likely to occur in the Bridger-Teton National Forest in northwestern Wyoming, the
   Superior National Forest in northeastern Minnesota, and across western Canada, while high-
   elevation parts of Colorado are among the areas vulnerable to the loss of potential lynx habitat
   in the long term (Gonzalez et al. 2007, pp. 4, 8). Decker and Fink (2014, pp. 66-69) concluded
   that spruce-fir habitats in Colorado are only moderately vulnerable to the effects of climate
   change by mid-century under a moderate emissions scenario. Even if suitable snow conditions
   persist in Colorado and boreal and subalpine forests move upslope with continued climate
   warming, the amount of potential lynx habitat, already considered patchy and relatively isolated,



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   will likely decrease, becoming even more patchy and isolated and less capable of supporting
   lynx populations over time (79 FR 54794-54795).

   We believe that continued climate warming will likely result in loss of favorable snow conditions,
   upslope migration of boreal forests, and increased frequency, size and intensity of wildlfires and
   forest insect outbreaks in this geographic unit. We believe these factors will exacerbate the
   naturally highly-fragmented distribution of potential lynx habitat in this geographic unit and
   further diminish what already appear to be marginal hare densities in most of this unit. As a
   result, we expect this unit’s ability to continue to support a resident lynx population will become
   more tenuous in the future than it is currently and likely was historically.

   Vegetation Management - In the past decade, vegetation management within lynx habitat has
   been predominantly salvage of dead and dying timber caused by a mountain pine beetle
   infestation in the northern part of the state (generally north of Interstate 70), and a spruce bark
   beetle infestation south of the interstate. Salvage operations may temporarily impact understory
   regeneration, if present, reducing the capacity of the stand to support higher snowshoe hare
   densities. Assuming the existing USFS plans retain their current conservation framework, USFS
   lands should continue to provide sufficient habitat for lynx through the end of the century.
   Vegetation management on the small amount of non-Federal ownerships within lynx habitat is
   unlikely to cause significant concern for lynx conservation in Colorado through the remainder of
   the century.

   Wildland Fire Management - “It is generally acknowledged that in the Southern Rocky
   Mountains fire suppression has altered historical vegetative patterns. This effect has been most
   pronounced within vegetation communities where fire regimes are of low intensity or mixed
   severity. It is generally agreed that spruce-fir habitats have been little affected by fire
   suppression because the fire regimes within this type tend to be stand-replacing events
   occurring at long intervals (100+ years). Depending on the moisture regime, large stand­
   replacing fires within lynx habitat may produce young age class snowshoe hare habitat after
   approximately 10-30 years. Although this vegetative condition may provide some high-quality
   snowshoe hare habitat, mature forests are also very important as winter foraging habitat.”
   (USFS 2008b, p. 36).

   Habitat Fragmentation - Sources of current habitat fragmentation include high-speed high-
   volume highways, high mountain valley developments, vegetation management, ski/recreation
   area development, and wildland fire. Currently, only vegetation management on USFS lands is
   managed to limit lynx habitat fragmentation. Highways are likely to be expanded to
   accommodate increasing traffic volume as mountain valley communities continue to develop
   and expand. While these linear features already exist on the landscape, widening of the cleared
   right-of-way, as well as lynx behavioral avoidance of highway rights-of-way because of
   increasing traffic volume reduces available habitat function for lynx. Many ski areas in Colorado
   are located within lynx habitat and will likely be expanded in the future through permanent
   removal of vegetation to create conventional ski runs, reducing tree density and clearing
   understory vegetation to create glade conditions, which reduces lynx habitat. The magnitude of


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   fragmentation caused by these sources has not been quantified, but is unlikely to remove
   enough lynx habitat to influence lynx persistence in Colorado.

   Conclusion

   Based on the best scientific information available, the Core Team is less optimistic than the
   expert panel about the future of lynx in western Colorado. Our uncertainty stems primarily from
   the historic record of lynx in Colorado, where evidence of lynx presence is questionable for
   much of the last century prior to CPW’s reintroduction program. In addition, several
   demographic parameters of this new population (proportion of females that produce kittens and
   kitten survival), are very low compared to other units (1 and 3) where these parameters have
   been estimated based on adequate sample sizes. Further, the naturally limited and fragmented
   habitats and generally low hare densities, which were apparently incapable of supporting
   persistent resident populations historically, are likely to worsen with continued climate warming.
   This unit’s greater distance and relative isolation from other lynx populations in the DPS and
   Canada, which may have prevented dispersing lynx from reaching this unit during the
   unprecedented irruptions from Canada into the northern contiguous United States in the early
   1960s and early 1970s, also cast doubt on the likelihood that this unit will receive the
   demographic and genetic support from the north that is thought to be important to the
   maintenance of DPS populations. Because of these factors and uncertainties, we doubt that
   resident lynx will persist in this unit through the end of the century (2100), although we concur
   with experts that lynx will persist over the short-term (2025) and possibly until mid-century
   (2050).

   We have considered the future of lynx in Colorado in the absence of the protections offered by
   the ESA. We believe that as long as the current regulatory mechanisms provided by the State of
   Colorado to prevent take of lynx and the USFS SRLA conservation framework remains in place,
   lynx are likely protected from take, and their habitat requirements likely met in a significant
   majority of the potential habitat within the state. Projected future climate warming is likely to
   result in reduction of available habitat and increased fragmentation resulting in larger areas of
   non-habitat between habitat blocks. Vegetative changes caused by climate change will likely
   reduce the amount of habitat in private and BLM ownership due to the anticipated upslope shift
   in vegetation that supports snowshoe hares and lynx.

   The movement capability of lynx is well documented, and lynx in Colorado will likely continue to
   exploit the available habitat despite gaps between functional habitat blocks. Colorado is isolated
   from source populations in the northern part of the range relative to the other units, which likely
   increases the possibility of genetic drift in this unit. Expert elicitation revealed some uncertainty
   whether ski areas or other development may affect connectivity within the unit. However, the
   Core Team is less concerned about this particular issue because we cannot foresee the
   development of barriers that would prevent lynx from accessing available lynx habitat in the
   future.




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   Chapter 6: Synthesis
   This section synthesizes the needs, current condition, and likely future condition of the Canada
   lynx in the contiguous United States DPS with respect to the conservation biology principles of
   representation, redundancy, and resiliency. Its purpose is to provide an understanding of the
   range-wide status of the DPS that is as clear as possible given irresolvable uncertainties
   regarding historical distribution and population sizes, as well as uncertainty about current
   population sizes and trends, other key demographic information (e.g., immigration and
   recruitment rates and their influence on population stability/persistence), and the timing and
   magnitude of projected climate-mediated impacts and other long-term stressors.

   Species’ Needs

   Throughout its range, the Canada lynx is a habitat and prey specialist requiring large (hundreds
   to thousands of square kilometers) boreal forest landscapes with dense horizontal cover and
   robust populations of its primary prey, the snowshoe hare. Resident lynx populations are
   generally restricted to areas with abundant hares and long (4+ months) winters with deep,
   persistent snow, which is believed to confer lynx a seasonal competitive advantage over other
   terrestrial predators of hares. Lynx in the contiguous United States have ecological
   requirements similar to those of lynx in Canada and Alaska, and throughout the species’ range
   hare abundance is the primary driver of lynx population dynamics. Recent research in the DPS
   range supports the hypothesis that hare densities consistently near or above 0.5 hares/ha (0.2
   hares/ac) are necessary to support persistent resident lynx populations (see section 2.2.1).
   However, the DPS is at the southernmost margin of the species’ range, where boreal forests
   transition to temperate conifer and hardwood forests, and where hare abundance and snow
   conditions generally become less favorable with decreasing latitude. Because of this, habitat is
   naturally less extensive and generally more fragmented within the DPS range than in the core of
   the species’ range in Canada and Alaska. As a result, lynx in much of the DPS range are
   naturally less abundant and more patchily-distributed than in the core of the species’ range
   (except during decadal lows in hare population cycles, when both hares and lynx occur
   temporarily in the north at densities lower than most in the range of the DPS). Maintaining
   connectivity with lynx populations in Canada is thought to be important to the persistence of
   DPS populations; however, whether, and if so to what extent, the demographic and/or genetic
   health of DPS populations relies on periodic immigration from Canadian populations remains
   uncertain.

   Current Conditions and Threats

   Resiliency, the ability to withstand stochastic disturbance events, and redundancy, the ability to
   withstand catastrophic events, are currently exhibited in the lynx DPS by the persistence of
   individual lynx populations and their broad distribution across the geographic scope of the DPS.
   Available information indicates that 5 out of 6 geographic units in the DPS (all but the GYA)
   currently contain resident breeding lynx populations. Although we lack precise historical and



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   current population-size estimates for all of the geographic units, lynx experts familiar with each
   unit provided their estimates of the number of resident lynx each unit could potentially support.

      •   Northern Maine (Unit 1) - This unit has likely supported resident lynx since at least the
          southward re-expansion of boreal spruce-fir forests into the northeastern United States
          during and following the Little Ice Age (see section 3.2). Currently, northern Maine is
          thought to support many more resident lynx than likely occurred historically, and many
          more than was known or suspected at the time the DPS was listed. This unit currently
          contains an unnaturally-high amount of high-quality hare habitat; the result of dense
          conifer regeneration following landscape-level clearcutting in the 1970s and 1980s in
          response to a large spruce budworm outbreak. These dense young regenerating conifer
          stands are much more extensive than they are thought to have been historically under
          natural disturbance regimes. However, habitat extent probably peaked in the late 1990s
          and early 2000s, and habitat quality is projected to decline in these stands over the next
          few decades as they age beyond 35-40 years post-harvest. This unit currently is thought
          to support the largest resident population in the DPS; perhaps 750-1,000 individual lynx
          (Vashon in Lynx SSA Team 2016a, p. 18). This geographic unit may also be the source
          of dispersing lynx that recently recolonized northern New Hampshire as well as several
          that temporarily established residency in northern Vermont. Some reproduction has
          been verified recently in both states, although neither was occupied when the DPS was
          listed, and resident lynx were thought to have been extirpated from New Hampshire.

      •   Northeastern Minnesota (Unit 2) - This unit supports many more resident lynx than was
          suspected when the DPS was listed, although how the current population compares to
          historical conditions is uncertain. When the DPS was listed, it was uncertain whether this
          unit supported any resident lynx or if historic records were of dispersing lynx associated
          with cyclic irruptions from Canada. Trapping records indicate strongly cyclic increases in
          lynx abundance in this unit in the 1930s through 1970s in association with decadal
          irruptions of lynx dispersing south from Canada. This unit currently supports a resident
          lynx population thought to number from 50-200 (Moen in Lynx SSA Team 2016a, p. 19).
          There is no information to suggest that this unit historically supported a larger resident
          population or a more extensive distribution of habitat capable of doing so.

      •   Northwestern Montana and Northeastern Idaho (Unit 3) - Recent research, monitoring,
          and habitat mapping refinements indicate that habitats capable of supporting resident
          lynx in this and other western geographic units are naturally less abundant and more
          patchily-distributed than was thought when the DPS was listed. For example, earlier
          estimates that western Montana supported 1,000 or more lynx were based on broad
          assumptions regarding habitat suitability and lynx distribution that are not supported by
          current understanding of lynx habitat requirements (see section 4.2.3). Currently, this
          unit is thought to be capable of supporting 200-300 resident lynx. How the current
          population compares to historical conditions is uncertain, but we find no evidence that
          this unit historically supported a larger resident population or a substantially broader
          distribution of habitat capable of doing so. Lynx habitats in this unit are naturally patchy

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           and fragmented due to topography and elevational and moisture (aspect) constraints.
           Wildfires have burned over 5,200 km2 (2,008 mi2; nearly 20 percent of the unit) of forest
           in this unit since 2000, although the amount that occurred in lynx habitat is uncertain.
           During the 2017 fire season alone, roughly 1,150 km2 (444 mi2; over 4 percent of the
           unit) burned, including the Rice Ridge and Reef fires, which together burned over 690
           km2 (267 mi2) in the core of the Seeley Lake population’s habitat27. Population-level
           impacts of these fires have not yet been demonstrated.

       •   North-central Washington (Unit 4) - Extensive wildfires over the past several decades
           have (probably temporarily) reduced the amount of high-quality lynx habitat and have
           likely caused a decline in lynx carrying capacity in this unit from perhaps 50 lynx (based
           on this unit’s proportional contribution to the larger Okanogan LMZ) before the large fires
           to roughly 30 lynx currently (Lewis 2016, pp. 4-6). The Diamond Creek wildfire burned
           another large block of lynx habitat in the northern part of this unit in 2017. Because of
           this, the current number of resident lynx in this unit is likely lower than it was historically
           and when the DPS was listed. Additional fires in this unit before previously burned areas
           recover (10-40 years post-burn) would further reduce lynx numbers and make this
           geographic unit more vulnerable to extirpation. Because of these habitat impacts and
           remaining stressors to lynx, the Washington Department of Fish and Wildlife recently
           submitted, and the State Fish and Wildlife Commission adopted, a proposal to uplist lynx
           from threatened to endangered within the State.

       •   The Greater Yellowstone Area (GYA, Unit 5) - Based on evaluation of verified historic
           records, it is uncertain whether this geographic unit historically supported a small but
           persistent resident population or supported resident lynx only ephemerally. There are
           very few verified lynx records in the GYA from 1920-1999, but several resident lynx and
           evidence of reproduction were verified in the late 1990s and early 2000s (around the
           time the DPS was listed). In addition, at least 9 radio-marked lynx released in Colorado
           (see below) dispersed northward into or through this unit from 2003-2010, but no lynx
           have been detected in the GYA since 2010. Most places surveyed in Yellowstone
           National Park had hare densities clearly too low to support resident lynx. However, parts
           of the Wyoming Range south of the park, where many historical and most recent
           occurrences in this unit have been concentrated, had hare densities among the highest
           documented in the DPS range. No population estimates are available, but expert opinion
           suggests that this unit may only support 0-10 lynx, and we find no reliable evidence that
           it once supported a larger or persistent resident population.

       •   Western Colorado (Unit 6) - There currently are many more resident lynx in this unit
           than likely occurred historically, and many more than were known or suspected at the
           time the DPS was listed. There were even fewer verified records in this unit during the
           last century than in the GYA, and no reliable evidence of a resident breeding population.
           However, from 1999-2006, 218 Canadian and Alaskan lynx were released into the San


   27 https://inciweb.nwcg.gov/state/27/0/

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          Juan Mountains of southwestern Colorado. As a result of the subsequent reproduction of
          some of the released lynx and some of their offspring over several generations, resident
          lynx currently occupy this unit. When the DPS was listed in 2000, 27 of 41 lynx released
          in 1999 were still alive. The State of Colorado has concluded that its efforts have
          established a viable lynx population, and the State’s lynx experts suggest this unit may
          currently support 100-250 resident lynx (Ivan in Lynx SSA Team 2016a, p. 47). Recent
          snow-tracking and camera surveys in the San Juan Mountains in the southern part of the
          unit documented evidence of continued lynx residency and reproduction.

   The apparent long-term (historical and current) persistence of resident lynx populations in at
   least 4 of the 6 geographic units (Units 1-4) and the absence of reliable information indicating
   that the current distribution and relative abundance of resident lynx are substantially reduced
   from historical conditions suggest the historical and recent resiliency of lynx populations in the
   DPS. The current resident population in Unit 6 has also demonstrated resiliency thus far. The
   large sizes and broad geographic distributions of the areas occupied by resident lynx
   populations likewise indicate historical and current redundancy in the DPS sufficient to preclude
   the possibility of extirpation from catastrophic events.

   Representation, the ability of a species to adapt to changing environmental conditions over time,
   is characterized by the breadth of genetic and ecological diversity within and among populations
   (Lynx SSA Team 2016a, p. 25). Information provided by lynx experts and geneticists indicates
   high rates of dispersal and gene flow and, therefore, generally low levels of genetic
   differentiation across most of the species’ range, including the DPS (Lynx SSA Team 2016a, pp.
   12-14, 55-56). Hybridization with bobcats has been documented but is not considered a
   substantial current threat to the DPS (Lynx SSA Team 2016a, p. 13). Despite differences in
   forest community types and topographic/elevation settings, lynx across the range of the DPS
   occupy a similarly narrow and specialized ecological niche defined by specific vegetation
   structure, snow conditions, and the abundance of a single prey species. Thus, lynx naturally
   have little ability to adapt to changing environmental conditions (i.e., shift to other forest
   habitats, snow conditions, or prey species). However, although some small populations may
   have become extirpated recently, resident lynx in the DPS remain broadly distributed across the
   range of ecological settings that seems to have supported them historically in the contiguous
   United States. There are no indications of current threats to the genetic health or adaptive
   capacity of lynx populations in the DPS, and the current level of representation does not appear
   to represent a decrease from historical conditions.

   The lack of regulations protecting lynx habitat from potential threats on Federal lands at the time
   of listing has been largely addressed by formal and binding amendments or revisions to most
   Federal land management plans within the DPS range. Although uncertainty remains about the
   efficacy of this improved regulatory framework, Federal lands are now being managed
   specifically to protect and restore lynx habitats, with the goal of supporting continued lynx
   presence on these lands. Most Federal lands, which constitute 64 percent of lynx habitat
   evaluated in this SSA, are found in the western United States.



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   Climate change is occurring at a global and, thus, a DPS-wide scale. Climate warming has
   reduced snow amount, duration, and quality (in terms of conditions thought to be favorable for
   lynx); it has been linked to increased frequency, size, and severity of wildfires and forest insect
   outbreaks; and it likely has already resulted in some changes in forest vegetative communities.
   Climate warming has also been suggested as contributing to changes in the amplitude,
   periodicity, and synchronicity of northern hare population cycles, which could alter (and perhaps
   have already altered) the timing and magnitude of lynx dispersal from Canada into the
   contiguous United States. If lynx populations in the DPS depend on immigration from Canada
   which is no longer occurring or has been reduced substantially relative to historical conditions,
   population declines and an increased likelihood of extirpation among resident DPS populations
   would be expected. However, whether, and if so to what extent, these climate-mediated factors
   have influenced current lynx numbers, other demographic parameters, and/or habitat quality
   and distribution is uncertain and has not been quantified across the range of the DPS or in
   individual geographic units. Despite uncertainty regarding its influence over current conditions
   for lynx, climate modeling and expert opinion concur that continued climate warming will
   adversely impact lynx in the DPS at some point in the future (also see Future Conditions and
   Threats, below).

   There are other current stressors that are not occurring across the entire DPS range but which
   affect lynx in 1 or more geographic units. For example, in northern Maine, where most high-
   quality lynx habitat occurs on private commercial timber lands and is the result of past timber
   harvest, changes in State forestry regulations (the Maine Forest Practices Act of 1989) that
   govern private forest management may currently be facilitating decreases in habitat quantity,
   quality, and distribution, and may result in reduced lynx numbers (also see Future Conditions
   and Threats, below). The lack of binding lynx conservation commitments on most private lands
   may exacerbate this risk to current lynx habitats in Maine. However, the current amount and
   distribution of high-quality lynx and hare habitats created in Maine by past timber harvest is
   thought to be several times higher than the likely natural historical condition. In North-central
   Washington, recent large-scale wildfires have resulted in the temporary loss of over a third of
   lynx habitat, likely reducing this unit’s current lynx population and potentially compromising its
   current ability to support a resident population until habitats recover. Increased wildfire activity
   also has impacted lynx habitats in the other western geographic units (Northwestern
   Montana/Northeastern Idaho, the GYA, and Western Colorado), but the extent to which it may
   have influenced the current condition of lynx populations in those units is uncertain.

   Future Conditions and Threats

   In our future condition analysis, including expert elicitation, we considered three time periods
   (2025, 2050, and 2100), with greater uncertainty in predicting effects to lynx and lynx habitat the
   further out we look into the future. Compared to the other time periods, predictions out to 2100
   are complicated by considerably higher uncertainty. Overall, our evaluations of the scientific
   literature and expert input suggest that resident lynx populations in each of the geographic units
   are likely to be smaller and their distributions reduced in the future. These anticipated declines
   are most likely to be influenced by projected loss and increasing fragmentation and isolation of


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   boreal forests and favorable snow conditions resulting from continued climate warming and
   related impacts (e.g., increased wildfire and forest insect activity, diminished hare populations;
   Lynx SSA Team 2016a, p. 58). Forest management on private lands that lack lynx conservation
   commitments may also contribute to future declines, particularly in northern Maine. In each
   geographic unit, the probability that resident lynx populations will persist is expected to decline
   through the end of the century, with uncertainty about the rate of decline increasing with time
   from the present. The loss of resident lynx from 1 or more geographic unit would represent
   reduced future resiliency, redundancy, and representation within the lynx DPS.

   The resiliency of lynx populations in individual geographic units is the primary determinant of the
   future viability of the lynx DPS. Our analyses and expert predictions suggest a declining
   probability of persistence (loss of resiliency) for each of the geographic units within the DPS
   throughout the rest of this century (the analysis did not extend beyond 2100). Projected climate
   warming is expected to exert the greatest influence on the resiliency of individual populations,
   and thus continued presence of resident lynx in each geographic unit. Climate models project
   that boreal forests and snow conditions favorable for lynx at the southern periphery of the range
   will retreat northward and upslope with continued warming, further fragmenting and diminishing
   the quality of lynx and hare habitat within the DPS. Although uncertainty remains regarding the
   timing, extent, and biological consequences of such impacts, as habitat conditions decline, hare
   populations are also likely to decline and lynx mortality rates are likely to increase and
   reproductive rates decrease. As snow conditions become less favorable, other terrestrial hare
   predators (e.g., bobcats and coyotes) may outcompete and displace lynx. This in turn would
   reduce lynx abundance and density within populations, making populations more susceptible to
   stochastic events.

   Here we present future condition analysis summaries for each geographic unit (also see table 1
   and figure 2):

      •   Northern Maine (Unit 1) - We concur with the expert panel that the resident lynx
          population in this unit is very likely to persist at 2025 and at 2050. Over the longer-term
          (at 2100), we expect continued climate warming to reduce the amount and quality of lynx
          habitat in this unit and exacerbate other potential stressors (commercial and energy
          developments, changing forestry practices and land ownership patterns, etc.), further
          reducing lynx numbers and decreasing the population’s resilience. Some climate models
          indicate substantial loss of boreal forest and favorable snow conditions under higher
          emissions scenarios, and this unit generally lacks potential elevational refugia that would
          support upslope movement of lynx habitats and populations. Therefore, we suggest that
          the likelihood that this unit will support a resident lynx population at 2100 may be
          somewhat lower than expert projections, although the timing and extent of future
          climate-mediated habitat decline is highly uncertain.

      •   Northeastern Minnesota (Unit 2) - We concur with the expert panel that the resident lynx
          population in this unit is very likely to persist at 2025 and at 2050. Over the longer-term
          (at 2100), we expect continued climate warming to reduce the amount and quality of lynx

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          habitat in this unit, likely reducing lynx numbers and decreasing the population’s
          resilience. Under higher emissions scenarios, some climate models project substantial
          loss of boreal forest and favorable snow conditions in this unit before the end of the
          century. Like Maine, this unit also lacks potential elevational refugia that would support
          upslope movement of lynx habitats and populations. Therefore, we suggest that the
          likelihood that resident lynx will persist in this unit at 2100 may be somewhat lower than
          expert projections, although the timing and extent of climate-mediated habitat decline is
          highly uncertain.

      •   Northwestern Montana and Northeastern Idaho (Unit 3) - We concur with the expert
          panel that resident lynx are very likely to persist in this unit at years 2025 and 2050, and
          likely to do so at 2100. Over the longer-term, we expect continued climate warming and
          associated impacts, perhaps especially increased wildfire activity, to reduce the amount
          and quality of lynx habitat in this unit, reducing lynx numbers and likely decreasing the
          population’s resilience. Although the timing and extent of climate-mediated habitat
          decline is highly uncertain and fire-driven habitat loss typically would be temporary,
          wildfire size, frequency, and intensity have increased in this unit over the past few
          decades, and this pattern is expected to continue with projected climate warming.

      •   North-central Washington (Unit 4) - We concur with the expert panel that the resident
          lynx population in this unit is very likely to persist at years 2025 and 2050. Over the
          longer-term (2100), we expect continued climate warming to reduce the amount and
          quality of lynx habitat in this unit, further reducing lynx numbers and likely decreasing the
          population’s resilience. Therefore, we concur with experts that this unit has a relatively
          lower likelihood of supporting a resident population at 2100, although the timing and
          extent of climate-mediated habitat decline is highly uncertain.

      •   The Greater Yellowstone Area (GYA, Unit 5) - Given the uncertainty whether this unit
          historically or recently supported a persistent resident population and the lack of
          evidence that it is currently occupied by resident lynx, we concur with experts that it is
          very unlikely to support a resident population in the future.

      •   Western Colorado (Unit 6) - We concur with the expert panel that resident lynx in this
          unit are likely to persist at year 2025. However, given this unit’s apparent historical
          inability to support a persistent resident population, its relative isolation from other lynx
          populations, its naturally fragmented habitat and generally very low hare densities, and
          its generally lower proportion of females producing kittens and low kitten survival, we
          believe it is less likely than expert projections to support a resident population at 2050 or
          at 2100. It is possible that hare densities will increase over the next several decades as
          large areas of forest regenerate from recent extensive insect and fire impacts. However,
          we expect any increase in hares to be temporary and accompanied by a longer-term
          insect- and fire-driven decrease in red squirrel (an important alternate prey species in
          this unit) abundance.



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   The loss of resident lynx populations in any geographic units would also reduce the level of
   redundancy and could diminish representation within the DPS. With regard to redundancy,
   however, we find that none of the 5 geographic units that currently support resident lynx is
   vulnerable to extirpation from a single catastrophic event. Given that, we conclude that the DPS
   as a whole is not vulnerable to extirpation from a catastrophic event. We recognize that a
   sequence of discrete but spatially-clustered catastrophic events in lynx habitats over a short
   time could increase the potential for functional extirpation in 1 or more of the individual
   geographic units (especially the possibility of additional large wildfires in north-central
   Washington), thereby reducing redundancy within the DPS. However, as long as resident lynx
   remain geographically well-distributed in 1 or more units within the DPS, extirpation of the DPS
   from a single catastrophic event is very unlikely.

   With regard to representation, although some lynx populations in the DPS units are
   demographically isolated from each other and the level of interaction between others is
   uncertain, there seems to be little risk of significant genetic drift. This is because of the
   currently-observed and likely future high level of gene flow across most of the lynx’s continental
   range, the species’ well-documented dispersal capability, the current and likely future absence
   of significant barriers to dispersal between Canada and the DPS, and continued connectivity
   between most parts of the DPS and lynx populations in Canada. Furthermore, based on expert
   input, we conclude that there is no indication that the relatively low level of genetic diversity
   currently observed among lynx populations is likely to reduce DPS viability in the future (Lynx
   SSA T eam 2016a, p. 51). This information suggests the current and likely future relative genetic
   health of the DPS. However, the potential for genetic drift would be expected to increase at
   some point in the future if lynx and hare habitats shift northward and upslope, as projected with
   continued climate warming, resulting in reduced connectivity and gene flow among smaller and
   more isolated lynx populations at the periphery of the range (Schwartz 2017, pp. 4-5; also see
   section 3.2).

   How the potential loss of resident lynx from 1 or more geographic units may affect
   representation within the DPS in terms of ecological diversity is uncertain. Despite similarities in
   the fundamental components (vegetation, snow conditions, and hares) that define the ecological
   niche of lynx DPS-wide, differences in habitats and how lynx use them are apparent. For
   example, snow depth that seems to demarcate a boundary between lynx and bobcat occupancy
   in Maine (270 cm/yr [106 in/yr]) is almost twice that observed in Minnesota (140 cm/yr [55
   in/yr]), and lynx in some parts of the West select mature forest stands, particularly in winter,
   while in other parts of the DPS, young regenerating stands are most important. The loss of
   resident lynx from any of the geographic units could result in the loss of behavioral and potential
   future genetic adaptations to the climate-mediated changes now occurring and likely to continue
   into the future at the southern edge of the lynx range. Such potential adaptability to diminished
   snow conditions, increasingly patchy and isolated boreal forests, and reduced hare abundance
   may be important to the taxon as a whole faced with a rapidly changing climate.

   Given the high percentage of Federal land ownership in the West, regulatory commitments that
   these lands will continue to be managed in accordance with lynx conservation principles, and


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   the existence of potential high-elevation climate refugia to which lynx habitats and some lynx
   might move, the western geographic units (Units 3-6) may be more likely to support resident
   lynx longer under projected continued climate warming. Nonetheless, it is unlikely that any
   management actions can abate the long-term northward and upslope retreat of boreal forests
   and diminished snow conditions projected by climate models. Further, the size, frequency, and
   intensity of wildfires and forest insect outbreaks are expected to increase with continued climate
   warming, particularly in the western portion of the DPS, although we do not anticipate such
   events in-and-of-themselves are likely to cause the permanent loss of breeding lynx populations
   in any geographic unit.

   Projections of climate-mediated losses of boreal forests and favorable snow conditions suggest
   impacts to lynx and hare populations throughout the DPS. However, persistence of resident lynx
   in Maine and Minnesota may be relatively lower than the western geographic units given the
   smaller percent of Federal lands and the absence of associated regulatory commitments to lynx
   conservation, and the lack of potential elevational refugia. Additionally, as noted above,
   changes to regulations governing timber harvest on private forest lands in Maine are unlikely to
   maintain the current historically-high amount and distribution of good lynx habitat or the current
   large population of resident lynx. These changes, which may affect over 90 percent of lynx
   habitats in northern Maine, are projected to result in substantial declines in habitat quality and
   distribution, and lynx numbers, over the next 10-30 years, primarily through restrictions on
   clearcutting and the proliferation of partial harvesting. On private forest lands, energy
   development (wind energy, mining), rapid turnover in ownership and parcelization of forest land,
   and uncertain forest markets may also reduce the future quality and quantity of lynx habitat.

   DPS Viability

   Resident lynx populations persisted historically and continue to persist in 4 geographic units
   (Units 1-4). It is uncertain whether Unit 5 (the GYA) historically supported a small persistent
   population or if lynx residency was ephemeral; currently, it appears not to support resident lynx.
   Available evidence suggests that Unit 6 (Colorado) did not historically support persistent lynx
   presence; however, a resident population has persisted there for more than a decade since the
   1999-2006 releases described above. Considering the available information, we find no reliable
   evidence that the current distribution and relative abundance of resident lynx in the contiguous
   United States are substantially reduced from historical conditions. This suggests historical and
   current resiliency among lynx populations in the DPS.

   The current broad distribution of resident lynx in large, geographically discrete areas
   (redundancy) makes the DPS invulnerable to extirpation caused by a single catastrophic event.
   Because we lack evidence that formerly persistent lynx populations have been lost from any
   large areas, it also seems that redundancy in the DPS has not been meaningfully diminished
   from historical levels. In fact, as a result of the current population in Colorado, redundancy in the
   DPS is likely greater, at least temporarily, now than it was historically.




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   Similarly, resident lynx remain broadly distributed across the range of habitats that has
   supported them historically, suggesting maintenance of the breadth and diversity of ecological
   settings occupied within the DPS range (representation). Additionally, observed high rates of
   dispersal and gene flow and, therefore, generally low levels of genetic differentiation across
   most of the lynx’s range, including the DPS, suggest the past and recent genetic health of lynx
   populations in the DPS (representation; but see section 2.1). Because there are no indications
   of significant loss of or current stressors to the genetic health or adaptive capacity of lynx
   populations in the DPS, we find that the current level of representation within the DPS does not
   appear to indicate a decrease from historical conditions.

   In the future, we expect lynx populations in each geographic unit to become smaller and more
   patchily-distributed due largely to projected climate-driven losses in habitat quality and quantity
   and related factors. However, the timing, rate, and extent of habitat decline due to projected
   climate warming and corresponding effects to lynx populations is highly uncertain. Despite some
   reduced resiliency, we conclude that resident lynx populations are very likely to persist in all 5
   units that currently support them (Units 1-4 and 6) in the near-term (2025) and in all or most of
   those units at 2050, with corresponding maintenance of redundancy and representation in the
   DPS over that time span. We and the experts we consulted have low confidence in predicting
   the likely conditions of DPS populations beyond 2050. That said, smaller, more isolated
   populations would be less resilient and more vulnerable to demographic and environmental
   stochasticity and genetic drift and, therefore, at higher risk of extirpation. Although predictions
   out to 2100 are highly uncertain, it is possible that resident lynx populations could be
   functionally extirpated from some units by the end of the century. Should future extirpations
   occur, this would indicate a loss of resiliency, reduced redundancy and representation, and an
   increased risk of extirpation of the DPS.




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                                                                                               292

                                                                      Rvsd Plan - 00004080
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Lynx Habitat Ecology in Beetle-
      Impacted Forests




John Squires, Joe Holbrook, Jake Ivan, Rick Lawrence,
                and Randy Ghormley
                               RGNF Meeting
                                17 May 2018                     Rvsd Plan - 00004081
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Outline

1. Landscape-level analyses
   • Characterize resource use and predict lynx habitat


2. Stand-level analyses
   • Characterize forest attributes used
   by lynx




                                                                   Rvsd Plan - 00004083
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Landscape Analyses

• 19,349 GPS locations in study area
   • Fix success 88%

• Winter (Jan-April)
   • 10 lynx (6 males, 4 females) with 11,628 locations

• Summer (May-August)
   • 7 lynx (3 males and 4 females) with 7,721 locations




                                                                    Rvsd Plan - 00004084
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                       Lake City
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Landscape Analyses

• Sample of lynx use
   • 90% of GPS locations, withheld 10% for testing maps
   • Winter test = 1,109, Summer test = 780
• Sample of study area (i.e., “availability”)
   • Density of 1 location/500 m^2
   • Approximately 7,000 locations for each lynx
        • Had to be >100 m apart
   • Use:availability ratio of >1/4


• Build resource selection functions (RSF)
                                                                    Rvsd Plan - 00004086
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RSF - Landscape analyses



                        Slope_map




                                                                  Rvsd Plan - 00004087
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Landscape Covariates
• Canopy
    • Live PIEN, ABLA, PIEN-ABLA, POTR
    • Total % mortality
• Live sub-canopy
    • ABLA, PIEN, PIEN-ABLA, PSME
• Precipitation
   • Mean annual precipitation over 1981-2010
• Topographic
   • Head load, topographic position index
• Anthropogenic
   • Density of major roads and highways, density of FS roads

                                                                    Rvsd Plan - 00004088
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Landscape Covariates

• Calculated all at 3 resolutions
   • 100, 250, and 500 m^2

• Identified the most supported scale and function
 with AIC

• Removed correlated variables




                                                                    Rvsd Plan - 00004089
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Landscape Analyses

• We first found the "best" model of the abiotic
 covariates

• We then evaluated a set of hypotheses concerning
 how lynx selected canopy cover and sub-canopy
 density

• Used RSF in the form of a GLMM



                                                                   Rvsd Plan - 00004090
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Winter Results

• Top model
  • ABIOTIC + Dead canopy + POTR canopy + PIEN-ABLA
    subcanopy + PSME subcanopy
      • See Table 2 on page #6 for additional details


  • Validated using a leave-lynx-out cross-validation
       • Assess predicted use versus real lynx use
       • Mean r = 0.90




                                                                   Rvsd Plan - 00004092
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Winter Top Model
  Theme       Covariate                            P        SE         P
  Abiotic     Roughness                            -0.183   0.012      <0.001
              Heat load index                      0.195    0.013      <0.001
              Topographic position index           -0.078   0.012      <0.001
              Mean annual precipitation
            ■ over 1981-2010                       -1.682              <0.001
                                                            0.031
              Mean annual precipitation
            1 over 1981-2010 2                     -0.499              <0.001
                                                            0.020
                 Density of major roads and
                                                   -0.449              <0.001
                 highways                                   0.022
                 Density of USFS roads             0.457    0.012      <0.001
  Forest         Dead canopy                       0.672    0.015      <0.001
                 POTR canopy                       0.129    0.013      <0.001
                 PIEN-ABLA subcanopy               0.247    0.014      <0.001
                 PSME subcanopy                    -0.391   0.022      <0.001




                                                                  Rvsd Plan - 00004093
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                                              Used 1,109 lynx locations for
                      Lake City               validation: r = 0.99
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Binary Cutpoint




                       Binned RSF Score (High-Low,),
                                        '      Kvsd Plan - 00004095
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        Lake City




                                                                     Selected = 377,513 acres
                                                                     Less Selected = 378,877 acres




                                                                Rvsd Plan - 00004096
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                     Lake City
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                                                                Rvsd Plan - 00004103
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Stand-Level Analyses




                                                                  Rvsd Plan - 00004104
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                                            22.4 x 1 m belt
                     1 m^2 plot         Sub-canopy (<19 ft tall)
                 Pellet plots, ground    density, woody debris
                         cover                                                 400 m^2 or 1/10^h acre plot
                                                                                      (11.2 m radius)
                                                                                Tree (>3") size and density




20 x 20 m grid                                           10 m
Canopy cover
 of trees(>3")

                                                                                    Coverboard




                                                                             Rvsd Plan - 00004106
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Stand Analyses

• 735 locations sampled
   • Use:availability sampled 1:1

• Winter (Jan-April)
   • 10 lynx (6 males, 4 females) at 457 locations

• Summer (May-August)
   • 6 lynx (2 males and 4 females) at 278 locations

• Build resource selection functions (RSF)

                                                                    Rvsd Plan - 00004107
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Summaries

Season    Variable                           Available             Used                   1
EEte^H    Horizontal cover                   40 (26-48)            53 (47-61)
          Snowshoe hare pellets              2.7 (1.2-5.7)         5.9 (3.2-12.2)
          Grass cover                        18 (12-24)            8(5-12)
          ABLA Sub-canopy density            118 (16-437)          318 (53-523)
          PIEN Sub-canopy density            115 (9-232)           181 (115-301)
          POTR Sub-canopy density            365 (0-730)           458 (25-838)
          SALIX Sub-canopy density           91 (0-913)            1 (0-8)
          Total Sub-canopy density           912 (390-1496)        1174 (567-1577)




                                                                   Rvsd Plan - 00004108
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Horizontal Cover Analysis
                                        Winter                         Summer             I
 Covariate                1 P          SE         P         P          SE        P
 Intercept                ■ 46.743     0.886      <0.001    53.111     1.036     <0.001

 ABLA sub-canopy TPA      ■ 7.303      1.064      <0.001    7.889      1.274     <0.001

 PIEN sub-canopy TPA      ■ 3.985      1.027      <0.001    2.848      1.145     0.013

 PIPU sub-canopy TPA      ■ 1.218      0.899      0.176     3.779      1.046     <0.001

 POTR sub-canopy TPA      ■ 3.818      0.937      <0.001    7.565      1.161     <0.001

 SALIX sub-canopy TPA     ■ 2.124      0.889      0.001     3.429      1.051     0.001

 Live TPA                 1 3.499      1.094      0.001     1.819      1.454     0.212
 Live ABLA TPA            1 1.021      1.173      0.385     2.392      1.529     0.119
 Live PIEN TPA            ■ 1.868      1.112      0.094     4.760      1.321     <0.001

 Dead PIEN TPA            1 2.650      0.972      0.007     2.135      1.158     0.066
 Model R2                 1 0.30                            0.40     Rvsd Plan - 00004109
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Canopy Cover Assessment




                                                                  Rvsd Plan - 00004110
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Top Models

    Season     Covariate                                P        SE      P
    Winter   1 Horizontal cover                         0.239    0.124   0.054
             1 Snowshoe hare pellets                    0.245    0.132   0.063
             1 Canopy cover of live PIEN                0.353    0.118   0.003
             1 QMD of live ABLA                         0.267    0.121   0.027
             1 QMD of live POTR                         0.321    0.113   0.004
             \ QMD of dead trees                        0.366    0.152   0.016
           1 TPA of live ABLA 3-4.9 inches in DBH       0.328    0.145   0.023
           1 TPA of dead PIEN 5-8.9 inches in DBH       0.328    0.143   0.022
           1 BA of dead trees                           -0.319   0.161   0.047
    Summer 1 Horizontal cover                           0.427    0.139   0.002
           1 Snowshoe hare pellets                      0.231    0.139   0.078
           1 QMD of dead PIEN                           0.492    0.142   0.001
           1 QMD of dead ABLA                           0.263    0.135   0.051




                                                                  Rvsd Plan - 00004111
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Relevant Studies

• Rhoades et al. 2017. Ecosystems.
            Annual Height Increment (cm^




                                                                                     Understory growth post
                                                                                     pine bark-beetle
                                                                                     Impact of bark-beetle is on
                                                                                     x-axis




                                           Q    20     40    GO     30   1DD
                                               Basal Area Reduction




                                                                               Rvsd Plan - 00004112
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Relevant Studies

• Collins et al. 2011. FEM.

                                                                      • Advance Regeneration:
                                                                        <2.5 cm DBH, >3 yrs old)
                                                                      • Subalpine fir response




                                                                    Rvsd Plan - 00004113
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The Journal of Wildlife Management 80(6):1049-1058; 2016; DOL 10.1002/jwmg.21101




Research rlrtic/e


Winter Diet and Hunting Success of Canada
Lynx in Colorado

Table 1. Percent occurrence {% biomass) of snowshoe hares, red squirrels, and other prey items in the winter diet of Canada lynx in Colorado, USA,
1999-2009.
 Winter            No. lynx tracked        fotal km tracked        Total kills      Snowshoe hare (%)         Red squirrel (%)        Other (%)
 1999                     12                     157                    6                 67   (92)                33 (8)               0(0)
 1999-2000                19                     493                   68                 72   (84)                22 (5)               6 (12)
 2000-2001                47                     611                   77                 65   (84)                22 (5)              13 (11)
 2001-2002                32                     388                   42                 90   (97)                 7(1)                2 (2)
 2002-2003                27                     557                   50                 88   (97)                 8 (2)               4(2)
 2003-2004                33                     403                   36                 69   (91)                28 (7)               3(3)
 2004-2005                42                     520                   65                 86   (97)                12 (2)               2 (1)
 2005-2006                45                     485                   67                 88   (98)                 9 (2)               3 (1)
 2006-2007                32                     357                   36                 56   (87)                44 (13)              0(0)
 2007-2008                25                     345                   46                 59   (89)                39 (11)              2 (0)
 2008-2009                25                     296                   53                 26   (65)                72 (32)              2 (4)
 X                        31                     419                   50                 70   (89)                27 (8)               3(3)




                                                                                                       Rvsd Plan - 00004116
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Snowshoe Hare
      1.0 “

      0.9 -
                   N =4                   N =4                    N =4                   N =3
      0.8 -

      0.7 -

 QJ
      0.6 -
 L_
 fO
      0.5 -

i/i   0.4 -
C
QJ
Q     0.3 -

      0.2 -

      0.1 -

      0.0 -

               0      1       2       3       4        5      6      7       8       9      10       11


                                                 Years Since Outbreak
                                                                              Rvsd Plan - 00004118
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Snowshoe Hare
Hares/ha




                                            Years Since Outbreak
                                                                           Rvsd Plan - 00004119
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Snowshoe Hare
Hares/ha
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Take-Homes

• Lynx in Colorado are rare, low in density, and
 spatially restricted - San Juans and Vail/Leadville
• Lynx habitat is disproportionately out of wilderness
 and in timber base (Statewide lynx RSF ongoing)
• Localized lynx populations are vulnerable to
 extensive fragmentation - (Garnet Range -
 Montana, Wyoming Range - Wyoming). San Juan
 Range is critical to lynx in Colorado - there is no
 population rescue


                                                                    Rvsd Plan - 00004121
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Take-Homes

• Despite large-scale change from beetles, lynx
 occupying similar habitat as pre-beetle (i.e., CPW
 data) and reproducing
• Lynx habitat in beetle-kill will improve over time ,
 but the species in Colorado is currently in the
 “emergency room” - vulnerable to fluctuations in
 prey abundance (i.e., no squirrels)
• Fortunately, hare occupancy and density stable and
 relatively high in beetle-kill


                                                                    Rvsd Plan - 00004122
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Take-Homes

• Important components of lynx habitat in beetle-kill
 include - horizontal cover (>45%), live ABLA, TPA
 and canopy cover of live trees, understory conifers
 (ABLA and PIEN) in subcanopy, size/basal area of
 dead trees, and hares. - need to be addressed in
 stand-level prescriptions
• Location of salvage is central to minimizing
 potential population impacts - Platoro greatest
 potential conflict zone


                                                                    Rvsd Plan - 00004123
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Take-Homes

• Beetle-induced release, but sub-canopy
 development is reduced by salvage (Battaglia,
 Rhoades; e.g., GMUG dead tree retention); consult
 with the GMUG for lessons learned.




                                                                   Rvsd Plan - 00004124
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Take-Homes

• What can we do to improve lynx habitat?
   • Preserve understory during harvest (i.e., winter logging,
     skid trail management)
   • Shade retention (i.e., live trees and dead trees)
   • Salvaging in a mosaic framework
   • Planting subalpine fir post-harvest




                                                                   Rvsd Plan - 00004125
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Discussion




                                                                  Rvsd Plan - 00004126
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Lynx Movements




                                                                  Rvsd Plan - 00004127
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High Speed + Directed




                                                                    Rvsd Plan - 00004128
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High Speed + Directed




                                                                    Rvsd Plan - 00004129
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High Speed + Directed




                                                                Rvsd Plan - 00004130
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Slow Speed + Tortuous




                                                                   Rvsd Plan - 00004131
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Snowshoe Hare
                                San Juans, Beetle-killed Spruce-fir, 2017
Hares/ha




           0            10               20               30               40               50         60
                                         Average Horizontal Cover (0-2m)        Rvsd Plan " 00004132
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Snowshoe Hare
Hares/ha
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                                                                                                                              Ecology and Evolution
ORIGINAL RESEARCH                                                                                            Wiley

Sharing the same slope: Behavioral responses of a threatened
mesocarnivore to motorized and nonmotorized winter
recreation

Lucretia E. Olson1®                    | JohnR.Squires1 | ElizabethK.Roberts2 | JacobS.Ivan3 |
Mark Hebblewhite4


1Rocky Mountain Research Station, United
States Forest Service, Missoula, Montana            Abstract
2White River National Forest, United States         Winter recreation is a widely popular activity and is expected to increase due to
Forest Service, Glenwood Springs, Colorado
                                                    changes in recreation technology and human population growth. Wildlife are fre­
3Colorado Parks and Wildlife, Fort Collins,
                                                    quently negatively impacted by winter recreation, however, through displacement
Colorado
4Wildlife Biology Program, Department               from habitat, alteration of activity patterns, or changes in movement behavior. We
of Ecosystem and Conservation                       studied impacts of dispersed and developed winter recreation on Canada lynx (Lynx
Sciences, W.A. Franke College of Forestry
and Conservation, University of Montana,            canadensis) at their southwestern range periphery in Colorado, USA. We used GPS
Missoula, Montana                                   collars to track movements of 18 adult lynx over 4 years, coupled with GPS devices

Correspondence                                      that logged 2,839 unique recreation tracks to provide a detailed spatial estimate of
Lucretia E. Olson, Rocky Mountain Research          recreation intensity. We assessed changes in lynx spatial and temporal patterns in
Station, United States Forest Service,
Missoula, Montana.                                  response to motorized and nonmotorized recreation, as well as differences in move­
Email: lucretiaolson@fs.fed.us                      ment rate and path tortuosity. We found that lynx decreased their movement rate in

Funding information                                 areas with high-intensity back-country skiing and snowmobiling, and adjusted their
Rocky Mountain Research Station; Vail               temporal patterns so that they were more active at night in areas with high-intensity
Associates Inc.; Colorado BLM state office;
U.S. Forest Service R2 Regional Office              recreation. We did not find consistent evidence of spatial avoidance of recreation:
Renewable Resources Department; 10th                lynx exhibited some avoidance of areas with motorized recreation, but selected areas
Mountain Huts; Colorado Department of
Transportation                                      in close proximity to nonmotorized recreation trails. Lynx appeared to avoid high-
                                                    intensity developed ski resorts, however, especially when recreation was most in­
                                                    tense. We conclude that lynx in our study areas did not exhibit strong negative
                                                    responses to dispersed recreation, but instead altered their behavior and temporal
                                                    patterns in a nuanced response to recreation, perhaps to decrease direct interactions
                                                    with recreationists. However, based on observed avoidance of developed recreation,
                                                    there may be a threshold of human disturbance above which lynx cannot coexist with
                                                    winter recreation.

                                                    KEYWORDS
                                                    anthropogenic disturbance, Lynx canadensis, ski resorts, snowmobiles, space use, winter
                                                    recreation




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Ecology and Evolution. 2018;8:8555-8572.
                                                                                                         Rvsd Plan - 00004134                           8555
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 8556 I y^l LJ^Y_ Ecology and Evolution                                                                                             OLSON   et al.




 1   |   INTRODUCTION                                                     2013), also differ from dispersed recreation, which requires little in­
                                                                          frastructure and minimally affects existing forest conditions.
 Winter recreation is an important economic contributor to com­               The number of participants and total days spent on winter recre­
 munities in temperate or subarctic regions (Toglhofer, Eigner, &         ation is projected to increase over the next several decades (White
 Prettenthaler, 2011; White & Stynes, 2008; Zhang, Cai, & Ni, 2006).      et al., 2016), and coupled with the potential of climate-induced re­
 Due to technological advancements in snowmobiles, back-country           duction in persistent and deep snow, research is needed to charac­
 skis and other outdoor equipment coupled with growing human              terize the effects of winter recreation on endangered or threatened
 populations, the footprint of winter recreation continues to expand.     species that are snow-associated (Larson et al., 2016). Canada lynx
 Persistent snow-covered areas, however, are decreasing in spatial        (Lynx canadensis), a threatened species in the continental United
 and temporal extent due to climate change, which will likely result      States, is of particular concern because of its relative rarity as well
 in increased recreation intensity in the areas that remain (Brammer,     as its adaptation to and reliance on deep snow to limit competition
 Samson, & Humphries, 2015; Elsasser & Messerli, 2001; Scott,             from other predators during winter (Buskirk, Ruggiero, & Krebs,
 Dawson, & Jones, 2008). Increased human disturbance to species           1999). Winter recreation may cause increased energy expenditure
 already stressed by a changing climate may exacerbate negative ef­       if lynx are repeatedly disturbed, as well as lost hunting opportuni­
 fects (Hughes, 2003; Riordan & Rundel, 2014). Therefore, a better        ties since lynx are a stalking, sit-and-wait predator (Nellis & Keith,
 understanding of the response of animals to winter recreation in         1968). Western Colorado, USA is an excellent study location for this
 these ecosystems is critical.                                            question, with an abundance of both dispersed and developed rec­
     While recreational use of an area is generally assumed to be         reation, as well as a resident lynx population. The Vail Pass Winter
 more compatible with species’ conservation than consumptive ac­          Recreation Area in Colorado has 50 miles of established groomed
 tivities such as development or resource extraction, animals’ per­       trails as well as a ski-hut system for dispersed recreation; this area
 ceived risk from recreation can lead to behavioral tradeoffs such        is subject to intense recreation and receives roughly 35,000 visitors
 as increased vigilance and decreased feeding, mating, or parental        per winter (U.S.D.A. Forest Service 2015). Colorado also has 30 de­
 care activities (Frid & Dill, 2002; Larson, Reed, Merenlender, &         veloped ski resorts (National Ski Areas Association 2016) which co­
 Crooks, 2016). Snow-based recreation may also have a greater neg­        incide with lynx distribution and received roughly 13 million visitors
 ative affect on wildlife compared to aquatic or summer-terrestrial       in 2016 (Blevins, 2016).
 sports (Larson et al., 2016), with changes in space or temporal use          The goal of our study was to understand the impact of winter
 of an area frequently observed. Moose (Alces alces) and mountain         recreation on Canada lynx. We used the movement ecology para­
 caribou (Rangifer tarandus caribou), for example, were spatially dis­    digm (Nathan et al., 2008) to frame our investigation of winter rec­
 placed from suitable habitat by the presence of snowmobile rec­          reation impacts on lynx behavior. Specifically, we examined (a) the
 reation (Harris, Nielson, Rinaldi, & Lohuis, 2013; Seip, Johnson, &      impact of dispersed recreation intensity on various metrics of lynx
 Watts, 2007), while mountain goats (Oreamnos americanus; Richard         behavior, (b) the extent to which lynx spatially and temporally avoid
 & Cote, 2016) and black grouse (Tetrao tetrix) avoided developed         dispersed recreation, and (c) the extent to which lynx spatially and
 ski areas (Patthey, Wirthner, Signorell, & Arlettaz, 2008). Behavioral   temporally avoid high-intensity developed recreation. We exam­
 responses such as changes in activity or movement have also been         ined behavioral metrics including movement speed and movement
 observed; for instance, moose in Wyoming remained bedded or              tortuosity that we hypothesized might be influenced by recreation
 fed less frequently in response to snowmobile activity (Colescott        and could lead to increased energy expenditure or reduction in
 & Gillingham, 1998).                                                     hunting success. We hypothesized that lynx would increase speed
     Impacts of recreation on animals can also vary depending on          and decrease tortuosity if disturbed by recreation, in an effort to
 whether activities are motorized or nonmotorized, dispersed or de­       spend as little time as possible in areas with more recreation and
 veloped, and low or high intensity. While motorized recreation is fre­   as a flight response to disturbance (Stewart et al., 2016). We also
 quently considered a source of disturbance (Goldstein, Poe, Suring,      hypothesized that lynx would adjust their space use to avoid areas
 Nielson, & McDonald, 2010; Olliff, Legg, & Kaeding, 1999), nonmo­        with high recreation intensity, or their temporal habits to avoid ac­
 torized recreation has also been shown to elicit negative responses      tivity during high recreation-intensity daylight hours, if disturbed
 in animals, and may even do so to a greater degree than motorized        by winter recreation.
 recreation (Harris et al., 2013; Larson et al., 2016; Stankowich,
 2008). Although snowmobiles generate high noise levels, they may
 be perceived as less of a threat than human voices by species con­       2   |   METHODS
 ditioned to fear persecution (Bowles, 1995). Additionally, many spe­
 cies are able to seek isolated refugia from snowmobilers, whereas
                                                                          2.1 | Study area
 nonmotorized recreationists may access remote areas with higher
 elevations, dense canopies, and nongroomed trails (Olson et al.,         Our study area was located in western Colorado, USA, at two
 2017). Developed ski resorts, which include considerable infrastruc­     locations of high recreation activity (Figure 1). The northern Vail
 ture, tree removal, and continuous maintenance (Rixen & Rolando,         Pass study area was on public lands administered by the White


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River National Forest and the San Isabel National Forest, in the
                                                                        2.2 | Quantifying movements of winter
northern Sawatch and Mosquito mountain ranges (approximate
                                                                        recreationists
centroid coordinates 106.30°W, 39.45°N). The San Juan study
area was on public lands administered by the Uncompahgre and            To provide a spatially and temporally detailed sample of winter
San Juan National Forests, and the Bureau of Land Management,           recreation intensity, we stationed technicians at parking areas and
in and around the towns of Silverton and Ophir (approximate             trailheads during winters of 2010-2013 to distribute small (5 x 8 cm)
centroid 107.88°W, 37.82°N). Winter recreation occurred on              GPS units to be worn around the upper arm or affixed to a back-pack
both sites between end of December and early April, at eleva­           (Qstarz International Co., Ltd., model BT-Q1300, Position accuracy
tions of 2,000 m to 4,300 m and with approximately 380 cm to            <10 m). Recreationists were informed that participation was volun­
1,000 cm of annual snowfall (National Oceanic and Atmospheric           tary and no personally identifiable information was collected, and
Adminstration 2017).                                                    offered a map of their day’s movement as incentive to carry the GPS
   Recreation at the Vail Pass location is intense, and includes ap­    unit; response from recreationists was positive, with an acceptance
proximately 35,000 visitors per winter season, the majority of which    rate of approximately 90% (Miller, 2016). We recorded four types
are motorized and concentrated along groomed trails or suggested        of recreation activity (snowmobile-assisted ski [hereafter hybrid],
routes, while approximately 11,000 are packed-trail cross-country       snowmobile, back-country ski or snowboard, and packed trail cross­
skiers and snowshoers using the 10th Mountain Hut back-country          country ski or snowshoe [hereafter packed-trail ski]). Only one GPS
hut system (U.S.D.A. Forest Service 2015). A developed ski resort       unit was given to groups with multiple people to ensure independ­
is also near the Vail Pass study area; this resort is among the top     ence among recreation tracks, although some people and/or groups
10 largest ski resorts in Colorado. It encompasses approximately        may have been sampled more than once during the course of a win­
10.1 km2 of skiable area and has 23 chairlifts (USDA Forest Service     ter, or across winters. Locations of recreationists were recorded at
National Visitor Use Monitoring Results, 2016). In the San Juan study   5-s intervals. If GPS units remained stationary, further locations
area, recreation is primarily dispersed back-country ski and snow­      were not collected until the device detected movement. Detailed
board use, with some motorized recreation concentrated primarily        descriptions of our methods to quantify movements of recreation­
in high-elevation areas. The developed ski resort we focused on in      ists can be found in Miller, Vaske, Squires, Olson, and Roberts (2016)
the San Juan study area has 8.1 km2 of skiable area and 18 chairlifts   and Olson et al. (2017).
(telluride.com, 2017).                                                     To quantify recreation intensity, we converted GPS point lo­
                                                                        cations into density rasters using the Point Density tool in ArcGIS
                                                                        (ESRI, Redlands, CA, USA). To determine the best scale at which
                                                                        to look for lynx response to recreation, we considered GPS point
                                                                        densities in a circular neighborhood at radii of 30 m, 100 m, 500 m,
                                                                        and 1 km, chosen to reflect arbitrary distances at which lynx could
                                                                        reasonably be expected to respond to the sight and sound of recre­
                                                                        ationists. Upon examining the distribution of the data, only the 1 km
                                                                        scale had enough nonzero values to allow accurate estimation of re­
                                                                        gression parameters for all lynx (Kutner et al., 2005). We therefore
                                                                        considered only the 1 km scale for all analyses, and our conclusions
                                                                        are relevant to how lynx perceive recreation within 1 km distances.
                                                                        Density rasters were calculated separately for each recreation type
                                                                        and year (2010-2013). To ensure that lynx response was temporally
                                                                        coincident with recreation, we matched year of recreation intensity
                                                                        with year of lynx data collection; we did not attempt to temporally
                                                                        match recreation and lynx movement at any finer resolution than
                                                                        year due to limitations in sample size when lynx and recreation were
                                                                        paired by day or week. Thus, our analysis is prefaced on the assump­
                                                                        tion that lynx response is to seasonal intensity of recreation, rather
                                                                        than to direct presence of recreationists.
                                                                           We also deployed infrared and magnetic trail counters at recre­
                                                                        ation portals and trail crossings throughout the study area to provide
                                                                        an index of recreation intensity on lynx home ranges independent
                                                                        of GPS tracks. Counters were in place between January and March,
FIGURE 1 Location of Canada lynx and recreation study areas
                                                                        infrared counters affixed to trees approximately 1.5 m above the
in western Colorado, USA. Canada lynx home ranges are shown in
white, recreation 100% minimum convex polygons are shown in             snow, and magnetic counters buried beneath the snow in trail center.
dark gray. Inset shows location of Colorado in United States            Counter data was summed across the entire season and divided by


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 the number of days each counter was deployed to provide an index            environmental and recreation covariates, which were averaged sep­
 of use measured as hits/day for each counter.                               arately for day and night periods. We first summarized lynx move­
                                                                             ment into temporal day (~0800:1700 hr) and night (~1700:0700 hr)
                                                                             periods using the “sunriset” command in R package “maptools”,
 2.3 | Lynx data collection
                                                                             which calculates the changing actual sunrise and sunset times for
 We trapped lynx in areas of high recreation or proximity to ski re­         each day based on a given geographic location (Bivand & Lewin-Koh,
 sorts where previous survey work indicated they were present. Lynx          2016). We considered two movement metrics as response variables
 were captured using a specially designed box trap (Kolbe, Squires, &        for this analysis: movement rate (distance traveled [km] per unit time
 Parker, 2003) to minimize probability of injury. Traps were checked         [hr] of only “active” points averaged across temporal period) and
 daily and animals were handled in accordance with International             movement tortuosity (straight line distance from first to last point in
 Animal Care and       Use Committee (lACUC) permit AUP-062-                 a temporal period divided by summed distance between all points in
 13MHWB-122013. Adult (>3 years) lynx were fitted with Sirtrack              a period; Benhamou, 2004).
 satellite store on board GPS collars (210-230 g) with conventional             Environmental predictor variables included proportion forest/
 VHF radio transmitters and a drop-off mechanism. Collars were pro­          nonforest, a binary variable based on landcover categories from
 grammed to obtain a GPS location every 20 min, 24 hr per day in             the National Land Cover Database (NLCD; Homer et al., 2015), av­
 2010, 2012, and 2013 and every 30 min, 24 hr per day, every other           eraged across all locations in a temporal period (mean: 0.9, range:
 day in 2011. We considered the potential for scale dependency is­           0.1-1.0), canopy cover (percent per pixel tree canopy density,
 sues between collars with different fix-rates (i.e., 20 min vs 30 min;      mean: 44.8%, range: 14.0%-67.4%, NLCD; Homer et al., 2015),
 Pepin, Adrados, Mann, & Janeau, 2004); however, movement rate               and Euclidian distance to forest edge (shortest straight line dis­
 (step-length [km]/step duration [hr]) between collars with different        tance from a lynx GPS point to an NLCD forest landcover category,
 duty cycles were similar (mean rate 30-min duty cycle = 0.33 km/            mean: 141.8 m, range: 7.4-711.9 m). Recreation variables included
 hr, 95% CI = -0.24-0.91 km/hr, n = 3 lynx-years; 20-min duty                1 km recreation intensity for the four types of recreation (hybrid,
 cycle = 0.39 km/hr, 95% CI = 0.12-0.66, n = 17 lynx-years), and thus        backcountry ski, snowmobile, packed-trail ski), and indicator vari­
 we felt confident in treating all collars similarly for analysis. Average   ables for weekday/weekend, day/night, study area (San Juan/Vail),
 fix-rate across collars was 84%; collars were programmed to auto­           and sex. All pairwise correlations between predictor variables
 matically drop off after June 1st.                                          were <0.60, and variance inflation factor was <2.0, indicating no
    We focused on lynx movement ecology (Nathan et al., 2008) col­           multi-collinearity.
 lected during peak winter recreation to maximize the potential to              As a first step in the model-building process, we considered
 measure responses to disturbance (January-March). We evaluated              three vegetation-only models (i.e., single-variable models using en­
 movements within 95% minimum convex polygon (MCPs) use areas                vironmental covariates listed above) fit to each of the two response
 for each lynx and excluded movements outside of these areas since           variables to control for the influence of habitat on lynx behavior. We
 animals performing exploratory movements may differ in behavior             selected the best performing vegetation model for each response
 from those on stationary home ranges (Abrahms et al., 2017; Pepin,          variable and carried this base habitat model into the second step
 Adrados, Janeau, Joachim, & Mann, 2008). To split lynx movement             where we considered 10 candidate models that we hypothesized
 into relevant behavior categories, we categorized lynx GPS locations        would test the influence of winter recreation intensity on lynx be­
 as “active” or “stationary” using parameters determined from five           havioral response (Supporting Information Table S1).
 stationary GPS collars (3,464 GPS locations, mean = 693 pts/collar,            We used a mixed-effects linear regression model for movement
 SD = 528) deployed under field conditions. Based on these station­          rate and tortuosity, with Lynx ID as a random intercept to control
 ary collars we calculated step length (straight line distance between       for the nonindependent nature of GPS points within a single lynx
 two successive GPS points) and turn angles (relative turn angle be­         (Gillies et al., 2006). We considered the inclusion of study year as
 tween the vector from points t and t-1 and the vector from points t         an additional random intercept to account for differences between
 and t + 1) for stationary GPS points. We then used this distribution        years, but, as the majority of lynx only occurred in the dataset for a
 of distances and turn angles to determine threshold values to distin­       single year, the addition of this parameter did not noticeably effect
 guish active from stationary states for collared lynx. We categorized       model estimates, and thus we omitted it for model simplicity. We
 lynx locations as “stationary” if GPS points were <27.02 m from the         standardized (Xj - X /SD) all continuous covariates for ease of model
 previous point (70th percentile) or had turn angles between 174°            fitting and interpretation. We ranked models using AICc (Akaike,
 and 180° (90th percentile; Hurford, 2009).                                  1974) and considered the best performing to have the lowest AICc.
                                                                             We evaluated model fit using Q-Q plots and scatterplots of fitted
                                                                             values versus residuals to verify the linear model assumptions of
 2.4 | Do lynx change movement behavior based on
                                                                             normality and homoscedasticity (Kutner et al., 2005), and calculated
 intensity of winter recreation?
                                                                             marginal r2 to assess the variability explained by the fixed effects
 To determine the impact of recreation intensity on lynx movement            of the top-performing model (Barton, 2015). All models were fitted
 behavior, we modeled the response of lynx to a combination of               using the lme4 package in R (Bates et al., 2015).


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                                                                           predicted the outcome on the withheld partition. Since our response
2.5 | Do lynx avoid high intensity dispersed
                                                                           variable was binary, we calculated the area under the curve (AUC)
recreation?
                                                                           of the receiver operating characteristic for each fold of the data;
To test whether lynx spatially avoided recreation within home              this provides a metric ranging between random predictive ability
ranges, we compared measures of recreation at lynx GPS points to a         (0.5) and perfect model prediction (1.0; Boyce, Vernier, Nielsen, &
sample of random locations within a lynx’s MCP home range (i.e., a         Schmiegelow, 2002).
third-order used-available resource selection function (RSF) design;          Additionally, to test specifically whether lynx adjusted their
Johnson, 1980; Manly et al., 2002). We generated random locations          activity in response to temporal differences in recreation, we ex­
at a ratio of 1 use to 2 random, determined 1 km recreation intensity      amined the relationship between recreation intensity and activity
and percent canopy cover at all locations, and assigned a random           state (moving or stationary) at lynx GPS points. We used a GLMM
“hour” value to each random point to allow temporal comparisons.           to predict whether a point was active or stationary in response to
Additionally, since much of the dispersed recreation on our study          the interaction of 1 km recreation intensity and time of day (day
areas took place on groomed or user-established trails (Miller, 2016;      ~0800:1700 hr, night ~1700:0700 hr), with lynx ID included as a
Olson et al., 2017), we hypothesized that lynx might respond more          random intercept and a binomial link (Gillies et al., 2006). We also
strongly to recreation when near to these high-use areas. Since            evaluated whether temporal response differed based on study area
many trails are user-established, and therefore no spatial data ex­        by creating a combined variable of study area and temporal period
ists for them, we created trail features for each recreation type (hy­     (San Juan day, San Juan night, Vail day, Vail night), to allow separate
brid, back-country ski, snowmobile, and packed-trail ski) from the         estimation of a temporal response at each study area. We performed
high-intensity areas (>25th percentile) delineated by a 100 m point        separate models for each recreation type (Supporting Information
density recreation raster. We measured the distance from each lynx         Table S3), standardized recreation intensity metrics for ease of
GPS point and random location to the nearest trail of each recrea­         model fitting, and fitted models using the lme4 package in R (Bates
tion type. Using this distance to trail value, we created a binary vari­   et al., 2015). We cross-validated top-performing models as above to
able for whether a point was near or far from a trail using thresholds     assess model fit (Hastie et al., 2001).
of 250 m, 500 m, and 1 km. We also considered the possibility that             Finally, we tested whether lynx change their response to recre­
influence from a trail would attenuate nonlinearly with distance, and      ation depending on how much of it is available (i.e., a functional re­
thus created a decay function (e "/distance) where a was a constant        sponse; Mysterud & Ims, 1998). Functional responses can help reveal
equal to 50, 100, 250, 500, or 2,500 (Carpenter, Aldridge, & Boyce,        response thresholds which may be difficult to detect from individual
2010; Lesmerises, Johnson, & St-Laurent, 2016). We tested each             selection or avoidance (Mysterud & Ims, 1998). For each individual,
scale of both covariates in univariate models, and kept the binary or      we calculated mean 1 km recreation intensity at used versus avail­
decay variable that had the lowest AlCc for each recreation type to        able locations within home ranges (Holbrook et al., 2017; Laforge,
represent response to trails in candidate models.                          Brook, van Beest, Bayne, & McLoughlin, 2015). We then tested for
   We then constructed a set of 10 GLMM logistic regression                functional responses by modeling use as a function of availability
(Gillies et al., 2006) candidate models per recreation type to test lynx   for each recreation type. We considered linear and quadratic mod­
spatial response to dispersed recreation intensity and high-intensity      els, and used likelihood-ratio tests to determine which model form
trails (Supporting Information Table S2). We considered univariate,        best fit the data (Kutner et al., 2005). A functional response, indi­
additive, and interactive effects of canopy cover, to test whether         cating disproportional changes in use in response to availability, was
canopy cover influenced lynx selection or avoidance of recreation,         supported when the quadratic form was best-fitting, or when the
since lynx are closely tied to dense forest cover (Holbrook, Squires,      slope of the linear response did not equal 1 (Holbrook et al., 2017;
Olson, DeCesare, & Lawrence, 2017; Squires, Decesare, Kolbe, &             Mysterud & Ims, 1998). In addition, for each lynx, we calculated the
Ruggiero, 2010). We considered an interaction between recreation           selection ratio (mean use/mean available) for each type of recreation
metrics and study area to test lynx response to differences in the         (Manly et al., 2002; Mysterud & Ims, 1998). Selection ratios below 1
quality of recreation between study areas (see Methods), and an in­        indicate avoidance (use less than availability), while selection ratios
teraction between recreation and time of day (day ~0800:1700 hr,           above 1 indicate selection (use greater than availability). We plotted
night ~1700:0700 hr) to determine whether lynx exhibited a tempo­          selection ratio for each individual against average recreation avail­
ral response to recreation intensity or recreation trails. We included     ability in the home range to better visualize differences in patterns
Lynx ID as a random intercept to control for repeated GPS locations        of lynx selection for recreation with changing availability.
among lynx, and weighted observations to create an equal contribu­
tion between the unbalanced used to available samples (Gillies et al.,
                                                                           2.6 | Do lynx avoid developed recreation?
2006). We standardized covariates as above and used AlCc to select
the best performing model for each recreation type. We assessed            Two developed ski areas were adjacent to lynx home ranges in our
model fit using fivefold cross-validation of the best model for each       study areas. As an initial test to determine the impact that such
recreation type (Hastie, Tibshirani, & Friedman, 2001). We split the       permanent, spatially concentrated centers of recreation activity
data into five equal partitions, re-fit models on four partitions and      had on Canada lynx space use, we performed a simple bootstrap


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 TABLE 1 Coefficients (^) and confidence intervals (95% CI) for            the week, as well as interactions that we hypothesized might impact
 top-performing models of Canada lynx movement rate and                    the likelihood of lynx use of the ski area (Supporting Information
 movement tortuosity in response to recreation intensity at a 1 km
                                                                           Table S4). We fit models using the lme4 package in R (Bates et al.,
 scale and other covariates in western Colorado, USA, 2010-2013
                                                                           2015) and ranked models according to AICc. We validated the best­
  Covariate                    ^             Lower CI          Upper CI    performing model using fivefold cross-validation, as detailed above

  Movement rate                                                            (Hastie et al., 2001).

        Hybrid1k                   0.02        0.00             0.05
        Back-country ski1k     -0.04         -0.06             -0.02
                                                                           3   |   RESULTS
     Snowmobile1k              -0.02         -0.05              0.00

        Packed-trail ski1k         0.01      -0.01              0.03
                                                                           We captured 18 individual lynx (9 males, 9 females) from 2010 to
        Proportion forest      -0.03         -0.05             -0.01
                                                                           2013, with four individuals captured in two successive years, for a
     Sex                           0.22        0.15             0.29
                                                                           total of 22 yearly lynx home ranges. We collected a total of 34,405
  Movement Tortuosity                                                      GPS points (average: 1,720/lynx, SD: 1100) from January to March.
        Hybrid1k               -0.01         -0.03              0.00       Lynx moved a mean of 8.0 km per day (SD: 4.9 km), at an average rate
        Back-country ski1k         0.00      -0.02              0.02       of 0.63 km/hr (SD: 0.27 km/hr).
     Snowmobile1k                  0.00      -0.01              0.02           We collected a total of 2,839 tracks from recreationists (2010:
        Packed-trail ski1k     -0.01         -0.02              0.01       n = 350, 2011: n = 1015, 2012: n = 651, and 2013: n = 823). Although

        Proportion forest      -0.02         -0.04             -0.01       all lynx were captured in areas used by winter recreationists, recre­

        Night                  -0.05         -0.07             -0.02       ation intensity was highly variable across lynx (Appendix A: Figure
                                                                           A1). Hybrid recreation occurred on 13 yearly lynx MCP home ranges,
 Covariates whose 95% CI did not overlap 0 are bolded.
                                                                           snowmobile on 17, and backcountry ski and packed-trail ski on 19.
                                                                           Recreation availability also differed between the two study areas;
 comparison to test whether individual lynx entered ski areas less         mean number of unique GPS tracks recorded on lynx home ranges
 than random expectation (Manly, 2007; Manly et al., 2002). We sam­        was: hybrid) 27.8 Vail (SD = 55.4), 3.0 San Juan (SD = 4.5); back­
 pled random locations distributed across each lynx’s 95% MCP home         country ski) 11.8 Vail (SD = 10.4), 71.2 San Juan (SD = 51.3); snow­
 range (sample size equal to the total GPS locations collected for each    mobile) 32.6 Vail (SD = 49.7), 20.7 San Juan (SD = 28.5); packed-trail
 lynx) 1,000 times with replacement; at each iteration, we recorded        ski) 7.9 Vail (SD = 11.2), 66.4 San Juan (SD = 51.9). The mean length
 the number of random locations inside the ski area boundary. We           of all recreation tracks combined within home ranges was 10.9 km/
 then calculated the 2.5 and 97.5 percentile from the bootstrap dis­       km2 (SD = 24.0) for Vail and 9.7 km/km2 (SD = 6.7) for San Juan
 tribution for each lynx, and compared that to the actual number of        (Appendix A: Table A1). Trail counters had a mean of 35.9 hits/
 GPS points inside the ski area boundary; a value outside either of        day (SD = 26.8) for Vail and 18.4 hits/day (SD = 10.8) for San Juan
 these percentiles indicated avoidance or preference, respectively         (Appendix A: Table A1).
 (Manly, 2007).
     Next, we tested whether factors associated with the intensity of
                                                                           3.1 | Do lynx change movement behavior based on
 human use of the ski area influenced the probability of lynx use. For
                                                                           intensity of winter recreation?
 this analysis, we included all lynx points collected from January to
 June to evaluate if lynx use changed with decreased winter recre­         Both lynx movement rate and movement tortuosity were best mod­
 ation. We modeled whether a lynx GPS point was in or out of the ski       eled by a combination of recreation and environmental variables
 area boundary as a function of day of the week (weekend or week­          (Supporting Information Table S1). Lynx movement rates were a
 day), since weekday use has been shown to be less intense than week­      function of proportion forest, recreation intensity, and sex (Table 1),
 end, as well as time of day, since daylight hours receive more use than   with a marginal r2 of 0.12. Lynx slowed their movement rate in the
 dark (Olson et al., 2017). We also considered month as a continuous       presence of greater snowmobile and back-country ski activity. For
 variable, from February to June, since use of the ski area should de­     example, predicted female lynx movement rate was 0.47 km/hr
 crease with later months as snowpack decreases. Finally, we included      (SD = 0.03) with no recreation within 1 km, 0.22 km/hr (SD = 0.07)
 canopy cover at each GPS location to control for differences in veg­      at maximum observed back-country ski intensity (equivalent to ap­
 etation inside and outside the ski area boundary. We used GLMMs           proximately 66 recreation tracks/km2 in a season), and 0.25 km/
 with individual lynx ID as a random effect (Gillies et al., 2006).        hr (SD = 0.11) at maximum snowmobile intensity (approximately
    We considered a candidate model set of 11 models to evaluate           188 tracks/km2 in a season). Conversely, at high hybrid and packed-
 lynx use of developed ski areas (Supporting Information Table S4).        trail ski intensities, lynx generally moved faster, although the confi­
 All models contained a base structure of canopy cover to account          dence interval for packed-trail ski slightly overlapped zero, indicating
 for habitat differences inside or outside of the ski area boundary. We    that lynx movement rate was not as strongly related to packed-trail
 evaluated additive combinations of month, time of day, and day of         ski intensity. Modeled movement rate was 0.47 km/hr (SD = 0.03)


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with no recreation within 1 km, 0.92 km/hr (SD = 0.21) at maximum            in areas with greater packed-trail ski and hybrid ski, but not back­
observed hybrid intensity (equivalent to approximately 232 tracks/           country ski or snowmobile (Figure 3; Supporting Information Table
km2 in a season), and 0.56 km/hr (SD = 0.08) at maximum observed             S5). Cross-validation of selected models, however, found relatively
packed-trail ski intensity (equivalent to approximately 115 tracks/          poor model predictive performance (hybrid: AUC = 0.56, SD = 0.01,
km2 in a season). In addition, female lynx moved more slowly than            back-country ski: AUC = 0.57, SD = 0.01, snowmobile: AUC = 0.57,
males, and movement rate was slower with greater proportion forest.          SD = 0.01, packed-trail ski: AUC = 0.57, SD = 0.01), indicating that
   The top performing model for tortuosity included recreation, pro­         though lynx temporal activity was influenced by recreation intensity
portion forest, and time of day (Table 1), with a marginal r2 of 0.02, in­   and study area, much of the variation in temporal activity remained
dicating that this model explained little of the variation in tortuosity.    unexplained.
Based on beta coefficient confidence intervals, recreation intensity            We found support for functional responses to hybrid (Likelihood
was not an important predictor of tortuosity; lynx movement was              Ratio Test p = 0.01, r2 = 0.78), snowmobile (LRT p = 0.05, r2 = 0.49),
more tortuous with greater proportion forest and during the night.           and packed-trail ski recreation (LRT p = 0.01, r2 = 0.83), with mean
                                                                             use best modeled by a quadratic response to mean availability;
                                                                             back-country ski intensity did not support a functional response
3.2 | Do lynx avoid high intensity dispersed
                                                                             (LRT p = 0.27, ^0: 219.70, 95% CI: -164.57-603.96, ^ 1: 0.60, 95% CI:
recreation?
                                                                             -0.13-1.32, r2 = 0.14). Lynx used areas with hybrid and snowmobile
Lynx space use within home ranges was better predicted with the              recreation in proportion to availability when recreation intensity was
addition of dispersed recreation covariates than with canopy cover           low; however, as recreation intensity increased, lynx use appeared
alone; recreation intensity was most predictive for motorized rec­           to decrease. For packed-trail ski intensity, lynx use appeared to be
reation, and distance to trails most predictive for nonmotorized             proportional to availability at low and high intensity, but greater
recreation (Supporting Information Table S2). The interaction                than availability at moderate intensities, while use of areas with
with time of day was not ranked highly for any type of recreation,
indicating little support for the hypothesis that lynx temporally
adjusted their space use in response to recreation (Supporting
Information Table S2). Cross-validation of each model indicated
acceptable model fit (hybrid: AUC = 0.74, SD = 0.01, back-country
ski: AUC = 0.74, SD = 0.01, snowmobile: AUC = 0.74, SD = 0.01,
and packed-trail ski: AUC = 0.75, SD = 0.01).
    Lynx in the Vail study area avoided areas with greater snowmo­
bile recreation intensity, while lynx in the San Juan study area were
more likely to use them (Figure 2; Table 2); greater hybrid recreation
intensity was consistently avoided at both study areas, although
the effect was stronger in the San Juan than in Vail. Lynx selected
areas within 250 m of back-country ski trails and within 500 m of
packed-trail ski trails; an interaction with study area was supported
for back-country skiing, indicating that the selection for areas near
to trails was stronger in the San Juan study area, while an interaction
with canopy cover was selected for packed-trail skiing, indicating
that lynx were less affected by trail proximity in areas with greater
canopy cover, and more likely to be influenced by trails when cover
was low (Figure 2; Table 2). In addition, for all forms of recreation,
the predicted probability of lynx presence was always greater with
greater canopy cover; this effect tended to be stronger than that of
                                                                             FIGURE 2 Predicted relative probability of Canada lynx
recreation (Table 2).
                                                                             presence in response to four recreation types: snowmobile-assisted
    Lynx temporal activity in response to recreation intensity was
                                                                             hybrid ski, back-country ski, snowmobile, and packed-trail ski,
best modeled when allowed to vary with study area and time of day            in western Colorado, USA, 2010-2013. Lynx (a) avoided greater
(Supporting Information Table S3). In general, at areas with no rec­         hybrid intensity, (b) were more likely to be present near (<250 m)
reation tracks within 1 km (i.e., recreation intensity = 0), the propor­     back-country ski trails in the San Juan study area, (c) avoided
tion of time that lynx spent active was fairly similar during the day        greater snowmobile intensity in the Vail study area but not the
                                                                             San Juan study area, and (d) were more likely to be present near
and night and across study areas (Figure 3). As recreation intensity
                                                                             (<500 m) packed-trail ski trails, particularly in areas with low canopy
of any type increased, however, lynx activity decreased during the
                                                                             cover. Predictions were generated for each recreation type from
day and increased at night in the Vail study area. Conversely, lynx in       multivariate general linear mixed-effects models by holding all
the San Juan study area were less active during the day than night           other covariates at their mean (see Table 2)


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 TABLE 2 Coefficients (^) and confidence intervals (95% CI) from           On average, lynx yearly 95% MCP home ranges overlapped ski areas
 top-performing models of Canada lynx use versus availability in           15.8% (SD: 8.9%), ranging from 3.9% to 27.4% (n = 951 total lynx loca­
 response to recreation intensity at a 1 km scale or proximity to a
                                                                           tions inside ski area boundaries, n = 22,524 lynx locations outside ski
 recreation trail, canopy cover, and study area in western Colorado,
                                                                           area boundaries). Of these nine lynx-years near developed recreation,
 USA,2010-2013
                                                                           8 had fewer locations inside ski area boundaries than expected, indicat­
  Covariate                  Coefficient      Lower CI        Upper CI     ing avoidance, while one did not differ from random (Table 3; Figure 5).
  Hybrid                                                                       The top supported model of lynx-use in developed ski areas
     Hybrid Intensity1k      -1.23            -1.48           -0.97        included all covariates and an interaction between month and day

     Canopy Cover             1.05             1.03            1.06        of the week (Supporting Information Table S4), and fivefold cross­
                                                                           validation indicated the model had adequate predictive ability (mean
     Study Area              -0.27            -0.43           -0.11
                                                                           AUC = 0.77, SD = 0.02). Lynx were more likely to enter the ski area
     Hybrid1k:Area            1.10             0.84            1.36
                                                                           boundary during night than day (Table 4). Additionally, an interac­
     Random Effect           Var: 0.03        SD: 0.17
                                                                           tion between month and day of week was strongly supported: on
  Back-country Ski
                                                                           weekends, lynx use of ski areas increased with month as months be­
     Back-country Ski         0.57             0.53            0.62
                                                                           came warmer and winter recreation declined, so that predicted use
      Trail250 m
                                                                           on June weekends was 4.7 times that of February weekends. During
     Canopy Cover             1.04             1.02            1.06
                                                                           weekdays the effect of month was less pronounced, with predicted
     Study Area              -0.27            -0.45           -0.09
                                                                           June use only 1.1 times greater than predicted February use. Canopy
     BC-SkiTrail:Area        -0.61            -0.74           -0.49
                                                                           cover was weakly lower at lynx locations inside the ski area than out­
     Random Effect           Var: 0.04        SD: 0.20                     side, although the model with only canopy cover ranked second to
  Snowmobile                                                               last among the candidate models, indicating that habitat alone was
     Snowmobile               0.19             0.17            0.21        a poor predictor of lynx use of the ski area (Supporting Information
      Intensity1k
                                                                           Table S4).
     Canopy Cover             1.06             1.04            1.08

     Study Area              -0.42            -0.57           -0.27
     Snowmobile1k:Area       -0.38            -0.42           -0.34        4   |   DISCUSSION
     Random Effect           Var: 0.03        SD: 0.16
  Packed-trail Ski                                                         Our results demonstrate a nuanced response of Canada lynx to

     Packed-trail Ski         0.84             0.80            0.89        winter recreation, ranging from avoidance of developed ski resorts
      Trail500 m                                                           to tolerance of nonmotorized back-country skiing and packed-trail
     Canopy Cover             1.10             1.08            1.12        skiing. Taken together, lynx spatial and behavioral responses to the

     PT-SkiTrail:Canopy      -0.37            -0.42           -0.32        gradient of recreation recorded in our study may suggest a tol­

     Random Effect           Var: 0.08        SD: 0.28                     erance threshold, with little disturbance from low and moderate
                                                                           intensity recreation but increasing disturbance when intensity ex­
 Covariates whose 95% CI did not overlap 0 are bolded.
                                                                           ceeds a given level. For instance, evidence of temporal avoidance
                                                                           of recreation was most marked in the high-intensity Vail study
 back-country skiing were proportional to availability. Among our          area. Functional responses of use versus availability also indicated
 sampled lynx, most had relatively low recreation availability, how­       little evidence of avoidance when recreation availability was low,
 ever, so that the few individuals with high availabilities may have       but consistent avoidance for the two lynx with the greatest rec­
 driven results. The plotted selection ratios (Figure 4), which allowed    reation availability. Lynx also consistently avoided developed ski
 better visualization of selection across the range of recreation inten­   resorts, especially at times when recreation was most intense. In
 sity, demonstrated no consistent pattern of selection or avoidance at     areas with low and moderate recreation intensity, lynx exhibited
 low availabilities, but showed that the only two lynx with consistent     spatial tolerance coupled with behavioral modifications that al­
 avoidance also had the highest recreation availabilities for three out    lowed lynx and dispersed recreation to co-occur. Based on these
 of four types of recreation (Figure 4, highlighted boxes).                results, it appears that dispersed winter recreation at the low to
                                                                           moderate intensities found in western Colorado does not provoke
                                                                           a strong negative response in Canada lynx, but that high-intensity
 3.3 | Do lynx avoid developed recreation?
                                                                           dispersed or developed recreation may provide enough of a distur­
 We captured lynx near two ski resorts, one near the Vail Pass Winter      bance to elicit lynx avoidance.
 Recreation area and the other in the San Juan Mountains. Five unique          Animal responses to human disturbance often vary depending on
 lynx, two captured in successive years, had home ranges adjacent to       the type of disturbance activity. Wild reindeer fled longer distances
 the ski area near the Vail Pass study area, while one unique lynx, cap­   when disturbed by skiers than snowmobiles (Reimers, Eftestal, &
 tured in two successive years, was adjacent in the San Juan study area.   Colman, 2003), while moose exhibited short-term disturbance from


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                                                                           spatially avoid the ski area (Figure 5), and to temporally adjust their
                                                                           activity to avoid high traffic times when they did go near it, even
                                                                           after controlling for differences in vegetation between the ski area
                                                                           and its surroundings. Lynx avoidance of intensely used ski resorts
                                                                           also supports the idea of a threshold level of tolerance toward human
                                                                           disturbance, with lynx able to adjust their space use or behavior in
                                                                           the presence of most dispersed recreation, but unable to tolerate
                                                                           high levels of human use that occur at a resort. Developed resorts in
                                                                           Colorado are intensively used, and are also subject to frequent mo­
                                                                           torized trail grooming and maintenance. Combined, this may repre­
                                                                           sent unacceptably high levels of human disturbance for lynx. Other
                                                                           species have shown similar avoidance of developed ski areas, in­
                                                                           cluding mountain goats (Richard & Cote, 2016), reindeer (Nellemann
                                                                           et al., 2010), and alpine black grouse (Patthey et al., 2008).
                    Standardized recreation intensity
                                                                               Behaviorally, lynx tended to move more slowly in areas with
                 ------- San Juans day--------Vail day
                                                                           greater snowmobile and back-country ski intensity, while their
                 ■ • ■ ■   San Juans night ■ - ■ ■ Vail night              movement tortuosity remained unchanged. This behavioral change
                                                                           may indicate that lynx perceive a threat from human disturbance,
FIGURE 3 Predicted differences in temporal lynx activity
patterns in response to four types of recreation intensity                 and respond by hiding or moving more cautiously (Tablado & Jenni,
(snowmobile-assisted hybrid ski, back-country ski, snowmobile,             2017), but do not change their foraging behavior by either stopping
and packed-trail ski) in western Colorado, USA, 2010-2013. Line            completely or moving directly out of an area. While increased move­
type represents day or night at the Vail or San Juan study areas.          ment rate or flight responses are common indications of disturbance
Proportion of time spent active was similar at low recreation
                                                                           (Arlettaz et al., 2015; Reimers et al., 2003), hiding or freezing are also
intensities, but diverged as recreation intensity increased, with
activity primarily lowest during the day at the Vail study area            common behavioral responses to threats (Tablado & Jenni, 2017).
                                                                           Lynx may rely on their cryptic coloration to protect them from no­
skiers (Neumann, Ericsson, & Dettki, 2010) and avoidance of areas          tice, thus saving themselves from a more energetically costly flight
with high snowmobile trail density (Harris et al., 2013). Lynx did not     response (Stankowich & Blumstein, 2005). While lynx did not exhibit
appear to exhibit a consistent response to all dispersed recreation        strong temporal avoidance of recreation, they adjusted the propor­
types, although some consistent differences between motorized              tion of time they spent active in areas with greater recreation, par­
and nonmotorized recreation types emerged. Areas with greater              ticularly in the high-intensity Vail study area, in which they were less
nonmotorized recreation intensity (i.e., back-country and packed-          active during the day. Rather than leave high intensity areas during
trail ski,) were selected by lynx, while areas with greater snowmo­        the day, lynx may simply become less active and more cautious,
bile and hybrid recreation intensity were generally avoided. This          waiting for the disturbance to decline and increasing their activity
pattern may reflect similarities between the habitat preferences of        at night. Temporal avoidance is frequently observed in response to
lynx and skiers, and habitat differences between lynx and motor­           human disturbance, and has been demonstrated in predators such
ized recreation. For instance, nonmotorized recreation is frequently       as coyotes (Canis latrans) and bobcats (Lynx rufus) (Reilly, Beier, &
located in high elevation areas, with dense canopy cover and steep         Sonderegger, 2016; Riley et al., 2003).
slopes (Olson et al., 2017), habitat which is likely favored by forest­       While we focused our study on some of the most heavily
dwelling Canada lynx, which prefer areas with multi-storied forest         recreated landscapes in Colorado, collected during peak winter
and high horizontal cover (Holbrook et al., 2017; Squires et al., 2010).   recreation to maximize the potential to measure responses to
Motorized recreation such as snowmobiling, however, usually takes          disturbance, the lack of consistent avoidance may suggest that
place on groomed trails or forest roads, which are placed in areas of      low to moderate dispersed recreation at our study areas was
open forest and gentle topography to allow safer fast travel (Olson        not intense enough to elicit a strong population-level response
et al., 2017), and which is not as hospitable to lynx.                     from lynx. Response to recreation can vary at the level of the
   Developed recreation may be more likely to have an effect on            individual, often depending on an individual’s age, sex, repro­
animals, given the high intensity, large infrastructure, and frequent      ductive status, or other factors (Lesmerises & St-Laurent, 2017;
maintenance requirements of large ski resorts (Rixen & Rolando,            Tablado & Jenni, 2017). The results of our functional response
2013). For example, Pacific marten (Martes caurina) have been              analysis indicate that lynx in our study varied in their selec­
shown to be negatively influenced by ski resorts through habitat           tion or avoidance of recreation, with differences both between
fragmentation and reduced occupancy and density during the win­            individuals in response to the same type of recreation, and
ter season (Slauson, Zielinski, & Schwartz, 2017). Lynx also appeared      within individuals given different types of recreation (Figure 4).
to be affected by developed recreation, although our sample size for       Interestingly, the two lynx in areas with the greatest amount of
this analysis was small. Lynx near developed ski resorts appeared to       recreation also demonstrated the most consistent avoidance.


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                                    Relative recreation availability                                                    Relative recreation availability
                                    0.00       0.25
                                                 I
                                                       0.50
                                                         I
                                                              0.75
                                                                1^I
                                                                   1.00                                                 0.00      0.25   0.50   0.75    1.00
                                                                                                                                   Illi
      I Stafford Male 2011
   I Stafford pemale
                                                                                         I Stafford Female 2011
                                                                                            I Statto^ Male 2011     •
 Turquoise Female       2013 -                                                              —UphirMale         2U12 -
     Molas Female       2012 -                                                               Cement Male       2012 -
     SMineral Male      2012 -    •                                                     HopeLake Female        2013 -
      Cement Male       2012 - ■*                                                           SMineral Male      2013 •
         Molas Male     2012-   l»                                                              Ophir Male     2013 ■
   Turquoise Male       2013-     >                                                         Molas Female       2012 ■
    HalfMoon Male       2013-                                                             Cement Female        2012 ■
   Cement Female        2012-    !►                                                            Molas Male      2012 -
         Ophir Male     2012- ■»                                                              Ironton Male     2012 -
 HopeLake Female        2013-   O                                                       Turquoise Female       2013 -
       Ironton Male     2012 -                                                             Ironton Female      2012 -
   Animas Female        2012- *                                                           Turquoise Male       2013 ■
    Ironton Female      2012-  I►                                                           SMineral Male      2012 ■
     SMineral Male      2013-   O                                                             Climax Male      2011 ■
         Ophir Male     2013-                                                              HalfMoon Male       2013-
       Climax Male      2011 -  O                                                         Animas Female        2012 -
                                     0.0       2.5      5.0      7.5       10.0                                             0.0   2.5    5.0    7.5     10.0
                                               Selection ratio                                                                    Selection ratio
                                    Relative recreation availability                                                    Relative recreation intensity
                                    0.00       0.25    0.50   0.75         1.00                                         0.00      0.25   0.50   0.75    1.00
  I Stafford Female     2011 L                                                          HopeLake Female        2013 -
      I Stafford Male   201 f ■                                                               SMineral Male    2013 -
       Moias i-emaie    2ul2-                                                               Ironton Female     2012 ■
           Molas Male   2012-                                                                   Ironton Male   2012 ■
      SMineral Male     2012-                                                           Turquoise Female       2013 ■
 Turquoise Female       2013-                                                            I Stafford Female     2011 h
           OphirMale    2012-                                                                 Molas Female     2012 -
    Turquoise Male      2013-                                                                     Ophir Male   2012-
           OphirMale    2013-                                                                    Molas Male    2012 -
 HopeLake Female        2013-                                                              Turquoise Male      2013 -
     HalfMoon Male      2013-                                                                1 Stafford Male   201 Ih   I
      SMineral Male     2013-                                                                 SMineral Male    2012 -
        Cement Male     2012-                                                                     Ophir Male   2013-
    Animas Female       2012 -                                                                 Cement Male     2012 ■
         Ironton Male   2012-                                                              Cement Female       2012 -
     Ironton Female     2012-                                                               HalfMoon Male      2013-
    Cement Female       2012-                                                              Animas Female       2012 -
         Climax Male    2011 -                                                                  Climax Male    2011 -
                                     0.0       2.5      5.0      7.5       10.0                                             0.0   2.5    5.0    7.5     10.0
                                               Selection ratio                                                                    Selection ratio
 FIGURE 4 Individual selection ratios (mean use/mean availability; colored bars) compared to mean relative recreation availability (black
 dots) for each recreation type (a) snowmobile-assisted hybrid ski, (b) back-country ski, (c) snowmobile, (d) packed-trail ski. For ease of
 interpretation, selection ratio-1 is shown, so that avoidance is below 0, selection above 0, and availability values are relative (each divided
 by the maximum availability value) to force the range between 0 and 1. Lynx in each study area are indicated by dark bars (San Juan) or light
 bars (Vail). Stafford Female and Stafford Male (names outlined in boxes), from the Vail study area, are the only lynx to consistently avoid all
 types of recreation, and have the highest availability for 3 out of the 4 recreation types


                                                                                                                   TABLE 3 Summary of the number of
  Lynx ID                         Study area          Year        N               Lower CI       Upper CI
                                                                                                                   Canada lynx GPS locations (N) inside two
  Breckenridge Female             Vail                2010         78             466            544               ski resort boundaries in western Colorado,
   2010                                                                                                            USA, compared to the bootstrapped 95%
  Breckenridge Female             Vail                2011        116             322            392               confidence values (CI) for each lynx
   2011
  Climax Female 2010              Vail                2010            11           87            126

  Climax Male 2011                Vail                2011         29             141            182

  Stafford Female 2010            Vail                2010         92             243            295
  Stafford Female 2011            Vail                2011        366             329            396

  Stafford Male 2011              Vail                2011        204             618            700
  Ophir Male 2012                 San Juan            2012             0           87            127

  Ophir Male 2013                 San Juan            2013         55             134            181

 Lynx that avoided ski areas (actual GPS points less than the lower 2.5% bootstrapped value) are
 bolded.



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FIGURE 5 The spatial distribution of Canada lynx GPS points (red dots) around the ski resort in the Vail Pass study area, in western
Colorado, USA, 2010-2013; lynx locations indicate avoidance of this heavily recreated area. Individual ski runs are the light-colored lines
in the center of the picture, while the resort infrastructure is toward the bottom right. Lower intensity dispersed skiing (blue lines) along a
groomed trail to a back-country hut is shown to the right of the ski area; lynx did not exhibit spatial avoidance of this type of use


These lynx had the highest availability of recreation inten­               TABLE 4 Coefficients (^) and confidence intervals (95% CI) from
sity for three out of the four recreation types (Figure 4), and            the top-performing model of lynx use of ski resorts in western
were located in the Vail study area, which had extremely high               Colorado, USA, 2010-2013

intensity use, approximately 35,000 recreationists per winter                                     Coefficient    SE       Lower CI     Upper CI
(U.S.D.A. Forest Service, 2015), as well as a large developed
                                                                             Intercept            -4.20          0.55     -5.28        -3.12
ski area. Thus, recreation intensity in our study area may be
                                                                             Month                 0.18          0.03       0.11        0.24
low enough for the majority of lynx to ignore and spatially co­
                                                                             Weekend              -2.00          0.31      -2.61       -1.39
exist with, but an intensity threshold may exist above which
                                                                             Night                 0.14          0.07s      0.01        0.28
dispersed recreation cannot be tolerated by lynx. We recog­
                                                                             Canopy Cover         -0.07          0.03     -0.14         0.00
nize that behavior responses are not necessarily expressed
in cha nges in population demography and adult survivorship.                 Month:Weekend         0.38          0.07       0.25        0.52

However, the population of lynx in Colorado has been recover­               Covariates whose 95% CI did not overlap 0 are bolded.
ing since reintroduction in 1999, and is currently estimated at
200 to 300 individuals (Martin, 2013). Our sample likely rep­
resents approximately 6%-9% of the entire lynx population in               their home ranges, but will tolerate extremely urban areas, pos­
Colorado, and the majority of resident lynx at each study area,            sibly because of a correlated increase in prey availability (Bouyer
and illustrates that a sizeable portion of the population is sub­          et al., 2014, 2015). Similarly, Canada lynx in Riding Mountain
ject to disturbance from recreation.                                        National Park, Canada, tended to have high probabilities of occur­
   Carnivores are often reported to be particularly sensitive to            rence in the less disturbed park interior, but highest occurrence
anthropogenic disturbance because of their need for large con­              near a town with intense winter recreation yet close proximity
tiguous home ranges and a tendency to draw human persecution               to highly suitable hare habitat (Montgomery, Roloff, Millspaugh,
(Carroll, Noss, & Paquet, 2001; Noss, Quigley, Hornocker, Merrill,         & Nylen-Nemetchek, 2014). Lynx in our study also failed to ex­
& Paquet, 1996; Woodroffe, 2000). However, both Canada lynx                 hibit strong behavioral avoidance from low to moderate intensity
and Eurasian lynx (Lynx lynx) have demonstrated a high degree              dispersed recreation, instead appearing to segregate themselves
of tolerance to human presence. For example, Eurasian lynx in              from high-intensity motorized recreation and to adjust their tem­
Norway show a preference for low levels of human disturbance in            poral and movement patterns.


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     Given the nature of our study design, we were unable to eval­          in our study. However, lynx residing in more heavily recreated
 uate the potential for second order (i.e., home-range placement;           landscapes left stronger response signatures, culminating in fairly
 Johnson, 1980) avoidance of recreation. The arrangement of home            strong avoidance of the most intensely recreated landscapes, such
 ranges to avoid recreation or human disturbance has been ob­               as commercial ski areas. While behavioral changes do not neces­
 served in northern mountain woodland caribou (Rangifer tarandus            sarily reflect impacts on survival or reproductive success, if lynx
 caribou) in response to human infrastructure (Polfus, Hebblewhite,         conservation is an important goal in these areas, implementation
 & Heinemeyer, 2011), but was not found in capercaillie (Tetrao             of programs to alleviate recreation intensity may be considered.
 urogaiius) in response to outdoor recreation (Coppes, Ehrlacher,           Alternatively, intense recreation could be administratively concen­
 Thiel, Suchant, & Braunisch, 2017) or red deer (Cervus eiaphus) in         trated, leaving space for lynx conservation measures in adjacent
 response to recreation infrastructure (Coppes, Burghardt, Hagen,           regions.
 Suchant, & Braunisch, 2017). It is possible that some lynx may have
 already exhibited avoidance of recreation, through the selection
                                                                            ACKNOWLEDGMENTS
 of home ranges that do not overlap with recreation. If this is the
 case, the lynx that were trapped for our study may be habituated           We thank the U.S. Department of Agriculture, U.S. Forest Service,
 to recreation, and the continued occupancy of these territories in         and White River National Forest for funding this work. Additional
 subsequent lynx generations may not be assured. Alternatively,             funding and support was provided by the Rocky Mountain Research
 use of high recreation intensity areas may be a function of limited        Station, Vail Associates Inc., Colorado BLM state office, U.S. Forest
 habitat distribution in high elevation linear valleys, rather than ha­     Service R2 Regional Office Renewable Resources Department, 10th
 bituation to recreation per se. Since it is possible that the lack of      Mountain Huts, and Colorado Department of Transportation. Special
 strong response to recreation we found represents the result of an         thanks to the many field technicians that contributed to this project,
 ongoing strategy of avoidance by lynx sensitive to recreation, we          the participants who volunteered to carry the GPS units, and the
 recommend long-term monitoring of lynx occupancy near heavily              local FS offices for providing logistical support and information about
 recreated areas to ensure that lynx are not negatively impacted by         the area.
 recreation (with the assumption that continued occupancy reflects
 a lack of detrimental demographic effects). Further, to thoroughly
 evaluate causal impacts of recreation to lynx in Colorado, we sug­         CONFLICT OF INTEREST

 gest continued research to measure demographic (and/or behav­
                                                                            None declared.
 ioral) responses to experimental manipulation of user access and
 density.

                                                                            AUTHORS CONTRIBUTION

 5   |   CONCLUSIONS                                                        J. Squires and E. Roberts conceived the concepts, J. Squires, E.
                                                                            Roberts, J. Ivan, L. Olson, and M. Hebblewhite designed the meth­
 We evaluated a gradient of human disturbance from winter rec­              odology, L. Olson performed the data analyses, J. Squires, M.
 reation, from intensively used developed ski areas to low-intensity        Hebblewhite, and J. Ivan consulted on data analyses, L Olson led the
 dispersed back-country recreation. In keeping with this range of           writing of the manuscript, all authors contributed critically to the
 disturbance, we found a range of Canada lynx responses to winter           drafts. All authors gave final approval for publication.
 recreation, from avoidance of developed ski resorts to tolerance
 of nonmotorized back-country skiing and packed-trail skiing. Lynx          DATA ACCESSIBILITY
 may tolerate low to moderate levels of dispersed winter recrea­
 tion (similar to levels we sampled at the San Juan Study Area) via         Data available from the figshare repository: https://doi.org/10.6084/

 behavioral modifications governing activity levels, activity timing,       m9.figshare.6452807.v1

 and locations of various activities. Thus, recreation management
 such as trail closures, visitor limitation, etc., may convey little ben­   ORCID
 efit to species conservation in areas with low to moderate levels of
                                                                            Lucretia E. Oison ® http://orcid.org/0000-0002-5703-3351
 dispersed recreation. We found less spatial avoidance of nonmo­
 torized recreation compared to motorized, although lynx response
 varied by study area, and lynx exhibited a behavioral response to          REFERENCES
 both motorized and nonmotorized recreation. Our results support
                                                                            Abrahms, B., Seidel, D. P., Dougherty, E., Hazen, E. L., Bograd, S. J.,
 the conclusion that lynx, as evidenced by changes in space use                Wilson, A. M.......Getz, W. M. (2017). Suite of simple metrics reveals
 and behavior, were not uniformly negatively influenced by dis­                common movement syndromes across vertebrate taxa. Movement
 persed winter recreation at the low to moderate intensities found             Ecology, 5(1), 1-11.




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SUPPORTING INFORMATION

Additional supporting information may be found online in the
Supporting Information section at the end of the article.




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 APPENDIX




                                                                  Snov/mobll^


 FIGURE A1 Maps showing the location of yearly Canada lynx 95% minimum convex polygon home ranges (black lines), overlapped with
 recreation tracks (colored lines; green = snowmobile-assisted hybrid skiing, blue = back-country ski, orange = snowmobile, purple = packed-trail ski)
 created by recreationists carrying handheld GPS devices in western Colorado, USA, 2010-2013. Gray polygon indicates a ski area boundary. Panel
 A shows lynx home ranges at the Vail study area, panel B shows the San Juan study area. Background image credit: Esri, DeLorme, USGS, NPS


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TABLE A1 Summary statistics for recreation intensity on each Canada lynx’s yearly 95% minimum convex polygon home range (n = 22) in
western Colorado, USA, 2010-2013. For each lynx’s yearly home range (HR), the number of recreation tracks that we recorded of each type
in home ranges is given (#), along with total length of track (km) of each type recorded in each home range, the home range size (km2), the
density of all recreation tracks combined (linear km of recreation tracks/km2 home range area), and the average (Avg) and standard deviation
(SD) of trail counter hits per day at all trail counters within each lynx’s home range


                                 # Recreation tracks on HR        km of Recreation tracks on HR                Track         Avg        SD
 Study                                                                                               HR size   density       counter    counter
 Area             Indv ID        Hyb    BKSki   Snmb     PTSki    Hyb    BCski    Snmb       PTSki   (km2)     km/km2        hits/day   hits/day

 Vail             Stafford       134     27      126          2   1182    170     1079         17      31.37      78.00        53.11         47.29
                   Female
                   2011

 Vail             Turquoise        4     13       25         24    32      44      300        100      45.03      10.57        65.67          0.0
                   Female
                   2013

 Vail             Stafford         0      0        2          0      0       0       11         0      14.72          0.74     86.27         74.61
                   Female
                   2010

 Vail             Breckenridge     0      3        0          1      0      12           0      4      34.56          0.47     16.83          5.94
                   Female
                   2011

 Vail             Breckenridge     0      0        0          0      0       0           0      0      25.07          0.00      0.00          0.0
                   Female
                   2010

 Vail             Climax           0      0        0          0      0       0           0      0      35.09          0.00     12.81          9.82
                   Female
                   2010

 Vail             Stafford       132     24      123          3   494      167     435         21      92.14      12.11        24.16         28.42
                   Male 2011
 Vail             Turquoise        4     20       25         29    41       59     410        157     135.43          4.93     46.85         25.07
                   Male 2013

 Vail             Half Moon        4     14       25         18    23       41     163         66     175.41          1.67     34.38         25.33
                   Male 2013

 Vail             Climax Male      0     17        0          2      0      41           0      6      85.06          0.55     18.69         12.33
                   2011
 San Juan         Molas            7     53       43         57   122     222     1660        215     106.77      20.79        11.21          4.86
                   Female
                   2012
 San Juan         Cement           1     37        0          5      4    138            0     27      48.68          3.47      4.10          2.77
                   Female
                   2012
 San Juan         Hope Lake        1     64        6     172         3    226        98      1118      67.36      21.45        30.25         22.07
                   Female
                   2013
 San Juan         Animas           1      4        1          4      1      16      40         22      79.62          1.00      8.11          1.14
                   Female
                   2012
 San Juan         Ironton          0     22        1         48      0      39           3    187      43.20          5.30     24.42         19.95
                   Female
                   2012

 San Juan         South           15    107       95     116      415     483     3269        569     663.02          7.14     11.38          9.88
                   Mineral
                   Male 2012

 San Juan         Cement Male      2    102        3          8    20     328        10        40     104.52          3.80      5.87          7.57
                   2012




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 TABLE A1     (Countinued)

                             # Recreation tracks on HR        km of Recreation tracks on HR             Track     Avg        SD
  Study                                                                                       HR size   density   counter    counter
  Area       Indv ID         Hyb    BKSki   Snmb     PTSki    Hyb    BCski    Snmb    PTSki   (km2)     km/km2    hits/day   hits/day

  San Juan   Molas Male        7     69       43         56   122     247     1660     226     157.63     14.31     10.81         4.85
              2012
  San Juan   Ophir Male        2    184       29         70    35     883      508      267    175.51      9.64     29.10         19.80
              2012

  San Juan   Ironton Male      0     22        1         48      0      35       3      186     42.26      5.32     27.45      16.08
               2012

  San Juan   South             0     71        6     127         0    251       41      962     75.22     16.67     34.50      22.60
              Mineral
              Male 2013

  San Juan   Ophir Male        0    127       20         86      0    658      469     279     200.30      7.02     24.15      27.32
              2013




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      1. Species: Uncompahgre Fritillary Butterfly (Boloria (improba) acrocnema)

      2. Status: Table 1 summarizes the current status of this species or subspecies by various
         ranking entity and defines the meaning of the status.

       Table 1. Current status of Boloria improba acrocnema
       Entity            Status            Status Definition
       NatureServe       G5T1T2            Species is Critically Imperiled
                                           At very high risk of extinction or elimination due to very restricted range, very
                                           few populations or occurrences, very steep declines, very severe threats, or
                                           other factors.
       CNHP              S1                Species is Critically Imperiled
                                           At very high risk of extinction or elimination due to very restricted range, very
                                           few populations or occurrences, very steep declines, very severe threats, or
                                           other factors.
       Colorado State    NONE              N/A
       List Status

       USDA Forest        ESA Section      ESA Section 7 consultation requirement for activities that may affect the
       Service            7                species.

       USDI FWSb          FE               Federally listed as Endangered

       USDI FWS           None            No occurrence of designated critical habitat within the planning area.
       Critical Habitat
       a Colorado Natural Heritage Program.
       b US Department of Interior Fish and Wildlife Service.


      The 2012 U.S. Forest Service Planning Rule defines Species of Conservation Concern (SCC) as
      “a species, other than federally recognized threatened, endangered, proposed, or candidate
      species, that is known to occur in the plan area and for which the regional forester has determined
      that the best available scientific information indicates substantial concern about the species'
      capability to persist over the long-term in the plan area” (36 CFR 219.9). This overview was
      developed to summarize information relating to this species’ consideration to be listed as a SCC
      on the Rio Grande National Forest, and to aid in the development of plan components and
      monitoring objectives.

      3. Taxonomy

      Genus/species Boloria acrocnema is not accepted as valid. Boloria improba acrocnema is
      accepted as valid (ITIS 2015).

      4. Distribution, abundance, and population trend on the planning unit [12.53.2,3,4]:

      Uncompahgre fritillary butterfly (UFB) is narrow endemic, restricted to isolated alpine habitats in
      the San Juan Mountains of southwestern Colorado (NatureServe 2015). Mt. Uncompahgre and
      Redcloud Peak were the only two colonies known at the time of listing and recovery planning.
      Shortly after completion of the Recovery Plan, an additional colony was discovered. Eight other
      colonies were discovered in subsequent years (USDI Fish and Wildlife Service 2009).

      Currently, 11 known colonies exist. Three are quantitatively monitored with line transects, and
      the remaining eight are monitored only for presence. Three of the colonies have been monitored

                                                                                                                   1


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      for population status for more than 10 years, but the data are not currently sufficient for to
      determine that the population has been stable or increasing during this time. Much of the data
      collected before 2003 was unreliable due to changes in transect methodology and missing data
      (USDI Fish and Wildlife Service 2009).

      Five of the known 11 colonies occur within the planning area. Quantitative population data is not
      recorded for these sites; therefore, abundance and trend information for populations within the
      planning area has not been identified.
      Based on the monitoring report for the 2014 field season (Alexander and Keck 2015) the ongoing
      qualitative monitoring of the 11 confirmed populations documented population persistence at
      only nine of the 11 known colonies. Persistence has not been documented at Rio Grande Pyramid
      colony for two years and likewise for seven years at the Machin Lake colony of the Canyon
      Diablo population. The lack of confirmation of the UFBs at the Machin Lake colony for seven
      years and the Cinnamon Pass colony for over a decade may indicate that some populations may
      be extirpated.
      Table 2. Known Occurrence Frequency within the Planning Area (NRIS database)

       Known Occurrences in the past 20 years       5 locations
       Year Last Observed                                 2014

      5. Brief description of natural history and key ecological functions [basis for other 12.53
         components]:

      All known UPB populations are associated with large patches of snow willow (Salix nivalis)
      above 12,000 feet, which provide food and cover. The species is found primarily on northeast­
      facing slopes, which are the coolest and wettest microhabitat available in the San Juan Mountains.

      Females lay their eggs on snow willow, which is also the larval food plant, while adults take
      nectar from a wide range of flowering alpine plants (USDI Fish and Wildlife Service 2015).
      Adults fly about late July into August. Flight is possible only in warm sunny weather. Species is
      biennial (requiring 2 years to complete life cycle), but flies in both odd and even years
      (NatureServe 2015).

      6. Overview of ecological conditions for recovery, conservation, and viability [12.53 7, 9?,
         10, 11, 12]:

      It is known that illegal collecting has taken place in the past at some well-known locations.
      Therefore, the ongoing, recommended strategy is to prevent the locations of populations from
      becoming public knowledge. However, the likelihood and consequences of this collecting have
      been reduced in relationship to other factors associated with the long-term persistence of this
      species (R. Ghormley, pers. comm., July 2015)

      In recognition of this potential threat to UFB from livestock grazing, the U.S. Forest Service
      avoids sheep grazing within UFB colonies altogether, or allows only trailing through the colonies
      and suitable habitat, but not bedding or long-term grazing. The only colony with sheep trailing
      through the colony on a reoccurring (but inconsistent) basis has been Mt. Uncompahgre, which is
      located outside the planning area (USDI Fish and Wildlife Service 2009).

      Evidence of cattle grazing on the Machin Lake colony on the Rio Grande National Forest
      occurred in 2007 but has not been noted since that time. Persistence of UFB at this colony was
      documented the year after livestock grazing (in 2008) but has not been noted since that time.

                                                                                                          2


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      Also, the lack of evidence for persistence at some subpopulations may indicate that these
      populations are not always stable or that population numbers are relatively low and that the
      emergence period is relatively short. (Alexander and Keck 2015).

      Climate change remains a concern due to the relatively limited habitat size and high elevation of
      this species. Climate change may be affecting the developmental timing of UFBs which may
      account for some shifts in persistence. Events such as the early UFB emergence date in 2012 may
      be providing additional anecdotal evidence (Alexander and Keck 2015). Existing and predicted
      climate trends may also present implications for other alpine system pollinators. Future
      monitoring and assessment is needed to evaluate threat of climate change on this federally
      endangered species (Alexander and Keck 2015).

      7. Threats and Risk Factors

      Threats listed in the final listing rule and the Recovery Plan include trampling of the UFB and its
      habitat by humans and livestock, collecting, lack of regulatory mechanisms, adverse climatic
      changes, small population size, and low genetic variability (USDI Fish and Wildlife Service
      2009). While most known UFB populations are in remote areas, potential threats to the species’
      persistence still exist. Increasing recreational traffic, including much off- trail use, domestic
      livestock grazing, grazing by wild ungulates and the potential for global climate change all pose
      problems to habitat necessary to the species’ recovery. Illegal collecting may also continue at
      some colonies although none has been documented recently (Alexander and Keck 2015).

      8. Key literature:

      Alexander, K.D. and A.G. Keck. 2015. Uncompahgre Fritillary Butterfly Monitoring and
      Inventory: 2014 Report and Status. 19 pp.

      NatureServe. 2015. An online encyclopedia of life. Accessed online at:
      http://explorer.natureserve.org/index.htm [07/06/2015].

      USDI Fish and Wildlife Service. 1994. Uncompahgre fritillary butterfly recovery plan. Denver
      Colorado. 20 pp.

      USDI Fish and Wildlife Service. 2009. Uncompahgre fritillary butterfly (Boloria acrocnema), 5-
      year review: summary and evaluation. 19 pp.

      USDI Fish and Wildlife Service. 2015. Uncompahgre fritillary butterfly (Boloria acrocnema).
      Accessed online at: http://www.fws.gov/ mountain-
      prairie/es/esUpdate/uncompahgreFritillaryButterfly.php [07/20/2015].




                                                                                                            3


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    Uncompahgre Fritillary Butterfly
     (Clossiana improba acrocnema)
                          5-Year Review:
                       Summary and Evaluation




                    Photo Credit; Creed Clayton, U.S, Fish and Wildlife Service, 2007



                U.S. Fish and Wildlife Service
      Western Slope Office, Colorado Ecological Services
                 Grand Junction, Colorado

                                September 28,2018

                                                                         Rvsd Plan - 00004156
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                                         5-YEAR REVIEW
                  Uncompahgre Fritillary Butterfly (Clossiana improba acrocnema)

    EXECUTIVE SUMMARY

    In 2010 we recommended that the Uncompahgre fritillary butterfly (UFB) be downlisted to
    threatened per the UFB downlisting criterion (see section 2.2.3 below). The recommendation
    was a result of average to high abundance of the UFB on two colonies, Mt, Uncompahgre and
    Redcloud Peak, for over 10 years with no apparent threats to these two colonies. However, due
    to other elevated priorities, a downlisting rule was not written. Since 2010, climate change has
    appeared as a discernible, impactful, threat such that the downlisting criterion is no longer being
    met. Effects of climate change have been observed through increases in statewide temperatures
    and earlier date of snowmelt and is the likely cause of multi-year suppression or extirpation of
    some colonies or sub-colonies of the UFB, Further predicted changes in climate in the next 32 to
    72 years will likely result in increased adverse changes to UFB habitat and population
    abundance. Delisting criterion calling for 10 stable colonies for 10 consecutive years is also no
    longer being met. At most, considering population abundance at quantitatively monitored
    colonies and presence/absence at qualitatively monitored colonies, there are only 8 colonies that
    are considered stable. Consequently, based on the best available scientific and commercial data,
    our current recommendation is for the classification of the UFB to remain as endangered.

    Also, we recently became aware of taxonomic work that took place in the last several
    years. Based on this work, and discussion with respected lepidopterist and author of the UFB
    final listing rule, Dr. Paul Opler, it was determined that the scientific name of the UFB should
    change from Boloria acrocnema to Clossiana improba acrocnema. Designation as a subspecies
    along with changes to the level of threat and recovery potential changes the Recovery Priority
    Number. Due to observed and predicted climate change effects we recommend increasing the
    level of threat from low to moderate and, in light of likely continued climate change effects, we
    recommend changing recovery potential to low. These rankings along with the new taxonomic
    classification as a subspecies alter the Recovery Priority Number from a 14 to a 12.

    I .   GENERAL INFORMATION

           1.1     Purpose of 5-Year Reviews

                   The U.S. Fish and Wildlife Service (Service) is required by Section 4(c)(2) of the
                   Endangered Species Act of 1973, as amended, (ESA) to conduct a status review
                   of each listed species at least once every 5 years. The purpose of a 5-year review
                   is to evaluate whether or not the species’ status has changed since the time it was
                   listed or since the most recent 5-year review. Based on the outcome of the 5-year
                   review, we recommend whether the species should: 1) be removed from the list of
                   endangered and threatened species; 2) be changed in status from endangered to
                   threatened; 3) be changed in status from threatened to endangered; or 4) remain
                   unchanged in its current status. Our original decision to list a species as
                   endangered or threatened is based on the five threat factors described in Section
                   4(a)(1) of the ESA. These same five factors are considered in any subsequent


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                reclassification or delisting decisions. In the 5-year review, we consider the best
                available scientific and commercial data on the species, and we review new
                information available since the species was listed or last reviewed. If we
                recommend a change in listing status based on the results of the 5-year review, we
                must propose to do so through a separate rule-making process that includes public
                review and comment.

          1.2   Reviewers

                Lead Regional Office: Mountain-Prairie Regional Office
                Kathy Konishi, Fish and Wildlife Biologist, (303) 236-4224
                Kate Norman, Chief, Decision Support Branch, (303) 236-4214

                Lead Field Office: Western Slope Office, Colorado Ecological Services
                Ann Timberman, Western Slope Supervisor, (970) 628-7181
                Terry Ireland, Fish and Wildlife Biologist, (970) 628-7188

          1.3   Methodology Used to Complete the Review

                The 5-year review was conducted by Terry Ireland, the lead U.S. Fish and
                Wildlife Service (Service) biologist for the Uncompahgre fritillary butterfly
                (UFB). On May 27,2016, we published an announcement initiating the 5-year
                review process and seeking new information on the UFB (U.S Fish and Wildlife
                Service 81 FR 33698). There were no new comments or new information
                submitted during the public review period. We relied on the 2017 field report
                (Alexander and Keck 2018) for the 2017 field season and previous field seasons’
                quantitative and qualitative population monitoring information. We also relied on
                other recent research and additional literature gathered since the 2010 5-year
                Review for this current review. Population recruitment, abundance, and density
                were not calculated yet for the 2018 field season at quantitatively monitored
                colonies at the time of this review so qualitative information at all colonies was
                incorporated via personal communication from Kevin Alexander for 2018
                monitoring information. Alexander and Keck (2018) summarizes quantitative
                population data from 2003-2017 using a formula developed previously
                (Alexander and Keck 2007).

          1.4   Background

                1.4.1   FR Notice Citation Announcing Initiation of This Review
                        81 FR 33698, May 27, 2016

                1.4.2   Listing History
                        FR notice: 56 FR 28712
                        Date Listed: June 24, 1991
                        Entity listed: Species
                        Classification: Endangered



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               1.4.3   Review History

                       1994 Recovery Plan (U.S. Fish and Wildlife Service 1994). Used threats
                       and information in the 1991 listing for development of the Recovery Plan.

                       2010 5-Year Review (U.S. Fish and Wildlife Service 2010). The 2010 5-
                       year Review recommended down-listing but due to higher priorities a
                       down-listing package was not prepared and the species has remained
                       endangered.

               1.4.4   Species’ Recovery Priori ty Number at Start of 5-year Review
                       Degree of Recovery
                        Threat      Potential        Taxonomy            Priority   Conflict
                                                   Monotypic Genus             1           IC
                                      High              Species               2            2C
                                                    Subspecies/DPS            3            3C
                          High
                                                   Monotypic Genus            4            4C
                                      Low               Species               5            5C
                                                    Subspecies/DPS            6            6C
                                                   Monotypic Genus            7            7C
                                      High              Species               8            8C
                                                    Subspecies/DPS            9            9C
                        Moderate
                                                   Monotypic Genus            10          IOC
                                      Low               Species               11          lie
                                                    Subspecies/DPS            12          12C
                                                   Monotypic Genus            13          13C
                                      High              Species              14*          14C
                                                    Subspecies/DPS            15          15C
                          Low
                                                   Monotypic Genus            16          16C
                                      Low               Species               17          17C
                                                    Subspecies/DPS            18          18C
                       *The system for determining Recovery Priority Number was established in
                       a September 21, 1983 Federal Register notice (U.S. Fish and Wildlife
                       Service 48 FR 43098).

                       As established by the 2010 5-Year Review, the Recovery Priority Number
                       for the UFB at the start of this review is a 14. This number indicated that:
                       (1) populations faced a low degree of threat; (2) recovery potential was
                       high; and (3) the UFB was listed at the species level.

               1.4.5   Recovery Plan

                       Name of plan: Uncompahgre Fritillary Butterfly Recovery Plan
                       Date approved: March 17, 1994


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    2 .0    REVIEW ANALYSIS

           2,1   Application of the 1996 Distinct Population Segment Policy

                 The Distinct Population Segment (DPS) Policy is not applicable to UFB because
                 the ESA precludes listing DPSs of non-vertebrate animals (and plants). For more
                 information, see our 1996 DPS policy (U.S. Fish and Wildlife Service and
                 National Marine Fisheries Service 61 FR 4722).

           2.2   Recovery Criteria

                 2.2.1   Does the species have a final, approved recovery plan containing
                         objective, measurable criteria?
                         JCYes
                         ____ No

                 2,2.2   Adequacy of recovery criteria.

                         2.2.2.1 Do the recovery criteria reflect the best available and most
                                 up-to-date information on the biology of the species and its
                                 habitat?
                                 ___    Yes
                                  X     No. We may wish to change the recovery criteria based on
                                        new information regarding genetics, population status, and
                                        climate change concerns. See Section 4 for more
                                        information on this option,

                         2.2.2.2 Are all of the 5 listing factors that are relevant to the species
                                 addressed in the recovery criteria (and is there no new
                                 information to consider regarding existing or new threats)?
                                 JL Yes
                                 ___    No

                 2.2.3   List the recovery criteria as they appear in the recovery plan, and
                         discuss how each criterion has or has not been met, citing
                         information:

                         Downlisting Criterion: “Downlisting may be considered if threats are
                         removed and if adequate quality habitat exists to maintain stable colonies
                         of butterflies for 10 consecutive years at both Mt. Uncompahgre and
                         Redcloud Peak.”

                         Mt, Uncompahgre and Redcloud Peak were the only two colonies known
                         at the time of listing and recovery plarming. Shortly after completion of
                         the Recovery Plan, an additional colony was discovered. Eight other



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                     colonies were discovered in subsequent years. To take improvement of
                     the species population status into account, the Recovery Plan stated that
                     “if additional colonies are found, if the known population number
                     naturally increases, or if propagation coupled with augmentation or
                     reintroduction is successful in increasing their numbers, the butterfly may
                     be considered for downlisting or delisting.”

                     Population monitoring transects are installed at Mt. Uncompahgre,
                     Redcloud Peak, and Colony C. A population trend report was developed
                     for monitoring data collected through the 2006 field season to help
                     determine if populations could be considered “stable” as stated in recovery
                     criterion (Alexander and Keck 2007). Population monitoring has also
                     been conducted each year since and is summarized through the 2017 field
                     season (Alexander and Keck 2018). Recruitment (i.e. abundance) at both
                     the Redcloud Peak sub-colonies and two of the three sub-colonies at Mt.
                     Uncompahgre were about average in 2017 in comparison to prior years.
                     However, the Mt. Uncompahgre middle sub-colony was low compared to
                     the prior years (Alexander and Keck 2018). Although the butterfly’s
                     numbers can vary year to year and some colonies or sub-colonies that are
                     absent one or two years have been extant the following years, population
                     sizes are or appear to be remaining low at some colonies or sub-colonies
                     and extirpation appears to have occurred at one colony (Alexander and
                     Keck 2018; Alexander, Western State Colorado University (WSCU), pers.
                     comm. 2018). UFB’s were not observed atone other qualitatively
                     monitored colony in 2018 (Alexander, WSCU, pers. comm. 2018), though
                     additional monitoring must be done to determine if that colony is
                     extirpated.

                     In terms of threats, factors listed in the final listing rule (U.S. Fish and
                     Wildlife Service 56 FR 28712) and the Recovery Plan include trampling
                     of the UFB and its habitat by humans and livestock, collecting, lack of
                     regulatory mechanisms, adverse climatic changes, small population size,
                     and low genetic variability. Some off-trail hiking continues to occur
                     through Redcloud Peak and Mt. Uncompahgre colonies and researchers
                     walk transects for population counts as well as searches but population
                     impacts have not been detected from human trampling and all other direct
                     habitat threats appear to be ameliorated. Adequate regulatory mechanisms
                     exist at Redcloud Peak and Mt. Uncompahgre.

                     Based solely on population abundance through 2017, climate change has
                     not yet affected the quantitatively monitored colonies on Redcloud Peak or
                     Mt. Uncompahgre. However, previously predicted changes
                     (Intergovernmental Panel on Climate Change (IPCC) 2007; Ray et al.
                     2008) in temperature and other weather patterns have been observed
                     globally, statewide, and regionally and it is predicted from numerous
                     models that climate will change even more by mid-century and the end of



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                        the century (Lukas et al. 2014; IPCC 2014). As a result, climate change
                        could begin affecting Redcloud Peak and Mt, Uncompahgre. In fact, very
                        warm and dry conditions in southwestern Colorado in 2018 were
                        noticeable on UFB colonies on the two mountains. With changes in
                        climate being observed regionally and further predicted climate change it
                        is determined that not all threats have been removed. Consequently, the
                        UFB is not warranted for downlisting. For a more detailed assessment of
                        threats see section 2,3,2 below.

                        Delisting Criterion: “Delisting may be considered after stable colonies
                        of butterflies exist for 10 consecutive years at a minimum of 10 sites.”

                        Three of the colonies have been quantitatively monitored for population
                        status for more than ten years. Recruitment at Mt. Uncompahgre and
                        Redcloud Peak colonies appear to be about average in 2017, and both
                        increased slightly in the last two years (Alexander and Keck 2018). The
                        trend appears stable at these two colonies compared to annual recruitment
                        since 2003 (though the middle sub-colony at Mt. Uncompahgre appears to
                        have a decreasing trend) (Alexander and Keck 2018), However, Colony C
                        has had very low or no recruitment in the last 3-4 years, through 2017, and
                        has a decreasing trend (Alexander and Keck 2018). Furthermore, two
                        colonies where only qualitative presence is assessed had no butterflies
                        detected in 2017. One of these (called Colony D for this review) has
                        definitively had no butterflies in four of the last six years including none
                        in the last two years through the 2018 field season and is likely extirpated
                        (Alexander and Keck 2018; Alexander, WSCU, pers. comm. 2018).

                        Based on information since the 2010 5-Year Review, and including 2018
                        qualitative observations only, there are only two of the three quantitatively
                        monitored colonies that appear stable or increasing (through 2017), and at
                        most only six of the eight qualitatively monitored populations were
                        detected in 2018. Therefore, at most, only eight stable populations are
                        considered to exist and the delisting criterion is not being met. Refer to
                        Section 2.3.1 below for further biological information section, 2.3,2 for
                        further threat assessment information, and section 4.0 for future
                        recommended actions.

          2.3   Updated Information and Current Species Status

                2.3.1   Biology and Habitat

                        2.3.1.1 Abundance, population trends (e.g., increasing, decreasing,
                                stable), demographic features (e.g., age structure, sex ratio,
                                family size, birth rate, age at mortality, mortality rate, etc.), or
                                demographic trends: Up to eleven colonies are known to have
                               existed. Three colonies are quantitatively monitored with line



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                           transects, and the remaining eight have only been qualitatively
                           monitored for presence. Unfortunately, one of the qualitatively
                           observed colonies (Colony D) has been definitively absent four out
                           of the last six years and possibly absent a fifth year (through 2018)
                           with presence last recorded in 2016 (Alexander and Keck 2018;
                           Alexander, WSCU, pers. comm. 2018). It is therefore likely that
                           this colony is extirpated. Furthermore, in 2018 another colony
                           (Colony E), was not present but has been consistently present since
                           2011 (and definitively or likely present all years from 1995 to
                           2009). Additionally, a qualitatively monitored sub-colony of
                           Redcloud Peak was absent in both 2017 and 2018 (Alexander,
                           WSCU, pers. comm. 2018) and a qualitatively monitored sub­
                           colony of Mt, Uncompahgre was potentially missing in 2017 and
                           definitively missing in 2018 (Alexander, WSCU, pers. comm,
                           2018).

                           The two originally known sites, Redcloud Peak and Mt.
                           Uncompahgre, have been monitored intensively since 1992,
                           Redcloud Peak is the only known colony on U.S, Bureau of Land
                           Management (BLM) land. Due to changes in transect
                           methodology and missing data in earlier years, data for these two
                           sites are the most reliable since 2003. Calculations formulated in a
                           2007 trend analysis have been used since then to calculate annual
                           population numbers (Alexander and Keck 2007; Alexander and
                           Keck 2018).

                           Three sub-colonies at Mt. Uncompahgre and two sub-colonies at
                           Redcloud Peak are quantitatively monitored. Colony C also
                           consists of two sub-colonies that are quantitatively monitored. In
                           2007, the total estimated population of the three colonies was
                           approximately 23,100. However, most cumulative estimates have
                           been between 3,500 and 9,900 since 2003. For 2017 the estimate
                           could be considered average, at about 7,600, However, annual
                           monitoring reveals that Colony C sub-colonies declined sharply or
                           were absent starting in 2014 and continuing through the 2017 field
                           season (Alexander and Keck 2018). Estimates have not been
                           calculated yet for 2018, but Colony C will be very low again
                           (Alexander, WSCU, pers, comm. 2018). There were two UFB’s
                           counted on a transect at Colony C South in 2018 where they were
                           absent for three years (Alexander, WSCU, pers. comm. 2018), It is
                           possible that Colony C South was naturally augmented from
                           Colony C North since it is only about 16 mile away. Table 1 and
                           Figure 1 illustrate population estimates for each of the
                           quantitatively monitored sub-colonies as far back as 2003 when
                           consistent and usable data is available.




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                           Table 1. Uncompaghre fritillary butterfly population recruitment
                           estimates sub-colonies at Mt. Uncompahgre, Redcloud Peak, and
                           Colony C (Alexander and Keck 2018).

                            Year   UP    UP           UP    RC    RC    Colony            Colony
                                   Lower Middle       Upper Lower Upper C                 C
                                                                        North             South

                            2003   1018     322       1203     818      671      306      No
                                                                                          count
                            2004   2222     205       260      1524     1263     125      0
                            2005   470      412       873      465      916      209          105
                            2006   2976     1754      1813     1394     3152     99           940
                            2007   3764     3818      3797     3469     6007     1227         1060
                            2008   1856     1401      1352     915      2470     516          524
                            2009   357      627       444      1430     1362     72       26
                            2010   1492     522       887      538      971      354          133
                            2011   1183     454       990      1567     2936     388          808
                            2012   1778     1047      267      816      879      445          975
                            2013   1140     402       281      2894     3863     554          762
                            2014   1144     392       544      366      1771     107          157
                            2015   651      64        93       408      787      117          0
                            2016   2082     675       112      921      2166     81           0
                            2017   2176      127      1668     1490     2102     81           0




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                                Figure 1, Graph of Uncompahgre fritillary butterfly population
                                recruitment estimates of sub-colonies at Mt. Uncompahgre,
                                Redcloud Peak, and Colony C.


                               Uncompahgre Fritillary Butterfly Counts
                                ■■■“UP Lower               UP Middle             Upper             RC Lower

                                —"RC Upper          "—•Colony C NorthColony C South
                 7000




                 6000




                 5000




                 4000




                 3000




                 2000




                 1000




                    0
                        2003   2004   2005   2006   2007   2008   2009   2010   2011     2012   2013   2014   2015   2016   2017



                                The UFB primarily has a biennial life-cycle. However, as
                                evidenced by genetic homogeneity between broods at the Redcloud
                                Peak site, some caterpillars may take two summers to mature
                                rather than three (Britten and Brussard 1992; Seidl 1996; Monroe
                                et al, 2016), Slowly developing caterpillars may take up to
                                four years to mature. For example, if a UFB egg is laid in 2018,
                                the individual would typically spend all of 2019 as a caterpillar,
                                metamorphose into a butterfly and reproduce to complete the
                                normal biennial life-cycle in 2020. Quickly developing caterpillars
                                could hatch from an egg in 2018, and then metamorphose into an


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                            adult and reproduce in 2019. However, an extension to a third year
                            is possible such that a UFB egg laid in 2018 would develop and
                            remain a caterpillar for ail of 2019 and 2020 then metamorphose
                            into an adult and reproduce in 2021. Very dry or very wet weather
                            is suspected to be a factor in population changes and may influence
                            the length of time to maturity.

                     2,3.1.2 Genetics, genetic variation, or trends in genetic variation (e.g.,
                             loss of genetic variation, genetic drift, inbreeding, etc.): Britten
                            and Brussard (1992) compared the UFB at Redcloud Peak with
                            other butterflies in the B. improba group in the Rocky Mountains
                            north to the Yukon Territory. The UFB was found to be distinct
                            from other closely related species. It was also found that UFB’s
                            within the Redcloud Peak colony were genetically homogeneous
                            between the two years they were collected in that locality (Britten
                            and Brussard 1992).

                            In a later analysis, genetic samples were collected in 2008 and
                            2009 at each of the eleven colonies to determine gene flow
                            between colonies and effective population size (Monroe et al.
                            2016), However, only Mt. Uncompahgre, Redcloud Peak, and
                            Colony C had enough material to be adequately evaluated. Results
                            indicate that the three colonies exist as a metapopulation
                            suggesting low-level migration between the colonies. Gene flow
                            between the even- and odd-year broods was reaffirmed through
                            inter-colonial genetic homogeneity supporting occasional
                            differences in developmental maturity. However, the effective
                            population size was low relative to other rare insects and may be
                            cause for concern about persistence of the UFB (Monroe et al,
                            2016). Monroe et al. (2016) also stated that the butterfly has
                            persisted because of two types of rescue: temporal, via differing
                            development times between brood years, and traditional, through
                            occasional immigration. As such it appears crucial that all three
                            colonies remain extant to provide gene flow and occasional
                            population rescue of a faltering colony (Monroe et al. 2016).

                            Additional genetic samples were collected at the other extant
                            colonies in 2017 with the intent to further explore gene flow
                            (Alexander and Keck 2018). Two whole-body UFB’s were also
                            submitted for genomic sequencing that should help identify
                            additional genetic markers and increase the robustness of
                            additional gene flow analyses (Hugh Britten, University of South
                            Dakota, pers. comm. 2018).

                     2.3.1.3 Taxonomic classification or changes in nomenclature: The
                            UFB belongs to the Family Nymphalidae, Subfamily



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                           Heliconiinnae, and Tribe Argynnini. However, the taxonomic
                           history of the UFB is complicated. The UFB was discovered and
                           described as a full species by Gall and Sperling (1980) based on
                           phenotypic appearance. Not all people agreed with its species
                           status or even genus. A 1981 butterfly catalogue assigned most
                           Boloria species to genus Clossiana including improba but did not
                           mention acrocnema as either a separate species or subspecies of
                           improba, likely due to the recent naming of the species (Miller and
                           Brown 1981). Miller and Brown (1981) pointed out complexity in
                           this group of butterflies, noting that the species improba has also
                           variously been placed in genera Argynnis, Brenthis, and Boloria in
                           the past. It was also described as a subspecies of Boloria improba
                           (B. i. acrocnema) in The Butterflies of North America - A Natural
                           History and Field Guide (Scott 1986). However, genetic data from
                           Britten and Brussard (1992) suggested genetic differentiation from
                           species in the B. improba group further north, specifically its
                           closest neighbor approximately 330 air miles to the north in
                           Wyoming, B. i. harryi, supporting Gall and Sperling’s (1980)
                           classification as a full species.

                           More recently, Simonsen (2005) looked at the genitalia of many
                           butterflies related to the UFB and placed the UFB with others in
                           the family under the genus Boloria but subgenus Clossiana. He
                           did not specifically address the UFB in that article, stating that he
                           had no specimens of the UFB to examine and mentioned in passing
                           that Britten and Brussard (1992) had done some work on the B.
                           improba/acrocnema complex. Tuzov and Bozano (2006)
                           examined numerous Palearctic species around the world and, as
                           Miller and Brown (1981) did, reassigned many species in the
                           genus Boloria to the genus Clossiana, Furthermore, Tuzov and
                           Bozano (2006) assigned the Uncompahgre butterfly as Clossiana
                           improba acrocnema.

                           Another taxonomic study analyzed B. acrocnema and its closest
                           geographical relative B. improba harryi from Wyoming using
                           morphologic and molecular analyses (Simonsen et al. 2010). The
                           authors suggested_that B. acrocnema should also be placed as a
                           subspecies under B. improba but (again) suggested it be placed
                           under subgenera Clossiana using the nomenclature B. (C.) improba
                           acrocnema. Simonsen et al. (2010) also suggest B. i. harryi have
                           the same rank and be considered B. (C.) improba harryi.
                           Simonsen et al. (2010) admitted though that they had few
                           specimens for molecular analyses and that the improba/acrocnema
                           complex forms a closely related and homogenous group.




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                                Despite substantial geographic separation from B. (C.) i. harryi as
                                pointed out in Britten and Brussard (1992), the more recent work
                                referenced has changed the taxonomic structure of the UFB and its
                                relatives. Consequently, the Service has decided that the
                                nomenclature of the UFB should follow the more recent
                                classifications. The two most recent classifications are Tuzov and
                                Bozano (2006) and Simonsen et al. (2010). Renowned
                                lepidopterist and author of the Final Rule listing the UFB, Dr. Paul
                                Opler (Colorado State University, pers. comm. 2018), recommends
                                Tuzov and Bozano (2006) for nomenclature based on its broader
                                consideration of related butterflies in Europe. Their assignment of
                                genus also circles back to the older assignment in the genus
                                Clossiana in the Miller and Brown (1981) catalogue. Based on
                                these more recent taxonomic assignments and Dr. Opler’s
                                recommendation the Service will accept changing the UFB’s
                                scientific name to Clossiana improba acrocnema.

          2.3.2   Five-Factor Analysis (threats, conservation measures, and regulatory mechanisms)

                  2.3.2.1 Present or threatened destruction, modification or curtailment of its
                          habitat or range; The Final Rule largely dismisses threats under this
                         Factor from mining, grazing, hiking, and trampling. However, the
                         Recovery Plan includes research into the effects of grazing on the UFB as
                         a recovery task, due to information obtained after the Final Rule regarding
                         sheep grazing at Mt, Uncompahgre, There were also concerns that sheep
                         may graze at newly discovered colonies. Sheep are the most common
                         domesticated animal that grazes in UFB habitat. Instances of cattle or
                         horse grazing are rare.

                         Trampling of the UFB could occur as a result of sheep grazing and the
                         removal of some nectar sources has been observed in UFB localities from
                         sheep grazing (Alexander, WSCU, pers. comm. 2008). In recognition of
                         these potential impacts from grazing, the U.S. Forest Service (USFS)
                         avoids sheep grazing within UFB colonies or allows only trailing through
                         the colonies and suitable habitat, but not bedding or long-term grazing.
                         The only colony with sheep trailing on a reoccurring (but inconsistent)
                         basis has been Mt, Uncompahgre, though no sheep have grazed there for a
                         few years (Alexander, WSCU, pers, comm. 2018). Sheep grazing used to
                         occur on Redcloud Peak, but has been unavailable to grazing for many
                         years (U.S. Bureau of Land Management 1993).

                         Due to no evidence that colony abundance was being affected by sheep
                         trailing, despite removal of some nectar sources at Mt. Uncompahgre, we
                         determined in a December 16, 2008, informal section 7 consultation with
                         USFS that occasional sheep trailing may affect, but is not likely to
                         adversely affect the UFB colony (U.S. Fish and Wildlife Service 2008).



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                      Any future USFS or BLM actions associated with sheep grazing in UFB
                      habitat will require section 7 consultation with the Service.

                      Some hiking impacts continue to occur at Redcloud Peak and Mt.
                      Uncompahgre (Alexander and Keck 2018). Trail erosion, widening, and
                      braiding on Mt, Uncompahgre has been repaired, and trails on both
                      mountains were moved several years ago to minimize hiking through the
                      colonies, but portions of the trails skirt the edges of both colonies.
                      Descending hikers have crossed the colonies, especially at Redcloud Peak
                      (Alexander and Keck 2018). No population impacts have been noted from
                      cross-colony hiking but recreational hiking is increasing, and it remains a
                      potential impact. Since the UFB was listed and the Recovery Plan was
                      written there have been no other activities that have resulted in
                      destruction, modification, or curtailment of the UFB’s habitat at known
                      colony sites.

                      In conclusion, since listing, the only on-the-ground activities that have
                      impacted known UFB colonies are minor habitat modification from hiking
                      and sheep grazing at Mt. Uncompahgre and Redcloud Peak. However, we
                      do not believe that sheep grazing has been, or will be, a threat to the UFB
                      with the measures in place to avoid or minimize impacts. Consequently, it
                      does not appear that the present or threatened destruction, modification, or
                      curtailment of its habitat or range is currently threatening the UFB or
                      affecting recovery.

               2,3.2.2 Overutilization for commercial, recreational, scientific, or educational
                       purposes: Butterfly collecting was the primary reason stated in the Final
                      Rule for listing the UFB under the ESA. There were only two known
                      locations and small numbers of UFBs documented prior to the listing in
                      1991. UFB collection took place a few years prior to listing when the
                      USFS had a Special Order Closure (U.S. Forest Service 1984) to butterfly
                      collecting around Mt. Uncompahgre. The person responsible for the
                      collecting was found in violation of the USFS closure and illegal
                      collecting of other butterflies under the ESA and other laws
                      (U.S. Department of Justice 1993). No illegal UFB collecting is known to
                      have occurred since listing of the UFB.

                      The possibility of collectors or biologists impacting the UFB was
                      mentioned in the Final Rule listing the UFB. To date, as then, no habitat
                      impacts, even on permanent population monitoring transects, have been
                      noted and no trampling has ever been documented by researchers. Some
                      incidental taking occurred during genetic sample collection in 2008, but
                      the take was 0.5 percent or less of monitored populations. No incidental
                      take occurred during 2009 genetic sampling. More recent genetic
                      sampling occurred in 2017 with no mortality (Alexander and Keck 2018).




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                      In conclusion, overutilization for commercial, recreational, scientific, or
                      educational purposes has not occurred since listing or finalization of the
                      Recovery Plan to the extent that it has affected recovery. However, in the
                      absence of the butterfly having protection by listed status, collection by
                      hobbyists, researchers, educators, or by those seeking commercial gain
                      could once again become a threat. This issue requires long-term
                      management, as outlined in Section 4,0 below, before ESA protections
                      could be considered for removal,

               23.2.3 Disease or predation: The Final Rule stated that there are no known
                      diseases to the UFB and predation by birds has rarely been observed
                      (Wilcove 1980). There has been no evidence in the intervening years to
                      the contrary. Consequently, neither disease nor predation appears to be a
                      threat to the UFB, and is not affecting recovery,

               2,4.2.4 Inadequacy of existing regulatory mechanisms: The Final Rule stated
                      that collecting and grazing protections afforded to the UFB by the USFS
                      and by the BLM were commendable, but because of their discretionary
                      nature could be withdrawn or lapse in effectiveness. Consequently, listing
                      provides a greater level of protection.

                      In 1993, the BLM issued the Gunnison Resource Area Resource
                      Management Plan (RMP) which provided a directive on the protection of
                      the Redcloud Peak UFB colony (BLM 1993), The RMP established an
                      Area of Critical Environmental Concern (ACEC) around Redcloud Peak.
                      Management direction under the ACEC included: collection only through
                      Service and BLM authorization; grazing exclusion in the Silver Creek
                      basin; restriction of motor vehicles to designated routes (although no
                      routes exist in the ACEC); and avoidance of placement of rights-of-way in
                      the ACEC. The ACEC did allow Federal oil, gas, and geothermal leasing,
                      but with a controlled surface use stipulation and avoidance of mineral
                      material disposal. No oil, gas, or geothermal development has occurred to
                      date, and given the ruggedness of the location, it is unlikely to occur.

                      As mentioned previously, the USFS closed all butterfly collecting around
                      Mt. Uncompahgre (U.S. Forest Service 1984) prior to listing and have
                      consulted on actions that could impact the UFB. Other areas that contain
                      UFBs do not have butterfly collecting closures that would protect the
                      species in the absence of listing under the ESA. Before we are able to find
                      that adequate regulatory mechanisms exist that would protect the species
                      upon delisting, the USFS and BLM will need to place additional closures
                      around sites or agree to regulate collecting through special use permit
                      issuance.

                      While the UFB is still listed, activities on USFS or BLM lands require
                      section 7 consultation and preparation of a National Environmental Policy
                      Act (NEPA) document, both of which can stipulate measures to avoid and


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                      minimize impacts to the UFB. After delisting, activities on USFS or BLM
                      lands will continue to require preparation of a NEPA document. The
                      NEPA is a disclosure statute only and does not require minimization of
                      impacts to sensitive species such as the UFB. Any measures to avoid and
                      minimize impacts to the UFB would be voluntary unless placed in an
                      RMP, The BLM ACEC designation could be removed through revision of
                      the RMP. Therefore, we have determined that a management plan signed
                      by the USFS and BLM that addresses grazing, collecting, recreation and
                      other on-the-ground threats will be necessary in order to remove the threat
                      of inadequate regulatory mechanisms.

                      In conclusion, the current regulatory mechanisms that exist are not
                      adequate to protect the UFB were the species to be delisted. We find that
                      a management and monitoring plan that provides protection to the species
                      and its habitat will be necessary in order to delist the species.

               2.3.2.5 Other natural or manmade factors affecting its continued existence:
                      The Final Rule and UFB Recovery Plan state that adverse climate changes
                      could become a potential threat to the UFB as well as small population
                      size, and limited genetic variability. Since the Final Rule and Recovery
                      Plan were written, there has been increasing information on climate
                      change. Summarized information and excerpts from long-term global,
                      State, and regional climate observations and predictions are included
                      below. Information on the worldwide loss of glaciers, loss of ice sheets
                      and sea ice, melting of permafrost, sea level rise, and ocean acidity are
                      only briefly mentioned in this document, though they likely have indirect
                      impacts to the UFB by influencing changes in precipitation patterns
                      including snowpack and possibly regional temperatures.

                      Climate Change - Global Level

                     According to the Intergovernmental Panel on Climate Change (IPCC
                     2007) Fourth Assessment Report “Warming of the climate system is
                     unequivocal, as is now evident from observations of increases in global
                     average air and ocean temperatures, widespread melting of snow and ice,
                     and rising global average sea level,” Average Northern Hemisphere
                     temperatures during the second half of the 20th century were very likely
                     higher than during any other 50-year period in the last 500 years and likely
                     the highest in at least the past 1,300 years (IPCC 2007). It is very likely
                     that over the past 50 years cold days, cold nights, and frosts have become
                     less frequent over most land areas, and hot days and hot nights have
                     become more frequent (IPCC 2007). It is likely that heat waves have
                     become more frequent over most land areas, and the frequency of heavy
                     precipitation events has increased over most areas (IPCC 2007),




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                     The Fourth Assessment Report also predict that changes in the global
                     climate system during the 21st century are very likely to be larger than
                     those observed during the 20th century (IPCC 2007), For the next two
                     decades, a warming of about 0.4'T (all measurements converted to
                     English system) per decade is projected (IPCC 2007). Afterward,
                     temperature projections increasingly depend on specific emission
                     scenarios. Emission scenarios are presented as Representative
                     Concentration Pathways or RCP’s of 2.6,4.5, 6.0, and 8.5, which are
                     consistent with the full range of scenarios in the literature. (For more
                     definition of RCP’s refer to IPCC (2007), IPCC (2014) or other sources).
                     The IPCC (2007) predicted global average surface warming during the
                     21st century between 2,0 and 11.5°F, depending on the emissions
                     scenario.

                     Since the IPCC Fourth Assessment Report was published, a Fifth
                     Assessment report has been prepared (IPCC 2014), The latest report
                     contains updates on global conditions. The report stated that each of the
                     last three decades has been successively warmer than any preceding
                     decade since 1850. The period from 1983 to 2012 was likely the warmest
                     30-year period of the last 1400 years in the Northern Hemisphere (medium
                     confidence). Using multiple datasets, the globally averaged combined
                     land and ocean surface temperature data as calculated by a linear trend
                     show warming (1.5 °F) over the period 1880 to 2012. Also, Northern
                     Hemisphere spring snow cover has continued to decrease in extent (high
                     confidence).

                     Past emissions to the atmosphere of gases as a result of human activity
                     (anthropogenic emissions), as well as future anthropogenic emissions and
                     natural climate variability, will drive future climate. The predicted
                     average global temperature change for the period 2016-2035 relative to
                     1986-2005 is similar for the four RCPs and will likely be in the range 0,5
                     to 1.3°F (medium confidence). The predicted average global temperature
                     change assumes that there will be no major volcanic eruptions or changes
                     in some natural sources (e.g., CH4 and N2O), or unexpected changes in
                     total solar irradiance. By the mid-21 st century, the magnitude of the
                     projected climate change will depend on the choice of emissions scenario
                     by humans,

                     “Relative to 1850-1900, global surface temperature change for the end of
                     the 21st century (2081-2100) is projected to likely exceed 2.7°F for
                     RCP4,5, RCP6,0, and RCP8.5 (high confidence). Warming is likely to
                     exceed 3.6°F for RCP6.0 and RCPS,5 (high confidence), more likely than
                     not to exceed 3,6°F for RCP4,5 (medium confidence), but unlikely to
                     exceed 3,6°F for RCP2.6 (medium confidence).'’’




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                     Compared to 1986-2005, the increase of global mean surface temperature
                     by the end of the 21st century (2081-2100) is likely to be 0.5°F to 3.1 °F
                     under RCP2.6,2°F to 4,7°F under RCP4.5, 2.5°F to 5.6°F under RCP6.0
                     and 4.7°F to 8.6°F under RCPS.5. The Arctic region will continue to
                     warm more rapidly than other parts of the planet.

                     It is virtually certain that there will be more frequent hot temperature
                     extremes and fewer cold temperature extremes over most land areas on
                     daily and seasonal timescales. It is very likely that heat waves will occur
                     with a higher frequency and longer duration but occasional cold winter
                     extremes will also continue to occur (IPCC 2014).

                     Climate Change - State (Colorado) Level

                     Ray et al. (2008) produced a climate change report for Colorado which
                     was subsequently updated (Lukas et al. 2014). Summers were projected to
                     warm more than winters in the Ray et al. report (2008). Projections
                     suggested that by mid-century, typical summer monthly temperatures will
                     be as warm, or warmer, than the hottest ten percent of summers that
                     occuned in last half of the 20th century (Ray et al. 2008).

                     Model projections for precipitation are less reliable than model projections
                     for temperature (Ray et al. 2008), especially in mountainous terrain such
                     as the range of UFB. Increasing temperature and soil moisture changes
                     may shift mountain habitats toward higher elevation (Ray et al. 2008).

                     Lukas et al. (2014) reported that average temperatures in Colorado
                     increased 2°F in the last thirty years (consistent with the global average).
                     No long-term trends in average annual precipitation have been detected
                     but snowpack has mostly been below average since 2000. Snowmelt has
                     been one to four weeks earlier in the last thirty years in Colorado due to
                     lower snow-water equivalency since 2000, a warming trend in spring
                     temperatures, and enhanced solar absorption from dust on snow.
                     Precipitation monitoring has detected no long-term trend in Colorado even
                     considering the relatively dry period since 2000 (Lukas et al. 2014).

                     The southern part of Colorado (where the UFB occurs) is more at risk of
                     less precipitation in the future (Lukas et al. 2014). Temperatures are
                     expected to rise 2.5°F to 5°F by 2050 relative to a 1971-2000 baseline
                     under a medium-low emissions scenario and rise 3.5°F to 6.5°F in a high
                     emissions scenario. Precipitation is expected to increase in the winter in
                     Colorado. However, most projections of Colorado’s spring snowpack
                     (April 1 snow-water equivalency) show declines for the mid-21st century
                     due to the projected wanning. Heat waves and droughts (and wildfires)
                     are expected to increase in frequency and severity in Colorado by 2050
                     due to the projected warming (Lukas et al. 2014), Since the UFB is an



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                     alpine species, wildfires are not expected to impact the UFB, but heat
                     waves and drought could affect them.

                     Climate Change - Regional Level and Correlative Studies

                     Climate and abiotic studies in the general region of the UFB and on UFB
                     colonies have taken place. In one experimental study at Rocky Mountain
                     Biological Lab (RMBL) near Gothic, Colorado, (approximately 9,600
                     feet) results showed that removal of snow to mimic earlier observed and
                     predicted snowmelt dates had a deleterious effect on nectar sources
                     through direct impact by frost (Gezon et al. 2016), Adding to that, another
                     study of butterfly (Speyeria mormonia) demographics at RMBL supported
                     that earlier snowmelt led to less abundance of nectar sources which
                     reduced the food available to .S’ mormonia and had a linear relationship to
                     decline in fecundity (reproduction) of the butterfly (Boggs and Inouye
                     2012).

                     A third study at RMBL, which has continued for 28 years, has monitored
                     changes in plant composition using heat lamps to mimic predicted
                     temperature changes (Panetta et al. 2018). The widespread mountain
                     Hov/er Androsace seplentrionalis was found to have disappeared or nearly
                     disappeared (91 percent average decline) in heated areas. The decline had
                     a direct correlation to earlier snowmelt which caused a decline in the
                     plant’s seedbank. Unfortunately, control areas (no heat lamps) with the
                     warmest and earliest-melting microenvironments, as of 2016, matched the
                     coolest and latest-melting heated areas in regards to shifts in plant
                     community, indicating current ambient temperatures are now affecting the
                     environment similar to the plots with heat lamps (Panetta et al. 2018).

                     As recognized in Panetta et al. (2018), not only has J. septentrionalis
                     declined but earlier studies in the heat lamp plots show a community shift
                     in vegetation from non-woody forbs to woody vegetation, particularly
                     Artemisia tridentata (Wyoming sagebrush). After only four years the heat
                     lamps produced a shift to woody vegetation (Harte and Shaw 1995).
                     Continued study of the heat lamp experiment confirmed this vegetation
                     shift, showed that soil carbon was being reduced and released into the
                     atmosphere and that a change in the floral community of at least montane
                     ecosystems is expected over this century (DeValpine and Harte 2001;
                     Perfors et al. 2003; Harte et al. 2015).

                     A con-elative study in the Canadian Rocky Mountains over a twenty-year
                     time frame showed that a Holarctic alpine butterfly (Parnassius smintheus)
                     is affected by extreme minimum and maximum temperatures in November
                     affecting egg overwintering (Roland and Matter 2016). The study also
                     showed that snowfall can ameliorate the effects of temperature (Roland
                     and Matter 2016). The alpine UFB does not have eggs that overwinter but



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                     larvae overwinter (Seidl 1996) and could be affected by extreme
                     temperature and snowpack fluctuations.

                     Isotopic data collected during the summer of 2017 at UFB colonies on Mt.
                     Uncompahgre and Redcloud Peak suggest that the majority of soil water
                     originates from snowmelt, with increasing contributions from rainfall later
                     in the season (Gianniny 2018). Soil moisture, streamflow, and rainfall
                     data were also collected during the summer of 2018, an extreme drought
                     year. Data over these two years describe a complex and variable
                     hydrologic system. Basal moisture levels originate from snowmelt but
                     change in response to subsequent rainfall events. As the climate warms,
                     the San Juan Mountains are expected to see decreased snowfall and earlier
                     snowmelt. These changes will drastically alter the hydrology of high
                     mountainous areas (Gianniny 2018). Additional water flow and soil
                     moisture data has been taken but the analysis is not complete (Alexander,
                     WSCU, pers. comm. 2018).

                     Because the UFB is restricted to a range of 12,100 to 13,500 feet
                     (Ellingson 2003), climate change could restrict the UFB’s habitat to a zone
                     so narrow that the species would be unable to survive, Britten and
                     Brussard (1992) believe that the UFB is a “glacial relict,” or a species that
                     was more widespread during or shortly after the last glacial period, but
                     with temperature increase since the last glacial period the range has been
                     restricted to isolated mountaintops. Naturally, this would lead one to
                     believe that increasing temperatures would further compress the UFB’s
                     range.

                     To summarize, the average global temperature has increased as predicted
                     and is expected to increase in the future (IPCC 2007,2014). Colorado
                     average temperatures have met or exceeded global averages and are also
                     expected to increase in the future. Snowpack has generally decreased in
                     the Northern Hemisphere (IPCC 2014) and has generally been below
                     average in Colorado since 2000, but no long-term precipitation trends
                     have been detected (Lukas et al. 2014). Winter precipitation is expected to
                     generally increase in Colorado but more of it may come in the form of rain
                     and the southern half of the state is predicted to get less precipitation, so
                     both snowpack and precipitation amount in the San Juan Mountains in the
                     future is unknown. Within Colorado, short-term temperature predictions
                     by Ray et al. (2008) have been borne out and the average temperature
                     increase has met or even exceeded the global average in the last 30 years
                     (Lukas 2014). Earlier snowmelt of 1-4 weeks has been observed due to
                     this warming (Lukas et al. 2014). Regional or correlative studies have
                     also shown that snow is melting earlier and will melt earlier with warmer
                     temperatures and may affect the timing of flowering, availability of water
                     and related abundance of nectar sources. The decrease in nectar sources
                     could affect UFB productivity, as shown with a study on S. mormonia



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                     (Boggs and Inouye 2012) but results may not be directly related to the
                     UFB due to different life patterns.

                     Direct measurements on UFB colonies for temperature, water availability,
                     and plant phenology are limited. The exception being Gianniny’s (2018)
                     isotopic water analysis showing that most of the soil water (that supports
                     nectar sources) is from snowmelt. If the snowmelt continues to get earlier,
                     the UFB emergence may not be able to meet earlier nectar source
                     phenology. Additionally, at the UFB’s high altitudes, spring frosts may
                     reduce the abundance of nectar sources if flowers emerge early in spring.
                     The UFB does show some plasticity regarding the timing of emergence to
                     snowmelt. However, with future predicted climate change the UFB may
                     not be able to adjust enough physiologically or developmentally to adapt
                     to continually earlier snowmelt or widely varying climate (IPCC 2014;
                     Van Dyck et al, 2015).

                     Evidence to date has not detected climate effects to the UFB’s at Mt.
                     Uncompahgre or Redcloud Peak. Additionally, all qualitatively monitored
                     colonies but one have had at least one year where there were no UFB’s
                     detected but then they reappeared (Alexander and Keck 2018). Despite
                     this promising information, very low numbers of butterflies at Colony C
                     since 2014, likely extirpation of Colony D, lack of presence at Colony E in
                     2018, and lack of presence at two other qualitatively monitored sub­
                     colonies in 2018 suggest that climate is starting to affect the UFB. It is
                     unknown if2018’s hot and dry climate will continue butthat is one
                     predicted scenario with more swings in weather with abundant snowpack
                     in one or more years followed by subsequent meager snow is also a
                     potential scenario (IPCC 2014; Lukas et al. 2014).

                     SmaUPopuIationSi^

                     Small population numbers at individual colonies could affect the UFB.
                     However, the UFB can bounce back from low numbers as evidenced by
                     population fluctuations of up to ten times between tow to high counts at
                     the three quantitatively monitored colonies (Alexander and Keck 2018).
                     In 2015 the quantitatively monitored colonies and their sub-colonies all
                     experienced low numbers but Mt, Uncompahgre and Redcloud Peak
                     rebounded to average numbers in 2017 (Alexander and Keck 2018).
                     However, Colony C declined substantially in 2014 and has not recovered
                     to average numbers. Colony C South did have two adult butterflies
                     detected in 2018 on a monitoring transect after three years of no butterflies
                     (Alexander, WSCU, pers, comm. 2018). This may have been due to
                     recolonization from Colony C North since it is only about 16 mile away.
                     Despite this recolonization, it would not be surprising to lose Colony C
                     entirely due to adverse environmental conditions or other natural causes of
                     this now demograph ically small colony. Colony D has had few or no



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                     butterflies detected in the last six years and it is likely that small
                     population size potentially coupled with climate change has caused
                     extirpation of this colony.

                     Genetic Variability

                     Low genetic variability could possibly cause problems but has not been
                     detected to have caused problems as of yet. Genetic analysis from
                     samples collected in 2008 and 2009 at the three quantitatively monitored
                     colonies show that they are relatively heterozygous among the sites (0.41
                     to 0.46 heterozygosity) and between even and odd years (Monroe et al.
                     2016). Heterozygosity among the colonies is surprising considering the
                     distance between the colonies and suggests at least a low level of
                     migration between the sites suggesting they are acting as a metapopulation
                     (Monroe et al. 2016). Assuming that low-level migration is happening,
                     how they find the other seemingly isolated colonies is still a mystery.
                     Heterozygosity between even and odd-year broods supports Britten and
                     Brussard’s (1992) findings and indicates genetic mixing between years is
                     still occurring. Further genetic analysis of samples collected at other
                     colonies should be able to tell us if the other sites are as heterozygous and
                     whether they are acting as metapopulations or are isolated.

                     In conclusion, climate change is suspected to have caused low numbers or
                     absences of UFB’s, but more direct climate research and its related effects
                     to UFB habitat are needed. It is possible the altitude at which the UFB
                     colonies occur will ameliorate some predicted change in temperature and
                     precipitation, but current demographic suppression for multiple years at
                     Colony C and absence at Colony D, E, and sub-colonies suggest climate
                     change is starting to affect UFB abundance. The hot and dry summer of
                     2018 was observable on UFB colonies but influences to UFB abundance
                     likely won’t be known for two years given the mostly biennial life-cycle
                     and will only be detectable if snowpack and climate are relatively normal
                     the next couple years for comparison. The UFB only has up to eleven
                     known colony sites, and so cumulatively the UFB’s range is not extensive.
                     If some colonies remain absent due to climate or other reasons they may
                     not be able to augment or recolonize sites, leading to further declines.
                     Genetic variability appears adequate at the three quantitatively monitored
                     sites, but new genetic analysis is needed for the other colonies. In short,
                     changes in climate have been observed, are predicted to become warmer
                     and potentially dryer or have more pronounced swings and, coupled with
                     small population size at individual colonies and overall, could affect
                     recovery of the UFB,




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          2.4    Synthesis


          Since listing and the completion of the Recovery Plan, the number of confirmed UFB
          colonies increased from two to eleven. Total population estimates for the three
          quantitatively monitored colonies climbed to as high as about 23,000 in 2007 but returned
          in 2008 to a more typical level for the 2003 to 2017 period. As such, the status of the
          UFB was looking promising during the writing of the 2010 5-year Review. The low
          numbers of Colony C since 2014 is of concern but played virtually no role in the average
          2017 figure since abundance at Mt. Uncompahgre and Redcloud Peak made up the bulk
          of the numbers. At the time of the 2010 5-year Review, the other eight qualitatively
          monitored populations persisted despite four of the colonies apparently having no UFBs
          during one or two surveys in different years since 2001. However, Colony D is now
          likely extirpated. Absence of UFB at Colony E is of concern due its consistent presence
          since 2011 (and from 1995 to 2009), and two qualitatively monitored sub-colonies of
          Redcloud Peak and Mt. Uncompahgre are of concern since they’ve possibly been absent
          for two years and were definitively absent in 2018.

          Most threats have been addressed. The primary threat of collecting appears to have been
          forestalled by the maintenance of UFB collecting closures around the two well-known
          colonies, regular researcher presence, occasional law enforcement visits, and prohibition
          of collection by the ESA. However, these protections must be extended into the future by
          regulatory mechanisms before we can ascertain that factor D has been sufficiently
          addressed.

          The only observable current impacts are caused by relatively minor habitat degradation
          from hiking trails on the edge of colonies at Mt. Uncompahgre and Redcloud Peak. With
          conservation measures in place at Mt. Uncompahgre and Redcloud Peak and no impact to
          population abundance from limited habitat modification noted, domestic sheep grazing is
          not currently considered to be threat to the species.

          Climate change has not been directly tied to declines in abundance at Colony C or
          absence at Colony D, E, or two qualitatively monitored sub-colonies of Mt.
          Uncompahgre or Redcloud Peak. However, observed earlier snowmelt dates in
          Colorado, generally less snowpack since 2000, results of regional research showing
          changes in flora from warmer conditions, changes to reproduction in another species of
          butterfly from less nectar sources, and predictions of warmer, drier, or more frequent
          swings in temperature and precipitation suggest that climate may currently be impacting
          the UFB and, furthermore, climate predictions do not bode well for the UFB or its
          habitat.

         Some climate research directly related to the UFB has occurred (Alexander, WSCU, pers.
         comm. 2018; Gianniny 2018) but more needs to be conducted (see Recommendations for
         Future Actions below). The small population size of some colonies could be a concern,
         especially when coupled with climate change. Genetic research results for at least the
         three quantitatively monitored colonies suggest low genetic variability is not an issue. If



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           Colony C becomes extirpated in the next couple years it will likely be due to climate
           change effects or other natural events rather than low genetic variability. Isolation and
           genetic variability of the other eight colonies are uncertain but, given funding, analysis of
           samples collected from those colonies should reveal levels of isolation or connection.

           During the time of the 2010 5-year Review, adequate quality habitat existed for over ten
           years at Mt, Uncompahgre and Redcloud Peak producing what appeared to be stable
           population numbers. Immediate on-the-ground threats ceased or had been moderated
           (collecting, recreational impacts, and grazing). These conditions led us to recommend
           downlisting for the UFB, but due to higher priorities, a downlisting rule was never
           pursued. Though habitat conditions and abundance at these two colonies still generally
           appear stable the threat of effects of climate change to the UFB appears more certain.
           Additionally, some of the other colonies have declined in abundance or have likely
           become extirpated since 2010, Observations of climate change have occurred, recent
           research has shown how and possibly why some colonies of the UFB have been affected,
           and predictions for further climate change continue. As such, the Service determines that
           the UFB should remain listed as endangered,

    3 .0    RESULTS

           3.1    Recommended Classification:

                        Downlist to Threatened
                        Uplist to Endangered
                        Delist
                   X    No change is needed

           3.2    New Recovery Priority Number: Change to 12.

                  Brief Rationale: The UFB was ranked a 14 in the 2010 5-year Review. Informal
                  consultation on trail placement, ski area activities, private land access, and
                  grazing have taken place, but none have resulted in development or economic
                  conflict. No formal consultations have occurred for any project since the UFB
                  was listed, an indication that no projects have been proposed which would have
                  resulted in taking of the species. Despite few activities directly affecting habitat
                  or the UFB we only have two of the three quantitatively monitored colonies that
                  appear stable and only six of eight qualitatively monitored colonies that appear
                  persistent. With only eight colonies appearing stable this does not meet the
                  minimum delisting goal of ten stable colonies for ten years.

                  Immediate threats to the species stated in the listing rule and Recovery Plan have
                  been ameliorated or have not surfaced as more than minor threats. However, until
                  a management plan has been finalized that would result in the continued
                  protection of the species, we find that the threat of inadequate regulatory
                  mechanisms has not been sufficiently removed. Furthermore, changes to the
                  climate have been observed, effects of climate change proven on other butterfly



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               species and habitat, and there are further predicted changes to climate.
               Consequently, recovery no longer looks as obtainable for the UFB as it once did.
               The threat to the UFB remains moderate because we do not have absolute proof of
               long-term climate effects to the UFB even though there is no other explanation for
               decline or disappearance of some colonies or sub-colonies. The recovery
               potential in light of likely climate change effects is therefore low. There also
               appears to be scientific agreement that the UFB taxonomy has changed since the
               last 5-year Review, and the UFB should now be classified as a subspecies. These
               ranking factors place the UFB recovery priority at 12.




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    4 .0       RECOMMENDATIONS FOR FUTURE ACTIONS



           •    Continue to monitor population abundance and presence.

           •    Continue to research climate change impacts to the UFB and its habitat and continue
                to gather other literature relevant to climate change impacts to the UFB.

           •    Support means to reverse climate change within our influence.

           •    Discuss whether quantitative monitoring should rotate amongst colonies that have not
                received quantitative monitoring to date (but retain consistent monitoring at Colony C
                due to precarious status).

           •    Conduct further genetic analyses and literature review to determine the level of
                genetic variability at the eight currently qualitatively monitored sites and determine if
                gene flow between colonies is, or will, pose a threat to the UFB.

           •    Develop a genetics management and monitoring plan if genetic problems are
                determined to exist.

           •    Revise recovery criteria and recovery actions if necessary to address the current status
                and threats to the UFB as more information on climate change impacts is available
                and as more genetic information is available.

           •    Determine if the definition of “stable” needs to be clarified in the recovery criteria,
                especially for colonies that only have had qualitative monitoring.

           •    In the long-term, retain the USFS and BUM butterfly collecting closures around Mt.
                Uncompahgre and Redcloud Peak and develop a post-delisting management plan to
                ensure on-the-ground threats remain low at all colonies. Through the management
                plan, state that collecting closures will be placed around all colonies or that permits
                for collecting will not allow more than one UFB to be annually collected on colonies
                in coordination with the Service.




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                              U.S. FISH AND WILDLIFE SERVICE
                                         5-YEAR REVIEW
                              of the Uncompahgre fritillary butterfly
                                   (Clossiana improba acrocnema)

    Current Classification: Endangered range-wide

    Recommendation resulting from the 5-Year Review:

                  ___ Downlist to Threatened
                      Uplist to Endangered
                      Delist
                   X No change needed

    Review Conducted By: Terry Ireland, Western Slope Office, Colorado Ecological Services




    FIELD OFFICE APPROVAL:

    Western Slope Supervisor, Colorado Ecological Services, Fish and Wildlife Service




                                                                         Date       P11
    Approve
              Western Slope Supervisor, Colorado Ecological Services




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                Canada Lynx Conservation
                Assessment and Strategy

                         3rd Edition — August 2013




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                                          Chapter I - INTRODUCTION



Purpose and history of the Lynx Conservation Assessment and Strategy

The Lynx Conservation Assessment and Strategy (LCAS) was developed to provide a consistent and effective ap­
proach to conserve Canada lynx (Lynx canadensis), hereafter referred to as lynx, and to assist with Section 7 con­
sultation under the Endangered Species Act (ESA) on federal lands in the contiguous United States. An action plan
that identified the need for preparation of a lynx conservation strategy was approved by the affected Regional For­
esters of the USDA Forest Service (FS), State Directors of the Bureau of Land Management (BLM), and Regional
Directors of the U. S. Fish and Wildlife Service (FWS) on June 5, 1998. The National Park Service (NPS) joined the
effort later that month.


In accordance with the action plan, an interagency Steering Committee was established to guide lynx conservation
efforts. The Steering Committee selected a Science Team, led by Dr. Leonard Ruggiero, FS-Rocky Mountain Re­
search Station, to assemble the best available scientific information on lynx, and appointed a Lynx Biology Team, led
by Bill Ruediger, FS-Northern Region, to prepare a lynx conservation strategy applicable to federal land manage­
ment in the contiguous United States.


The first edition of the LCAS was completed in January, 2000, with the second edition issued in August, 2000. Sev­
eral amendments and clarifications were subsequently issued through the Steering Committee.


The LCAS is designed for application on federal lands. However, the information, concepts, and conservation
measures could also be applied if desired when planning and managing lynx habitat on non-federal lands.


Synopsis of major changes from the previous edition

This edition of the LCAS provides a full revision, incorporating all prior amendments and clarifications, substantial
new scientific information that has emerged since 2000 including related parts of the Lynx Recovery Plan Outline,
as well as drawing on experience gained in implementing the 2000 LCAS. The document has been reorganized and
condensed to improve readability and reduce redundancy.


Chapter 3, Lynx Geographic Areas, has been substantially revised to incorporate new information about lynx and
lynx habitat. The map (Fig. 3.1) has also been updated.


Chapter 4, formerly titled Risk Factors, is here retitled as Anthropogenic Influences on Lynx and Lynx Habitat. The
anthropogenic influences are grouped into 2 tiers based on the potential magnitude of effects on lynx and their
habitats. For each anthropogenic influence, there is an explanation of how it may influence key drivers of lynx pop­
ulation dynamics: the snowshoe hare (Lepus americanus) prey base, direct mortality of lynx, and the risks associated
with small population size.


The chapters that formerly described Planning Area and Project Level were eliminated in this edition. The original
intent was to provide the perspective of a multi-tier spatial hierarchy in discussing status, trends, and concerns rel­
ative to lynx and lynx habitat. In retrospect, however, these 2 chapters were redundant to material already pre­
sented in the previous chapters.


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Chapter 5, Conservation Strategy, incorporates concepts from the Canada Lynx Recovery Outline (U.S. Fish and
Wildlife Service 2005). Specifically, conservation efforts for lynx are not to be applied equally across the range of
the species, but instead more focus is given to high priority areas: the core areas. Further, we combined secondary
areas and peripheral areas (which were also identified in the recovery outline) into one category, because they
have similar characteristics and management recommendations. The intent is to place more emphasis on protec­
tion of the core areas, which support persistent lynx populations and have evidence of recent reproduction, and
less stringent protection and greater flexibility in secondary/peripheral areas, which only support lynx intermittent­
ly. Chapter 5 presents conservation measures only for those anthropogenic influences that are within the authority
of the federal agencies, and identifies areas where they should be applied.


Guidance provided in the revised LCAS is no longer written in the framework of objectives, standards, and guide­
lines as used in land management planning, but rather as conservation measures. This change was made to more
clearly distinguish between the management direction that has been established through the public planning and
decision-making process, versus conservation measures that are meant to synthesize and interpret evolving scien­
tific information.


History of ESA listing actions and relationship to the LCAS

The FWS published a proposed rule on July 8, 1998 to list the lynx under the ESA of 1973, as amended (Federal
Register Volume 63, No. 130, pp. 36994-37013). On March 24, 2000, the FWS published the final rule listing the
Contiguous United States Distinct Population Segment (DPS) as a threatened species (Federal Register Vol. 65, No.
58, pp. 16052-16086). In its analysis of threats to the species, the FWS concluded that the single factor threatening
the DPS was the inadequacy of existing regulatory mechanisms, specifically the lack of guidance for conservation of
lynx in National Forest Land and Resource Management Plans and BLM Land Use Plans. The LCAS served as the
foundation for review and amendment of those plans, as needed, to provide for the conservation of lynx.


The decision to list lynx as a single DPS and as threatened (rather than endangered) was challenged and the courts
remanded the decision back to the FWS. On July 3, 2003, the FWS published a Notice of Remanded Determina­
tion of Status for the Contiguous United States Distinct Population Segment of the Canada Lynx (Federal Register
Vol. 68, No. 28, pp. 40076-40101). In its finding (here referred to as the Remanded Rule), the FWS again evaluated
the threats to lynx and reaffirmed its previous conclusion that endangered status was not warranted. The FWS in­
dicated that many activities that may affect the lynx and its habitat have only local effects, which can vary depending
on the quality and quantity of habitat available. The relative importance of each threat was also described for each
geographic area. In the Remanded Rule, the FWS discussed the periodic immigration of lynx from Canada and its
possible role in sustaining the smaller populations of lynx in the contiguous United States. These new understand­
ings were incorporated into agency planning and management where appropriate.


A Recovery Outline for the Contiguous United States DPS of Canada Lynx (U.S. Fish and Wildlife Service 2005)
was prepared by the FWS and made available on Sept. 14, 2005. A recovery outline is intended to provide interim
guidance for consultation and recovery efforts until a formal recovery plan has been approved. No recovery plan
has yet been developed for the lynx. This revision of the LCAS considered, incorporated, and in some cases modi­
fied or elaborated on the concepts that were put forward in the 2005 recovery outline.


Under the recovery outline, lynx habitat was stratified into core, secondary, and peripheral areas based on lynx
occupancy, reproduction, and use as documented by historical and current records. The recovery outline did not
establish recovery goals, but did identify a preliminary set of objectives and potential recovery actions for each ar­
ea.

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        Core areas were identified by FWS where there was strong evidence of long-term persistence of lynx
                populations, including both historical records of lynx occurrence over time, and recent (within the
                past 20 years) evidence of presence and reproduction. A core area contains large, connected patches
                of boreal forest, encompassing at least 1,250 km2 (480 mi2). The term boreal forest is used here to
                include the true boreal forest, which is a zone extending south of the arctic tundra, as well as the
                southern transitional regions as described by Agee (2000) for the northeastern and Great Lakes re­
                gions (eastern hardwoods and temperate and boreal conifers) and the western United States
                (subalpine forests).
        Secondary areas were identified by FWS where there were historical records of lynx presence, but fewer
                than in core areas, and no recent documentation of presence or reproduction; or where there were
                historical records of lynx, but current status is unknown due to lack of recent surveys.
         Peripheral areas were identified by FWS where there were sporadic historical records of lynx, which
                generally correspond to cyclic population highs in Canada, and there was no evidence of reproduc­
                tion. Because boreal forest in peripheral areas occurs in small and more isolated patches (such as an
                isolated mountain range), these areas are considered to be incapable of supporting self-sustaining
                populations of lynx.


Critical habitat for the lynx was designated on November 9, 2006 (Federal Register Vol. 71, No. 217, pp. 66008­
66061). On July 20, 2007, the FWS announced that the final critical habitat rule would be reviewed in light of ques­
tions that had been raised about the integrity of the decision-making process. Based on this review, the FWS con­
cluded that the final rule was improperly influenced by the then-Deputy Assistant Secretary of the Interior. On Jan­
uary 15, 2008, the U. S. District Court for the District of Columbia issued an order establishing deadlines for reis­
suing the critical habitat rule. The revised final rule designating critical habitat was published in the Federal Register,
Vol. 74, No. 36, pp. 8616-8702 on February 25, 2009. Approximately 101,010 km2 (39,000 mi2) distributed in 5
units within the states of Maine, Minnesota, Montana, Wyoming, Idaho, and Washington were encompassed within
the boundaries of the revised critical habitat. In July and September of 2010, the District Courts in Montana and
Wyoming, respectively, took exception to parts of the revised critical habitat designation and again remanded the
rule to the FWS. A proposed revised rule is scheduled for publication in September 2013 and a final rule within the
following 12 months. The 2009 final rule will remain in effect until completion of the remanded critical habitat des­
ignation.


In this revision of the LCAS, the discussion of geographic areas and the development of conservation measures
were informed by the Remanded Rule, the Recovery Outline, the revised final critical habitat rule, and other infor­
mation that has become available since 2000.


Why the LCAS is still useful and needed

In response to the listing decision in 2000, the FS and the BLM entered into conservation agreements with the
FWS. In these agreements, the agencies acknowledged the LCAS as one of the sources of the best available scien­
tific information to assist in conservation of lynx. The agreements were to remain in place until such time as forest
plans and land use plans could be amended or revised to incorporate management direction specific to conserva­
tion of lynx.


When the first edition of the LCAS was written, most lynx research had been conducted in Alaska and Canada,
and little published literature was available regarding lynx in the contiguous United States (Ruediger et al. 2000).
Since then, new research has been conducted throughout the range of the lynx and the body of scientific literature
has expanded substantially. This revised LCAS provides an updated synthesis of the best available scientific infor-

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mation about lynx ecology and responses to management.


The LCAS continues to fulfill important roles in promoting conservation of the species on federal lands, particular­
ly in the absence of an approved recovery plan, and in assisting biologists in supporting their determinations of ef­
fect and conducting ESA Section 7 consultation. In recognition of these ongoing roles, a revision of the LCAS was
initiated in September, 2010. At the request of the Steering Committee, Dr. John Squires, FS-Rocky Mountain Re­
search Station, led a review of the research and published scientific literature produced since 2000, and provided
the Lynx Biology Team with a draft update of the assessment portion of the LCAS. The Lynx Biology Team built
on that work to complete this revision of the LCAS.


Forest plans are prepared and implemented in accordance with the National Forest Management Act of 1976.
Amendments or revisions to FS plans have been completed in the Eastern Region, Northern Region, Rocky Moun­
tain Region, and Intermountain Region to better address conservation of the lynx. In the Pacific Northwest Region,
forest plans for national forests with lynx habitat are currently being revised. The management direction contained
in a forest plan guides project development and must be followed. The updated information and understandings in
the revised LCAS may be useful for project planning and implementation, as well as helping to inform future
amendments or revisions of forest plans.


The BLM and NPS continue to rely on the LCAS along with other sources of information to guide management of
lynx habitat. The updated LCAS will assist these agencies in planning and designing their programs and projects.


Guiding principles

We relied on these guiding principles in developing and revising the LCAS:


•    Use the best scientific information available about lynx. We relied on information from research
     throughout the range of the species, recognizing that behavior and habitat use may differ in various portions of
     its range. We incorporated information about the ecology of its primary prey species, snowshoe hare, and an
     alternate prey species, red squirrel (Tamiasciurus hudsonicus). As the basis for management recommendations,
     we relied primarily upon peer-reviewed publications. If no published sources were available on a given topic,
     we considered information from theses, dissertations, or other unpublished sources.
•    Address conflicting information. In a few cases, different authors reached different or even opposing con­
     clusions about a particular topic. In these situations we considered all the available information, assessed the
     rigor of the methods used in each study, and provided the rationale for the conclusions we reached.
•    Integrate a consideration of natural ecological processes and landscape patterns with knowledge
     of lynx habitat requirements. Integrating knowledge about broad ecological processes and species-specific
     requirements is more likely to result in a strategy that is feasible to implement and sustainable over the long
     term.


How the document is organized

Chapters 2-4 of the document constitute the conservation assessment. These chapters provide a review and syn­
thesis of the scientific foundation for the conservation of lynx. An overview of lynx ecology is presented in Chapter
2, followed by an assessment of lynx population status and habitat conditions for each of the geographic areas:
Northeast, Great Lakes, Southern Rocky Mountains, Northern Rocky Mountains, and Cascade Mountains. Next
we describe and prioritize the anthropogenic influences that may affect lynx or lynx habitat.


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Based on the foundation of the conservation assessment, Chapter 5 presents the conservation strategy for lynx.
The conservation measures contained in the strategy are compatible with the concepts and potential recovery ac­
tions put forward in the recovery outline (U.S. Fish and Wildlife Service 2005).


Chapter 6 summarizes information gained from past inventories and discusses the needs and priorities for future
inventory of lynx populations and habitat. This chapter also describes important needs for future monitoring and
research. Monitoring and applied research are essential to continue to adapt and improve management approaches
that support lynx conservation.




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                            Chapter 2 - OVERVIEW OF LYNX ECOLOGY



Description of lynx



Canada lynx are medium-sized cats, 75-90 cm (30-35 in)
long and weighing 6-14 kg (13-31 lb; Quinn and Parker
1987, Moen et al. 2010 a). They have large feet (Plate 2.1)
adapted to walking on snow, long legs, tufts on the ears,
and black-tipped tails (Plate 2.2).




                                                              Plate 2.1. Lynx have large furry feet, an adaptation
                                                              for travel through deep, fluffy snow.




        Plate 2.2. Canada lynx characteristics include a ruffed face, ear tufts, black-tipped tail, long legs, and
        large feet.

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Lynx activity patterns


Circadian activity pattern. Kolbe and Squires (2007) reported on lynx activity patterns in Montana. Periods of
    activity varied by sex, season, and reproductive status, and were not consistently synchronous with the activity
    patterns of snowshoe hares. In winter, males were most active during daylight hours, with peaks in the after­
    noon or early evening; in summer, males tended to be more crepuscular in their activities. In contrast, female
    lynx that were rearing kittens during the summer months were most active during daylight hours, when the
    mean ambient temperature was highest. One female lynx without kittens had crepuscular patterns of activity
    similar to those of male lynx during summer.


Daily movements. Daily movements of lynx within their home ranges are centered on continuous forest, and
    they frequently use ridges, saddles, and riparian areas (Koehler 1990a, Staples 1995). Snow-tracking revealed
    that lynx avoid large openings (Staples 1995, Squires et al. 2010), either natural (Koehler 1990a) or created
    (Maletzke et al. 2008) when moving through their home ranges.


    Fuller and Harrison (2010) found that daily movement distances of lynx in Maine varied by gender, season, and in
    relation to prey. The movement paths of female lynx raising kittens had higher sinuosity, apparently reflecting a
    preference to remain in habitats with dense horizontal cover and good accessibility to prey. In contrast, males
    appeared to make more linear movements, and tended to use skid trails and areas with less dense understory
    more frequently than females (Fuller and Harrison 2010).


    In Minnesota, 3 female lynx used a foraging radius of approximately 2-3 km (1.2-1.8 mi) when kittens were at
    the den (Moen et al. 2008). In contrast, >50% of GPS collar locations were >2 km away from the den site during
    pre-denning and post-denning periods. Net displacement rates of 1-2 km/day (0.6-1.2 mi) were similar to rates
    reported from some other southern lynx populations (Apps 2000, Squires and Laurion 2000).


    Squires et al. (2013) used global positioning system (GPS) collars programmed to record locations every 30
    minutes every other day for 33 individual lynx during winter and 28 lynx during summer; the average daily move­
    ment rate of those lynx in Montana was 6.9 km/day (4.2 mi/day). Olson et al. (2011) monitored 4 denning fe­
    males in Montana and reported that daily distances moved were shorter during the period from parturition until
    the kittens were 2 months old, as compared to movement distances before the kittens were born.


    Ward and Krebs (1985), using VHF radio telemetry (to calculate the straight-line distance between locations on
    consecutive days) in southwestern Yukon, documented an increase in the radius of lynx daily movements as
    snowshoe hare densities decreased. Straight-line daily travel distance remained constant at about 2.2-2.7 km/day
    (1.3-1.6 mi/day) at hare densities above 1.0 hare/ha (0.4 hares/ac). Below 1.0 hare/ha (0.4 hares/ac), straight-line
    daily travel distances increased rapidly, reaching 5.5 km/day (3.3 mi/day) at 0.2 hares/ha (0.08 hares/ac). Below
    about 0.5 hares/ha (0.2 hare/ac), several lynx abandoned their home ranges and became nomadic, although they
    remained within the general study area. Parker et al. (1983) used VHF radio telemetry to relocate 1 adult female
    and reported the female’s daily movement distance as 8.8 km (5.3 mi) in winter and 10 km (6.2 mi) in summer.


Exploratory movements. Aubry et al. (2000) defined exploratory movements as long-distance movements be­
    yond identified home range boundaries, in which the animal returned to its original home range. Exploratory
    movements by lynx have been documented to occur within most of the geographic areas.


    In Maine, lynx made long distance movements throughout the year from a study area in northwestern Maine,

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 often returning to reoccupy their home range (Vashon et al. 2012). Distances of 52-403 km (31-242 mi) were
 recorded for movements into Quebec, and distances of 142-227 km (85-136 mi) were recorded for move­
 ments within the state of Maine.


 In Minnesota, Moen et al. (2010 b) reported lynx making long distance movements at all times of the year. Ex­
 ploratory movements were greatest for males during the breeding season in March (Burdett et al. 2007). Resi­
 dent lynx made long distance movements lasting days to a few months into Ontario and back during the pre­
 denning period.


 In Montana, Wyoming, and southern British Columbia, exploratory movements by resident lynx during the sum­
 mer months were documented by Squires and Laurion (2000), Squires and Oakleaf (2005), and Apps (2000),
 respectively. Distances of these exploratory movements in Montana ranged from about 15-40 km (9-25 mi),
 and duration away from the home range was I week to several months (Squires and Laurion 2000). In Wyo­
 ming, during 3 consecutive summers, a resident lynx was documented to travel a similar exploratory path
 (minimum path distance of 728 km [452 mi]) from its home range in the Wyoming Range, to the Wind River
 and Teton Ranges, and back (Squires and Oakleaf 2005).


 Summer exploratory movements were not detected in north-central Washington (Koehler 1990a), nor have
 exploratory movements been recorded in the northern boreal forest (Mowat et al. 2000). It is unclear whether
 such movements did not occur, or were simply not observed due to the methods and frequency of monitoring
 employed in these studies.


Dispersal. Dispersal is the permanent movement of an animal to a new home range. Animals that are dispersing
 often cross areas such as frozen lakes, deserts, and farmland that are not typical lynx habitat (Ward and Krebs
  1985). Mortality of dispersing lynx is speculated to be high, particularly for those individuals moving long dis­
 tances through areas that lack adequate lynx habitat or resident populations (McKelvey et al. 2000b). However,
 this speculation is based primarily on trapping mortality information, rather than a study of the known fates of
 marked animals. Therefore, the extent to which dispersing lynx are able to successfully colonize new habitat is
 largely unknown.


 It has been reported that female lynx tend to establish home ranges adjacent to their mother (Mowat and
 Slough 1998), while young males are more likely to disperse. However, an analysis of fine-scale genetic structure
 of lynx populations in Alberta, Canada suggested that dispersal distances did not significantly differ between
 males and females (Campbell and Strobeck 2006).


 Dispersal distances of up to 1,000 km (620 mi) have been recorded for lynx (Mech 1980, Slough and Mowat
  1996, Poole 1997). During dispersal, the minimum daily travel rate of 3 individual lynx was 1.7-8.3 km (1-5 mi)
 per day (Ward and Krebs I985). Dispersing lynx did not appear to travel farther per day than resident lynx, but
 most movement was directional (Mowat et al. 2000).


 In Canada, adult and subadult lynx of both sexes were documented making long-distance movements during
 periods of prey scarcity (Slough and Mowat 1996, Poole 1997). During the cyclic low of hare numbers in the
 Yukon, rates of emigration from established home ranges increased (O’Donoghue et al. 2001). Many of the lynx
 that were translocated to Colorado also made extensive movements (Devineau et al. 20I0).




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Lynx diet

Snowshoe hares (Plate 2.3) are the primary prey of lynx throughout their range (Mowat et al. 2000).




Plate 2.3. Across the range of lynx, snowshoe hares are the primary prey. The color of the fur changes seasonally,
from white in winter to brown in summer.


It is thought that the summer diet of lynx may include a greater diversity of prey species than in winter, due to the
greater seasonal availability of prey (Quinn and Parker 1987, Koehler and Aubry 1994, Mowat et al. 2000). The
summer diet of lynx has not been quantified in the southern portion of its range, although some anecdotal infor­
mation is available.


Red squirrels (Plate 2.4) are reported to be the second
most important food source for lynx in Alaska (Staples
1995) and the main alternate prey of lynx during periods of
low hare abundance in Yukon Territory (O’Donoghue
1997). Other prey species taken across the range of the
lynx include grouse (Bonasa umbellus, Dendragopus spp.,
Lagopus spp.), northern flying squirrel (Glaucomys sabrinus),
ground squirrels (Spermophilus parryii, S. richardsonii,
Urocitellus columbianus), porcupine (Er^thrizon dorsatum),
beaver (Castor canadensis), mice (Peromyscus spp.), voles
(Microtus spp.), shrews (Sorex spp.), weasels (Mustela spp.),
fish, and ungulates as carrion (Saunders 1963 a, van Zyll de
Jong 1966, Nellis et al. 1972, Brand et al. 1976, Brand and
Keith 1979, Koehler 1990a, Staples 1995, O'Donoghue et
al. 1998, Olson et al. 2011). Male lynx have opportunistical­
ly killed white-tailed deer (Odocoileus virginianus) and mule
deer (Odocoileus hemionus) in the southern extent of their      Plate 2.4. Red squirrels are an important secondary
range, when deep snow hindered deer movements and in­           prey for lynx in some parts of its range.
creased their vulnerability to predation (Fuller 2004, Poszig
et al. 2004, Squires and Ruggiero 2007).

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Snowshoe hare ecology

Description. Snowshoe hares generally average 40-44 cm (15.7-17.3 in) in length and 0.9-1.7 kg (2-3.7 lb) in weight
(Kays and Wilson 2002). They have large hind feet and their pelage changes seasonally, from brown in summer to
white in winter (Severaid 1945).


Snowshoe hares are widely distributed across North America, and are broadly associated with boreal and subalpine
forests (Hall 1981). The species’ historical range in North America extends from Alaska across most of Canada, and
southward into portions of the contiguous United States. This includes the Cascades and Sierra Nevada Mountains
(reaching into central California), the Rocky Mountains (reaching into southern Utah and northern New Mexico),
the Great Lakes region, and the Appalachian Mountains (into North Carolina and Tennessee; Hodges 2000b, Hoff­
man and Smith 2005).


Activity patterns. Snowshoe hares forage primarily at dusk and dawn, remaining largely inactive during daylight
hours (Foresman and Pearson 1999, Abele 2004). Lunar phases may influence foraging activity and movement pat­
terns as well. Hares are less active under a full moon, particularly in the winter months when snow-reflected light
likely would increase their susceptibility to predation (Gilbert and Boutin 1991, Griffin et al. 2005).


Home range. Home range size is 5-10 ha (12-25 ac); estimates vary depending on the sampling method (e.g., live-
trapping vs. radio telemetry; Keith 1990, Hodges 2000a, Murray 2003). Although hares are non-migratory and gen­
erally occupy the same area throughout the year, short-distance seasonal movements between winter and summer
foraging areas have been documented (Adams 1959, Bookhout 1965, Wolff 1980, Wolfe et al. 1982).


Dispersal. Dispersal from home ranges may be associated with intraspecific aggression resulting from overcrowding,
competition for mates and food resources, or vulnerability to predation (Keith et al. 1993, Duffy and Belthoff 2001).
Cyclic populations experienced higher dispersal rates during the late increase phase and the peak (Windberg and
Keith 1976, Wolff 1980). Habitats with higher amounts of cover had lower rates of dispersal than habitats with little
cover (Wirsing et al. 2002), as did larger habitat patches when compared to smaller habitat patches (Keith et al.
1993).


Habitat. Snowshoe hares occur in boreal forests across North America (Hodges 2000b). The density of horizontal
cover, snow conditions, and presence of boreal forest vegetation appear to be important attributes of snowshoe
hare habitat (Hodges 2000a).


         Horizontal cover. The amount and density of horizontal cover strongly influence snowshoe hare abundance.
           Dense horizontal cover likely reduces exposure to predators, the proximate cause of most mortality
           (>90%) observed for hares in most populations studied (Sievert and Keith 1985, Rohner and Krebs 1996,
           Hodges 2000a, Murray 2003). Dense horizontal cover also provides better access to food resources and
           thermal protection during the critical winter period (Hodges et al. 2001), making it an important element
           of hare habitat (Belovsky 1984, Sievert and Keith 1985, Rohner and Krebs 1996, Wirsing et al. 2002, Mur­
           ray 2003). Griffin (2004) documented higher hare survival in dense stands than in open stands in Montana.
           Hares also were more likely to select larger patches of densely-vegetated habitats when dispersing (Keith
           et al. 1993, Dufty and Belthoff 2001, Griffin 2004).


           Stem densities ranging from 4,600-33,210 stems/ha (1,862-13,445 stems/ac) provide optimal forage and
           horizontal cover for snowshoe hares (Wolff 1980, Parker 1984, Litvaitis et al. 1985, Monthey 1986, Parker
            1986, Koehler 1990a, Griffin 2004, Fuller and Harrison 2005, Robinson 2006, Scott 2009). Lewis et al.
           (2011) found that snowshoe hare densities were higher in areas where dense, horizontal cover patches

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Snowshoe hare ecology
          were more contiguous or where similar patches were surrounded by other patches of similar structure.


          In Maine, Fuller and Harrison (2005), Robinson (2006), Fuller et al. (2007), and Scott (2009) documented a
          close association between snowshoe hare density and horizontal cover density in conifer-dominated re­
          generating clearcuts.


          In western Montana, Griffin (2004) monitored snowshoe hare densities in 4 forest stand structural stages:
          open mature (>150 years old and >76 cm [30 in] diameter at breast height [dbh]), open young (20-45
          years old), dense mature, and dense young. During the summer (late June to mid-September), snowshoe
          hare densities were highest in the dense young, with the next highest hare densities in most years in the
          dense mature. In winter (mid-December to early April), snowshoe hare densities were highest in the
          dense mature (Griffin 2004).


          In Wyoming, Berg et al. (2012) found hare densities (as measured by pellet counts) to be highest in young
          (30-70 year old) regenerating lodgepole pine (Pinus contorta) and mature, multi-story spruce-fir forests
          (Plate 2.5). While snowshoe hare density did not increase with increasing stem densities in the mature
          multi-story patches, hare density in the young, regenerating forests increased as stem densities increased
          (Berg et al. 2012). Ellsworth (2009) also highlighted the importance of young lodgepole pine stands with
          high sapling densities in northern Idaho.




           Plate 2.5. Dense horizontal cover providing cover from predators, thermal protection, and adequate
           forage is required to support snowshoe hares across their range.

       Snow conditions. Across northern boreal forests in Canada, conditions that favor hares are cold and dry, mod­
          erately deep (100-127 cm [39-50 in]) snow with relatively uniform depth (Kelsall et al. 1977). Studies doc­
          umenting the relationship between snow depth and hare feeding patterns in Alberta (Johnstone 1981, Ives
          and Rentz 1993), British Columbia (Sullivan and Sullivan 1982), Colorado (Zahratka 2004), Montana

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Snowshoe hare ecology
         (Zimmer 2004), north-central Washington (Koehler 1990b), and northern Idaho (Wirsing and Murray
         2002, Ellsworth 2009) showed that snow accumulation and persistence influence food availability, and con­
         sequently hare feeding patterns.


      Boreal forest vegetation. In the northeastern United States, snowshoe hare populations occurred in all forested
         habitats at elevations of 0-1,800 m (0-5,500 ft). Coniferous and mixed-coniferous/deciduous forests domi­
         nated by white spruce (Picea glauca), black spruce (Picea mariana), red spruce (Picea rubens), balsam fir
         (Abies balsamea), eastern white pine (Pinus strobus), northern white cedar (Thuja occide^talis), eastern hem­
         lock (Tsuga canadensis), sugar maple (Acer saccharum), aspen (Populus tremuloides), and paper birch (B^tula
         papyrifera) were known to provide snowshoe hare habitat in this region (Hoving et al. 2004, Robinson
         2006, Fuller et al. 2007, Vashon et al. 2008b, Scott 2009).


         In the Great Lakes states, most snowshoe hare populations occurred in regenerating or young (25 years
         old or less) mixed deciduous and conifer forests (Plate 2.6; McCann and Moen 2011). Cover types in this
         region that support snowshoe hare include jack pine (Pinus divaricata), red pine (Pinus r^sinosa), balsam fir,
         black spruce, white
         spruce, northern white
         cedar, tamarack (Larix
         laricina), aspen, paper
         birch, as well as conifer
         bogs and shrub swamps
         (Burdett 2008, Moen et
         al. 2008).


         In the western United
         States, most snowshoe
         hare populations oc­
         curred within conifer
         forests at elevations
         ranging from 645-3,415
         m (2,1 16-11,204 ft;
         Dolbeer and Clark
         1975, Griffin 2004,
         Lewis et al. 2011, Berg
         and Gese 2012). Cover
        types that support           Plate 2.6. Forest structure that provides dense horizontal cover is a common charac­
         snowshoe hares in this      teristic of snowshoe hare habitat across its range, but plant species composition var­
         region include Engel­       ies. In the Great Lakes Geographic Area, a mix of coniferous and deciduous trees pro­
         mann spruce (Picea          vide the best snowshoe hare habitat.
         engelmannii), subalpine
         fir (Abies lasiocarpa), mixed spruce-fir, mixed aspen and spruce-fir, and mixed lodgepole and spruce-fir and
         lodgepole pine (Hodges 2000b, Zahratka 2004, Zimmer 2004, Miller 2005, Berg et al. 2012).


Diet. Snowshoe hares feed on a variety of plant species, differing by region, plant community, and season (Hodges
2000a, 2000b; Ellsworth and Reynolds 2006; see Table 2.1). Energy expenditure and susceptibility to predation
(Houston et al. 1993; Hodges and Sinclair 2003, 2005) also influence the diet.

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Snowshoe hare ecology
Table 2.1. Food plants used by snowshoe hares in different regions, modified from Hodges (2000b).

     Conifers                    Deciduous trees         Shrubs                    References
     Eastern: Maritimes & Maine

  Abies balsamea                 Acer pennsylvanicum     Corylus cornuta

     Picea spp.                  Acer rubrum             Gaylussaccia baccata
     Picea rubens                Acer saccharum          Hamamelis virginiana
     Pinus strobus               Acer spic^tum           Kalmia spp.
     Thuja occidentals           Alnus rugosa            Myrica gale
     Tsuga canadensis            Alnus crispa            Nem^pa^thus mucronata     Telfer 1972 (New Brunswick)
                                                                                   Litvaitis 1984 (ME)
                                 B^tula alleghaniensis   Rhododendron canadense

                                 B^tula papyrifera       Vaccinium spp.
                                 B^tula populifolia      Viburnum spp.
                                 Com^tonia peregrina
                                 Fagus grandifolia
                                 Quercus rubra
     Eastern: Appalachians & Alleghenies

     Picea glauca                Acer pennsylvanicum     Juni-perus communis

     Picea rubens                Acer rubrum             Kalmia latifolia

     Pinus resinosa              Acer saccharum          Rhododendron lapponicum
                                                                                   Cook & Robeson 1945 (NY)
     Pinus strobus               B^tula alleghaniensis   Rubus alleghaniensis
                                                                                   Brooks 1955 (VA)
     Pinus sylvestris            B^tula lenta            Rubus hispidus            Walski & Mautz 1977 (NH)
                                                                                   Brown 1984 (PA)
     Thuja occidentalis          B^tula lutea            Vaccinium erythrocarpum
                                                                                   Rogowitz 1988 (NY)
     Tsuga canadensis            B^tula papyrifera       Viburnum dentatum         Scott & Yahner 1989 (PA)

                                 Fagus grandifolia
                                 Fraxinus americana

                                 Populus tremuloides

     Midwestern: Great Lakes
  Abies balsamea                 Acer pennsylvanicum     Amelanchier spp.
     Larix laricina              Acer rubrum             Chamaedaphne calyculata
                                                                                   Grange 1932 (WI)
     Picea abies                 Acer saccharum          Corylus cornuta           Bider 1961 (Quebec)
     Picea glauca                Acer spic^tum           Juniperus communis        de Vos 1964 (Ontario)
                                                                                   Bookhout 1965 (MI)
     Picea mariana               Alnus crispa            Ledum groenlandicus
                                                                                   Johnson 1969 (MI)
     Pinus banksiana             Alnus rugosa            Lonicera spp.             Conroy et al. 1979 (MI)
                                                                                   Grigal & Moody 1980 (MN)
     Pinus divaricata            B^tula alba             Rhamnus alnifolia
                                                                                   Bergeron & Tardif 1988 (Quebec)
     Pinus resinosa              B^tula papyrifera       Rosa spp.
     Pinus strobus               B^tula pumila           Rubus spp.

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Snowshoe hare ecology


Conifers                Deciduous trees         Shrubs                    References
Midwestern: Great Lakes (cont.)
Thuja occidentalis      Fagus grandifolia       Salix spp.
Tsuga canadensis        Ostrya virginiana       Shepherdia canadensis
                        Populus grandidentata   Viburnum spp.
                        Populus pennsylvania
                        Populus tremuloides
                        Populus virginiana
                        Prunus pennsylvanica
                        Prunus serotina
                        Prunus virginiana
                        Pyrus malus
                        Quercus rubra
                        Sorbus americana
                        Ulmus americana
Western: Rockies, Cascades & Intermountain West
Abies lasiocarpa                                Amelanchier alnifolia
Abies grandis                                   Arctostaphylus uva-ursi
Larix occidentalis                              Ceanothus spp.
Picea engelmannii                               Juniperus scopulorum      Adams I959 (MT)
Pinus contorta                                  Mahonia repens            Black I965 (OR)
                                                                          Radwan & Campbell 1968 (WA)
Pinus mo^ticola                                 Paxistima ^yrsin'rtes
                                                                          Borrecco 1976 (WA)
Pinus ponderosa                                 Pteridium aquilinum       Sullivan and Sullivan 1983 (BC)
                                                                          Koehler 1990a (WA)
Pseudotsuga menziesii                           Rosa spp.
                                                                          Thomas et al. 1997 (WA)
                                                                          Wirsing and Murray 2Oo2 (ID)
Thuja plicata                                   Rubus spp.
                                                                          Zahratka 2004 (CO)
Tsuga heterophylla                              Salix coulteri            Zimmer 2004 (Mt)
                                                Shehperdia canadensis     Ellsworth and Reynolds 2006

                                                Spirea betulifolia
                                                Symphoricarpus albus
                                                Vaccinium spp.

Northern Boreal Forest
Picea glauca            Alnus crispa            Amelanchier alnifolia
Picea mariana           Alnus rugosa            B^tula glandulosa
                        B^tula papyrifera       Corylus cornuta           Wolff 1978 (AK)
                                                                          Bryant 1981 (AK)
                        Populus balsamifera     Ledum decumbens           Smith et al. 1988 (Yukon)
                        Populus tremuloides     Rosa spp.
                                                Salix spp.

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Snowshoe hare ecology
Snowshoe hare activity levels are highest during
the spring and summer, requiring the greatest
level of energy intake; activity levels decrease to
a moderate level during fall, and are lowest dur­
ing winter (Abele 2004). Hares excrete soft
pellets known as cecotropes (Pehrson 1983,
Bjornhag 1994). Once excreted, cecotropes are
often re-ingested, enabling hares to recapture
important components including vitamins, elec­
trolytes and proteins (Bjornhag 1994).


Herbaceous foods (deciduous shrubs and other
leafy greens) are selected when available during
spring through fall (Plate 2.7). Hares switch to
woody browse (branches, twigs, small stems,
and evergreen needles) during the winter in
response to snow depth and changes in availa­         Plate 2.7. The diet of snowshoe hares provides energy-rich proteins
ble food sources (Hodges 2000a, Wirsing and           necessary for growth and maintenance. The winter diet is largely re­
                                                      stricted to buds and twigs of conifers, while the summer diet is more
Murray 2002, Murray 2003, Zimmer 2004).
                                                      varied.

Snowshoe hares consume a variety of plant materials that when combined yield high nutritional content (Belovsky
1984, Sinclair et al. 1988, Rodgers and Sinclair 1997, Seccombe-Hett and Turkington 2008). Foraging strategies that
maximize energy and protein intake and provide other necessary nutrients, while minimizing fiber and the need for
secondary consumption, may explain selection of specific plant types (Ellsworth and Reynolds 2006, Seccombe-
Hett and Turkington 2008). For example, buds or small twigs ^4 mm (^0.2 in) in diameter provide protein-rich
resources (Pease et al. 1979, Wolff 1980, Fox and Bryant 1984, Hodges 2000a), while certain herbs and fungi pro­
vide increased sodium levels (Belovsky 1984). Lodgepole pine contains high levels of digestible protein (Holter et
al. 1974, Ellsworth 2004) making it one of the most important winter food items for hares (Wirsing and Murray
2002, Ellsworth and Reynolds 2006).


Reproduction. The breeding season generally begins in winter (January-April) and ends in fall (July-October).
Snowshoe hares are polygamous and can produce multiple litters during the breeding season (Ellsworth and Reyn­
olds 2006). On average, snowshoe hares produce 2-4 litters per year, with 2-6 young per litter, for a total annual
production of 6-13 offspring per adult female (Murray 2003).


In cyclic populations, pregnancy rate, litter size, and annual fecundity vary substantially between years
(O’Donoghue and Krebs 1992, Hodges et al. 2001, Stefan and Krebs 2001). In Alberta, the mean number of young
per adult female ranged from 7.5 during the cyclic low to 17.9 at the cyclic high (Meslow and Keith 1968, Cary and
Keith 1979).


Non-cyclic snowshoe hare populations in the southern distribution have lower overall productivity, with some dif­
ferences observed between eastern and western populations. It is speculated that increased stress levels caused by
higher predation risk (Boonstra and Singleton 1993, Boonstra et al. 1998), shorter breeding seasons at higher ele­
vations (Murray 2000), and reduced reproductive capabilities due to the smaller size of adult females (Nagorsen
1985) could be factors influencing the lower productivity of southern populations.


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Snowshoe hare ecology
Snowshoe hares achieve adult body weight approximately 9-11 months following birth (Keith and Windberg 1978).
The rate of juvenile dispersal varies between populations, ranging from <10% (Hodges 1998) to as much as 50%
(Gillis and Krebs 1999).


Survival. Juvenile survival appears to be one of the most significant factors contributing to population decline, stabil­
ity, or growth in both northern and southern populations (Green and Evans 1940, Meslow and Keith 1968, Dol­
beer and Clark 1975, Keith 1981, Krebs et al. 1986, Hodges et al. 2001). Griffin (2004) used demographic modeling
in Montana to evaluate population growth rates based on juvenile and adult survival, fertility rates of hare popula­
tions, and source/sink dynamics within various habitats. Annual survival appeared to have a greater influence on
population growth than did reproduction rates. Similarly, Keith and Windberg (1978) found juvenile survival to be
the most sensitive demographic parameter in a cyclic population in Alberta. In Colorado, juvenile survival rates of
at least 16% contributed to population stability (Dolbeer and Clark 1975) while 28% juvenile survival was required
for population growth in the Yukon (Hodges et al. 2001).


Mortality. Predation (Plate 2.8) is the leading cause of mortality for snowshoe hare throughout its range (Hodges
2000a). Of post-weaned mortality,
58-100% was attributable to preda­
tors in northern hare populations
(Brand et al. 1975, Keith et al.
1984, Boutin et al. 1986, O’Dono­
ghue 1994, Murray et al. 1997,
Ferron et al. 1998, Gillis 1998,
Hodges et al. 2001) and 80-100%
in southern hare populations
(Sievert and Keith 1985, Keith et al.
1993, Cox et al. 1997, Wirsing et
al. 2002, Abele 2004, Bull et al.
2005).


Predators of adult snowshoe hares
include lynx, bobcats (Lynx rufus),
red foxes (Vulpes vulpes), coyotes
(Canis latrans), gray wolves (Canis
                                                                                                                  Ben Maletzke
lupus), fishers (Martes pennanti),
American martens (Martes america­       Plate 2.8. Snowshoe hares are vulnerable to predation by many predators. Lynx
na), mink (Mustela vison), wolver­      are a primary predator, especially in winter.

ines (Gulo gulo), mountain lions
(Felis concolor), northern goshawks (Accipiter gentilis), red-tailed hawks (Buteo jamaicensis), golden eagles (Aquila
chrysaetos), northern hawk-owls (Surnia ulula), great gray owls (Strix nebulosa), great horned owls (Bubo virginianus),
barred owls (Strix varia), and common ravens (Corvus corax; Adams 1959, Earhart and Johnson 1970, Rausch and
Pearson 1972, Keith et al. 1977, Raine 1987, Kuehn 1989, Keith 1990, Poole and Graf 1996, Rohner and Krebs
1996, O’Donoghue et al. 1997, Stenseth et al. 1997, McIntyre and Adams 1999, Hodges et al. 2001, Wirsing et al.
2002). Predators of juvenile hares also include red squirrels, arctic ground squirrels (Spermophilus parryii), short­
tailed weasels (Mustela erminea), boreal owls (Aegiolus funereus), and American kestrels (Falco sparverius; O’Dono­
ghue 1994, Stefan 1998, Hodges et al. 2001). Predation risk may vary by season, influencing the species of predators
that are present and their hunting efficiency (Ellsworth and Reynolds 2006).
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Snowshoe hare ecology
Competition with other browsers. Dodds (I960), Bookhout (1965), and Krefting (1975) considered the potential
for competition between snowshoe hares and native ungulates. Moose and snowshoe hares appeared to concen­
trate their use in different areas and did not limit the other’s population through overbrowsing (Dodds 1960). The
potential for competition was also lowered due to differences in browse heights between ungulates and hares
(Dodds i960, Bookhout 1965, Oldemeyer 1983). Still, Telfer (1972) found some overlap between browsing of
white-tailed deer and snowshoe hare in Nova Scotia and New Brunswick. The vertical distribution of winter
browsing by snowshoe hares, between 0.6-1.5 m (2-5 ft), was the same as white-tailed deer browsing during the
fall and spring (Telfer I974). However, in all of these studies it is unlikely that co-occurring herbivores resulted in
population limitation of hares.


Population cycle. The snowshoe hare cycle is thought to be generated by an interaction between hares, their win­
ter food supply, and predation (Keith et al. I977, Akcakaya I992, Royama I992, Krebs et al. I995, Stenseth I995).
Keith (I990) summarized the results of several studies on the snowshoe hare population cycle and food supply in
northern boreal forests. Overwinter browse estimates during the hare peak and post-peak indicated a shortage of
food. Weight losses of hares were significantly negatively correlated with browse availability. Hares suffering from
malnutrition or starvation showed symptoms of low body mass and depressed levels of blood sugar and liver gly­
cogen. Lower rates of reproduction, growth, and survival followed winters of high weight loss. In food manipula­
tion experiments, mean winter weights were lower and overwinter weight losses greater for hares in food-scarce
treatments. In addition, food scarcity led to shorter breeding seasons and a decrease in mean natality. Keith
(I990) concluded that food shortage at a regional rather than local scale controlled the hare cycle.


Several subsequent studies indicated that while hares reduced shrub biomass (Smith et al. I988, Krebs et al.
200I a, Krebs 20II), it was unlikely that populations were limited by food quantity at any time during their cycle
(Krebs et al. 200I a, Krebs 20II). Krebs et al. (I986) found that food additions may increase hare densities, but did
not prevent the decline phase of the cycle. The quality of the diet was shown to limit populations by reducing re­
production and juvenile survival (Keith et al. I984, Boutin et al. I986, Aubry et al. 2000, Mowat et al. 2000, Hodg­
es et al. 200I).


Boonstra and Singleton (I993) and Boonstra et al. (I998) suggested that the main mechanism causing the cycle
may be decreased survival and reproduction during the decline phase of the cycle, due to a lag time when preda­
tor numbers are still increasing and predation rate is heightened. Hares are then thought to avoid high-risk areas
by selecting dense cover, which may provide poorer quality food resources (Hik I994, I995), resulting in lowered
reproduction rates (Boonstra and Singleton I993, Boonstra et al. I998). Sherriff et al. (2009) also suggested that
stress related to predation may be responsible for hare population crashes by influencing reproduction.


Boonstra et al. (I998) found evidence that risk of predation causes hares to be chronically stressed, which may
increase hare vulnerability to predation and decrease hare fecundity. This indicated the snowshoe hare population
cycle is driven by an interaction between food and predation (Krebs et al. I995).


As a specialist predator in the northern boreal forest, lynx populations help to maintain the snowshoe hare popu­
lation cycle (Anderson and Erlinge I977, Korpimaki et al. I99I, Hanski et al. 200I). In more southern latitudes,
the greater abundance and diversity of generalist predators are thought to have a stabilizing effect because of their
ability to “prey switch” when a given prey item becomes scarce (Ellsworth and Reynolds 2006). The interaction of
habitat patchiness with more abundant and diverse predator guilds may explain why southern snowshoe hare pop­
ulations lack cyclicity (Dolbeer and Clark I975, Wolff I980, Wolff I98I, Buehler and Keith I982, Keith et al.


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Snowshoe hare ecology
1993, Wirsing et al. 2002). Hodges (2000b) discussed 2 models that may explain the lack of cyclicity of snowshoe
hares in the southern distribution: the refugium model and the facultative predator model. The refugium model
involves 5 components: higher survival by hares in refuge habitats (i.e., dense horizontal cover), hare distribution
changes during the cycle (a higher proportion of hares in refugium during the low), lower reproductive rates in
refugium, lower survival in non-refugium habitats, and lower overall survival of hares in the southern part of the
range. The facultative predator model is driven by higher mortality of snowshoe hares and a higher proportion of
mortality by facultative predators than in northern populations.


Importance of snowshoe hare to lynx. The distributions of snowshoe hare and lynx overlap across much of
North America (Bittner and Rongstad 1982, McCord and Cardoza 1982). Snowshoe hares are the primary prey
of lynx, composing 35-97% of the diet throughout the range of the lynx (Saunders 1963 a, van Zyll de Jong 1966,
Brand and Keith 1979, Parker et al. 1983, Quinn and Parker 1987, Koehler and Aubry 1994, Apps 2000, Mowat
et al. 2000, O’Donoghue et al. 2001, Squires and Ruggiero 2007, Burdett 2008, Hanson and Moen 2008, Maletzke
et al. 2008, Shenk 2009). Lynx habitat selection largely reflects that of hares, both seasonally as well as through
the hare population cycle (O’Donoghue et al. 1998, Mowat and Slough 2003, Squires and Ruggiero 2007, McCann
and Moen 2011).


During the low of the snowshoe hare cycle in the northern boreal forest, the proportion and importance of oth­
er prey species such as red squirrels increase in the diet of lynx (Brand et al. 1976, O'Donoghue et al. 1998, Apps
2000, Mowat et al. 2000). Although lynx populations rely more heavily on alternate prey during lows in the hare
cycle or in areas where hare population densities are naturally low, Roth et al. (2007) found that hares still make
up >50% of the biomass of lynx diets for all populations studied.


In Maine, 98% (40 of 41) of lynx kills located while backtracking lynx were snowshoe hare; the exception (I of 41)
was a red squirrel (Fuller 2006, Fuller et al. 2007, Vashon et al. 20I2). Hare remains were found in 76% of the
lynx scats in Minnesota (Hanson and Moen 2008), and 92% of the kills documented via snow-tracking were snow­
shoe hare (Burdett 2008). In Montana, Squires and Ruggiero (2007) reported that even in areas with consistently
low densities (0.I-0.6 hares/ha [0.04-0.02 hares/ac]), snowshoe hares still accounted for 96% of biomass in the
lynx diet, with red squirrels and grouse accounting for only 2% each of the biomass in lynx diets during winter. In
Colorado, 66.4±5.6% of annual documented kills by lynx (n=604) were hares, varying annually from 30.4-90.8%,
while an average of 22.6±5.7% were red squirrels (Shenk 2009). In Washington, 8I% (I7 of 2I) of the kills located
along lynx trails were snowshoe hare, while I4% (3 of 2I) were red squirrels (Maletzke et al. 2008).


Energetic analysis suggests that lynx should consume 0.4-0.5 hares per day to satisfy caloric needs (Nellis et al.
I972). In the northern portion of its range, lynx consumption rates averaging 0.5-1.2 hares per day were calculat­
ed using various methods (Saunders I963 a, Brand et al. 1976, Keith et al. 1977, Parker 1981, O’Donoghue et al.
I998).


Red squirrel ecology

Description. The red squirrel is the most widespread species of tree squirrel in the genus Tamiasciurus (Obbard
I987). It is a small tree squirrel, with head and body I8-20 cm (7-8 in) in length and tail I0-I5 cm (4-6 in) in
length (Plate 2.4).


Red squirrels range from Alaska, Yukon Territory, Northwest Territories and Quebec southward to the Rocky
Mountains of New Mexico in the west, and to the southern Appalachian Mountains of South Carolina in the east
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Red squirrel ecology
(Miller and Kellogg 1955, Hall and Kelson 1959, Peterson 1966, Walker 1968, Banfield 1974, Honacki et al. 1982).
Their range is closely associated with boreal forests of Alaska and northern Canada, subalpine montane conifer­
ous forests of western Canada and the United States, and mixed-coniferous and hardwood forests of the eastern
United States and Canada (Peterson 1966, Walker 1968, Rowe 1972, Banfield 1974).


Activity patterns. Red squirrels are active year-round and are primarily diurnal (Godin 1977). During winter, red
squirrels often are most active during the warmer mid-day period (Layne 1954, Smith 1968a, Pauls 1978). When
temperatures fall below -32°C (-25°F), red squirrels are seldom active above the snow surface (Pruitt and Lucier
1958, Smith 1968a). Especially in northern portions of its range, red squirrel activity is often subnivean or subter­
ranean during extremely cold winter periods (Pruitt and Lucier 1958, Zirul 1970).


Home range. In coniferous forests, red squirrels occupy solitary, non-overlapping contiguous territories that are
defended from conspecifics of either sex (Gordon 1936, Clarke 1939, Hatt 1945, Kilham 1954, Smith 1968a). In
deciduous forests, red squirrel home ranges overlap broadly, and no exclusive territories are evident (Layne 1954,
Yahner 1980). This may reflect a more abundant and diverse food base in deciduous forests, which eliminates the
dependence on a cached food supply (Kemp and Keith 1970, Rusch and Reeder 1978).


Habitat. Red squirrel densities tend to be highest in older, closed-canopy forests that have substantial quantities of
coarse woody debris, and lower in young stands that lack cone production (Layne 1954, Obbard 1987, Klenner
and Krebs 1991). Population densities are highest (250-400/km2 [96-154/mi2]) in spruce forests, lower (100-200/
km2 [38-77/mi2]) in mixed conifers and mixed-conifer/hardwoods, and lowest (25-100/km2 [10-38/mi2]) in pines
and hardwoods (Obbard 1987). Lachowski (1997) found red squirrels to be abundant across all forest types in
Maine during spring, but more abundant in conifer and mixed forest during winter. Sullivan and Moses (1986)
showed that red squirrel densities and recruitment were significantly higher in young (20 year-old) unthinned
lodgepole pine stands (stem density of 20,000-35,000/ha [8,000-14,000/ac]), than in thinned stands (stem density
850-2,300/ha [350-900/ac]) in interior British Columbia.


Where available, spruce is used by red squirrels as nest trees. Other conifers with a high branch density are also
utilized (Hatt 1945, Fancy 1980). Where cavities in coniferous trees are not available, underground nests and out­
side tree (leaf) nests are commonly used (Fancy 1980). In eastern hardwood forests, tree cavities offer preferred
nest sites, but underground and outside tree nests are also used (Hatt 1929, Hamilton 1939, Layne 1954). Tree
nests are usually located in contact with the trunk in dense stands with high canopy closure (Rothwell 1979).


Dense conifer clumps, especially those with snags or fallen logs, provide important shade and protective cover for
food caches (Vahle and Patton 1983).


Diet. Conifer seeds are the basis of the red squirrel's year-round diet, but deciduous and coniferous buds are also
important components during winter and spring (Smith 1968a, b; Kemp and Keith 1970, Reichard 1976, Rusch and
Reeder 1978). Squirrels cut and cache newly matured conifer cones to help assure a year-round food supply
(Smith 1968a, 1981; Gurnell 1984).


The activity center of each territory is the midden where seeds are cached (Larsen and Boutin 1995). Caches of­
ten accumulate over several years and provide food during cone crop failures (Smith 1968b).


Large species of fungi are eaten fresh as well as cached in the canopy for later consumption (Seton 1910, Klugh


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